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cockaded woodpecker, additional fine-        an area are determined by climate, soil      result is a final § 219.9 that has the same
filter species-specific plan components      and other biotic and abiotic factors.’’ By   intent as the proposed rule but is clearer
may also be needed, for example, a plan      defining species as “was historically or     and will better effectuate the
standard to protect all known red-           is present in a particular ecosystem,”       Department’s approach to providing for
cockaded woodpecker cavity trees             the Department is not suggesting that        diversity.
during prescribed burning activities.        historically native species that are no         The Department added wording to the
Examples for other species might             longer present must be reintroduced.         introduction to explain, as expressed in
include requiring proper size and            The Department is recognizing that if        the preamble for the proposed rule, that
placement of culverts to allow for           such species were to return or to be         plans adopt a complementary ecosystem
aquatic organism passage on all streams      reintroduced to the area, they would         (coarse-filter) and species-specific (fine-
capable of supporting eastern brook          still be considered native.                  filter) approach to maintaining the
trout, or requiring closure devices on all      In addition to developing, amending,      diversity of plant and animal
cave and mine entrances to prevent the       and revising plans under the diversity       communities and the persistence of
spread of white-nose syndrome to bat         requirements of this section, the final      native species in the plan area. This
populations in the plan area.                rule includes requirements for               combined approach for maintaining
   Unlike the 1982 rule, the final rule      ecological sustainability in § 219.8, and    biological diversity over large
explicitly acknowledges that there are       in § 219.10 for providing for multiple       landscapes is a well-developed concept
limits to Agency authority and the           uses including wildlife and fish,            in the scientific literature, and is
inherent capability of the land. With        considering ecosystem services, fish and     generally supported by the science
respect to species of conservation           wildlife species, habitat and habitat        community for application on Federal
concern (SCC), the responsible official      connectivity, and habitat conditions for     lands.
may determine that those limits prevent      wildlife, fish, and plants commonly             Paragraph (a) was modified with the
maintenance or restoration of the            enjoyed and used by the public when          new heading of “Ecosystem plan
ecological conditions necessary to           developing plan components for               components,” and subdivided into 2
maintain a viable population of a            integrated resource management.              parts. The new paragraph (a)(1) has a
species of conservation concern within       Requirements in the assessment and           heading of “Ecosystem integrity” and
the boundaries of the plan area. The         monitoring phases are also linked to and     includes the requirements of paragraph
responsible official must then include       support the requirements of this section.    (a) of the proposed rule, consistent with
plan components to maintain or restore                                                    the equivalent requirement in § 219.8(a).
                                             Section 219.9—Response to Comments           As in § 219.8 the “health and resilience”
ecological conditions within the plan
area to contribute to maintaining a             The Department received many              of the proposed rule was replaced with
viable population of that species within     comments on this section. People             “ecological integrity” as described in
its range. In doing so, the responsible      suggested a broad range of approaches,       the discussion of 219.8. The concept of
official would be required to coordinate     including reinstating the 1982 viability     ecological integrity is also being
to the extent practicable with other land    requirements; protecting and                 advanced by the U.S. Department of the
managers.                                    maintaining healthy habitats with no         Interior for National Park System lands.
   Examples of factors outside the           species specific provisions; increasing      Having similar approaches to assessing
control of the Agency could include: A       viability requirements; and mirroring        and evaluating ecological conditions
species needing an area larger than the      the NFMA wording for diversity               across the broader landscape will
unit to maintain a viable population;        without including reference to viability.    facilitate an all-lands approach to
non-NES land management impacts to           In addition, some people emphasized          ecological sustainability.
species that spend significant parts of      that there is a need to coordinate and          The Department added a new
their lifecycle off NFS lands; activities    cooperate beyond NFS unit boundaries         paragraph ((a)(2)), which retains the
outside the plan area (for example,          for purposes of identifying and              proposed rule heading of “ecosystem
increasing fragmentation of habitat or       protecting critical habitat, migration       diversity.” This paragraph includes new
non- and point source pollution often        corridors, and other habitat elements.       wording to make clear that the plan
impact species and their habitats, both         The Department also received many         must include plan components to
on and off NFS lands); failure of a          comments expressing concern or               maintain the diversity of ecosystems
species to occupy suitable habitat; and      confusion over the relationship between      and habitat types in the plan area. This
climate change and related stressors,        the ecosystem diversity requirement in       change was made to explain, as
which could impact many species and          paragraph (a) and the species                described in the preamble to the
may make it impossible to maintain           conservation requirement in paragraph        proposed rule that plans provide for
current ecological conditions. Other         (b) in this section of the proposed rule.    ecosystem diversity. As part of
stressors, such as invasive species,         In particular, there was concern over        providing for this requirement,
insects, disease, catastrophic wildfire,     whether the complementary coarse-filter      paragraph (a)(2) includes direction to
floods, droughts, and changes in             and fine-filter strategy described in the    provide plan components to maintain
precipitation, among others, may also        preamble and DEIS for the proposed           and restore key characteristics of
affect species and habitat in ways that      rule was clearly expressed in the            ecosystem types (similar to
the Agency cannot completely control         proposed rule wording itself.                requirements of proposed rule
or mitigate for.                             Additionally, there was a lack of            § 219.8(2)(i) and (ii)), rare native plant
   In section 219.19, the Department         understanding of how these two               and animal communities (moved from
defines native species as “an organism       requirements would maintain both the         proposed rule § 219.8(a)(2)(iii)), and
that was historically or is present in a     diversity of plant and animal                diversity of native tree species (moved
particular ecosystem as a result of          communities and the persistence of           from paragraph (c) of proposed § 219.9).
natural migratory or evolutionary            native species within the plan area as       Both subsections of paragraph (a) direct
processes; and not as a result of an         expressed in the preamble.                   that the responsible official include
accidental or deliberate introduction           In response to public comments, the       “standards or guidelines” in the set of
into that ecosystem. An organism’s           Department modified the proposed rule        plan components developed to meet
presence and evolution (adaptation) in       wording and made additions to it. The        these requirements.


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   The heading of paragraph (h) was          this and other sections that the plan will       The Department added paragraph (c)
changed from “Species Conservation” to       include plan components to meet               to the final rule to modify and clarify
“Additional, species-specific plan           various requirements.                         the definition of species of conservation
components” to clarify the fact that hoth       Within paragraph (b)(1), the               concern, formerly in section 219.19. The
the ecosystem plan components (coarse-       Department changed the requirement for        new wording clarifies that the species of
filter) and the additional species­          ecological conditions to maintain             conservation concern must be “known
specific plan components (fine-filter)       “viable populations of species of             to occur in the plan area,” that the
contribute to species conservation.          conservation concern” (§ 219.9 (b)(3) of      regional forester is the line officer who
Paragraph (b)(1) adds proposed species       the proposed rule) to “a viable               identifies the species of conservation
to candidate species as species to be        population of each species of                 concern, and the standard for that is
conserved. The substance of paragraph        conservation concern” (emphasis               “the best available scientific
(b) was modified in the final rule to        added). The change reflects the               information indicates substantial
make it clear that the plan components       Department’s intent from the proposed         concern about the species’ capability to
required by this paragraph are intended      rule, but provides clarity in response to     persist over the long term in the plan
to complement and supplement the             confusion about whether the proposed          area.”
coarse-filter requirements, where            rule wording referred to populations of          The Department believes these
necessary.                                   different species or multiple                 revisions more clearly describe the
   In response to comments on the            populations of the same species in the        application of the coarse-filter/fine-filter
preferred alternative, a change was          plan area, as well as concern that the        strategy for maintaining biological
made to the wording in § 219.9(b)(1) to      proposed rule wording could be                diversity as discussed in scientific
clarify the Department’s intent that the     interpreted to mean that plans did not        literature and the PEIS. As plan
responsible official must make a             have to address every species of              components designed to meet these
determination as to whether additional,      conservation concern. This clarification      requirements are created and complied
species-specific plan components are         is consistent with the preamble of the        with, the broad spectrum of habitat and
required. The final rule states that “the    proposed rule which discusses the             other ecological conditions necessary to
responsible official shall determine         agency’s obligation in terms of               support the diversity of plant and
whether or not the plan components           maintaining “a viable population of a         animal communities and the persistence
required by paragraph (a) provide the        species of conservation concern * * *         of native plant and animal species
ecological conditions necessary to:          to maintain the long-term persistence of      would be expected through this
contribute to the recovery of federally      that species.” 76 FR 8493 (February 14,       complementary strategy.
listed threatened and endangered             2011).
                                                                                              Comment: Relationship between
species, conserve proposed and                  As in the proposed rule, the
                                                                                           ecosystem diversity and species
candidate species, and maintain a viable     ecosystem and species-specific
                                             requirements in the final rule are both       conservation. Some respondents felt the
population of each species of
                                             limited by Forest Service authority and       proposed rule was confusing in its
conservation concern within the plan
                                             the inherent capability of the plan area.     description of the relationship between
area.”
   The “if then” statement in paragraph      As in the proposed rule, the final rule       the ecosystem diversity requirement in
(b)(1) conveys the Department’s              provides an alternative standard for          proposed § 219.9(a) and the species
expectation that for most native species,    species of conservation concern if it is      conservation requirement in § 219.9(b).
including threatened, endangered,            beyond the Forest Service’s authority or      They felt the complementary coarse-
proposed, candidate, and species of          the inherent capability of the plan area      filter/fine-filter strategy described in the
conservation concern, the ecosystem          to provide ecological conditions to           preamble and DEIS was not clearly
integrity and ecosystem diversity            maintain a viable population of a             expressed in the proposed rule wording.
requirements (coarse-filter) would be        species of conservation concern within        Additionally, they felt it was unclear on
expected to provide most or all of the       the plan area. In such cases, the final       how these two requirements would
ecological conditions necessary for          rule requires that the responsible official   maintain the diversity of plant and
those species’ persistence within the        document that determination (new              animal communities and the persistence
plan area. However, for threatened,          requirement in the final rule) and            of native species within the plan area.
endangered, proposed, candidate, and         include plan components, including               Response: In response to public
species of conservation concern, the         standards or guidelines, to maintain or       comments, the Department clarified the
responsible official must review the         restore ecological conditions within the      proposed rule wording and made
coarse-filter plan components, and if        plan area to contribute to maintaining a      additions to the final rule. The coarse-
necessary, include additional, species­      viable population of the species within       filter/fine-filter approach used in the
specific (fine-filter) plan components to    its range. The words “to the extent           final rule and the modifications made to
provide the ecological conditions to         practicable” following the word               the proposed rule are explained in the
contribute to recovery of threatened and     “contribute” were removed from the            introductory paragraphs of the response
endangered species, to conserve              final rule because they caused confusion      to comments on section 219.9.
proposed and candidate species, and to       and were unnecessary given other                 Comment: Threatened, and
maintain viable populations of species       provisions of the rule, including Section     endangered species. Some respondents
of conservation concern in the plan          219.1(g). The final rule retains a            felt the Department should consult with
area. As in many places in the final rule,   modified requirement that in providing        the U.S. Fish and Wildlife Service and
paragraph (b) clarifies that the             such plan components, the responsible         the National Marine Fisheries Service
responsible official will include            official shall coordinate to the extent       on potential effects to threatened and
“standards or guidelines” in the set of      practicable with other Federal, State,        endangered species as a result of the
plan components developed to meet            Tribal, and private land managers             proposed planning rule. Others felt
these requirements. The word                 having management authority over              recovery plans are not legally
“developed” in this paragraph was            lands “relevant to that population,” to       enforceable documents; therefore, they
changed to the word “included” to be         reflect the need for a cross boundary         are not mandatory for Federal agency
consistent with similar construction in      approach to species conservation.             adoption.


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   Response: Beginning in 2009 and          conditions to “contribute to the             agencies and entities to participate in
continuing through the development of       recovery of” T&E species is more             determining assessment needs and
this planning rule and its accompanying     comprehensive. The final rule                identify contributions of relevant broad­
PEIS, representatives from the U.S. Fish    recognizes that these species may not be     scale assessments and plans of other
and Wildlife Service and the National       viable or have a viable population at        agencies and governments; and the
Marine Fisheries Service met regularly      this time, and in many cases may rely        incorporation of broad-scale monitoring
with the Forest Service to discuss ESA      on lands and conditions outside NFS          to address questions that are more
issues related to the rule. The three       boundaries and beyond Agency control.        appropriately answered at scales beyond
agencies worked together to identify the    Thus an individual NFS unit rarely can       NFS boundaries. These processes,
relevant issues and appropriate level of    fully meet the recovery needs of a listed    programs, and activities would be
analysis associated with the final rule     species. Under this final rule, the          incorporated into future unit planning
and environmental analysis, and have        Department anticipates that plan             processes and plans, and as these plans
collaborated on a consultation process      components, including standards or           are implemented, they will actively
and on the biological assessment. The       guidelines, for the plan area would          contribute to ESA goals.
Agency requested consultation with          address conservation measures and               Comment: Candidate and proposed
these regulatory agencies in July 2011.     actions identified in recovery plans         species. Many respondents supported
Additionally, the Agency requested          relevant to T&E species. When                the proposed rule requirement to
conferencing on the potential effects of    implemented over time, these                 conserve species that are candidates for
the rule on all species proposed for        requirements would be expected to            Federal listing. Other respondents
Federal listing that currently occur on     result in plans that will be proactive in    questioned why the proposed rule
NFS lands and those that are candidates     the recovery and conservation of the         requires candidate species conservation
for Federal listing occurring on or are     threatened, endangered, proposed, and        as these species have not received
suspected to occur on NFS lands. The        candidate species in the plan areas.         Federal protection under ESA, and this
Agency completed consultation, as           These requirements will further the          may lead to more petitions for species
discussed in this preamble in the           purposes of § 7(a)(1) of the ESA, by         listings being filed in the future and
section with the caption of: Compliance     actively contributing to threatened and      further limit the management options of
with the Endangered Species Act of          endangered species recovery and              the Agency.
1973, as Amended.                           maintaining or restoring the ecosystems         Response: The Department added
   NFS lands are a major contributor to     upon which they depend.                      definitions for “candidate species,” and
threatened and endangered species              The Forest Service frequently             “proposed species,” and “conserve” to
recovery plans and actions, maintaining     collaborates with the U.S. Fish and          § 219.19 of the final rule to clarify the
habitat for such species as red-cockaded    Wildlife Service (USFWS) and the             definitions of these terms and to avoid
woodpecker, Canada lynx, bull trout,        National Oceanic and Atmospheric             misunderstanding. Under the ESA,
steelhead, and many other listed            Administration (NOAA) in the                 candidate and proposed species do not
species. As part of the Forest Service      development and implementation of            receive the special legal protections
mission, the actions needed to recover      recovery plans for many species. The         afforded to threatened and endangered
T&E species and maintain or restore         Forest Service will continue to work         species. However, the Department
critical habitats are a high priority.      with USFWS, NOAA, States, and other          believes it is important to develop plan
These species are at risk of extinction     partners to conserve and recover             components for those plant and animal
and are protected under the ESA. Under      federally listed plant and animal            species that are proposed or candidates
the ESA, the Forest Service is to carry     species. The responsible official may        for Federal listing that occur on NFS
out “programs and activities for the        also contribute to other recovery            lands, in order to assist in their recovery
conservation of endangered species and      actions, such as species reintroductions     such that a Federal listing is no longer
threatened species” (16 U.S.C.              to increase species distribution and         required. Similar to T&E species,
1536(a)(1)) and “insure that any action     threatened and endangered species            candidate and proposed species may not
authorized, funded or carried out by [it]   monitoring programs. In addition, the        have a viable population that can be
is not likely to jeopardize the continued   Agency will continue to evaluate effects     maintained in the plan area at this time.
existence of any endangered species or      of proposed management actions to T&E        In the final rule, the Agency would
threatened species or result in the         species or designated critical habitat.      provide coarse-filter, and where
destruction or adverse modification of      Consultation with the appropriate            necessary, additional fine-filter plan
[designated critical habitat]” (16 U.S.C.   regulatory agency(s) will also occur at      components for ecological conditions
1635(a)(2)).                                the plan development, amendment, or          that would conserve candidate and
   As did the proposed rule, the final      revision stage and again at the project      proposed species, reducing risks to
rule requires that the plan include plan    stage, if they may affect any federally      those species and providing for the
components to provide ecological            listed species or designated critical        maintenance or restoration of needed
conditions in the plan area necessary to    habitat. Additional guidance will be         ecological conditions.
contribute to the recovery of T&E           forthcoming on procedures for                   Comment: Authority for viability.
species, using coarse-filter plan           conducting ESA section 7(a)(1)               Some respondents felt the proposed
components and adding species-specific      conservation reviews of plans in the         rule’s concept of species viability may
plan components where necessary.            Forest Service directives.                   be outside the Agency’s authority to
While the 1982 rule at section                 Complementary sections of the final       implement; they take the position that
219.19(a)(7) did have specific              rule, §§219.3, 219.4, and 219.6, in          managing for species diversity and
requirements for protection of T&E          combination emphasize: the role of           viability is the responsibility of State
critical habitat, and required objectives   science in preparing, revising, or           agencies, the National Marine Fisheries
to remove T&E species from listing,         amending a plan; collaboration,              Service, and the U.S. Fish and Wildlife
where possible, through appropriate         including coordination with other            Service.
conservation measures, the requirement      planning efforts; consideration of              Response: The requirement, to
in the final rule that requires plan        objectives of other agencies and entities;   “provide for diversity of plant and
components to provide ecological            the encouragement of appropriate             animal communities” as set forth under


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§ 1604(g)(3)(B) of the NFMA, does not       providing protections for species other      the species’ capability to persist in the
specifically reference the diversity or     than vertebrates as it could lead to the     plan area over the long term. The
viability of particular species. It is a    possibility of maintaining viable            Department called this category
statutory requirement that there be a       populations of invertebrates, fungi,         “species of conservation concern.”
planning rule that provides for             microorganisms, and other life forms,           For this category of species, the final
diversity. However, it is within the        which these respondents suggest is           rule requires coarse-filter, and where
Department’s authority to require that      inappropriate and beyond the Agency’s        necessary, fine-filter plan components
plans provide ecological conditions to      authority.                                   to provide ecological conditions to
maintain viable populations of species         Response: The Department concludes        maintain a viable population of such
of conservation concern. The                that managing ecological conditions for      species within the plan area, where it is
Department’s ability to maintain the        species protection is well within the        within Forest Service authority and the
diversity of plant and animal               authority of the Forest Service to           inherent capability of the land to do so.
communities is dependent on protecting      manage the NFS for multiple use, and         If providing the ecological conditions to
the plant and animal species and the        that the requirements of this section are    maintain a viable population within the
interactions and processes the species      more strategic and implementable than        plan area is beyond Forest Service
perform. The Department developed the       the 1982 rule while providing strong         authority or the inherent capability of
final rule in recognition that many         requirements focused on maintaining          the land, then the final rule requires
Agency plans, programs, and activities      diversity and the persistence of native      coarse-filter, and where necessary, fine-
are important influences on providing       species within the plan area. The 1982       filter plan components to provide
the desired ecological conditions for       rule required that “habitat shall be         ecological conditions to contribute to
plant and animal communities and            managed to maintain viable populations       maintaining a viable population of the
native species on NFS lands. In             of existing native and desired non­          species within its range. For example, if
accordance with the MUSYA, plans            native vertebrate species in the planning    a unit is incapable of providing a
must also provide for multiple uses         area.’’ There may be hundreds of             sufficient amount of the ecological
including wildlife and fish.                vertebrate species on a particular plan      conditions necessary to maintain a
   The provisions in this final rule are    area. For some vertebrate species there      viable population of a species of
focused on providing the ecological         may be little scientific information         conservation concern within the plan
conditions necessary to support the         about their life requirements and habitat    area, then the responsible official must
diversity and persistence of native plant   relationships, even though they may be
                                                                                         include plan components that provide
and animal species. The final rule          considered common and secure within
                                                                                         the ecological conditions in the plan
maintains and provides additional           habitats provided on a NFS unit. For
                                                                                         area necessary to contribute to a viable
direction to work with State fish and       other vertebrate species, the
                                                                                         population of that species in the broader
wildlife agencies, other Federal            requirement to maintain viable
                                                                                         landscape. The rule requires the
agencies, as well as others, to conserve    populations in the planning area may be
                                                                                         responsible official to work in
fish, wildlife, and plant habitats and      unattainable, for reasons outside of the
                                                                                         coordination with other relevant land
populations on NFS lands and to             Agency’s control.
                                               The final rule instead relies on          managers when developing such plan
contribute to shared goals, such as those
                                            current scientific literature to adopt the   components.
provided in state wildlife action plans
or in threatened or endangered species      complementary ecosystem and species­            Species of conservation concern, like
recovery plans. Requirements in             specific approach described above in         the categories of common species and
§§ 219.4, 219.6, 219.10, and 219.12 of      the introduction to this section, and to     imperiled species, is not limited to
this final rule complement and support      focus species-specific management            native and desired non-native
interagency collaboration on habitat and    attention on those species that are          vertebrates (as in the 1982 rule); it may
species conservation.                       vulnerable. Ecosystem (coarse-filter)        include any native plant or animal
   Comment: Species of Conservation         plan components are expected to              species that meets the definition. The
Concern (SCC) and Viability. Some           provide the necessary ecological             Department has the authority to include
respondents felt the rule should include    conditions for species that are common,      requirements for species other than
the following wording from § 219.19 of      with viable populations in the plan area     vertebrate species under the NFMA and
the 1982 rule: “Fish and wildlife habitat   and no reason for concern about their        the MUSYA. Non-vertebrate species can
shall be managed to maintain viable         ability to persist in the plan area over     be federally recognized as threatened or
populations of existing native and          the long term. For species that are          endangered. In addition, in each NFS
desired non-native vertebrate species in    known to be imperiled (threatened,           region, the regional forester has
the planning area.’’ Some felt this         endangered, proposed and candidate           developed and maintained a list of
standard should be extended to plants       species), the final rule requires coarse-    regional forester sensitive species
and invertebrates as well as vertebrates,   filter, and where necessary, fine-filter     (RFSS) for over two decades. The RFSS
and not only to SCC. Some respondents       plan components to provide ecological        list can include any native plant or
felt the proposed rule weakens current      conditions that contribute to recovery or    animal species. RFSS are those plant
protections for plant and animal species    conservation of the species, recognizing     and animal species identified by a
therefore, the rule needs inclusion of      that there is likely not a viable            regional forester for which population
clear, strong requirements focused on       population of such species in the plan       viability is a concern, as evidenced by:
protecting and maintaining all native       area at the time of plan approval.           significant current or predicted
species within a plan area. On the other       The final rule provides direction for a   downward trends in population
hand several respondents felt the           third category of species: species that      numbers or density; or significant
proposed requirement to maintain            are vulnerable within the plan area, but     current or predicted downward trends
viability of SCC is too expensive and       not federally recognized for purposes of     in habitat capability that would reduce
cumbersome to implement. They felt          the ESA. These are species known to          a species’ existing distribution. RFSS
this requirement is unattainable and        occur in the plan area, for which the        are similar to SCC. The conservation
procedurally impossible to demonstrate.     best available scientific information        and management of many RFSS has
Some respondents were opposed to            indicates a substantial concern about        been a part of many land management


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plans and projects and activities for        population of each species of                 to the species, which may or may not
decades.                                     conservation concern within the plan          lead to habitat that is evenly or “well”
   The projected costs of carrying out the   area. If the responsible official             distributed across the plan area for
rule are found in the Regulatory             determines that the plan components           every species. For some species, that
Planning and Review section of the           required in paragraph (a) are insufficient    may mean having the appropriate
preamble and in the final PEIS               to provide such ecological conditions,        ecological conditions throughout the
supporting this final rule. These costs      then additional, species-specific plan        plan area. For others, it may mean
are not expected to be too expensive or      components, including standards or            focusing on a small portion of the plan
cumbersome to be carried out by the          guidelines, must be included in the plan      area. For others, it may mean working
Agency. Because these requirements           to provide such ecological conditions in      to restore or provide ecological
adopt a scientifically supported             the plan area” (§ 219.9(b)(1)). The rule      conditions for a species whose range is
approach, acknowledge that there are         defines a viable population as: “A            migrating in response to changing
limits to Agency control, and focus          population of a species that continues to     conditions. For still others, it may mean
management attention more strategically      persist over the long term with sufficient    providing a corridor or corridors to
on ecosystem plan components that will       distribution to be resilient and              connect habitat.
provide for most species and where           adaptable to stressors and likely future         The change from “well distributed” to
necessary on additional species-specific     environments” (§219.19) (emphasis             “sufficient distribution to be resilient
plan components for species that are         added).                                       and adaptable” is intended to clarify
vulnerable, the Department believes that        The intent behind both the 1982            that we are using “distribution” in an
the requirements of this section,            provisions and the final rule provisions      ecological context to support species’
combined with the requirements in            is the same: To provide habitat to            long term persistence and to help
other sections of the rule for public        maintain viable populations. However,         increase consistency in implementation.
participation, assessment and                there are a number of reasons for the         The Department recognizes that the
monitoring, will result in a strong, more    Department’s decision not to include          long-term security of species improves
effective, efficient, and implementable      the term “well-distributed” in the final      as distribution increases and habitat and
framework for providing for species          rule and instead used the phrase “with        other ecological conditions are
diversity and persistence.                   sufficient distribution to be resilient and   maintained or improved. Whether
   Comment: Distribution of species or       adaptable.” The term is not defined in        distribution is “sufficient” will be
habitat. Some respondents raised             the 1982 rule, has been inconsistently        evaluated in the context of what a
concerns that the definition of a viable     interpreted in plans, and has been            population needs for resilience and
population and the requirements for          applied in many different ways.               adaptability such that it can continue to
species of conservation concern do not          Importantly, the term “well-               persist over the long term, considering
include the requirement that these           distributed” on its own is not clearly        the species’ natural history, the ability
species or habitats be “well-distributed”    biological: Many people have                  of individuals to interact, historical
as is required in the 1982 rule and they     interpreted the term in a geographical        distribution and potential future
feel that this omission results in a         context as opposed to a biological            distribution, and recognizing that
lessening of protection for species          context. This geographic interpretation       habitat and species distribution will be
between the 1982 rule and this final         has proven problematic at times,              dynamic over time. The responsible
planning rule.                               because the plan area is not an               official will use the best available
   Response: NFMA does not require           ecological boundary; it is an                 scientific information to inform this
that species or habitats be well-            administrative boundary that may              evaluation. In making this evaluation, it
distributed within the plan area. The        overlap completely or only partially          is the Department’s expectation that for
1982 rule stated at § 219.19 that: “Fish     with a species’ natural ecological range.     the purposes of this subpart, the
and wildlife habitat shall be managed to     In addition, for some species, those          individuals of a species of conservation
maintain viable populations of existing      areas of overlap may be changing in           concern that exist in the plan area will
native and desired non-native vertebrate     response to changing conditions.              be considered to be members of one
species in the planning area. For               Since 1982, we have learned more           population of that species. The
planning purposes, a viable population       about what is important for a species to      responsible official would consider the
shall be regarded as one which has the       persist on the landscape, with an             distribution of individuals or groups
estimated numbers and distribution of        evolving understanding of important           that would support a viable population
reproductive individuals to insure its       ecological concepts like resilience,          of that species in the plan area.
continued existence is well distributed      connectivity, and adaptability, and of        Additional guidance will be included in
in the planning area. In order to insure     stressors such as climate change. For         the directives, which will be available
that viable populations will be              these reasons, instead of relying on the      for public notice and comment.
maintained, habitat must be provided to      term “well-distributed,” the Department          It is important to recognize that the
support, at least, a minimum number of       chose instead to include a more               requirements of § 219.9(b)(1) and the
reproductive individuals and that            ecologically-based definition of a viable     definition of viable population support
habitat must be well distributed so that     population, “with sufficient distribution     and are part of a broader set of
those individuals can interact with          to be resilient and adaptable to stressors    requirements in the final rule that are
others in the planning area.”                and likely future environments” such          important for species conservation,
   This final rule includes requirements     that the population “continues to persist     including the requirements in §§219.8
to restore or maintain ecological            over the long term.”                          and 219.9 to maintain or restore
conditions to support viable                    Combined with the requirement in           ecological integrity, including
populations of species of conservation       section 219.3 to use the best available       connectivity of ecosystems in the plan
concern. It requires that the responsible    scientific information to inform the          area; and the requirement in § 219.9(a)
official determine whether or not the        plan, this definition is intended to focus    to provide a diversity of ecosystem
plan components required by paragraph        the development of plan components on         types throughout the plan area.
(a] “provide the ecological conditions       providing ecological conditions where            Combined, the requirements in the
necessary to * * * maintain a viable         they will be most useful and important        final rule are expected to provide the


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conditions that support the persistence      Service authority, and consistent with       capability over time to provide for
of native species in the plan area and       the inherent capability of the plan area,”   certain ecological conditions, but cannot
maintain the diversity of plant and          to provide consistency in their              produce such ecological conditions
animal communities. For these reasons,       application and intent. Others felt use of   within the lifetime of the plan; for
the Department believes that the set of      these terms allowed the Agency to avoid      example, where a species needs old
requirements in the final rule is not a      responsibilities for maintaining the         growth or late successional habitat
lessening of protection from the 1982        diversity of plant and animal                where there is none (for example, where
rule, and represents a science-based         communities and the persistence of           bark beetle has killed all of the late
approach to species conservation.            native species within the plan area. Still   successional stands in a plan area). The
   Comment: Identification and               others felt the rule should describe the     plan would include plan components to
definition of species of conservation        types of circumstances that make the         move the plan area towards providing
concern. Some respondents felt the           Agency’s ability to meet the requirement     that habitat in the future, but would not
proposed rule was unclear on who the         for maintaining viable populations of        have the capability to produce it
responsible official for identifying SCC     species of conservation concern              instantly.
was, what criteria would be used to          infeasible or impractical. Some                 Examples of circumstances not within
identify SCC; and whether or not that        respondents said the rule should             the authority of the Agency include land
criteria should be established in the        provide more discretion and flexibility.     use patterns on private lands within or
planning rule. Some respondents                 Response: The acknowledgment of           adjacent to NFS units that fragment and
offered suggested criteria for identifying   limits to Agency authority and the           reduce habitat for a species whose range
SCC. Several respondents expressed           inherent capability of the land do not       extends well beyond the plan area,
concern the proposed rule provides too       “allow” the Agency to avoid                  habitat loss or degradation along
much discretion to the responsible           responsibility for maintaining the           important migration routes or wintering
official in deciding which species will      diversity of plant and animal                grounds for a species who spends some
receive protection.                          communities and the persistence of           of its life history on other lands or in
   Response: In response to these            native species within the plan area.         other countries, or the influence of
comments, the definition of species of       These limits exist whether they are          disease or invasive species.
conservation concern was moved from          acknowledged in the rule or not. The            Section 219.3 requires the use of the
§ 219.19 to a new paragraph (c) in this      Department believes it is more               best available scientific information to
section and was modified. The                transparent and effective to require a       inform the plan components required by
Department changed the line officer          robust and scientifically supported          this section, and § 219.14 requires the
who identifies the SCC for the plan area     approach to providing for the diversity      responsible official to document how
from the responsible official (normally      of plant and animal communities and          the requirements of this section were
the forest supervisor) to the regional       the persistence of native species within     met. Section 219.2 requires that the
forester in the final rule. The change       the plan area and openly acknowledge         Chief establish a national oversight
was made to provide additional               that there are some circumstances            process for accountability and
consistency and promote efficiency in        outside of Agency control, allowing          consistency. The Forest Service
identifying species of conservation on       responsible officials to adjust, adapt,      Directives System will include
and among national forests and               and work more collaboratively with           additional direction for implementing
grasslands within a region. The broader-     other land managers to protect species       the requirements of this section, and
scale monitoring strategy will also be       in the context of the broader landscape.     will be available for public comment.
developed by the regional forester.             The “inherent capability of the land”        Comment: Diversity of tree and other
   The final rule’s definition of SCC        is defined in § 219.19 of the final rule     plant species. Some respondents felt the
makes the criterion for identifying such     as; “The ecological capacity or              rule is not protective enough of the
species narrower and more scientific         ecological potential of an area              diversity of tree and other plant species.
than the definition in the proposed rule.    characterized by the interrelationship of    Others felt the rule should have specific
The species must be “known to occur in       its physical elements, its climatic          requirements for old growth and large,
the plan area,” and “the best available      regime, and natural disturbances”            intact blocks of forest; leaving more
scientific information” must indicate        Examples of circumstances where the          snags and dead wood; reforestation
“substantial concern” about the species’     plan area may lack the inherent              guidelines that include diverse tree
capability to persist over the long-term     capability to maintain a viable              mixtures; and use of herbicides.
in the plan area.                            population of a species include where a         Response: The Department based the
   Additional guidance for the               plan area is not large enough to produce     requirements of § 219.9(a)(2)(iii) on the
identification of species of conservation    sufficient habitat on the unit or where,     NFMA.
concern will be included in the Forest       due to current or projected changes in          The final rule requires in paragraph
Service Directives System, with an           climate, it would be impossible for the      (a)(2)(i) and (ii) plan components to
opportunity for public comment. The          plan area to produce or maintain the         provide for key characteristics
Department expects that State or Tribal      required amount or quality of habitat        associated with terrestrial and aquatic
lists of endangered, threatened, rare,       conditions necessary to sustain a viable     ecosystem types and rare aquatic and
endemic, or other classifications of         population of the species within the         terrestrial plant and animal
species, such as those listed as             plan area. Additional examples of            communities, which may include old
threatened under State law; and other        circumstances outside the Agency’s           growth stands, meadows, snags, or other
sources such as the NatureServe              control, including those that may be         characteristics. These characteristics are
conservation status system may be used       outside the Agency’s authority or the        similar to what was required in the
to inform the identification of SCC.         inherent capability of the land, are         proposed rule at § 219.8(2)(i) and (ii)
   Comment: Circumstances not within         discussed earlier in this document as        and (iii)). More specific requirements
Forest Service authority, consistent with    part of the rational for non-selection of    were not included in the final rule,
the inherent capability of the plan area.    Alternative B (No Action).                   because these issues are best identified
Some respondents felt the rule needs to         There may also be circumstances           and determined at the forest or
clarify what is meant by “within Forest      where the plan area has the inherent         grassland level, reflecting ecosystems


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and plant and animal communities on           program where, before ground                      The Department modified the
the unit. Further direction will be           disturbing projects can be approved, the       requirements of paragraph (a) to clarify
provided in the Forest Service                Forest Service must inventory late             the wording, make these requirements
Directives System and in individual           successional and old structure stands          parallel to other sections of the rule, and
plans.                                        for nearly 400 species including fungi,        to respond to public comments. The
   Comment: Additional species                lichens, bryophytes, mollusks, and             Department added a requirement to
comments. Some respondents felt the           several vascular plants, arthropods and        have plan components, including
rule should include direction on species      vertebrates. None of the species are           standards or guidelines, for integrated
assessments, developing the coarse-           listed under ESA, but little is known          resource management to provide for
filter, and disclosing specific               about them. The final rule requires an         ecosystem services and multiple uses in
environmental effects.                        assessment of existing, relevant               the plan area. This change is in response
   Response: The Department agrees the        information, and the use of best               to public comment to clarify that plan
issues raised are important. The final        available scientific information to            components for integrated resource
rule is intended to provide overall           inform plan components to meet the             management are to provide for
planning direction applicable                 species and diversity requirements of          ecosystem services and multiple uses,
throughout the entire National Forest         the rule. The final rule clarifies that        and to require standards or guidelines as
System. The type of guidance requested        species of conservation concern must be        part of the set of plan components
by these respondents is more                  known to occur in the plan area and that       developed to comply with the
appropriately found in the Forest             the best available scientific information      requirements of paragraph (a). As in
Service Directives System and/or in the       must indicate substantial concern about        earlier sections, the Department also
plans themselves or in the subsequent         the species’ capability to persist over the    changed the phrase “multiple uses,
decisions regarding projects and              long term in the plan area.                    including ecosystem services” to
activities on a particular national forest,                                                  “ecosystem services and multiple uses,”
grassland, prairie, or other comparable       Section 219.10—Multiple Use
                                                                                             consistent with the MUSYA (see
administrative unit. Some of the                 This section requires that plans            response to comments for § 219.1). The
requested guidance, such as how to do         provide for ecosystem services and             Department added a definition of
assessments for particular species,           multiple uses, including outdoor               integrated resource management in
would not apply to planning throughout        recreation, range, timber, watershed,          § 219.19, reflecting the interdependence
the entire System. Other types of             wildlife, and fish, within Forest Service
                                                                                             of ecological resources as well as
guidance, instructing the Agency on           authority and the inherent capability of
                                                                                             economic, ecological, and social
how to carry out the rule’s                   the plan area, through integrated
                                                                                             systems.
requirements, may be so detailed that if,     resource management. The responsible
included in the rule, may make it             official must consider a range of uses,           Paragraph (a)(1) to (a)(10) includes a
unmanageably long and complicated.            resources, services, and opportunities         list of elements the responsible official
Also, including instructions in the rule      relevant to the plan area when                 shall consider when developing plan
on how to carry out various planning          developing plan components to provide          components for integrated resource
tasks may tie the Agency to procedures        ecosystem services and multiple uses,          management to provide for ecosystem
even when it learns better ways to            along with reasonably foreseeable risks        services and multiple uses in the plan
carrying out those tasks. The                 to ecological, social, and economic            area. The Department modified this list
Department concludes that placing such        sustainability. In addition, this section      in response to public comments; some
direction in Forest Service directives,       includes specific requirements for plan        of these modifications are additional
which can change more readily than a          components for a new plan or plan              requirements. The Department modified
rule, or allowing the Agency to try out       revision. This section builds on the           the list as follows: In paragraph (a)(1),
various ways to carry out the rule, is        requirements in § 219.8 for plans to           changed the term recreational values to
likely to result in more effective and        provide for ecological sustainability and      recreation opportunities to make the
efficient planning than including such        contribute to social and economic              wording consistent with other sections
detail in the final rule itself.              sustainability.                                and with paragraph (b)(1), and added
   Comment: “survey and manage.”                                                             “and uses” to the end of the list in
Several respondents requested the             Section 219.10—Response to Comments            paragraph (a)(1) to recognize that the list
planning rule require “survey and               Many comments on this section                includes both resources and uses and
manage’’ procedures currently                 focused on multiple use requirements,          that there may be other resources and
employed in the Pacific Northwest             requirements for ecosystem services,           uses relevant to the plan area; in
under the Northwest Forest Plan.              recreation, cultural and historic              paragraph (a)(3), added the words
Several respondents said one                  resources, wilderness and wild and             “appropriate placement of
foreseeable outcome could be court            scenic rivers, and designated areas. In        infrastructure” to recognize that there
ordered service-wide requirements for         response to public comment, the                may be new infrastructure needs or
“survey and manage” as they believe is        Department made a number of changes            proposals in addition to the need for
currently mandated in the Northwest           to this section to clarify intent.             sustainable management of already
Forest Plan. One respondent believes by          The Department rearranged the               existing infrastructure; in paragraph
expanding the requirements for viability      wording of the introductory paragraph          (a)(5), modified wording to emphasize
beyond vertebrates the Forest Service         of this section to clarify the intent of the   that responsible officials, in addition to
will be forced to use “survey and             Agency that plans must provide for             meeting the requirements in § 219.9 for
manage” procedures of the Northwest           ecosystem services and multiple uses.          diversity and species and providing for
Forest Plan on a nationwide basis.            The Department removed the term                wildlife and fish as part of the earlier
   Response: The final rule does not          “fiscal capability” from the introductory      direction in § 219.10 and paragraph
require “survey and manage”                   paragraph because direction about fiscal       (a)(1), should specifically consider
procedures similar to those in the            capability is now included in § 219.1(g),      habitat conditions for species that are
Northwest Forest Plan. “Survey and            and to be consistent with §§ 219.8 and         used or enjoyed by the public for
manage” is a Northwest Forest Plan            219.9.                                         recreational opportunities such as


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hunting and fishing, or for subsistence,        Comment: Inclusion of MUSYA,                   Comment: Ecosystem services and
and added a requirement that the             multiple use. Some respondents felt            methods for assessing multiple use.
responsible official collaborate with        proposed § 219.10 does not specifically        Some respondents felt the proposed rule
other land managers in doing so; in          reference MUSYA. Other respondents             improperly expands the MUSYA’s
paragraph (a)(6), dropped the wording        felt that administering the NFS lands for      specified multiple use purposes to
in the proposed rule to consider “the        multiple uses should not be included in        include ecosystem services, which the
landscape context for management as          the final rule. Some respondents               proposed rule defines as educational,
identified in the assessment” because it     requested the rule include specific uses.      aesthetic, spiritual, and cultural heritage
was redundant with modifications made          Response: The Department made                values. Some respondents felt
to the requirements in § 219.7, and          changes to this section to clarify that        ecosystem services should be
moved the text at proposed paragraph         plans must include plan components to          determined by research.
(a)(7) to the final paragraph (a)(6);        provide for multiple uses. The MUSYA             Response: The phrase “multiple uses,
moved the text from proposed rule            has guided NFS management since it             including ecosystem services” has been
paragraphs (a)(7), (8) and (9), with some    was enacted in 1960, and will continue         changed throughout the rule to
modifications, to the final rule             to do so, regardless of whether it is          “ecosystem services and multiple uses.”
paragraphs (a)(6),(7), and (8); in           specifically referenced in this section, or    The Department believes this revised
paragraph (a)(9) in the final rule added     any other section, of the rule. The            wording is consistent with the MUSYA,
a new requirement, to consider “public       MUSYA expanded upon the original               which directs the Agency to “develop
water supplies and associated water          purposes for which national forests may        and administer the renewable surface
quality,” in recognition of the role that    be established and administered, which         resources of the national forests for
national forests and grasslands play in      were identified in the Organic                 multiple use and sustained yield of the
providing drinking water to nearly one       Administration Act: “to improve and            several products and services obtained
in five Americans; and added a               protect the forest within the boundaries,      therefrom” (16 U.S.C. 529). MUSYA
requirement at (a)(10), to require           or for the purpose of securing favorable       anticipated and provided for “periodic
consideration of opportunities to            conditions of water flows, and to              adjustments in use to conform to
connect people to nature, recognizing        furnish a continuous supply of timber          changing needs and conditions.” (16
that plans should consider both the          for the use and necessities of citizens of     U.S.C 531). “Ecosystem services” may
resources on the plan area and people’s      the United States.” (Act of June 4, 1897       be a relatively new term, but it is
connection to them.                          (16 U.S.C. 475)).                              entirely within the scope of the Act to
   Paragraph (b)(l)(i) to (b)(l)(vi) sets       The MUSYA states that the Forest            acknowledge that the “several products
forth a list of requirements for plan        Service is to “administer the renewable        and services obtained” from national
components for new plans or plan             surface resources of the national forests      forests and grasslands incorporates the
revisions, adding the requirement that       for multiple use and sustained yield of        full range of values, resources, uses and
the set of plan components developed to      the several products and services              benefits that these lands provide.
meet these requirements include              obtained therefrom.” (16 U.S.C. 529).            Research has provided insights into
standards or guidelines, consistent with     The Act defines “multiple use” as “The         the ecosystem services to be obtained
similar changes in other sections. The       management of all the various                  from the NFS. During the planning
Department modified the requirements         renewable surface resources of the             process, the assessment phase, public
of paragraph (b) to clarify the wording,     national forests so that they are utilized     input, monitoring, and the best available
make these requirements parallel to          in the combination that will best meet         scientific information will help the
other sections of the rule, and to           the needs of the American people;              responsible official identify and develop
respond to public comments. In               making the most judicious use of the           plan components to provide for the
paragraph (b)(l)(i), the Department          land for some or all of these resources        ecosystem services to be obtained from
slightly modified the requirement to         or related services * *       (16 U.S.C.       each NFS unit.
require that plans must provide for          531(a)).                                          Comment: Relationship of ecosystem
sustainable recreation, including               The Department acknowledges and             services to other multiple uses. Some
recreation settings, opportunities, and      applies the MUSYA throughout the final         respondents felt proposed § 219.10 gave
access; and scenic character; and to         rule. In the very first section of the final   ecosystem services higher priority than
make clear in this section that recreation   rule, § 219.1(b) states that the Forest        other multiple uses.
opportunities may include non­               Service manages the NFS to sustain the           Response: The final rule does not give
motorized, motorized, developed, and         multiple use of its renewable resources        ecosystem services higher priority than
dispersed recreation on land, water, and     in perpetuity while maintaining the            multiple uses. It provides an integrated
in the air.                                  long term health and productivity of the       resource management approach, where
   In addition, the Department modified      land, consistent with MUSYA. The rest          interdependent elements of
paragraph (b) by: Changing the wording       of the sections in subpart A give              sustainability are considered as a whole,
for protection of wilderness and             additional direction on how to do that.        instead of as separate resources or uses.
management of areas recommended for          The assessment phase and public                The mix of plan components included
wilderness to be clearer; adding a           participation will help the responsible        in each plan will reflect local conditions
requirement for management of rivers         official determine the range of                in the broader landscape, the best
“determined suitable” for inclusion in       ecosystem services and multiple uses           available scientific information, and
the Wild and Scenic River System;            provided by the unit. Section 219.10           public input.
changed paragraph (b)(l)(vi) to be           requires plan components to provide for           Comment: Procedures for economic
consistent with changes made to              ecosystem services and multiple uses,          analysis. Some respondents felt the rule
§ 219.7(c)(2)(vii) that clarify that the     using an integrated approach to resource       should include specific economic
responsible official may establish new       management. These plan components              indicators for the economic analysis, the
designated areas as part of the plan; and    will be informed by the assessment,            model paradigm for social and
made additional edits for clarity. Some      public input, and the best available           economic resources, and means of
of these are additional requirements to      scientific information, as well as             weighing relative values of multiple
respond to public comment.                   monitoring.                                    uses. Some respondents suggested the


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rule should include specific procedures      and integrated resource management           Federal lands. Plans developed under
for analysis of ecosystem services.          and requiring associated plan                the final rule must comply with all
Several respondents suggested the rule       components, including standards and          applicable laws and regulations
include specific methods for assessing       guidelines. Objectives for resources and     (§ 219.1(f)). It is not expected that the
multiple uses.                               constraints on uses will be established      rule will cause delays or impede
   Response: The final rule does not         by the responsible official in the plans     mineral exploration and development
include this type of guidance as it is       themselves, or in the subsequent             on NFS units. Section 219.10(a)
more appropriate in the Agency’s             decisions regarding projects and             specifically recognizes mineral
directives, because methods, models,         activities. Agency regulations at 36 CFR     resources and directs the responsible
and indicators will alter over time.         part 261 establish certain national          official to consider mineral resources
Forest Service directives will be            prohibitions. The final rule provides a      when developing plan components for
developed for the final rule, and            planning framework to be used on all         integrated resource management for
members of the public will have the          units in the NFS. As part of the             multiple use and sustained yield under
opportunity to comment on them. In           planning process, the final rule includes    the MUSYA. In addition, § 219.8
addition, economic information and           direction for the responsible official to    requires the responsible official take
models represent one kind of best            identify, evaluate, and consider all         into account multiple uses that
available scientific information that the    relevant resources when developing           contribute to the local, regional or
responsible official must use to inform      plan components for ecosystem services       national economies.
the planning process and plan                and multiple uses. Section 219.6                Comment: Relationship of livestock
components.                                  includes general direction to identify       grazing with ecological sustainability
   Comment: Identification of those          and evaluate existing relevant               and other uses. Some respondents felt
providing multiple use information.          information for ecosystem services and       range resource activities should not be
Some respondents felt the rule should        multiple uses, in addition to direction to   supported in the rule, while others felt
specify who should be included to            identify and evaluate information about      it should be supported. Some
provide information about multiple           specific resources and uses such as air,     respondents felt the rule should include
uses.                                        soil, water, and recreation. Section         more specific direction for livestock
   Response: Section 219.4 of the final      219.7 includes direction to develop a        grazing.
rule requires the responsible official to    list of relevant resources as part of the       Response: The final rule sets the stage
provide opportunities for public             plan revision or development process,        for a planning process that is responsive
participation in all phases of the           building on the assessment and any           to the multiple use desires and needs of
planning framework. Section 219.3            additional information developed in the      present and future generations of
requires the identification and use of the   planning process. Sections 219.8-219.11      Americans. Rangeland ecosystems are
best available scientific information to     include requirements for some specific       part of many units, and the MUSYA
inform the planning process. Section         resources, in addition to the                specifically provides that range is one of
219.6 requires identifying and               requirement in § 219.10(a) to consider       the multiple uses for which the national
evaluating existing information relevant     all relevant resources and uses in           forests are managed. The appropriate
to the plan area, including with regard      developing plan components.                  level of grazing on a unit or other
to multiple uses. Monitoring will also       Throughout, the responsible official will    direction regarding range use in the plan
provide information about multiple           use the best available scientific            area is best determined in individual
uses. Communities, groups, or                information, and will be informed by         plans and at the site-specific level, so
individuals interested in these issues       public participation.                        that direction is appropriate to the
can provide input on plan components            The final rule does not prioritize        conditions in the plan area.
for multiple uses by becoming engaged        multiple uses; rather, it requires the          Comment: Game species. Some
in the public participation process          responsible official to provide plan         respondents felt the rule should include
required under this section.                 components for integrated resource           requirements for species that are
   Comment: Specific objectives,             management, based on the resources           hunted, fished, or trapped, including
prohibitions, and inclusion of specific      and uses relevant to the plan area.          recognition of their social and economic
multiple uses and ecosystem services.        Specific direction or guidance for           importance to sportsman,
Several respondents felt the final rule      specific uses will be included in the        photographers, and other enthusiasts
should establish specific objectives for     Forest Service Directives System, the        who enjoy viewing all wildlife. Several
resources and prohibitions of uses.          plans themselves, and/or in the              Indian Tribes and State game and fish
Several respondents requested that the       subsequent decisions regarding projects      departments said that certain species
rule include specific uses. Some             and activities.                              play a special role in contributing to
respondents were for and others against         Comment: Mineral exploration and          social, cultural, and economic
a rule requirement for specific              development. Some respondents felt           sustainability, and that plans should
ecosystem services. Some respondents         that the Forest Service should establish     consider habitat for those species
felt the rule provides the responsible       specific, detailed requirements to           beyond what is required to provide
official with too much discretion over       address mining of mineral resources on       diversity.
multiple uses and instead should             NFS lands while some respondents felt           Response: The Agency recognizes the
prioritize multiple uses or require          the Forest Service fails to address delays   important role of NFS lands in
inclusion of specific multiple uses.         and impediments to mineral exploration       providing the habitat for these species.
Some respondents felt it was unclear if      and development caused by the failure        Plan components designed to meet the
multiple uses listed in proposed             of the rule to address minerals              ecosystem integrity and ecosystem
§ 219.10 would have priority over those      consistent with applicable statutes.         diversity requirements of § 219.9, along
not listed.                                     Response: The planning rule does not      with additional components where
   Response: The final rule recognizes       impose requirements that would create        needed if the species is in the categories
that conditions on each plan area will       inconsistencies with existing laws or        listed in § 219.9(b), will provide the
vary. The final rule therefore focuses on    regulations governing mineral                habitat and other ecological conditions
providing a framework for sustainability     exploration and development on               necessary to support these species.


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Sections 219.6, 219.8 and 219.12 also        and land management planning is a            infrastructure. In paragraph (b), the final
recognize the importance of outdoor          critical process in meeting this need.       rule requires that plan revisions and
recreation opportunities and uses,              The final rule provides direction for     new plans include plan components to
including hunting and fishing. In            sustainable recreation throughout the        provide for sustainable recreation;
addition, section 219.10 of the final rule   planning process. The final rule retains     including recreation settings,
retains the provision of the proposed        the term “sustainable recreation’’ to        opportunities, access; and scenic
rule that specifically requires              recognize that planning should identify,     character. Section 219.12 requires
consideration of habitat conditions for      evaluate, and provide a set of               monitoring for visitor use and progress
wildlife, fish, and plants commonly          recreational settings, opportunities and     toward meeting recreational objectives.
enjoyed and used by the public for           access for a range of uses, recognizing         These requirements are in response to
hunting, fishing, trapping, gathering,       the need for that set to be sustainable      public comment and in recognition of
observing, and subsistence. The final        over time. Ecosystem services include        the importance of recreation.
rule adds a provision that such              “cultural services” such as recreational        Comment: Objectives, standards and
consideration is to be done in               experiences, and social sustainability       guidelines for sustainable recreation.
collaboration with federally recognized      recognizes the activities and traditions     Several respondents felt the rule should
Tribes, Alaska Native Corporations,          that connect people to the land. The         require the plan to identify objectives,
other Federal agencies, and State and        rule recognizes and states in § 219.10       standards and guidelines for sustainable
local governments. This addition,            and the definition section in § 219.19       recreation. A respondent felt the rule
combined with the requirements of            that recreational opportunities include      should use the term “must” instead of
§§ 219.4 and 219.6, should ensure            non-motorized, motorized, developed,         “should” with respect to identifying
appropriate consideration is given to        and dispersed recreation on land, water,     recreational settings, and desired
species of importance to these groups        and in the air. Examples include             conditions for scenic landscape
and entities. The final rule is not          activities such as hiking, biking,           character. Some respondents felt the
intended to require that units maintain      hunting, fishing, horseback riding,          proposed rule provision that the plan
ecological conditions that meet all          skiing, off-highway vehicle use,             should identify desired conditions for
population goals of State agencies.          camping, picnicking, bird and other          “scenic landscape character” was too
                                             wildlife watching, canoeing, kayaking,       narrow; others felt it expanded Agency
   Comment: Recreational priority and
                                             geocaching, recreational aviation, hang      authorities beyond legal mandates.
opportunities. Several respondents felt                                                      Response: The requirement in
                                             gliding, and many more. A detailed list
recreation and its relationship with                                                      § 219.10(b)(l)(i) is changed in the final
                                             was not included in § 219.10 so as not
ecological sustainability deserves                                                        rule; where the proposed rule provided
                                             to inadvertently leave a recreation use
greater importance in the rule, including                                                 that the plan “should identify
                                             out, and also in recognition that new
discussion of specific recreational                                                       recreational settings and desired
                                             recreational uses are always being
opportunities under a separate section.                                                   conditions for scenic landscape
                                             developed.
Other respondents felt more specific            In the assessment phase (§ 219.6), the    character,” the final rule requires that a
requirements for recreational activities     responsible official must identify and       new plan or plan revision must include
and opportunities should be included in      evaluate existing information relevant to    plan components, including standards
the rule. Some respondents felt it was       recreation settings, opportunities, and      or guidelines, to provide for sustainable
inappropriate to include recreational        access, in addition to recreational          recreation; including recreation settings,
facilities with transportation and utility   infrastructure, benefits people obtain       opportunities, and access; and scenic
corridors as examples of infrastructure.     from the plan area and the contribution      character. The term “landscape
   Response: The final rule recognizes       of multiple uses to the local, regional,     character” in proposed § 219.19 has
the importance of recreation, both for its   and national economies. Section 219.8        been replaced in the final rule with
contributions to economic and social         requires the responsible official to take    “scenic character” to clarify what
sustainability, and as an important use      sustainable recreation and scenic            resource is being considered. The scenic
connecting people to the land. The high      character into account when developing       resource falls under the Agency’s
value placed on recreation has been a        plan components to contribute to social      multiple use and sustained yield
common theme throughout the public           and economic sustainability.                 mandate. “Landscape character” in the
participation process leading to this           Section 219.10 requires plan              proposed rule was defined in terms of
final rule. Americans make over 170          components to provide for multiple uses      visual and cultural identity; “scenic
million visits to national forests and       including outdoor recreation. In             character” is defined in the final rule in
grasslands each year. These visits           paragraph (a), responsible officials must    terms of scenic identity.
provide an important contribution to the     consider aesthetic values, ecosystem            Comment: Use of land allocations.
economic vitality of rural communities       services, recreation settings and            Some respondents felt the rule should
as spending by recreation visitors in        opportunities, and habitat conditions        require land allocations to allow the
areas surrounding national forests           specifically for species used and            Agency to establish a recreation zoning
amounts to nearly 13 billion dollars         enjoyed by the public for recreational       system.
annually. Recreation is also a critical      opportunities such as hunting, fishing,         Response: Section 219.7(d) of the final
part of social sustainability, connecting    and wildlife observation. Responsible        rule requires management areas or
people to nature, providing for outdoor      officials must also consider placement       geographic areas in every plan. A plan
activities that promote long-term            and management of infrastructure,            could include management areas based
physical and mental health, enhancing        including recreational facilities. It is     on recreation settings and opportunities.
the American public’s understanding of       appropriate to refer to such facilities as      Comment: Preservation easement. A
their natural and cultural environments,     infrastructure because recreational          respondent expressed concern the
and catalyzing their participation and       facilities are fixed capital installations   Agency is considering putting grazing
stewardship of the natural world.            that enhance recreational experiences.       allotments under a “preservation
Providing for sustainable recreation is      These facilities include: campgrounds,       easement.”
one of the biggest challenges and            roads, trails, backcountry airstrips, and       Response: “Preservation easements”
opportunities facing the Forest Service,     drinking water and wastewater                were not proposed for inclusion in the


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planning rule and are not included in        It does not create a preservation            sustainability, plans must provide for
the final rule.                              mandate, but where actions might             ecosystem services and multiple uses as
   Comment: Protection of cultural and       impair the resources or use, the             provided in this section. Managing NFS
historic resources. Several respondents      Department expects that the responsible      lands and resources such that they
felt the proposed rule would allow           official would seek to avoid or minimize     provide opportunities for spiritual
responsible officials to damage or           potential harm by following established      benefits does not establish a religion,
destroy cultural and historic resources if   procedures for cultural and historic         and no preference is given to one
done for the purpose of achieving other      resource management. The rule does not       religion over another.
resources objectives. Some respondents       remove or change Agency obligations to          Comment: Management of wilderness
felt specific direction for management of    meet the National Historic Preservation      areas and areas recommended for
cultural and historic resources and uses     Act and other laws and Executive orders      wilderness designation. Some
should be added to the rule. Some            for the protection of these resources.       respondents felt the rule should ensure
respondents suggested that                      The final rule does not include more      wilderness protection is not extended to
§ 219.10(b)(l)(ii) include protection of     specific direction for cultural and          recommended wilderness areas so de
the “uses” and “cultural landscapes.”        historic uses or activities and does not     facto wilderness areas are not created by
Other respondents felt the rule should       establish priorities among the multiple      the Agency. Some respondents felt the
establish priorities between cultural and    uses. Additional process requirements        rule should address activities affecting
historic resources and other resource        and guidance are more appropriately          designated wilderness areas or with the
objectives.                                  located in Agency directives, land           potential to degrade areas recommended
  Response: The Department considers         management plans, and projects or            for wilderness and reduce their
cultural and historic resources to be        activities.                                  potential for designation. One
very important for social sustainability        Comment: Non-Tribal indigenous            respondent states the rule should
as well as important economic                rights. Several respondents stated the       include wilderness management
contributors. Benefits of cultural and       final rule should address the                direction parallel to the Wilderness Act
historic sites include: expanded             management of areas of importance for        wording. Another respondent felt the
knowledge and understanding of               non-Tribal indigenous entities with pre­     rule should provide wilderness
history; cultural and spiritual              existing cultural and natural resources      management flexibility to respond to
connections to our heritage; scientific      access, maintenance and use rights           changing conditions.
data about past cultures or historical       based on historical and documented             Response: Wilderness areas provide
conditions and similar matters; and          claims to lands now managed by the           important places for recreation,
tourism that benefits rural economies.       Forest Service.                              solitude, and renewal; are refuges for
The final rule provides direction for           Response: Section 219.1(d) of the final   species; and can attract tourism that
cultural and historic resources              rule states that the planning rule “does     benefits rural economies. Section 219.1
throughout the planning process. The         not affect treaty rights or valid existing   of the final rule states plans must
assessment phase requires identifying        rights established by statute or legal       comply with all applicable laws and
and evaluating information about             instruments.” Section 219.4(a) of the        regulations, including the Wilderness
cultural and historic resources and uses     final rule requires the responsible          Act. The Department changed the
and areas of Tribal importance, in           official to provide opportunities for        wording of § 219.10(b)(iv) of the final
addition to ecosystem services, which        public participation, during which non­      rule from “protection of wilderness
include “cultural services.” Section         Tribal indigenous entities can inform        areas as well as the protection of
219.8 also requires the responsible          the responsible official of areas of         recommended wilderness areas to
official to take cultural and historic       importance to them. Section 219.6(a)(1)      protect the ecologic and social values
resources on the plan area into account      requires the responsible official to         and character for which they might be
when developing plan components to           identify and consider, “relevant             added to the National Wilderness
contribute to economic sustainability        information, including local                 System,” in the proposed rule to
and social sustainability, which             knowledge,” and to identify areas of         “protection of congressionally
includes the traditions and culture that     Tribal importance, as well as cultural       designated wilderness areas as well as
connect people to the land.                  and historic resources and uses. Section     management of areas recommended for
  In § 219.10, paragraph (a) requires that   219.10 requires plan components to           wilderness designation to protect and
the responsible official consider cultural   provide for management of areas of           maintain the ecological and social
and heritage resources, habitat              Tribal importance. Specific issues of        characteristics that provide the basis for
conditions for species used and enjoyed      access and use will be addressed at the      their suitability for wilderness
by the public, and opportunities to          levels of unit planning or project or        designation.” The changes were made to
connect people with nature, when             activity planning.                           increase clarity and better reflect the
developing plan components for                  Comment: Spiritual sustenance. Some       Department’s intent from the proposed
integrated resource management to            respondents felt the rule should not         rule. This requirement, in addition to
provide for ecosystem services and           provide for spiritual sustenance,            related requirements in §§ 219.6, 219.7,
multiple uses, which include cultural        because there is no legal mandate for        and 219.10(a)(1), reflect the Agency’s
and historic resources and uses.             doing it. A respondent stated that the       responsibilities under the Wilderness
Paragraph (b) retains the requirement of     First Amendment prohibits “making of         Act and are consistent with the
the proposed rule that plan components       any law respecting an establishment of       recognition in the MUSYA that
must provide for the protection of           religion.”                                   wilderness is consistent with its
cultural and historic resources. The use        Response: Plans are not required to       purposes and provisions.
of the word “protect” is to ensure that      provide for spiritual sustenance. The          The protection of designated
the responsible official takes into          final rule recognizes in § 219.1(c) and in   wilderness areas is a requirement of
account the effect a plan may have on        the definition of “ecosystem services”       law. Management of areas
cultural and historic values and provide     that spiritual values is one of the          recommended for wilderness
for these resources, within the context      benefits people derive from the NFS. To      designation to protect and maintain the
of managing for multiple use purposes.       contribute to social and economic            characteristics that provide the basis for


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their suitability for designation is lawful      Response: Only Congress has the           monuments, national recreational areas,
and within the Agency’s authority. In         authority to designate wilderness areas      national scenic trails, research natural
fact, many State wilderness acts require      or change the boundaries of designated       areas, and scenic byways. These areas
that any areas recommended for                wilderness areas, under the Wilderness       can contribute in important ways to
wilderness designation are to be              Act of 1964. Wilderness areas provide a      social and economic sustainability as
managed for the purpose of protecting         number of benefits, and the MUSYA            well as ecologic sustainability.
the area’s suitability for wilderness. The    recognizes wilderness as consistent with        The definition of designated areas in
Utah Wilderness Act of 1984 is one            its multiple use purposes and                § 219.19 has been modified so that it is
example (Pub. L. 98-428. § 201(b)(4); 98      provisions. The responsible official will    clear that designated areas may be
Stat 1660).                                   determine whether or not to recommend        established in the land management
   The Department believes the                any new areas for designation as part of     planning process or by a separate
requirement in the final rule meets the       the planning process.                        process by statute or by an
Agency’s intent to ensure that the types         Comment: Wild and scenic river            administrative process in accord with
and levels of use allowed would               protection. Some respondents supported       NFPA requirements and other
maintain wilderness character and             protection of rivers not designated as a     applicable laws. Section 219.7(c)(2) has
would not preclude future designation         wild and scenic river, while others did      been modified to make clear that
as wilderness. Specific direction             not. One respondent commented that           responsible officials may designate an
regarding incompatible uses in                proposed § 219.10(b)(l)(v) provides          area if they have the delegated authority
recommended wilderness areas will be          protection for only eligible rivers.         to do so. Section 219.10(b)(l)(vi) of the
found in the Forest Service Directives           Response: The final rule has been         final rule requires plan components to
System and in plans themselves.               changed to include suitable rivers in        provide for the “appropriate
                                              § 219.10(b)(l)(v). The Wild and Scenic       management of other designated or
   Comment: Responsible official
                                              Rivers Act requires “every wild, scenic,     recommended special areas in the plan
discretion to recommend areas for
                                              or recreational river in its free-flowing    area, including research natural areas.”
wilderness designation. Some
                                              condition, or upon restoration to this       Specific guidance on designation
respondents felt the proposed rule
                                              condition, shall be considered eligible      procedures is more appropriate for the
provides the responsible official with
                                              for inclusion in the national wild and       Agency’s directives, and is not found in
too much discretion about evaluations
                                              scenic river system.” To be eligible for     the rule.
for, determinations of, and management
                                              inclusion, a river must be free-flowing
of areas recommended for wilderness                                                        Section 219.11—Timber Requirements
                                              and, with its adjacent land area, possess
designation.                                                                               Based on the NFMA
                                              one or more “outstandingly remarkable”
   Response: Section 219.7 of the final       values. The determination of eligibility       This section of the final rule includes
rule was modified to require the              is an assessment that does not require a     provisions for identifying lands as not
identification and evaluation of areas        decision or approval document,               suitable for timber production and for
that may be suitable for inclusion in the     although the results of this inventory       limitations on timber harvest. This
National Wilderness Preservation              need to be documented as a part of the       section meets the statutory requirements
System. Public input during the               plan document or plan set of                 of the NFMA related to management of
opportunities for public participation        documents.                                   the timber resource. The NFMA, along
will help the responsible official               Once a river is determined to be          with the requirements of this section,
determine whether to recommend any            eligible, a suitability study gives the      would provide for mitigation of the
such areas for wilderness designation.        basis for determining which rivers to        effects of timber harvest on other
State wilderness acts, typically require      recommend to Congress as potential           resources and multiple uses. Other
the Forest Service to review the              additions to the National Wild and           sections of the final rule contain
wilderness option of areas during plan        Scenic Rivers System (National System).      provisions that supplement the
revision. The Utah Wilderness Act of          Therefore, the Department decided it is      requirements of this section.
1984 is one example (Pub. L. 98-428.          appropriate and consistent with the Act        Timber is one of the multiple use
§ 201(b)(2); 98 Stat. 1659). The              for the Agency to protect rivers             purposes of the NFS, as recognized by
responsible official’s recommendation         determined to be suitable until Congress     the MUSYA and the Act of 1897, also
in a plan is not the President’s              decides on designation and those             known as the Organic Administration
recommendation to Congress. So, the           eligible until the Agency determines if      Act. Timber is also recognized by
recommendation is not necessarily what        the rivers are suitable for the values for   § 219.10 of this subpart. The National
is recommended to Congress. The               which they may be included in the            Forest Management Act of 1976 signaled
Agency’s process for identifying and          national wild and scenic river system.       a new direction for the planning and
evaluating areas for recommendation is           Comment: Special designations. Some       management of NFS lands, especially
established in the Forest Service             respondents felt the rule should provide     with regard to management of the
Directives System in the Forest Service       for special designations including a         timber resource and impacts to other
Handbook 1909.12, which will be               comprehensive list of designated or          resources. Management and use of
revised and made available for public         recommended special areas. Several           timber harvest on NFS lands continues
comment. Specific direction and               respondents felt the rule should include     to evolve. Today, harvest of timber on
requirements for management of                specific procedures for identifying areas    NFS lands occurs for many different
wilderness areas are also included in         for special designation. A respondent        reasons, including ecological
the Forest Service Directives System,         felt the rule should provide the             restoration, community protection in
and are in the process of being revised       responsible official the opportunity to      wildland urban interfaces, habitat
and put out for public comment.               designate special areas.                     restoration, and protection of municipal
   Comment: Wilderness designation.              Response: The Agency manages many         water supplies. Timber harvest also
Several respondents felt that the Agency      kinds of designated areas in addition to     supports economic sustainability
should increase wilderness areas, while       wilderness areas and wild and scenic         through the production of timber, pulp
others felt that the Agency should            rivers, including experimental forests,      for paper, specialty woods for furniture,
reduce wilderness areas.                      national heritage areas, national            and fuel for small-scale renewable


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energy projects. Timber harvesting,         this sentence about factors because the      for timber production are suited for
whether for restoration or wood             criteria at paragraphs (a)(l)(i) through     timber production because some
production objectives, also supports        (a)(l)(vi) are the physical, economic,       respondents believed this required the
employment and provides payments in         and other pertinent factors to deal with     designation of these lands as suitable for
lieu of taxes in many counties              the requirements of the statute (16          timber production, which was not the
throughout the country.                     U.S.C. 1604(k)), and include the             Department’s intent. In addition, the
   This final rule provides the guidance    consideration of other desired               Department added a requirement in
for developing plans, not guidance for      conditions and objectives in the plan. In    paragraph (b) of this section to clarify
individual projects, and it is important    particular, paragraph (a)(l)(iii) of this    that where a plan identifies lands as
to recognize that any individual timber     section deals with the economic factors      suitable for timber production the plan
project or activity could not provide for   as the responsible official develops         must include plan components to guide
all aspects of social, economic, or         desired conditions to provide for social,    timber harvest for timber production or
ecological sustainability. However, all     economic, and ecological sustainability      for other multiple purposes on such
projects and activities must be             (§§219.8-219.11).                            lands.
consistent with the plan components in         The provision discussing the 10-year        Modified paragraph (c) of this section
the plan, including those developed to      review of lands not suitable for timber      combined provisions from paragraph
meet the requirements of sustainability,    production that was in paragraph (a) of      (b)(2) and paragraph (c) of the proposed
diversity, multiple use, and timber         the proposed rule has been removed           rule. Paragraph (c) has a new caption of
(§§ 219.8 through 219.11), as required      from paragraph (a)(1) and moved to           “timber harvest for purposes other than
by § 219.15.                                modified paragraph (a)(2) of this            timber production.”
                                            section.                                       Paragraph (c) of this section sets forth
Section 219.11—Response to Comments            The specific factors in paragraph (a)     that the plan may include plan
  Many concerns were raised over            for identifying lands not suitable for       components to allow for timber harvest
direction for timber harvest for purposes   timber production are based on the
other than timber production,                                                            for purposes other than timber
                                            NFMA requirements limiting timber
                                                                                         production as a tool to assist in
responsible official discretion in          harvest (16 U.S.C. 1604(g)(3)(E)) and the
determining timber harvest on lands not                                                  achieving or maintaining one or more
                                            Agency policy. Paragraph (a)(l)(iv) of
suited for timber production, and                                                        applicable desired condition(s) or
                                            this section contains a specific criterion
suitability of lands for timber                                                          objective(s) of the plan in order to
                                            that would not allow lands to be
production. For clarity, the Department                                                  protect other multiple-use values, and
                                            identified as suitable for timber
modified this section from the wording                                                   for salvage, sanitation, or public health
                                            production unless technology is
of the proposed rule.                                                                    or safety. The wording “in order to
                                            currently available for conducting
  In the opening paragraph of this                                                       protect other multiple-use values” was
                                            timber harvest without causing
section, the Department removed the                                                      added for consistency with the intent of
                                            irreversible damage to soil, slope, or
phrase “the plan must provide for                                                        the NFMA, which allows for timber
                                            other watershed conditions. Available
multiple uses and ecosystem services                                                     harvest “necessitated to protect * * *
                                            technology may vary from place to
including timber” because that              place, and could be, for example: horse      multiple use values” other than timber
requirement is found in § 219.10 and        logging, ground based skidding, aerial       production on lands not suited for
replaced that phrase with the words         systems, or cable logging systems. This      timber production (16 U.S.C. 1604(k)).
“the plan must include plan                 provision has been in place since the        The wording of this paragraph also
components, including standards or          1979 rule, to meet the NFMA obligation       reflects longstanding Agency practices
guidelines, and other plan content          to consider physical factors to              of using timber harvest to protect other
regarding timber management” to more        determine the suitability of lands for       multiple use values and public health
accurately reflect the requirements of      timber production. The factor has been       and safety in areas not suited for timber
this section. The Department changed        effective in protecting watershed            production.
the term “capability” to “inherent          conditions. However, the Department            In modified paragraph (d) of this
capability” to be consistent with other     removed the words “or substantial and        section, the rule discusses the
sections of this subpart. The Department    permanent impairment of the                  limitations on timber harvest based on
defines the term inherent capability in     productivity of the land” from               statutory requirements, incorporating
§ 219.19. The Department removed the        paragraph (a)(l)(iv) in the final rule       and modifying wording from the
term “fiscal capability” from this          because it caused confusion and the          paragraphs (b)(1) and (d) of this section
section. Fiscal capability is now           Department’s intent was captured by the      of the proposed rule. Paragraph (d)(1) of
discussed in § 219.1 and is an              remaining term “irreversible damage to       this section in the final rule states the
overarching consideration throughout        soil, slope, or watershed conditions.”       same requirement as paragraph (b)(1) of
the planning process, rather than being        Paragraph (a)(2) of this section now      the proposed rule.
pointed out for only selected portions of   discusses the requirements of the 10-          At paragraph (d)(2) in this section, the
the planning process. Other minor           year review of lands not suitable for        rule includes the provision that plan
wording changes were made for clarity.      timber production. This paragraph            components shall ensure timber harvest
  Paragraph (a) has a new caption of        combines and modifies discussions            would occur only where soil, slope, or
“Lands not suited for timber                from paragraph (a)(1) and paragraph          other watershed conditions would not
production.” In paragraph (a)(1) of this    (a)(3) of the proposed rule for clarity.     cause irreversible damage, which is a
section, in the discussion of identifying      Paragraph (a)(2) of the proposed rule     requirement of NFMA (16 U.S.C.
lands not suitable for timber production,   has been modified and redesignated as        1604(g)(3)(E)(i)); the proposed rule (at
the Department removed the sentence         paragraph (b) with a new caption of          paragraph (d)(1)) included a citation to
“The responsible official may               “Timber harvest for the purposes of          this part of NFMA, therefore this change
determine, considering physical,            timber production.” The Department           does not add a new requirement.
economic, and other pertinent factors,      removed the wording of the proposed            Paragraph (d)(3) of this section
that lands are not suitable for timber      rule about lands which are not               includes the same requirement as
production.” The Department removed         identified in the plan as “not suitable”     paragraph (d)(2) of the proposed rule.


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   In paragraphs (d)(4)(i) through              NEPA regulations direct environmental         consistent with other plan components
(d)(4)(iii) of this section, the rule directs   analysis and the use of interdisciplinary     of the land management plan.” The
that plan components must ensure that           teams.                                        Department removed the provision of
plans include size limits for                      In paragraph (d)(6) of this section, the   the proposed rule at paragraph (d)(5)
regeneration of even-aged stand of trees        rule directs that plan components must        that stated: “If such exceptions are
in one harvest operation. The rule              set forth the limit on the quantity of        anticipated, the responsible official
retains wording of paragraphs (d)(3),           timber that may be sold in the national       should include those exceptions in the
(d)(3)(i), (d)(3)(ii), and (d)(3)(iii) of the   forest. The Department modified the           land management plan as standards or
proposed rule, with minor changes for           wording of paragraph (d)(4) of the            guidelines” because it is now redundant
clarity. The changes include: (1)               proposed rule, and moved the provision        with the sentence “Plan components
Clarifying what the plan may or may not         to paragraph (d)(6) of the final rule as      may allow for exceptions * * *.” The
provide, rather than set out a                  follows:                                      Department removed the provision
prohihition on projects; (2) the term              (1) The proposed rule required plan        about directives and CMAI, because that
“areas to he cut in one harvest                 components to limit the quantity of           sentence is redundant with the
operation” has been replaced with               timber that can be removed annually in        provision at § 219.2(b)(5)(i) requiring
’’openings that may be cut in one               perpetuity on a sustained-yield basis.        Forest Service directives. These
harvest operation;” and (3) the                 The final rule says plan components           modifications at revised paragraphs
discretion for plans to exceed the              must ensure the quantity of timber that       (d)(7) of this section are not changes in
default maximum size of paragraph               may be sold from the national forest is       requirements but clarify the
(d)(3)(i) of the proposed rule has been         limited to an amount equal to or less         Department’s intent and reduce
changed from “Cut openings larger than          than that which can be removed from           redundancy.
those specified may be permitted where          such forest annually in perpetuity on a          Comment: Timber harvest for other
larger units will produce a more                sustained-yield basis. This change was        purposes. Some respondents felt the
desirable combination of benefits” to           made to agree with the NFMA wording.          proposed rule at § 219.11(b)(2) was
                                                   (2) The Department added a sentence        either too discretionary or too restrictive
“Plan standards may allow for openings
                                                that this limit may be measured on a          in meeting NFMA’s allowance for
larger than those specified in paragraph
                                                decadal basis to reflect the Agency           salvage sales and other limited timber
(d)(4) of this section to be cut in one
                                                practice, and 16 U.S.C. 1611. Note that       harvest on lands not suited for timber
harvest operation where the responsible
                                                under this paragraph the quantity sold        production. Some respondents felt the
official determines that larger harvest
                                                in any given year may exceed the              proposed rule should prohibit timber
openings are necessary to help achieve
                                                annual average for the decade, but the        harvesting on unsuitable lands or
desired ecological conditions in the
                                                total quantity sold over a 10-year period     specify that timber salvage on those
plan area.” These changes in wording
                                                may not exceed the decadal limit.             lands be solely for non-commercial
from the proposed to the final rule are            (3) The Department changed the
not changes in requirements, but simply                                                       purposes.
                                                provision that required the plan to             Response: Today, timber harvest is
clarify the Department’s intent.                “provide for departure from the limit, as     often used to achieve ecological
   In paragraph (d)(5) of this section, the     provided by NFMA” to “The plan may            conditions and other multiple use
rule directs that plan components must          provide for departures from this limit as     benefits for purposes other than timber
ensure that timber will be harvested            provided by the NFMA where departure          production. Therefore, the Department
only where the harvest complies with            would be consistent with the plan’s           clarified at § 219.11(c) that a plan may
resource protection requirements of the         desired conditions and objectives.”           include plan components to allow for
NFMA. Paragraph (d)(5) is a                        (4) The Department added that              timber harvest for purposes other than
modification of paragraph (d)(1) of the         exceptions for departure from this limit      timber production as a tool to assist in
proposed rule and this modification is          on the quantity sold must be made with        achieving or maintaining one or more
not a change in requirements. These             a public review and comment period of         applicable desired conditions or
requirements reference the provisions of        at least 90 days, to be consistent with       objectives of the plan to protect other
NFMA to limit harvest to situations             the NFMA.                                     multiple-use values. Consistent with
where the productivity of the land could           The Department concludes that these        Section 1604(k) of NFMA, § 219.11(c) of
be sustained and harvesting                     changes in wording at revised                 the proposed rule also allows timber
prescriptions are appropriately applied.        paragraphs (d)(6) of this section clarify     harvest for salvage, sanitation or public
For example, by referencing NFMA                the Department’s intent and reflect the       health or safety in areas not suitable for
paragraph (d)(5) requires plan                  requirements of the NFMA.                     timber production. The Department
components for even-aged timber                    In paragraph (d)(7) of this section, the   believes that the provisions of this
harvest that: (1) Limit clearcutting to         rule directs that plan components must        section provide a balanced approach
locations where it is determined to be          ensure that the regeneration harvest of       recognizing that timber harvest will be
the optimum method for regenerating             even-aged stands of trees is limited to       necessary in many places to assist the
the site; (2) require interdisciplinary         stands that generally have reached the        Agency in accomplishing restoration
review of the harvest proposal; and (3)         culmination of mean annual increment          and other multiple use objectives.
require cutting to be blended with the          of growth (CMAI). The Department                 Section 219.11(d)(1) of the final rule
natural terrain. These requirements are         retains the wording of paragraphs (d)(5)      restates the prohibition that had been in
referenced but not repeated in the final        of the proposed rule, with minor              the proposed rule at 219.11(b)(1), that
rule because the Department believes            changes for clarity. The changes              no harvest for the purpose of timber
they are incorporated and enhanced by           include: Changing the provision that          production may occur on lands not
the requirements for resource protection        “Exceptions, set out in 16 U.S.C.             suitable for timber production. The final
in other sections of the rule and plan          1604(m), are permitted only if                rule at § 219.11(d) also requires plan
consistency requirements of § 219.15. In        consistent with the land management           components to ensure no timber harvest
addition, some requirements are not             plan” to “Plan components may allow           may occur on lands where timber
repeated because they are addressed by          for exceptions, set out in 16 U.S.C.          harvest would cause irreversible damage
other regulations; for example, the             1604(m), only if such harvest is              to soil, slope, or other watershed


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conditions. Timber harvest must be            comparable administrative unit. The          established by the plan. The desired
consistent with the desired conditions        rule also allows those interested            conditions include those to meet
set out in the plan (§ 219.15).               communities, groups, or persons to           requirements for plan development or
  Comment: Responsible official               engage in the public participation           revision (§ 219.7); social, economic, and
discretion in determining timber harvest      process for the development of plans.        ecological sustainability (§ 219.8); plant
on lands not suited for timber                Public participation will also be used       and animal diversity (§ 219.9); multiple
production. Some respondents felt the         during the subsequent development of         use (§ 219.10); and timber (§ 219.11).
proposed rule allows the responsible          proposed projects and activities under       The responsible official will establish
official too much discretion in allowing      the plan, during which concerns              management areas with different
or permitting timber harvesting on lands      regarding suitability of lands may be        desired conditions based on providing
not suited for timber production.             raised.                                      social, economic, and ecological
  Response: This section, as well as             Comment: Cost and revenues of             sustainability. This suitability
other sections of the rule, provides          timber harvesting. Some respondents          determination is complex and will be
sideboards to the responsible official’s      felt the rule should require full and        based on analysis of costs, benefits, and
discretion. The rule identifies factors to    explicit disclosure of costs and benefits    values.
be considered by the responsible official     of timber harvesting in order for the           Additional rule requirements for a
in paragraph (c) of this section              public to more accurately compare plan       detailed analysis of costs and benefits
consistent with the NFMA, specific            alternatives and plan components. They       other than the final rule requirement for
limitations that require standards or         felt timber harvesting should only be        an EIS for plan development and plan
guidelines for timber harvest, and            allowed where direct revenues will           revision and that plans be amended to
consistency with other applicable plan        exceed all direct costs, and lands not       be consistent with Forest Service NEPA
components.                                   cost-efficient should be designated          procedures are not necessary.
  Section 219.3 of the rule requires the      unsuitable. Some felt the Government
responsible official to use the best                                                          Comment: Review of lands suitable
                                              should not subsidize the logging             for timber production. A respondent felt
available scientific information. The         industry or compete against private
rule also allows those interested                                                          lands suitable and not suitable for
                                              timber forest owners.
communities, groups, or persons to                                                         timber production should be reviewed
                                                 Response: The costs and benefits of
engage in the public participation                                                         every 10 years to ensure these
                                              each alternative for a plan developed
process for the development of plan           under the final rule is required to be       designations are still appropriate. A
components and monitoring programs            disclosed under the NEPA process at the      respondent said the proposed rule has
and for the subsequent development of         time of plan development, revision, or       incorrectly expanded and interpreted
proposed projects and activities under        (if relevant) amendment. The                 the base requirements of the NFMA by;
the plan. Individual proposed projects        Department recognizes that the cost of       (1) falsely stating that the NFMA
for timber harvesting will still undergo      timber harvest is a major concern. The       requires the identification of lands
additional opportunities for public           real measure of the worth of the timber      suitable for timber production (the
involvement during the project’s NEPA         program; however, is not net cost versus     respondent declared that the NFMA
process. The Department believes that         revenues, but costs versus public            only requires identification of land not
these requirements provide an                 benefits. The final rule requires plan       suited for timber production); and (2)
appropriate balance of requirements and       components for restoration which will        stating that all lands not identified as
discretion.                                   likely result in projects to achieve         not suitable are therefore suitable.
  Comment: Suitability of lands with a        multiple benefits. Some of these benefits       Response: The NFMA requires a
primary conservation focus. A                 can be measured as receipts; others are      review of lands designated not suitable
respondent felt the rule should state that    public benefits for which revenues are       every 10 years, and the rule follows this
timber production is not suitable on          not received, such as restored               mandate. The rule requires
lands managed with a primary                  watersheds; improved wildlife habitat;       identification of land not suited for
conservation or restoration focus,            and improved bird watching, fishing,         timber production and imposes specific
including inventoried roadless areas,         and hunting opportunities. The               factors to be considered. The purpose of
old-growth forests, priority and              emphasis of the final rule is                identifying lands not suitable for timber
municipal watersheds, and riparian            sustainability; and managing vegetation      production is to identify the land base
areas.                                        can help attain sustainability. Selling      upon which timber production harvest
  Response: The proposed rule provides        timber and managing vegetation is a key      levels are subsequently calculated
overall direction for how plans are           tool for restoration and providing           (lands suitable for timber production).
developed, revised, and amended.              wildlife habitat (cover types and age        To avoid confusion, the provision
Section 219.11(a)(l)(iii) requires that       classes), creating diversity in the visual   saying that “all lands not identified in
where timber production would not be          appearance of the landscape, improving       the plan as not suitable for timber
compatible with desired conditions and        the overall ecological integrity,            production are suited for timber
objectives established by the plan,           producing timber products, providing         production” has been removed from the
including those established in                jobs, and providing additional               final rule. The Department believes the
accordance with the requirements for          recreational opportunities by increasing     respondent’s assumption behind this
suitability (§ 219.8), diversity (§ 219.9),   forest access. Increasingly, the Agency      comment is that all lands except those
and multiple use (§ 219.10), the              uses stewardship contracts to offer          determined to be not suitable will be
responsible official shall identify such      projects to achieve multiple objectives      harvested. That is not the Agency’s
lands as not suitable for timber              including harvesting timber for              expectation. The identification of lands
production. Additional guidance               restoration purposes.                        suitable for timber production is not a
regarding suitability of lands will be           For lands to be identified in the plan    final decision compelling or approving
found in the plans themselves, or in the      as suitable for timber production, timber    projects and activities. A final
subsequent decisions regarding projects       production on those lands must be            determination of suitability is made
and activities on a particular national       compatible with the achievement of the       through project and activity
forest, grassland, prairie, or other          desired conditions and objectives            decisionmaking.


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   Comment: Aesthetic resources. A           timber harvest or standards limiting the     involvement with higher level approval
respondent felt “aesthetic resources”        amount of timber harvested in the first      for exceeding the limits. The
should be removed from proposed              decade. However, changing the tables or      Department believes that the procedure
§ 219.11(d)(2) wording because timber        graphs of associated timber information      for varying from these limits may be
harvesting can create less appealing         in other plan content (§ 219.7(f)) may be    particularly justifiable in the future for
aesthetics but can be an integral part of    done with an administrative change.          ecological restoration, species recovery,
sustaining high quality wildlife habitat.       Comment: Levels of timber harvest. A      improvement of vegetation diversity,
   Response: The final rule retains the      respondent felt the rule should require      mitigation of wildland fire risk, or other
wording of the proposed rule at              forest plans to identify three timber        reasons. For example, some rare species
§ 219.11(d) ensuring timber harvesting       production levels. Those three levels        are adapted to large patch sizes with
is consistent with protection of aesthetic   were: (1) The long-term sustained-yield      similar habitat attributes for critical
resources, because the wording matches       capacity, which is the theoretical           parts of their life cycle.
the NFMA at 16 U.S.C. 1604(g)(3)(F)(v).      maximum sustainable level in                    Comment: Limiting the quantity of
However, the Department recognizes           perpetuity; (2) the timber harvest level     timber removed annually. Some
that selling timber and managing             associated with achieving the desired        respondents felt the proposed rule was
vegetation are important tools for           future conditions contemplated in the        unclear on direction for limiting the
providing wildlife habitat (cover types      plan; and (3) the probable timber            quantity of timber removed annually in
and age classes), creating diversity in      harvest level given anticipated budgets      perpetuity on a sustained-yield basis as
the visual appearance of the landscape,      and other priorities.                        it simply repeats NFMA wording.
and improving the overall forest health.        Response: Final rule §§ 219.7(f) and         Response: The Department changed
   Comment: Allowable sale quantity. A       219.11(d)(6) require determination of        the wording in paragraph (d)(6) of this
respondent felt the planning rule should     the long-term sustained-yield capacity       section of the final rule to add clarity.
include a requirement for allowable sale     (the quantity of timber that may be sold     In addition, the Department requires the
quantity as in the 1982 rule.                from the national forest) and require        Chief to set forth procedures for
   Response: Section 219.11 includes         determination of the planned timber          planning in the Forest Service
timber requirements based on the             sale program. A requirement for the          Directives System to further explain the
NFMA. The term “allowable sale               timber harvest level associated with         methods for determining the limit of the
quantity” (ASQ) is a term of art of the      achieving the desired future conditions      quantity of timber removed annually in
1982 rule. The term ASQ is used in the       is not included because the NFMA does        perpetuity on a sustained-yield basis for
NFMA in discussions about departures         not require such a calculation and it        an individual unit plan (§ 219.11(d)(6)).
that exceed the quantity of timber that      would be a highly speculative harvest           Comment: Use of culmination of
may be sold from the national forest (16     level that would not likely be realistic.    mean annual increment. A respondent
U.S.C. 1611). However, the NFMA does         Harvest levels must be within the fiscal     felt the proposed use of culmination of
not require that the term be used in the     capability of the unit.                      mean annual increment (CMAI) of
implementing regulations (16 U.S.C.             Comment: Timber harvest unit size         growth to limit regeneration harvests of
1604). The term has caused confusion         limits. Some respondent felt the             even-aged stands will not address issues
about whether ASQ is a target or an          proposed rule standards for maximum          of poor forest health, and the likelihood
upper limit under the 1982 rule              size limits for areas to be cut in one       of uncharacteristic insect, disease, and
procedures, the Agency wants to avoid        regeneration harvest operation should        fire. Another respondent felt CMAI
this confusion under this final rule.        be determined by local conditions,           should also be used where timber is cut
Plans will have an upper limit for           individual forest plans objectives, based    in non-even-aged stands.
timber harvest for the quantity of timber    on science, and mimic historic forest           Response: The Department does not
sold as required in § 219.11(d)(6). The      disturbance regimes.                         agree that the national policy of CMAI
requirements in § 219.7(f) that plan            Response: These limits on the             as required by 16 U.S.C. 1604(m) has
content must include information about       maximum opening sizes were                   caused problems with issues of forest
the planned timber sale program and          established in the 1979 planning rule        heath and the likelihood of
timber harvesting levels, and in             and have been in use under the 1982          uncharacteristic insect, disease, and fire.
§ 219.11(d)(6) that the plan must limit      rule. In 1979, the committee of scientists   The national policy gives the Agency
the quantity of timber that may be sold      recommended the maximum size for             authority for exceptions from this
from the national forest to that which       openings created by timber cutting be        standard for recreation, wildlife habitat,
can be removed annually in perpetuity        set by regional plans or regional            and other purposes. The NFMA requires
on a sustained-yield basis, provide a        silvicultural guides, not be set as a        that standards shall not preclude the use
more practicable way to give direction       national standard. However, the              of sound silvicultural practices, such as
than using the term “ASQ.” Additional        Department decided in 1979 to set            thinning or other stand improvement
requirements will be found in the Forest     maximum size of harvest cut openings         measures. CMAI does not apply to
Service Directive System.                    (40-, 60-, or 100-acre maximums              uneven-aged stands as these stands are
   Comment: Changing plan harvest            depending on geographic location) with       multi-aged; therefore, the final rule
levels relationship with plan                exceptions provided for through              continues to limit the use of CMAI to
amendments. A respondent felt                regional plans where larger openings         regeneration harvests of even-aged
changing the timber harvesting level         will produce more desirable                  stands.
specified in the unit plan should be         combinations of benefits. In the final
done through a revision or amendment         rule, the Department continues these         Section 219.12—Response to Comments
of the unit plan because timber              standards with the exceptions provided         Many comments on this section
harvesting is an important objective.        through the responsible official, who is     focused on requirements for the plan
   Response: Any change to plan              normally the forest or grassland             monitoring program, broad-scale
components related to timber harvesting      supervisor. The procedure for varying        monitoring strategies, and use of the
level requires a plan amendment under        these limits is an established process       monitoring information and the
this final rule. Such plan components        that has worked effectively, providing a     monitoring report. Throughout this
may include objectives for annual            limit on opening size and public             section of the final rule, the Department


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made minor edits for clarity and           in the comment on monitoring of at risk       At paragraph (c) of this section on
changed the name from “unit                species.                                   timing and process, the Department
monitoring program” in the proposed           (4) At paragraph (a)(5)(v), the         removed the requirement at paragraph
rule to the “plan monitoring program”      Department added the status of visitor     (c)(1) where the proposed rule required
In the final rule. This change to the      satisfaction to the requirement for        the responsible official to work with the
name clarifies that monitoring is          questions and indicators for the status of public to identify potential monitoring
intended to focus on the plan              visitor use designated at paragraph        needs during the assessment. The
components and is not geographically       (a)(5)(iv) of the proposed rule, in        Department removed this requirement
defined or applicable to other resource    response to public comment.                from the assessment phase in response
program monitoring on the unit.               (5) At paragraph (a)(5)(vi), the        to public comments to make the
Additionally, the Department added a       Department retained the requirement for assessment phase more efficient and
sentence to paragraph (a) to draw a        questions and indicators related to        focused. As required in § 219.7, the
clearer link between the monitoring        climate change designated at paragraph     assessment information will inform the
program and the use of monitoring          (a)(5)(v) of the proposed rule, and        development of monitoring questions
information for adaptive management of changed the words “and other stressors         and indicators during the plan
the plan area.                             on the unit” to “and other stressors that  development or revision phase.
   The Department removed the              may be affecting the plan area.”              The Department removed paragraph
requirements for science in paragraph         ((5 ) The Department removed the        § 219.12(c)(4) of the proposed rule, the
(aXlKii) because the requirements of       requirement for questions and              requirement that responsible officials
§ 219.3 apply to the entire subpart and    indicators for the carbon stored in above ensure that scientists are involved in the
therefore do not need to be repeated       ground vegetation previously designated design and evaluation of unit and broad­
here. The Department is committed to       at paragraph (a)(5)(vi) of the proposed    scale monitoring, because wording of
using science to inform monitoring and     rule. This change is accompanied by a      the requirement was confusing and the
the decisions based on monitoring          change to § 219.6(b)(4) that requires      substance of the requirement was
information.                               responsible officials to identify and      redundant with the coordination
   At paragraph (aK5) of this section, the evaluate existing information for a        requirements at §§ 219.12(a)(1) and
Department corrected the phrase            baseline assessment of carbon stocks as    (b)(2) of the rule.
monitoring “questions or indicators” to    part of the assessment. This change in        The Department reorganized
“questions and associated indicators” to requirements will lead to a more             paragraph (d) for clarity. The
better reflect the way questions and       comprehensive assessment of carbon         Department removed the second
indicators are used for monitoring. In     stocks (as opposed to carbon stored in     sentence of paragraph (d)(1) of the
response to public comment the             above ground vegetation) earlier in the    proposed rule and moved to paragraph
Department made several changes to the planning process. The Department               (d)(2) the requirement the monitoring
list of required monitoring questions      retains the requirement to monitor         evaluation report indicate whether a
and associated indicators of paragraph     changes related to climate change and      change to plan components or other
(a)(5) as follows:                         other stressors (§ 219.12(a)(5)(vi).       plan content may be warranted. In
   (1) At paragraph (a)(5)(ii) of this        (7) At paragraph (a)(5)(vii), the       addition, at paragraph (d)(2) the
section, the Department added direction Department removed the requirement            Department added the requirement that
that the monitoring for the status of      for questions and indicators for the       the report must be used to inform
select ecological conditions include       progress toward fulfilling the unit’s      adaptive management of the unit.
questions and indicators for key           distinctive roles and contributions and       At paragraph (d)(l)(iii) of the
characteristics of terrestrial and aquatic added a requirement for questions and      proposed rule the Department removed
ecosystems, to link this monitoring        indicators addressing the progress         the requirement that the monitoring
requirement to the ecological              toward meeting the desired conditions      evaluation report must describe how
requirements in §§ 219.8 and 219.9.        and objectives in the plan, including for best available science was taken into
   (2) At paragraph (a)(5)(iii) of this    providing multiple use opportunities.      account, because the report is intended
section, the Department clarified that     This change more accurately reflects       to be an evaluation of data and
questions and indicators for the status of what the Department intended to            information gathered by the plan
focal species are to assess the ecological accomplish with the previous               monitoring program, which must be
conditions required under § 219.9, to      requirement at paragraph (a)(5)(vii) and   informed by best available scientific
link this monitoring requirement more      the other requirements of (a)(5), and will information. A new requirement was
clearly to the coarse-filter requirements. help inform management effectiveness.      added to section 219.14(a)(4) to make
   (3) At paragraph (a)(5)(iv) the            (8) At paragraph (a)(5)(viii), the      clear that the plan decision document
Department added a new requirement         Department changed the term                must document how the responsible
for questions and indicators for the       “management system” to “each               official used best available scientific
status of a select set of ecological       management system” to use words of         information to inform the plan
conditions required under § 219.9 to       the NFMA at 16 U.S.C. 1604(g)(3)(C)        monitoring program.
contribute to the recovery of federally    and respond to public comments.               In addition, paragraph (d)(3) of the
listed threatened and endangered              The Department added wording to         proposed rule is now paragraph
species; conserve proposed and             paragraph (a)(7) to clarify that project   (d)(l)(iii) of the final rule, paragraph
candidate species; and maintain a viable and activity monitoring may be used to       (d)(2) of the proposed rule is now (d)(3)
population of each species of              gather information for the plan            of the final rule, but no changes to these
conservation concern. This change was      monitoring program, and that plan          requirements were made.
made in response to comments to more       monitoring may inform the                     Comment: Scope of monitoring. Some
closely link monitoring with the need to development of specific projects and         respondents felt the proposed rule was
assess progress towards meeting plan       activities; but that the plan monitoring   unclear as to the extent of topics,
components for the species                 requirements of this section are not a     including ones for desired conditions,
requirements in § 219.9. Additional        prerequisite for making a decision to      responsible officials could consider
discussion of this addition is discussed   carry out a project or activity.           when choosing the scope and scale of


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plan monitoring. A respondent felt the       conservation concern within the plan           Agency already follows Departmental
rule should require the scope of the         area; (5) the status of visitor use, visitor   standards for the objectivity of
monitoring question be as complete as        satisfaction, and progress toward              information used to inform significant
possible even if the scope of the final      meeting recreation objectives; (6)             decisions under the Information Quality
monitoring program cannot address all        measurable changes on the plan area            Act (Section 515 of Public Law 106­
the questions.                               related to climate change and other            554). In addition, the responsible
   Response: Because the information         stressors affecting the plan area; (7)         official is subject to performance review
needs most critical for informed and         progress toward meeting the desired            and accountability for fulfilling
adaptive management will vary by unit,       conditions and objectives in the plan,         requirements of the rule and policies of
the rule allows the responsible official     including for providing multiple use           the Agency. The Forest Service is
the discretion to set the scope and scale    opportunities; and (8) the effects of each     required to report monitoring
of the plan monitoring program, subject      management system to determine that            information consistent with the USDA
to the minimum requirements in               they do not substantially and                  Strategic Plan, {http://www.ocfo.usda.
paragraph (a)(5) of this section.            permanently impair the productivity of         gov/usdasp/sp2010/sp2010.pdf}.
Paragraph (a)(2) directs that questions      the land.                                        Monitoring reports (like assessment
and indicators should be based on one           Comment: Accountability and public          reports) will include information that
or more desired conditions, objectives,      oversight for monitoring: Some                 will be used to inform decisions, but are
or other plan component(s), but makes        respondents felt the rule should provide       not decision documents because they do
clear that not every plan component          sufficient opportunity for public              not compel an action or make a decision
needs to have a corresponding                enforcement of monitoring quality and          on an action; therefore, subjecting
monitoring question. Furthermore, the        for public input on the Agency’s use of        monitoring specifications to objection or
questions and indicators must be             monitoring information affecting project       appeal procedures is not necessary.
designed to inform the management of         decisions. Several respondents felt the           Comment: Monitoring requirements.
resources on the plan area, including by     proposed rule did not establish                A respondent felt the rule should
testing assumptions, tracking changes,       accountability for monitoring and              include monitoring requirements for
and measuring management                     suggested the rule either require review       scientific grounding, thoughtful design,
effectiveness and progress towards           by the Chief or specify the consequences       and sufficient funding, regularly
achieving or maintaining the plan’s          of not conducting monitoring. Another          scheduled, and analysis of cumulative
desired conditions or objectives. This       suggested that the monitoring effort be        impacts.
direction allows the responsible official    periodically reviewed objectively by             Response: The final rule requires the
to develop the most strategic, effective     disinterested parties. Some respondents        use of the best available scientific
and useful monitoring program for the        felt to improve accountability findings        information to inform the monitoring
plan area, based on the plan                 from monitoring program reports, the           program, requires the responsible
components in the plan and informed          reports should be decisions subject to         official to identify the fundamental
by best available scientific information     review.                                        questions and indicators that will
and public input. This direction also           Response: The rule cannot grant             inform the design of monitoring
recognizes possible limits to the            enforcement authorities to the public.         programs, and will lead to a robust
technical or financial capabilities of the   Those authorities can only be granted by       monitoring program that will be used to
Agency: not all parts of a plan, or every    Congress. However, the rule’s public           inform management. The public will
acre, can be monitored each year—and         participation and reporting                    have opportunities to provide input into
it may not be a strategic investment to      requirements allow for a more                  the design of the monitoring program
do so.                                       transparent Government and holds               and to review the monitoring data. The
   However, section 219.12(a)(5) of the      officials accountable for sharing              monitoring information can be used in
final rule provides direction for a set of   monitoring information and data with           a number of ways, including analyzing
monitoring questions and associated          the public. This data will be open to          cumulative effects. The final rule
indicators that must be part of every        public scrutiny, criticism, and objective      includes direction to take financial and
plan monitoring program. The list            review. The public will be able to             technical capabilities of the Agency into
reflects substantive requirements of the     evaluate and provide input on the              account in designing the monitoring
final rule and links to the assessment       Agency’s use of the monitoring                 program, and requires in § 219.1(g) that
phase. The responsible official can          information to inform future decisions         the plan be within the fiscal capability
always consider additional factors and       during opportunities for public                of the unit.
add questions and indicators.                participation and comment for those               Comment: Monitoring and
   Every plan monitoring program would       decisions, including future plan               consistency of methods. Some
contain one or more questions and            amendments, plan revisions, projects,          respondents felt the rule should include
associated indicators that address each      and activities.                                national monitoring standards to enable
of the following: (1) The status of select      Accountability is achieved through          consistency across units so each
watershed conditions; (2) the status of      the rule by requiring officials to develop     national forest and grassland could be
select ecological conditions including       monitoring, plan monitoring programs           compared to others. Some respondents
key characteristics of terrestrial and       with questions and indicators and              felt units could not develop monitoring
aquatic ecosystems; (3) the status of        broader-scale monitoring strategies, and       programs efficiently in the absence of
focal species to assess the ecological       to prepare biennial monitoring reports.        regional or national standards or
conditions required under § 219.9; (4)       All these requirements allow for public        guidance. Some respondents felt units
the status of a select set of ecological     involvement and review. Section                will need additional guidance to enable
conditions required under § 219.9 to         219.2(b)(5) of the rule further requires       them to design and conduct monitoring
contribute to the recovery of federally      the Chief of the Forest Service to             because the necessary resources and
listed threatened and endangered             administer a national oversight and            expertise is not often available on each
species; conserve proposed and               accountability process to review NFS           unit. A respondent felt clarification was
candidate species; and maintain a viable     land management planning which                 needed for how broader-scale
population of each species of                includes monitoring programs. The              monitoring could be associated with


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assessments by the plan unit in the          evolving, techniques or methodologies.      planning process, including developing
absence of regional guidelines. A            The responsible officials will use the      the monitoring program. Section
respondent felt specific terminology         best available scientific information to    219.12(c)(3)(i and ii) specifically directs
should be used regarding monitoring          inform those choices. Monitoring            the responsible official to take into
types: range and distribution                protocols and methods would be              account existing NFS and non-NFS
monitoring, status and change                coordinated with the regional forester      inventory, monitoring and research
monitoring, and cause and effect             and Forest Service State and Private        programs, and to take into account
monitoring. Some respondents felt the        Forestry and Research and                   opportunities to design and carry out
rule should require technical details like   Development.                                multi-party monitoring. Many current
methods for data collection, sampling           Comment: Monitoring triggers. Some       monitoring programs and assessments
methods, specific measurements to            respondents thought that the monitoring     rely on secondary data from a variety of
sample, statistically sound set of           program should include triggers or          sources, governmental and non­
monitoring guidelines, reference             thresholds for action.                      governmental sources. Monitoring data
conditions or baseline data, cause-effect       Response: The rule did not include       will be used to inform adaptive
designs for monitoring, or possible          triggers or thresholds because not all      management. The requirements in this
contaminants to water quality, or that       monitoring elements and indicators are      rule are intended to result in a more
schedules of work be required in             suited to triggers. Establishing triggers   strategic use of monitoring dollars, and
monitoring programs and documented           can be complex and time consuming.          to leverage those investments where it is
in plans.                                    The rule does not preclude the              feasible and appropriate to do so.
   Response: The Department and              inclusion of triggers where they can be        Comment: Collection of data beyond
Agency recognize the importance of           developed and where they are informed       unit boundaries. Some respondents felt
having a system of monitoring that           by the best available scientific            the proposed rule inappropriately
allows for information to be collected,      information. The Department does            makes the responsible officials
used and compared across planning            intend the three phases of planning to      undertake broader-scale monitoring
units. For that reason the final rule        be connected, and for each phase to         analyses, monitoring of significant areas
directs that the plan monitoring             inform the others. The information          not federally owned, and to collect data
program must be coordinated and              gathered and evaluated in the               beyond unit boundaries.
integrated with broader scale                assessment phase will help the                 Response: The final rule does not
monitoring strategies to ensure that         responsible official to develop a           impose a requirement for responsible
monitoring is complementary and              strategic monitoring program, and the       officials or regional foresters to monitor
efficient, and gathered at the               information from monitoring will be         non-NFS lands. The monitoring
appropriate scales, along with direction     used to indicate whether a new              requirements do not give responsible
to coordinate with Research and              assessment is warranted, and to inform      officials license to monitor where they
Development, State and Private               future assessments and plan                 lack authority.
Forestry, and others. To support             components and other plan content.             It is appropriate and efficient to
implementation of these requirements,        Wording was added to § 219.7 to make        recognize that some monitoring
the Agency is currently reviewing its        clear that the assessment and               questions are best evaluated at scales
inventory and monitoring system.             monitoring reports should be used to        broader than one unit, to best inform
However, the final rule does not include     inform the plan development or              management of a 193 million acre
national monitoring standards for            revision, and to § 219.12 to make clear     National Forest System that spans the
consistency across units because there is    that the monitoring report should be        country. The final rule directs the
no fully tested national approach            used to inform adaptive management.         regional forester to develop a broader-
available at this time. The kinds of            Comment: Use of non-agency data.         scale monitoring strategy, in
things to be monitored are varied,           Some respondents felt the Agency is         coordination with others, and
monitoring techniques and protocols          reluctant to accept monitoring data         encourages identifying opportunities for
evolve and improve over time, and            about environmental conditions from a       multi-party monitoring. The rule
different techniques may be more or less     third party, like livestock permittees,     encourages responsible officials to
appropriate depending on what is being       and that the proposed rule funding          coordinate monitoring across NFS units.
monitored and the information needs          requirements would further reduce           The rule allows the Agency to continue
most critical to inform adaptive             funding available for monitoring. These     efforts to use data from other agencies
management on the unit. In addition,         conditions would cause the Agency to        and sources because monitoring
monitoring techniques may vary by            unfairly restrict some special uses, like   cooperation is in the best interest of
partner, impacting opportunities to          grazing. Other respondents felt the rule    Americans and the land, informing
coordinate monitoring across                 should clearly provide opportunities for    effective management and facilitating
landscapes and among neighboring land        the responsible official to use             the strategic use of monitoring dollars.
managers.                                    information and assistance from non­           Comment: Use of the Forest Inventory
   For these reasons the Department          agency organizations and individuals to     and Analysis system (FIA). A
concluded it would be more appropriate       contribute to monitoring programs.          respondent suggests the rule should use
to include additional direction and          Other respondents felt non-agency data      the FIA system to monitor the health of
guidance, including for the kinds of         must meet Agency data standards. Still      forests and changes related to climate
technical specifications identified by       others felt the rule should allow the       change.
the respondents, in the Forest Service       public opportunity to assist in gathering      Response: Many Agency units
Directives and in the unit plans. The        and submitting data.                        actively use FIA information as an
final rule makes clear in paragraph (a)(6)      Response: The rule provides more         integral part of their monitoring
of this section that a range of monitoring   encouragement to use secondary data         programs. The final rule directs the
techniques may be used to carry out the      including sources external to the           responsible official to take into account
monitoring required by this section:         Agency than previous planning rules.        existing national and regional inventory,
different questions and indicators will      Section 219.4 requires opportunities for    monitoring, and research programs,
require the use of different, and            public participation throughout the         including from Forest Service State and


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Private Forestry and Research and             describes, at a minimum, one or more          questions and indicators of § 219.12(a)
Development which includes FIA data.          questions and associated indicators on        of the proposed rule did not adequately
   Comment: Scientist involvement in          eight specific topics. The number of          address fish and wildlife populations or
plan and broader-scale monitoring             monitoring questions and indictors may        gauge progress towards meeting the
design. A respondent felt the proposed        vary by topic. The Department believes        requirements of § 219.9 of the proposed
rule sets too high a standard of ensuring     that the set of minimum requirements          rule.
scientists are involved in plan and           for the plan monitoring program                  Response: In response to these
broader-scale monitoring design.              included in paragraph (a)(5) of the final     comments, the Department added
Another respondent felt the proposed          rule is appropriate, reflects the             wording to the required questions and
rule did not specify in detail how the        substantive requirements of the final         indicators of § 219.12 to link them to the
external scientific community would be        rule, builds on the information gathered      ecological conditions required by
involved.                                     during the assessment phase, and is           §§ 219.8 and 219.9, added the
   Response: The requirement under            focused on informing adaptive                 requirement in paragraph (a)(5)(iv) to
§ 219.12(cK4) of the proposed rule for        management of the plan area.                  monitor ecological conditions
scientists to be involved in the design          Paragraph (a)(5) does not limit the        associated with the species
and evaluation of unit and broader-scale      questions and indicators in any given         requirements in § 219.9, and modified
monitoring has been removed in                plan. The responsible official has the        two definitions. The changes to the
response to public comment because the        authority to determine whether                requirements for questions and
requirement was confusing and can be          additional monitoring elements are            indicators are explained in the
met through the coordination                  warranted or necessary to inform              introduction to the response to
requirements at §§ 219.12(a)(1), (b)(2)       management decisions if they are within       comments of this section. The
and (c)(3)(ii) of the final rule. The final   the fiscal capability of the unit to          Department modified the definition of
rule requires the use of best available       implement. The Department’s intent is         “ecosystem” to explain these
scientific information to inform the          for the responsible official to determine     interrelated ecosystem elements so the
design and content of the monitoring          what information needs are most critical      relationship between monitoring
program, opportunities for public             for informed and adaptive management          questions and indicators are clearly
participation, and coordination in            of the plan area. Because most resource       related to the ecological conditions of
development of the monitoring program         management concerns vary by forests or        §§ 219.8 and 219.9. The Department
with Forest Service Research and              grasslands, the rule allows the               modified the definition of focal species
Development, along with other partners        responsible official discretion to set        to clarify the intended role of focal
and the public. The external science          priorities for monitoring where it is         species in assessing the effectiveness of
community may be involved in variety          most needed. This discretion is also          the plan in maintaining the diversity of
of ways, for example, through public          important for fostering opportunities to      plant and animal communities in the
participation opportunities or the use of     coordinate monitoring with other              plan area.
external scientific reports.                  government agencies and non­                     Comment: Questions about focal
   Comment: Changes to specific               government entities. Therefore, an            species. Respondents asked questions
subjects to be addressed in monitoring        extensive list of other possible              about focal species. (1) What are they?
programs. A respondent suggested the          monitoring requirements in addition to        (2) What do they represent? (3) What
responsible official discretion would be      the set in paragraph (a)(5) is not            criteria will be used to select them? (4)
improved by deleting proposed wording         included in the final rule.                   How many will there be for a particular
“related to climate change and other             The requirements to include                plan area? (5) How will they be
stressors” and “carbon stored in              questions and associated indicators to        monitored?
vegetation.” Others felt requirements to      monitor measurable changes on the plan           Response: (1) The inclusion of the
monitor accomplishment of plan                area related to climate change and other      focal species (§ 219.19) in the
objectives and progress towards               stressors was retained in the final rule,     monitoring section is based on concepts
achieving plan “desired conditions”           because it is important to track changing     from the March 15, 1999, Committee of
should be added. Some respondents felt        conditions. The final rule removes the        Scientists report, which recommended
the proposed rule’s monitoring                monitoring requirement for carbon             focal species as an approach to monitor
requirements for specific resource areas      stored in above ground vegetation             and assess species viability. The term
unduly limited responsible official           because the Department added a                “focal species” is defined in the rule as:
discretion in determining what                requirement in the assessment phase           A small subset of species whose status
questions and indicators to include in        (§ 219.6(b)) to identify and evaluate         permits inference to the integrity of the
the unit monitoring program. Some             existing information for a baseline           larger ecological system to which it
respondents felt specific subjects should     assessment of carbon stocks. This             belongs and provides meaningful
be required in all plan monitoring            change reflected comments to this             information regarding the effectiveness
programs including: grazing impacts,          section and the assessment section, and       of the plan in maintaining or restoring
off-road vehicle use, species                 is consistent with the Agency’s Climate       the ecological conditions to maintain
populations, vegetation, ecological           Change Scorecard which also requires a        the diversity of plant and animal
conditions, social and economic               baseline assessment of carbon stocks.         communities in the plan area. Focal
sustainability, effects of long-term uses,    The Department added a requirement            species would typically be selected on
noise pollution, water quality,               for the plan monitoring program to            the basis of their functional role in
recreational use satisfaction, and public     monitor progress toward meeting the           ecosystems.
safety, among others. Some respondents        plan’s desired conditions and objectives         (2) The requirement for monitoring
felt the proposed rule would limit            and a requirement to monitor visitor          questions that address the status of focal
monitoring programs to consider only          satisfaction in § 219.12(a)(5) of the final   species is linked to the requirement of
one monitoring question or indicator.         rule.                                         § 219.9 of the final rule to provide for
   Response: Section 219.12(a)(5) of the         Comment: Ecological Conditions and         ecosystem integrity and diversity, which
rule requires the responsible official to     Focal Species (§ 219.9). Some                 describes the coarse-filter approach for
develop a plan monitoring program that        respondents felt the required monitoring      providing diversity of plant and animal


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communities and the persistence of           reproduction, presence/absence, area         population trends of “management
native species in the plan area. The rule    occupied, survival rates, or others. The     indicator species,’’ or MIS. The theory
requires plan components designed to         objective is not to choose the monitoring    of MIS has been discredited since the
maintain or restore a range of ecological    technique(s) that will provide the most      1982 rule. Essentially, monitoring the
conditions at a variety of spatial and       information about the focal species, but     population trend of one species should
temporal scales (§§ 219.8 and 219.9).        to choose a monitoring technique(s) for      not be extrapolated to form conclusions
Appropriate monitoring of focal species      the focal species that will provide useful   regarding the status and trends of other
will provide information about the           information with regard to the purpose       species. The requirement for monitoring
integrity of the ecosystem and the           for which the species is being               questions that address the status of focal
effectiveness of the plan components in      monitored.                                   species is linked to the requirement of
maintaining diversity of plant and              The final rule does not require           § 219.9 of the final rule to provide for
animal communities in the plan area. In      monitoring species population trends.        ecosystem integrity and diversity, which
other words, focal species monitoring is     Species population trend monitoring is       describes the coarse-filter approach for
used as means of understanding               costly, time intensive, and may not          providing diversity of plant and animal
whether a specific ecological condition      provide conclusive or relevant               communities and the persistence of
or set of conditions is present and          information. In addition, traditional        native species in the plan area. Focal
functioning in the plan area. Focal          monitoring of species population size        species are not intended to provide
species monitoring is not intended to        and trend is not reliable for many           information about the persistence of any
provide information about the                species because of wide variations in        individual species.
persistence of any individual species.       population size. For certain species, for       In addition, population trends for
The rule does not require managing           example, a more reliable method may be       most species are extremely difficult to
habitat conditions for focal species, nor    presence-absence data obtained through       determine within the 15-year life of a
does it confer a separate conservation       non-invasive genetic sampling.               plan, as it may take decades to establish
requirement for these species simply         Presence-absence modeling could be           accurate trend data, and data may be
based on them being selected as focal        used to map and predict species              needed for a broader area than an
species.                                     distribution, help model habitat             individual national forest or grassland.
  (3) The Committee of Scientists report     requirements and use occurrence data to      Nor is this data the most useful to
said focal species may be indicator          help estimate the probability of a           inform management for the purposes of
species, keystone species, ecological        species being present in sustainable         meeting the diversity requirements of
engineers, umbrella species, link            numbers within a geographic area.            the rule. Instead, the Agency expects to
species, or species of concern. Agency       Genetic sampling, which is drawing           take advantage of recent technological
directives will provide guidance for         DNA from physical species evidence           advancements in monitoring the status
considering the selection of a focal         collected at sites under evaluation, can     of focal species, such as genetic
species from these or other categories.      be used to acquire data for this             sampling to estimate area occupied by
Criteria for selection may include: the      approach. Other monitoring techniques        species.
number and extent of relevant                in addition to these examples may be            The provisions under § 219.9 of the
ecosystems in the plan area; the primary     more appropriate in a given                  final planning rule are focused on
threats or stressors to those ecosystems,    circumstance. Therefore, although            maintaining or restoring the ecological
especially those related to predominant      population trend monitoring may be           conditions necessary to maintain the
management activities on the plan area;      used where feasible and appropriate, the     diversity of plant and animal
the sensitivity of the species to changing   final rule explicitly provides discretion    communities and support the
conditions or their utility in confirming    to the responsible official to choose the    persistence of native species in the plan
the existence of desired ecological          most appropriate methods for                 area. Because of the problems with MIS
conditions; the broad monitoring             monitoring, using the best available         as stated above, and because the concept
questions to be answered; factors that       scientific information to inform the         of monitoring focal species, as described
may limit viability of species; and          monitoring program.                          by the Committee of Scientists report of
others. This does not preclude the use          Specific guidance on focal species        March 15, 1999, is used to assess the
of an invasive species as a focal species,   selection and monitoring methodology         integrity of ecological systems, the final
whose presence is a major stressor to an     is expected to be further described in       planning rule incorporates the concept
ecosystem.                                   the Agency’s planning directives. Some       of focal species for monitoring the
  (4) The final planning rule does not       focal species may be monitored at scales     ecological conditions required in
require a specific number or numeric         beyond the plan area boundary, while         § 219.9. Focal species are not intended
range of focal species to be selected. The   others may be more appropriately             to be a proxy for other species. Instead,
number will vary from unit to unit. The      monitored and assessed at the plan area      they are species whose presence,
definition of focal species requires a       scale.                                       numbers, or status are useful indicators
small subset of species. The responsible        Comment: Focal species vs.                that are intended to provide insight into
official has discretion to choose the        management indicator species. Many           the integrity of the larger ecological
number of focal species that he or she       respondents expressed concern or             system, the effects of management on
determines will be useful and                confusion over the role of focal species     those ecological conditions, and the
reasonable in providing the information      monitoring in meeting the requirements       effectiveness of the § 219.9 provisions.
necessary to make informed                   of § 219.9; and how focal species would      The monitoring questions and
management decisions. It is not              be used differently from management          associated indicators required in
expected that a focal species be selected    indicator species (MIS) as required          § 219.12(a)(5)(i-iv) as discussed above
for every element of ecological              under the 1982 planning rule.                are expected to assess progress towards
conditions.                                     Response: The Department’s decision       meeting the desired ecological
  (5) The rule does not specify how to       to require monitoring of focal species as    conditions required under §§ 219.8 and
monitor the status of focal species.         well as select ecological and watershed      219.9, and the effectiveness of those
Monitoring methods may include               conditions is a shift from the 1982 rule’s   conditions in maintaining the diversity
measures of abundance, distribution.         requirement to specifically monitor          of plant and animal communities and


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supporting the persistence of native         species, or a species of conservation        rule also includes a definition of
species in the plan area.                    concern may be the most appropriate          management system as a timber
   Comment: Selection and monitoring         focal species for assessing the ecological   management system such as even-aged
of focal species. Respondents felt the       conditions required by § 219.9.              management or uneven-aged
rule should require 3 items for selection    However, as explained in earlier             management. Management system is a
and monitoring of focal species: (1] The     responses in this section, population        term of art of the NFMA (16 U.S.C.
best available scientific information; (2)   trend monitoring is not required by the      1604(g)(3)(C)). The term management
the engagement of research, state fish       final rule.                                  system must be understood in the
and wfildlife agencies, and others; and         Comment: Monitoring of habitat            context of the NFMA which was
(3] a broader spatial scale then one plan    conditions. Respondents felt that            developed to give guidance to the
area.                                        monitoring habitat conditions only,          Agency in how to manage timber. The
   Response: The rule requires (1) all       specifically related to vegetation           Department understands the intent of
aspects of planning to use the best          composition and structure, will not          Congress was that research and
available scientific information to          adequately address the reasons why           evaluation would be done on a sample
inform the planning process, plan            species may or may not occupy those          basis. The Forest Service Research and
components, and other plan content,          habitats; and that there may be other        Development staff began the long-term
including the monitoring program             stressors unrelated to habitat that make     soil productivity program in 1989 to
(§§ 219.3 and 219.14); (2) coordination      suitable habitat conditions unsuitable       examine the long term consequences of
with research, and consideration of          for occupation by a particular species.      soil disturbance on fundamental forest
opportunities to design and carry out           Response: The final rule requires         productivity through a network of
monitoring with a variety of partners        monitoring the status of select              designed experiments. (Powers, R.F.
including state agencies (§§ 219.12(aKl),    ecological conditions. The concept of        2006. Long-Term Soil Productivity:
(b)(2), and (c)(3)(ii)); and (3) broader-    ecological conditions as defined in the      genesis of the concept and principles
scale monitoring strategies be developed     proposed rule and the final rule             behind the program. Can. J. For. Res.
in addition to the plan monitoring           includes more than vegetation                36:519-528.)
program, to address questions that are       composition and structure: it is                Comment: Monitoring effects of
best answered at a broader scale than        designed to encompass those factors as       management procedures. A respondent
one plan area (§ 219.12(b)), which may       well as others, including stressors that     felt the 1982 provisions for requiring
include monitoring for one or more           are relevant to species and ecological       documentation of the measured
focal species.                               integrity.                                   prescriptions and effects of management
   Comment: Monitoring of at risk               Examples of ecological conditions         procedures (practices) are superior to
species. Some respondents felt the rule      include the abundance and distribution       the monitoring requirements of the
should require monitoring of                 of aquatic and terrestrial habitats,         proposed rule. The respondent felt the
populations of federally listed              connectivity, roads and other structural     proposed provisions would fail to
threatened and endangered species,           developments, human uses, and                ensure that actions do not jeopardize
species that are candidates for Federal      invasive species.                            biodiversity.
listing, and species of conservation            Comment: Distinctive roles and              Response: The Department requires
concern.                                     contributions. A respondent felt             monitoring questions and indicators to
   Response: In response to public           ‘‘distinctive roles and contributions”       monitor eight topics including the status
comments, the Department added a             wording in proposed § 219.12(a)(5)(vii)      of ecological conditions. Ecological
requirement to the rule for monitoring       is inappropriate and should be stricken      conditions include vegetation
questions and associated indicators to       from the monitoring section.                 composition and structure, abundance
monitor the status of a select set of the       Response: The final rule removes          and distribution of aquatic and
ecological conditions required under         ‘‘distinctive roles and contributions”       terrestrial habitats, connectivity, roads
§ 219.9 to contribute to the recovery of     from § 219.12 in response to public          and other structural developments,
federally listed threatened and              comment because the Department has           human uses, and invasive species.
endangered species; conserve proposed        decided that the new requirement at          Questions and indicators associated
and candidate species; and maintain a        paragraph (a)(5)(vii) for questions and      with the required topics in
viable population of each species of         indicators addressing the progress           § 219.12(a)(5) of the final rule can be
conservation concern within the plan         toward meeting the desired conditions        used to evaluate effects of management
area (§ 219.12(a)(5)(iv). It is expected     and objectives in the plan, including for    procedures (practices) based on the
that monitoring a select set of the          providing multiple use opportunities,        outcomes observed in ecological
ecological conditions required by these      more accurately reflects what the            conditions. The Department concludes
species will give the responsible official   Department intended to accomplish            that these monitoring requirements
information about the effectiveness of       with the previous requirement at             support the substantive requirements for
the coarse and fine-filter plan              paragraph (a)(5)(vii) in the proposed        ecological integrity and ecosystem and
components included to meet the              rule and the other proposed                  species diversity in the final rule.
requirements of at risk species. The         requirements of (a)(5).                         Comment: Conservation education: A
intent of the term “a select set” is to         Comment: Management systems in            respondent felt monitoring should
focus the monitoring on a few important      NFMA. Some respondents felt the              include conservation education.
ecological conditions that may be            proposed rule misinterprets the NFMA           Response: Conservation education can
monitored in an efficient way.               reference to management systems by not       be a valuable outcome from
Monitoring for watershed conditions,         repeating the word ‘‘each” and by            collaborative planning and reaching out
other ecological conditions, and focal       overly restricting the types of              to engage others in design of monitoring
species will also provide information        management systems.                          programs. The rule gives discretion to
about the effectiveness of plan                 Response: The final rule adds the         the responsible officials to consider the
components for at risk species.              word “each” to the monitoring                extent and methods chosen to address
   In some circumstances, a threatened,      requirement for management systems.          conservation education. Other sections
endangered, proposed, or candidate           As clarification, § 219.19 of the final      direct the responsible official to


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consider opportunities to connect            change and other stressors would be              Project monitoring may also occur for
people to nature. However, a specific        neither affordable nor achievable.            purposes other than supporting the plan
requirement for monitoring                      Response: The Department believes          monitoring program, and the final rule
conservation education was not added         that including monitoring questions and       does not preclude project-specific
to the final rule.                           indicators associated with measureable        monitoring requirements developed as
   Comment: Financial feasibility of         changes on the unit related to climate        part of project or activity decisions. The
monitoring. Some respondents felt the        change and other stressors is achievable.     planning rule does not discuss
proposed rule was obligating the             The Agency is already conducting              requirements for project monitoring;
Agency to undertake unaffordable or          monitoring for climate change and other       therefore, funding of project monitoring
unachievable monitoring work, in             stressors such as insects, diseases,          is an issue outside the scope of the
particular broad-scale monitoring            invasive species, wildfire, and more. In      planning rule.
extending beyond the boundaries of           addition, the Agency is implementing             Comment: Risks from lack of
NFS lands. Some felt the monitoring          the Climate Change Roadmap and                monitoring or monitoring information.
requirements may cause the Agency to         Scorecard, which includes monitoring          Some respondents felt the lack of
increase fees to cover costs or that         for climate change. This section allows       monitoring, or information not available
broad-scale monitoring would become a        the responsible official to use and build     through monitoring, could delay
precondition before issuing special use      on other data and programs, encourages        management actions or foreclose
permits.                                     coordination with others and multi­           activities and projects because of
   Response: The proposed rule does not      party monitoring, and recognizes that         uncertainties. A respondent felt the rule
obligate the Agency to monitor beyond        some monitoring questions may best be         should clearly state monitoring goals are
its fiscal means. Final rule §§ 219.1(g),    answered at a scale broader than on           not preconditions to approve, continue,
219.12(a)(4)(ii) and 219.12(b)(3) ensures    plan area. The flexibility provided in        or renew special use permits or provide
that responsible officials must exercise     this section will allow the responsible       for public uses, or State fish and
discretion to develop technically and        official to develop a strategic, effective,   wildlife management activities.
                                             and financially achievable monitoring            Response: Although monitoring
financially feasible monitoring
                                             program, while meeting the                    information may be used by responsible
programs. Although monitoring
                                             requirements of paragraph (a)(5).             officials to inform the need to change
information will be used by responsible
                                                Comment: Project monitoring. Some          the plan, monitoring is not a
officials to inform the need to change
                                             respondents felt project monitoring           precondition of conducting projects or
plan components, including standards
                                             requirements should be included in the        carrying out management actions. The
or guidelines, the rule specifically
                                             rule. Citing Department of Army               rule establishes those elements of
makes clear in § 219.12(a)(7) that
                                             regulations, a respondent felt the rule       monitoring necessary to inform adaptive
monitoring is not a prerequisite for
                                             should require project monitoring             management of the resources on the
carrying out a project or activity such as
                                             funding be allocated before project           unit. None of the requirements of
the renewal of special use permits.          implementation. Some respondents felt         monitoring for the plan monitoring
   Comment: Financial feasibility of         proposed § 219.12(a)(7) meant project         program apply to individual projects or
monitoring economic and social               monitoring would not occur.                   activities. These monitoring
structures of communities. A                    Response: The Department agrees            requirements do not delay or foreclose
respondent felt the financial feasibility    project monitoring is important and is a      management activities.
of monitoring under the proposed rule        valuable means of understanding the              Comment: Monitoring and extractive
was unattainable and additional              effects of projects and can provide           actions. A respondent felt the rule
discussion was needed on how                 information useful to adapt future            should require all extractive actions to
economic and social structures of local      project plans to improve resource             cease on a unit until timely monitoring
communities will be monitored.               protection and restoration. The               has been completed.
   Response: The rule requires certain       Department added wording to paragraph            Response: The planning rule does not
subjects be addressed with one or more       (a)(7) to clarify that project and activity   apply to any ongoing projects or
questions and associated indicators as       monitoring may be used to gather              activities except as provided by
the basis for plan monitoring. The NEPA      information for the plan monitoring           §219.15.
compliance in support of proposed            program, and that plan monitoring may            Comment: Monitoring and assessment
plans and projects will disclose the         inform the development of specific            data. A respondent felt the rule should
economic and social effects to local         projects and activities. The Department       specifically state new and accurate data
communities, and paragraph (a)(5)(vii)       anticipates that project and activity         is important to the success of
of this section requires monitoring          monitoring will be used as part of the        monitoring and assessment, and use of
progress towards meeting desired             plan monitoring program, but the              new and accurate data is required.
conditions and objectives in the plan,       responsible official has the discretion to       Response: The final rule requires the
which will include plan components           strategically select which projects to        use of best available scientific
developed to contribute to social and        monitor and the monitoring questions          information to inform the development
economic sustainability. However, there      related to those projects that will best      of the monitoring program. However,
is no requirement to monitor the             inform the monitoring program and test        the final rule does not add the
economic and social structures of local      assumptions, track changing conditions,       requirement suggested by the
communities. The Department believes         or evaluate management effectiveness.         respondent as some monitoring
that the monitoring requirements of the      However, the final rule makes clear the       questions or indicators may be
final rule will be achievable.               monitoring requirements of this section       adequately addressed with existing data.
   Comment: Feasibility of climate           are not a prerequisite for making a           Accuracy in data is met through data
change monitoring. Some respondents          decision to carry out a project or            protocols and quality control standards
felt the requirement for plan monitoring     activity. Each project carried out under      covered in other Agency guidance
programs to include one question and         the plan will not automatically include       outside the planning regulations.
indictor associated with measurable          the monitoring requirements for the              Comment: Feedback needed from
changes on the unit related to climate       plan.                                         monitoring to planning and


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management actions. Some respondents the public. The biennial evaluation of            report would not halt monitoring; it
felt the proposed rule lacks feedback     monitoring is intended to collect,           would simply report new information
between monitoring and changes to plan evaluate, and report on new data or             obtained from that monitoring.
components. Some respondents felt the     results that provide information for            Comment: Evaluation reports and
rule should include accountability        adaptive management: for example,            changes to plan components based on
measures and explicitly include           information about management                 information from petition(s). A
“adaptive management” requirements        effectiveness, progress towards meeting      respondent suggested the biennial
rather than just describing a framework   desired conditions or objectives,            evaluation report incorporate science
for planning consistent with principles   changing conditions, or validation (or       contained in environmental analyses
of “adaptive management.”                 invalidation) of assumptions. The            and the plan be updated to incorporate
   Response: The Department made          biennial monitoring evaluation does not      information from petition(s).
changes in response to public comments need to evaluate all questions or                  Response: The requirement in this
to make clear the focus on adaptive       indicators on a biennial basis but must      section for a biennial evaluation report
management. The monitoring program        focus on new data and results that           is focused on providing systematic and
is required to be designed to inform      provide new information for adaptive         transparent reporting and evaluation of
management (§ 219.12(a)). The final rule management. The responsible official          information obtained pursuant to the
requires that the monitoring evaluation   may postpone the monitoring evaluation       monitoring program established
report be used to inform adaptive         for 1 year after providing notice to the     consistent with this section. The report
management of the plan area               public in the case of exigencies such as     will be used to inform adaptive
(§ 219.12(d)(2)), in addition to the      a natural disaster or catastrophic fire.     management on the unit. As part of the
requirement that the report indicate      The Department believes that this            planning process, the responsible
whether new information indicates that    requirement is implementable and             official may also consider any
changes are warranted. The final rule     important to inform adaptive                 additional relevant information
requires that the responsible official    management.                                  contained in other sources, such as
review relevant information from both        The Agency’s experience is that an        petitions or new environmental
the assessment and monitoring to          annual evaluation is too frequent to         analyses.
inform the development of plan            determine trends or to accumulate               Comment: Required actions in
components and other plan content         meaningful information and the 5-year        response to monitoring. Some
(§ 219.7(c)(2)(i)). Section 219.5(a) sets time frame (§ 219.10(g) of the 1982 rule)    respondents felt monitoring results
forth a responsive planning process that is too long to wait in order to respond       might be of no consequence if there are
informs integrated resource               to changing conditions or new                no requirements in the rule to take
management and allows the Agency to       information. Therefore, the Department       specific actions to respond to
adapt to changing conditions, including determined the monitoring evaluation           monitoring results. These changes
climate change, and improve               would occur at a 2-year interval. The        should not wait for another planning
management based on new information       Department recognizes some kinds of          cycle. Others felt the rule should
and monitoring. The final rule also       monitoring indicators require longer         include criteria as to when a need to
requires the Chief to administer a        time frames for thorough evaluation of       change the plan is indicated by
national oversight process for            results, but a biennial review of what       monitoring. A respondent suggested
accountability and consistency to         information has been collected will          unit monitoring incorporate efforts to
review NFS land management planning       ensure evaluation of available               focus on non-native invasive species not
in the context of this framework          information is timely and can be used        present but can reasonably be foreseen
(§ 219.2(b)(5)).                          to inform planning and adaptive              as posing a risk to eventually enter the
   Comment: Biennial evaluations. Some management of the unit.                         plan area. Another respondent felt
respondents felt the proposed biennial       The Department also retained the          proposed § 219.12(a)(7) would result in
evaluations requirement would be too      requirement that the responsible official    monitoring programs not dealing with
costly, time consuming and complex.       publish the monitoring evaluation            watershed degradation associated with
Others felt the rule should require an    report, so that it is available to the       projects or activities, such as grazing,
annual evaluation. Others thought the     public. Section 219.4(a) of the final rule   and the rule should focus on watersheds
biennial evaluation time is too short     requires the responsible official to         in poor condition, degraded riparian
because of long-term aspects, such as     provide opportunities for the public to      and upland habitats, substantial and
climate change, require long periods of   participate in reviewing the results of      permanent losses in soil productivity,
time before meaningful evaluations can    monitoring information. The                  and streams. A respondent felt the
be conducted. Still others felt the rule  responsible official may elect various       requirement to monitor “the status of
should require a public comment period methods for this participation, but the         select watershed conditions” was vague
on the biennial evaluation. One           rule does not direct any specific form       and could lead to the collection of
respondent felt the rule should not       for this participation such as requiring     disparate types of information across
allow the responsible official to publish formal comment on the biennial               planning units and could create local
monitoring evaluation reports without     evaluation. Public notice of the             conflicts over the requirement’s
approval at a higher level. Some          availability of the monitoring evaluation    interpretation. A respondent felt more
respondents felt the proposed             report is required, and must be posted       explanation was necessary in the rule
requirement for biennial reporting        online. Additional notice may be made        on why topics were not included in
would not meet NFMA’s requirement         in any way the responsible official          requirements under § 219.12(a)(5). A
for continuous monitoring.                deems appropriate. Any changes to the        respondent felt the rule should require
   Response: The Department decided to monitoring program require                      the monitoring program to substantiate
retain the requirement that the           consideration of public comment.             why certain portions of the plan do not
responsible official conduct a biennial      Section 219.5(a)(3) of the final rule     warrant monitoring. A respondent
evaluation of the monitoring              states that under the planning               suggested the rule specify a framework
information and issue a written report of framework “monitoring is continuous.”        for reporting on forest conditions such
the evaluation and make it available to   The biennial monitoring evaluation           as the Montreal Protocol.


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   Response: The final rule requires that     will inform management effectiveness        program via an administrative change
the monitoring evaluation report              and adaptive management.                    can only be made after public notice
indicate whether a change to the plan,           The Department expects monitoring        and consideration of public comment.
management activities, the monitoring         will be informed by FIA data. The FIA       Monitoring design and specification of
program, or a new assessment may be           program inventories and reports on          details about measurement quality
warranted based on the new                    changing conditions across all forested     objectives, techniques, and frequency
information. It also requires that the        lands and provides information that         are subject to changing scientific
monitoring evaluation report be used to       reflects many Montreal Process              knowledge. The final rule allows
inform adaptive management of the plan        indicators.                                 monitoring programs to be changed in a
area to ensure that the plan remains             Comment: Adjusting plans without         timely way to respond to evolving
effective and relevant. The responsible       adequate monitoring information. A          science and to maintain scientific
official will need to evaluate when the       respondent felt the proposed rule’s         credibility. Additionally, monitoring
information warrants a change to the          emphasis on making rapid changes may        programs do not rely exclusively on
plan. The public will have the                cause the responsible official to make      protocols authored by the Agency. For
opportunity to review the biennial            changes to plan components without the      example, other agencies such as
monitoring report, and is welcome to          benefit of monitoring over an               Environmental Protection Agency, US
provide input to the responsible official.    appropriate period of time, as some         Geological Survey, and National Park
The Department modified the                   monitoring questions and indicators         Service possess expertise and have
requirements of paragraph (aK5) in            cannot be adequately evaluated              already incurred substantial expense
response to public comments and to            annually. A respondent felt the             developing, reviewing, and testing
more closely link the monitoring              proposed rule’s support of rapid            protocols. It will be important,
requirements to the assessment topics         adjustment of management through            especially for multi-party monitoring, to
and to the substantive requirements in        monitoring could lead to mistakes when      be able to evaluate and incorporate
§§ 219.7 through 219.11. The                  causal factors are not understood.          these protocols when appropriate in the
responsible official is not limited to the    Another respondent felt the adaptive        plan monitoring program as new
monitoring requirements identified in         management approach was too vague           partnerships are formed.
paragraph (a)(5) of this section. The         and the rule needed wording to endorse
                                              a precautionary approach when the           Section 219.13—Plan Amendment and
responsible official may add questions
                                              responsible official has only limited       Administrative Changes
and indicators to reflect the monitoring
needs most appropriate to inform              data available for a decision about a          This section of the rule sets out the
effective management for that unit. In        significant change in resource              process for changing plans through plan
addition, the broader-scale monitoring        management.                                 amendments or administrative changes.
strategies will identify questions and           Response: The Department agrees          The section would allow the responsible
indicators best monitored at a broader        numerous monitoring questions and           official to use new information obtained
geographic scale than the plan area.          indicators could take many years of         from the monitoring program or other
   The Department concluded that the          monitoring data collection before the       sources and react to changing
set of monitoring requirements in the         information can be credibly evaluated.      conditions to amend or change the plan.
final rule provides an appropriate            The use of the monitoring information       The Department’s intent is that plans
balance between requiring core                is one factor in deciding when and how      will be kept more current, effective, and
monitoring on each unit and                   to change a plan. Any amendment or          relevant by the use of more frequent and
recognizing that there will be a wide         revision conducted as a result of new       efficient amendments, and
and diverse array of monitoring needs         information from monitoring would be        administrative changes over the life of
across each system, including with            carefully done in accordance with the       the plan, also reducing the amount of
regard to what specific questions and         NEPA and the requirements of this final     work needed for a full revision.
indicators may be most relevant for the       rule. Rapid, narrow amendments can
                                              help plans stay current and relevant,       Plan Amendments
topics in paragraph (a)(5) of this section.
The responsible official will need to         while recognizing that more information        Plan amendments incrementally
document the rationale for                    will be available over time. Since          change the plan as need arises. Plan
decisionmaking, as well as how best           responsible officials already have          amendments could range from project
available scientific information was          discretion to consider precautionary        specific amendments or amendments of
used to inform the monitoring program.        measures when risks to resources are        one plan component, to the amendment
Additional direction will be included in      uncertain during NEPA analysis, the         of multiple plan components. For
the Forest Service Directive System, and      Department decided it is not necessary      example, a monitoring evaluation report
may be provided as a result of the            to add precautionary wording to the         may show that a plan standard is not
Agency’s ongoing review of its                final rule. Any significant change in       sufficiently protecting streambeds,
monitoring system.                            resource management would need to be        indicating that a change to that standard
   The final rule requires monitoring of      consistent with the sustainability and      may be needed to achieve an objective
watershed conditions, as well as              other requirements in the final rule.       or desired condition in the plan for
ecological conditions associated with            Comment: Administrative change           riparian areas. In that case, the
aquatic ecosystems, and progress              applied to monitoring program. A            responsible official could choose to act
towards meeting desired conditions and        respondent felt modifying monitoring        quickly to propose an amendment to
objectives. The Department believes that      programs with an administrative change      change that particular standard.
these monitoring requirements will            would pose a risk of not conducting            The process requirements for plan
support the substantive requirements in       good monitoring because changes could       amendments and administrative
the final rule for plan components for        be done too easily.                         changes are simpler than those for new
watersheds, water quality, water                 Response: Section 219.2 requires         plan development or plan revisions in
resources, and riparian areas, including      national oversight and process for          order to allow responsible officials to
those considerations with regard to           accountability for planning. In addition,   keep plans current and adapt to new
water identified in the comment, and          a substantive change to a monitoring        information or changed conditions.


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   As discussed in § 219.6, the final rule   on the intended change and consider               The Department finds that the process
does not require an assessment prior to      public concerns and suggestions before         requirements for an EIS, the 90-day
initiating a plan amendment, because a       making a change. The Department                public comment period required by this
new assessment will not always be            believes that allowing administrative          final rule, and the additional
necessary or useful. However, the            changes to other content, other than           requirements for amendments under
responsible official can always choose       plan components, would help the                this final rule meet the requirements for
to conduct an assessment and take            responsible official rapidly adapt that        a amendment that results in a
additional time to develop a proposal        content to changing conditions and             significant change to the plan under 16
when the potential amendment is              respond to new information, while              U.S.C. 1604(f)(4). Thus, the responsible
broader or more complex or requires an       requiring the responsible official to keep     official must make only one
updated understanding of the                 the public informed. For example, a            determination of significance, under the
landscape-scale context for                  major fire event may make a particular         well-known standards of NEPA.
management. For example, a monitoring        watershed a new priority, or a new                For other plan amendments, less
evaluation report may indicate that a        collaborative monitoring effort may            detailed levels of NEPA compliance
new invasive species is affecting forest     require the addition of one or more            such as the preparation of
health on the plan area. The responsible     monitoring questions.                          environmental assessment or a decision
official may want to conduct a new,                                                         memo using a categorical exclusion may
                                             Section 219.13—Response to Comments
focused assessment to synthesize new                                                        be appropriate. There is the same
information about the spread of that            The Department made minor                   opportunity for persons to file
species, how other plan areas or land        modifications to the wording of this           objections to all proposed amendments
management agencies are dealing with         section from the 2011 proposed rule for        as there is for proposed revisions
the threat, what stressors make a            clarity.                                       (subpart B of the final rule).
resource more vulnerable to the species,        At the end of paragraph (a), the words
                                             “(including management areas or                   Paragraph (c)(1) of both the proposed
how the species may be impacting                                                            and the final rule provide that changes
social or economic values, or how            geographic areas)’’ were added to reflect
                                             the modifications of § 219.7, and to           to “other plan content,” may be made
neighboring landowners are                                                                  via an administrative change (unlike the
approaching removal of the species. The      clarify that an amendment is required
                                             for any change in how or whether plan          plan components, which require an
responsible official, consistent with the                                                   amendment to make substantive
requirements for public participation in     components apply to those areas.
                                                The Department merged provisions            changes). Because of the importance of
§ 219.4, would then collaboratively                                                         the monitoring program to the public,
develop a proposal to amend several          about plan amendments found in two
                                             sections of the proposed rule                  the proposed rule provided and the final
plan components to deal with the
                                             (§§ 219.6(c) and 219.13(b)(1)) into one        rule retained a requirement that
invasive species.
                                             paragraph (paragraph (b)(1) of this            substantive changes to the monitoring
   All plan amendments must comply
                                             section) of the final rule, for clarity. The   program made via an administrative
with Forest Service NEPA procedures.
This final rule provides that appropriate    provisions were removed from                   change can be made only after notice
NEPA documentation for an amendment          § 219.6(c) of the final rule.                  and consideration of public comment.
could be an EIS, an environmental               The Department added a sentence to          In the final rule, the Department added
assessment (EA), or a categorical            the end of paragraph (b)(3) of this            the word “substantive” to convey the
exclusion (CE) depending upon the            section to make clear that a proposed          Department’s intent that minor changes
scope and scale of the amendment and         amendment that may have a significant          or corrections to the monitoring
its likely effects. A proposed               environmental effect and thus require          program can be made via an
amendment that may create a significant      preparation of an EIS is considered a          administrative change without
environmental effect and thus require        “significant change in the plan’’ for          providing an opportunity for public
preparation of an EIS is considered a        purposes of the NFMA. The NFMA at 16           comment.
significant change in the plan for the       U.S.C. 1604(f)(4) states that plans shall         Comment: Appropriate NEPA for plan
purposes of the NFMA.                        be amended in any matter whatsoever            amendments. Some respondents felt
                                             after public notice, and, if such              plans should be as simple and
Administrative Changes                       amendment would result in a significant        programmatic as possible and NEPA
   Administrative changes allow for          change in a plan, the plan must be             compliance should occur only at the
rapid correction of errors in the plan       amended in accordance to the                   project level. Another respondent said
components. In addition, other content       requirements of 16 U.S.C. 1604(e) and          categorical exclusions should be used
in the plan, as identified in § 219.7(f),    (f) and public involvement required by         for minor amendments, environmental
could be altered with an administrative      16 U.S.C. 1604(d). Likewise, as part of        assessments for more significant
change, including the monitoring plan,       the NEPA process, the responsible              amendments. Some respondents felt any
the identification of watersheds that are    official must determine whether the            action requiring an amendment should
a priority for maintenance or                significance of the proposed                   be considered a significant action,
restoration, the plan area’s distinctive     amendment’s impact on the                      therefore requiring development of an
roles and contributions, and information     environment would require an                   EIS to disclose the anticipated effects of
about proposed or possible actions that      environmental impact statement. This           the amendment. A respondent felt it
may occur on the plan area during the        addition to the final rule makes the           was unclear as to when an EIS was done
life of the plan. This final rule requires   NEPA and NFMA findings of                      for an amendment and when it was
the responsible official to provide          “significance” one finding. If under           done for a plan revision. Other
public notice before issuing any             NEPA a proposed amendment may have             respondents felt use of categorical
administrative change. If the change         a significant effect on the environment        exclusions was inappropriate for a plan
would be a substantive change to the         and an EIS must be prepared, the               amendment as any changes to the plan
monitoring program, the responsible          amendment would automatically be               should be subject to careful
official must also provide an                considered a significant change to a           environmental review, scrutiny, and
opportunity for the public to comment        plan.                                          analysis.


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  Response: Requiring an EIS for all        large and complicated plan amendment         these changes should be transparent and
amendments would be burdensome, and         supported by an EA. They proposed a          have public accountability.
unduly expensive for amendments with        three tiered public response period: 90        Response: Wilderness area boundaries
no significant environmental effect. It     days for proposals requiring an EIS, 60      may only be changed by an act of
would also inhibit the more frequent        days for those requiring an EA, and 30       Congress, therefore a change to the
use of amendments as a tool for             days for all others.                         wilderness area boundaries identified in
adaptive management to keep plans              Response: The final rule retains the      the plan would only be made to
relevant, current and effective between     30-day minimum comment period for a          conform the plan to the congressionally
plan revisions based on changing            plan amendment (§ 219.16(a)). Agency         mandated change, with no discretion
conditions and new information. The         practice shows 30 days can be                available to the responsible official or to
Department requires the responsible         reasonable when an EA is prepared.           the public. When there is no agency
official to follow NEPA procedures and         Comment: Project specific plan            discretion, an administrative change to
choose the appropriate level of analysis:   amendments. Some respondents                 the plan is appropriate.
EIS, EA, or CE, based on the scale and      expressed concern with the use of              The rule requirements for
scope of the amendment. As                  project specific plan amendments             administrative changes will facilitate
clarification, § 219.13 of the final rule   because they felt that they do not get       more rapid adjustment of plans. The
clarifies that any plan amendment that      sufficient analysis, review, public input,   technical aspects of monitoring may
may create a significant environmental      and may not use the best available           need adjustment due to new
effect and therefore require preparation    science. A respondent felt these             information or advances in scientific
of an EIS will be considered “a             amendments should only be allowed for        methods, or a change may be needed to
significant change in the plan” for the     unforeseen events or special                 reflect a new monitoring partnership or
purposes of the NFMA; requiring a 90-       circumstances. Another respondent felt       for other reasons. The responsible
day comment period under § 219.16. An       the supporting NEPA documentation            official must involve the public in the
EIS is always required for a plan           should include a ‘no amendment’              development of the plan monitoring
revision or for development of a new        alternative which accomplishes the           program and post notice of changes to
plan.                                       proposed action without amending the         the monitoring program online. If the
   Comment: Amendment verses                plan.                                        change to the monitoring program is
administrative change. Some                                                              substantive, the public must be given an
                                               Response: No change was made to
respondents felt the proposed rule was                                                   opportunity to comment. These
                                            this provision in the final rule. Project­
confusing regarding when an                                                              requirements are intended to keep the
                                            specific amendments are short-lived
amendment and when an administrative                                                     public engaged and informed of the
                                            with the project, and localized to the
change was to be used.                                                                   monitoring program, while allowing the
                                            project area. The point of a project­
  Response: Plan components are the                                                      program to build on new information
plan’s desired conditions, objectives,      specific amendment is to allow a project
                                            that would otherwise not be consistent       and stay current.
standards, guidelines, suitability of
areas, or goals described in § 219.7. An    with the plan to be authorized and           Section 219.14—Decision Documents
amendment is required if a change,          carried out in a manner appropriate to       and Planning Records
other than correction of a clerical error   the particular time and place of the            This section of the rule requires the
or a change needed to conform to new        project, without changing how the plan       responsible official to record approval of
statutory or regulatory requirements,       applies in other respects. Project           a new plan, plan revision, or
needs to be applied to any of these plan    specific amendments give a way to deal       amendment in a decision document
components.                                 with exceptions. An exception is similar     prepared according to Forest Service’s
  Administrative changes are made to        to a variance to a county zoning             NEPA procedures and this section. This
correct clerical errors to plan             ordinance. If the amendment changed          section describes requirements for
components, to alter content in the plan    plan components that would apply to          decision documents and associated
other than the plan components, or to       future projects, the exception would not     records for approval of plans, plan
achieve conformance of the plan to new      be applicable. Section 219.16(b) requires    amendments, or plan revisions. These
statutory or regulatory requirements. A     use of the Agency’s notification             requirements will increase the
clerical error is an error of the           requirements used for project planning       transparency of the decision and the
presentation of material in the plan such   at 36 CFR parts 215 or 218 for project­      rationale for approval, and require the
as phrasing, grammar, typographic           specific of amendment.                       responsible official to document how
errors, or minor errors in data or             Comment: Amending plans under             the plan complies with the requirements
mapping that were appropriately             existing regulations. A respondent felt      in this final rule.
evaluated in the development of the         the rule should allow for the option of         This section also sets forth basic
plan, plan revision, or plan amendment.     amending existing plans under the            requirements for the responsible official
An administrative change could not          existing planning regulations.               to maintain public documents related to
otherwise be used to change plan               Response: Final rule § 219.17(b)(2)       the plan and monitoring program. It
components or the location in the plan      allows amendments to existing plans to       requires the responsible official to
area where plan components apply,           be initiated for a period of 3 years under   ensure that certain key documents are
except to conform the plan to new           the provisions of the prior planning         readily accessible to the public online
statutory or regulatory requirements.       regulation. This provision is unchanged      and through other means, and that the
Changes that could be made through an       from the proposed rule.                      planning record be available to the
administrative change may also be made         Comment: Administrative changes.          public.
as part of a plan amendment or revision     Some respondents felt allowing
instead.                                    wilderness area boundaries to be             Section 219.14—Response to Comments
   Comment: Thirty-day comment period       changed with administrative changes             Comments on this section focused on
on environmental assessments (EAs).         was inappropriate. Some respondents          the availability of documents. The
Some respondents felt more than 30          felt changes to monitoring programs          Department largely retained the wording
days was needed for public review of a      should not be done administratively as       from the 2011 proposed rule; however.


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the Department did make changes for          increase transparency and public              using other means of making documents
consistency in this section to reflect       understanding of the responsible              available.
changes made in other sections of the        official’s decisions. Based on public            Comment: Availability of NEPA
rule.                                        comment, the Department added the             documents. Some respondents stated
   At paragraph (a)(2) the proposed rule     multiple use requirements of § 219.10         the final EIS supporting a plan should
wording of “An explanation of how the        and the timber requirements of § 219.11       be made available no later than the start
plan components meet the sustainability      to the list of items (§ 219.14(a)(2)) that    of objection process.
requirements of § 219.8 and the              the responsible official address in              Response: The Department requires
diversity requirements of § 219.9, taking    explaining how plan components meet           the objection process to begin after the
into account the limits of Forest Service    the requirements of the rule. Section         NEPA documents are final and made
authority and the capability of the plan     219.14(a)(4) of the final rule also           available. Section 219.52(c) lists the
area” was modified to “An explanation        requires the decision document to             required items that the public notice
of how the plan components meet the          document how the best available               must contain in notifying the public of
sustainability requirements of § 219.8,      scientific information was used to            the beginning of the objection process
the diversity requirements of § 219.9,       inform the planning process, the plan         including a draft plan decision
the multiple use requirements of             components, and other plan content.           document. In addition, the final rule
§ 219.10, and the timber requirements of        Comment: Availability of planning          requires that documents identified in
§ 219.11.” The Department added the          documents on the Internet. Some               § 219.52(c)(1) must be available online
requirements to explain how plan             respondents supported the proposed            at the time of notification of the start of
components meet the requirements of          requirement to make available online          the objection period.
§§ 219.10 and 219.11 to cover all the        assessment reports; plan decision
substantive requirements for plan            documents; proposed plans, plan               Section 219.15—Project and Activity
components. The Department removed           revisions, or plan amendments; public         Consistency With the Plan
the words taking into account the limits     notices and environmental documents              This section of the final rule provides
of Forest Service authority and the          associated with a plan; the monitoring        that projects and activities authorized
capability of the plan area, because they    program and monitoring evaluation             after approval of a plan, plan revision,
are part of §§ 219.8-11 and § 219.1(g).      reports. Some respondents felt the plan       or plan amendment developed pursuant
   At paragraph (a)(4), the Department       should also include all documents             to the final rule must be consistent with
changed the wording from the proposed        supporting analytical conclusions made        plan components as set forth in this
rule wording of “taken into account and      and alternatives considered throughout        section. The NFMA requires that
applied in the planning process,” to         the planning process source data,             “resource plans and permits, contracts
“how the best scientific information was     including GIS data, the monitoring
                                                                                           and other instruments for the use and
used to inform planning, the plan            program, and any plan revision. Some
                                                                                           occupancy of National Forest System
components, and other plan content,          respondents made specific requests
                                                                                           lands shall be consistent with the land
including the plan monitoring program”       about when and how documents are
to be consistent with the final rule                                                       management plans” (16 U.S.C. 1604(i)).
                                             made available online.
wording of § 219.3. This change was             Response: Section 219.14(b)(1) of the      However, no previous planning rule
made to make clear that § 219.3 applies      final rule requires online availability of    provided specific criteria to evaluate
to every aspect of planning, and the         documents including assessments, the          consistency of projects or activities with
public must be able to see and               monitoring evaluation report, the             the plan.
understand how it has been applied.          current plan and proposed plan changes           This section provides that every
Additional minor edits were made for         or decision documents, and any public         project and activity authorized after
clarity.                                     notices or environmental documents            approval of a plan, plan amendment, or
   Comment: Content of decision              associated with the plan. The final rule      plan revision developed pursuant to the
document. Some respondents felt these        keeps the wording of the proposed rule        final rule must be consistent with the
proposed requirements should be              that these documents must be “readily         plan and the applicable plan
reduced to what is required by the           accessible” online; the expectation is        components as set forth in this section.
NEPA. Others felt a discussion on            that the documents would be posted as         Project decision documents must
multiple use and timber requirements         soon as they are finished and formatted       describe how the project or activity is
per the NFMA, and use of best available      for public viewing. Documents that            consistent with the plan. This final rule
scientific information should be             require formal notifications will be          specifies criteria to use to evaluate
included.                                    posted when formal notice is made, if         consistency with the plan components.
   Response: The Council on                  not before. In addition, the final rule          The Agency has experienced
Environmental Quality NEPA                   requires that documents identified in         difficulty in the past in determining
regulations at 40 CFR 1505.5 requires a      § 219.52(c)(1) must be available online       how new plan components and content
record of decision to identify and           at the time of notification of the start of   in a plan apply to projects and activities
discuss all factors and essential            the objection period.                         approved prior to the effective date of a
considerations of national policy which         Making all data and information used       plan amendment or revision. With
were balanced by the Agency in making        in the planning process available online      respect to such projects and activities,
its decision and state how those             would be very time-consuming and              the rule requires that: 1) the plan
considerations entered into its decision.    expensive. However, to ensure that            decision document must expressly
The plan only provides the management        units continue to make all planning           allow such projects to go forward or
direction approved by the decision,          records available for those who may be        continue, and thus deem them
while the decision document provides         interested, the final rule requires the       consistent, or 2) in the absence of such
the rationale for the decision; therefore,   responsible official to make all              express provision, the authorizing
the factors used in decisionmaking are       documents available at the office where       instrument (permit, contract, and so
most appropriate for the discussion in       the plan, plan revision, or amendment         forth) approving the use, occupancy,
the decision document. The                   was developed. The final rule does not        project, or activity must be adjusted as
requirements of this section will help       prohibit the responsible official from        soon as practicable to be consistent with


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the plan, plan amendment, or plan             the plan. The Forest Service policy was        respond to the consensus that people
revision, subject to valid existing rights.   that consistency could only be                 want to be informed about the various
  Other types of plans may be                 determined with respect to standards           stages of the planning process, with
developed for the lands or resources of       and guidelines, or just standards,             clear parameters for when and how they
the planning area. These resource plans,      because an individual project alone            can get involved.
such as travel management plans, wild         could almost never achieve objectives             Public input at several points during
and scenic river plans, and other             and desired conditions. See the 1991           the development of the rule emphasized
resource plans, may be developed for          Advanced Notice of Proposed                    the importance of updating the way we
the lands or resources of the planning        Rulemaking 56 FR 6508, 6519-6520               provide notice to the public to ensure
area. This section requires that other        (Feb 15, 1991) and the 1995 Proposed           that we successfully reach a diverse
resource plans be consistent with the         Rule, at 60 FR 18886, 18902, 18909             array of people and communities and
land management plan and applicable           (April 13, 1995).                              inform them about the process and how
plan components. If such plans are not           The Department continues to believe         they could participate. Many people
consistent, modifications of the resource     that the consistency requirement cannot        said that using only one outreach
plan must be made or amendments to            be interpreted to require achievement of       method would not reach all needed
the land management plan must be              the desired conditions or objectives of a      communities. In response, this section
made to resolve any inconsistencies.          plan by any single project or activity,        directs responsible officials to use
                                              but we believe that we can provide             contemporary tools to provide notice to
Section 219.15—Response to Comments
                                              direction for consistency to move the          the public, and, at a minimum, to post
   The Department retained the wording        plan area toward desired conditions and        all notices on the relevant Forest Service
of the proposed rule, except for three        objectives, or to not preclude the             Web site.
modifications. The Department clarified       eventual achievement of desired                   This section of the final rule provides
the first sentence of paragraph (a)(1) to     conditions or objectives, as well as           that “notifications may be combined
say every decision document approving         direction for consistency with the other       where appropriate.’’ This provision
a plan, plan amendment, or plan               plan components.                               would allow flexibility for plan
revision must state whether                      This section requires that every            amendments to have a more
authorizations of occupancy and use           project and activity authorized after the      streamlined, efficient process than new
made before the decision document may         approval of a plan, plan revision or plan      plans or plan revisions, where
proceed unchanged.                            amendment must be consistent with the          appropriate. This approach is in keeping
   At paragraph (d), the Department           plan as provided in paragraph (d) of this      with the public’s desire and the
added that every project and activity         section. Paragraph (d) specifies criteria      Agency’s need for a process that allows
must be consistent with the applicable        to evaluate consistency, and requires          plan areas to quickly and efficiently
plan components and removed those             that project approval documents                adapt to new information and changing
words from § 219.7(d) of the proposed         describe how the project or activity is        conditions, (see § 219.13 for further
rule, because this provision is more          consistent. Given the very large number        discussion.)
appropriate in this section of the final      of project and activities, and the wide
rule.                                         variety of those projects and activities,      Section 219.16—Response to Comments
   At paragraph (d)(3), in response to        it is not feasible to provide any direction       The Department made the following
comments received on the preferred            more specific than that set out in             changes to this section of the final rule:
alternative, the Department modified          paragraph (d).                                    In the introduction to paragraph (a)
the direction for determining                                                                the Department changed the term
                                              Section 219.16—Public Notifications            “formal notifications’’ to
consistency with guidelines to make the
Department’s intent more clear.                 In this section, the final rule sets forth   “notifications.’’ This change is a
Paragraph (d)(3)(i) was modified to           requirements for public notification           clarification.
reflect the structure of the requirement      designed to ensure that information               The Department removed the
for standards in paragraph (d)(2), and        about the planning process reaches the         requirement at paragraph (a)(1) for a
now reads: “Complies with applicable          public in a timely and accessible              formal notice for the preparation of an
guidelines as set out in the plan.’’ In       manner. This section describes when            assessment, in response to public
paragraph (d)(3)(ii), the Department          public notification is required, how it        comments on the efficiency of the
replaced “carrying out the intent’’ to        must be provided, and what must be             assessment process. A requirement for
“achieving the purpose’’ of the               included in each notice. This section of       notice of opportunities to provide
applicable guidelines.                        the final rule is meant to be read with        information for assessments is now in
   ■The Department removed the wording        § 219.4 of the rule in mind, which sets        paragraph (c)(6) of this section: notice
at § 219.15(d)(3)(ii) of the proposed rule    forth direction for responsible officials      must be posted online, and additional
that repeated text from § 219.7(e)(l)(iv),    to engage the public and provide               notice may be provided in any way the
to avoid duplication and because the          opportunities for interested individuals,      responsible official deems appropriate.
reference to § 219.7(e)(l)(iv) is adequate.   entities, and governments to participate          The wording of paragraph (a)(1) in the
   Comment: Consistency requirement.          in the planning process.                       final rule, formerly paragraph (a)(2) in
Some respondents felt the proposed rule          This final rule represents a significant    the proposed rule, was modified to
was too vague and unclear about project       new investment in public engagement            remove the words “when appropriate”
or activity consistency with the plan.        designed to involve the public early and       before plan amendment. The change
They felt the rule needs specific criteria    throughout the planning process. The           reflects the Department’s intent in the
for determining if a project or activity is   Department is making this investment           proposed rule and responds to public
consistent with the plan, and achieving       in the belief that public participation        comments about confusion over
consistency may not be feasible unless        throughout the planning process will           whether notice to initiate the
guidelines are made mandatory.                result in a more informed public, better       development of plan amendments is
   Response: No previous planning rule        plans, and plans that are more broadly         required (it is). This change is not a
provided specific criteria to evaluate        accepted by the public than in the past.       change in requirement, this is a
consistency of projects or activities with    The requirements in this section               clarification.


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   At paragraph (c)(3) the Department        any other notification such as               the wording from the proposed rule
added a new paragraph that requires          administrative changes. Some                 except for the following changes:
that when the notice is for the purpose      respondents suggested changes to the            The Department changed the wording
of inviting comments on a proposed           proposed notification process to better      of paragraph (a) of the proposed rule
plan, plan revision, or plan amendment,      inform those individuals and groups          about effective dates of the proposed
and a draft EIS is prepared, the             who would be most affected and               rule in response to public comments
Environmental Protection Agency (EPA)        interested in these activities. Some         about the efficiency of the planning
Federal Register notice of availability of   respondents felt that use of a newspaper     process. The final rule retains the
an EIS shall serve as the required           of record is not effective since             requirement that a plan or plan revision,
Federal Register notice. This change         newspaper subscriptions are declining        is effective 30 days after publication of
makes the procedure similar to the prior     across the country.                          notice of approval, and also retains that
rule procedures and eliminates an               Response: Section 219.16 of the final     requirement for a plan amendment for
additional Federal Register notice at the    rule requires, at a minimum, that all        which an EIS is prepared. The final rule
time of a DEIS.                              public notifications must be posted          removes the 30 day delay for
   At paragraph (c)(6), the Department       online and the responsible official          amendments that do not require an EIS;
modified “plan amendment                     should use contemporary tools to             such amendments are effective
assessments” to ’’assessment reports” in     provide notice to the public. These          immediately upon publication of the
the list of public notices that may be       could include an array of methods, such      notice of approval. This change in
made in any way the responsible official     as meetings, town halls, email, or           requirements improves the efficiency of
deems appropriate that was in                Facebook posts. The best forms of notice     amendments.
paragraph (c)(5) of the proposed rule.       will vary by plan area and over time,           Paragraphs (b)(l)-(3) were modified
This change clarifies how the public                                                      slightly to reflect that the effective date
                                             therefore the rule does not seek to
will receive notice of a completed           predetermine what those tools might be.      of the final rule will be 30 days after the
assessment report. The word                                                               date of publication of the final rule in
                                             The wording “deems appropriate” in
“additional” was added to the                                                             the Federal Register.
                                             paragraph (c)(6) for the notices not            In paragraph (b)(2) of this section, the
beginning of paragraph (c)(6) to make        listed in paragraph (a) allows the
clear that, at a minimum, notice for the                                                  Department modified the wording and
                                             responsible official the flexibility to      added a new first sentence to clarify that
items in the paragraph must be posted        determine the notification method that
online. This change is a clarification.                                                   all new plan amendments initiated after
                                             best meets the needs of interested           the effective date of this rule must use
   At paragraph (d), the Department
                                             individuals, groups, and communities;        the objections process of subpart B, even
added an exception for the content for
                                             therefore, it has been retained in the       if the amendment is developed using
public notices when the notice is for the
                                             final rule.                                  the planning procedures of the prior
purpose of inviting comments on a
proposed plan, plan amendment, or               Additionally, there are requirements      planning regulation. This is a change
plan revision for which a draft EIS is       outlined in (c)(l)-(5) for posting notices   made to require that subpart B apply to
prepared. This change is necessary           in the Federal Register and applicable       all plans, plan revisions and plan
because of the change at paragraph           newspaper(s) of record for the notices       amendments initiated after the effective
(c)(3), stating that the Federal Register    required in paragraph (a). The use of the    date of the final rule. In the rest of
notice of availability for the draft EIS     Federal Register to give notice for all      paragraph (b)(2) the Department:
will serve as the required public notice.    amendments and administrative                Revised the sentences to improve the
The EPA has a standard format for            changes would be inefficient for the         ease, flow, and clarity of this paragraph,
notices that does not include the            Agency; therefore the requirements in        and clarified that when initiating plan
requirements of paragraph (d). The           paragraph (c) vary.                          amendments the optional appeal
public will be able to find the additional      Persons desiring notification of          procedures are not available.
information online.                          changes to a specific use on a national         In paragraph (b)(3) of this section, the
   Comment: When appropriate. Some           forest or grassland should contact that      Department clarified that the objection
respondents felt proposed rule               office. A requirement for direct             process of subpart B of this part applies
§ 219.16(a)(2) wording “when                 notification has not been added. The         if the responsible official completing a
appropriate” should be removed in            Department concludes that such a             plan process initiated prior to this part
reference to public notification of plan     requirement would be unworkable, and         chooses objections instead of optional
amendments.                                  that the forms of public notice required     appeal procedures. This change was
   Response: The final rule removes the      by this section, including the               made to avoid confusion about which
wording “when appropriate” in relation       requirement that all notices be posted       objection procedures would apply in
to plan amendments in what is now            online, will enable informed and active      that case (prior rule of December 18,
§ 219.16(a)(1) in the final rule, in         public engagement.                           2009, or subpart B of this final rule). In
response to public comment and to                                                         addition, the Department clarified that
                                             Section 219.17—Effective Dates and
clarify the Department’s intent from the                                                  the objection process of subpart B may
                                             Transition
proposed rule.                                                                            be chosen only if the public is provided
   Comment: Notification. Some                 This section of the final rule describes   the opportunity to comment on a
respondents felt the words “deems            when approval of plans, plan revisions,      proposed plan, plan amendment, or
appropriate” in paragraph (c)(5) of the      or plan amendments would take effect         plan revision, and associated
proposed rule should be removed, and         and when units must begin to use the         environmental analysis. These
requested clarification of what              new planning regulations.                    clarifications are not a change in
contemporary tools would be used.                                                         requirements.
                                             Section 219.17—Response to Comments
Some respondents requested direct                                                            In paragraph (c) the Department
notification, or notification of changes       Many comments on this section              added wording in response to public
to a specific use. A respondent felt         focused on the efficiency of the process,    comments to clarify that existing plans
Federal Register notice should be            clarity, and potential additional            will remain in effect until revised, and
mandatory for all plan amendments and        requirements. The Department retained        that the final rule does not compel a


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change to any existing plan, except as         ongoing revision effort to the                were made as described above to
required in § 219.12(c)(ll. In addition        requirements of the new rule after            improve clarity.
the Department added wording that              providing notice to the public, if doing         Comment: Planning schedule for
none of the requirements of this part          so would be feasible and appropriate for      revisions. A respondent felt the rule
apply to projects or activities on units       that effort.                                  should establish some schedule by
with plans developed or revised under             For amendments, there would be a 3-        which overdue plans, or ones due
a prior planning rule until the plan is        year transition window during which           within the next year or two, will be
revised under this part, except that           amendments may be initiated and               revised as currently 68 plans of 127
projects and activities must he                completed using the 2000 rule,                plans are past due for revision.
consistent with plan amendments                including the 1982 procedures via the            Response: The Agency does not have
developed under this final rule. These         2000 rule’s transition provisions, or may     the resources to revise all 68 plans that
changes are not changes in                     conform to the new rule. After 3 years,       need revision within the next few years.
requirements; the changes clarify the          all new plan amendments must conform          The Agency posts the Chief’s schedule
intent of the Department in the                to the new rule. This transition period       for plan revision online at http://
proposed rule. This paragraph in the           for new amendments would give the             www.fs.fed.us/emc/nfma/index.htm.
final rule is needed for clarity so that all   responsible official the option to               Comment: Compliance with
NFS units understand they are subject          facilitate amendments for plans               regulatory scheme. A respondent felt the
to the new planning rule for plan              developed under previous rules for a          Forest Service should eliminate the
development, plan amendment, and               limited time, using a familiar process,       proposed rule § 219.2(c) (none of the
plan revision, while still requiring NFS       until full familiarity with the new rule      requirements of the final rule applies to
units to follow the plan provisions of         develops.                                     projects) and § 219.17(c) (projects
their current plans.                              Plan decisions will not be approved
                                                                                             completed under existing forest plans
   Comment: Timing of compliance.              until the Agency has resolved any
                                                                                             need only be consistent with the plan
Some respondents felt the rule should          objections filed under subpart B. This
                                                                                             and not the 1982 rule). They believe the
establish a time limit beyond which any        delay of the effective date until after the
                                                                                             provisions are inconsistent with case
action which is being performed under          objections are resolved should
                                                                                             law. They cite several judicial decisions.
a previous regulation must be brought          adequately avoid disruptions. Many
                                                                                             Another respondent felt § 219.17(c) of
into compliance with this part, and the        legal challenges to plans go on for years,
                                                                                             the proposed rule allows plans to be
responsible official should not have           however, and it would not be workable
                                                                                             revised free of any obligation to
discretion to apply prior planning             to wait to implement a plan until after
                                                                                             demonstrate compliance with the
regulation in completing a plan                all legal challenges are resolved.
                                                  Comment: Climate change                    regulatory scheme under which it was
development, plan amendment, and
                                               requirements for 1982 revisions. A            developed.
plan revisions initiated before the
                                               respondent felt the rule’s transition            Response: The Ninth Circuit and
effective date of this part. A respondent
felt newly started plan amendments             provisions should require forests             Tenth Circuits Court of Appeals have
should follow the new planning                 currently planning revisions under the        confirmed the Agency’s position that
direction without exception. Another           1982 planning rule to consider climate        the 1982 rule was superseded by the
respondent felt the rule should allow          change impacts and actions to address         2000 Rule, and no longer applies. See,
the option of amending existing plans          climate change and to reduce stressors        Land Council v. McNair, 537 F. 3d 981,
under either the existing planning             to provide for greater habitat resiliency.    989 n. 5 (9th Cir. 2008); Forest
regulations or the new planning rule              Response: The Department decided           Guardians V. U.S. Forest Service, 641 F.
requirements until the current plan is         not to include this requirement in the        3d. 423 (10th Cir. 2011). This provision
revised under the new rule. Some               transition provisions of the final rule.      is needed for clarity so that all NFS
respondents felt the rule’s transition         However, all NFS units are working to         units understand they are subject to the
provisions should state the Agency will        implement the climate change roadmap          new planning rule for plan
operate under existing plans until all         released in 2009, and are using the           development, plan amendment, and
legal challenges to a new plan or plan         climate change scorecard, which               plan revision, but otherwise are
revision are resolved to avoid disruption      requires consideration of climate change      governed by the plan provisions of their
of existing contracts.                         impacts, vulnerability, and adaptability,     current plans. Responsible officials,
   Response: There is no transition            as well as monitoring and other               who continue plan development,
period for new plans or plan revisions         requirements. The Department decided          revisions or amendments initiated prior
initiated after the effective date of the      that the Roadmap and Scorecard                to the effective date of the final rule
final rule: all new plans and plan             implementation is the most appropriate        using the procedures of the 1982 rule,
revisions must conform to the new              method for working to address climate         must comply with the 1982 rule
planning requirements in subpart A.            change in plan revisions currently being      procedures in developing those plans,
Plan revisions that are currently ongoing      conducted under the 1982 rule.                plan revisions or amendments. Plan
or initiated prior to the effective date of       Comment: Conflicts between rules. A        amendments initiated after the effective
the final rule may be completed using          respondent felt the proposed rule’s           date of this rule, may for three years
either the previous rule or the final rule.    transition section is confusing because       follow the 1982 rule procedures or the
Many of the ongoing plan revision              there will be situations where the old        requirements of this rule for
efforts have taken many years, and it          rule can be in conflict with the new rule     amendments.
could be expensive in terms of both            and the final rule should therefore              Comment: Delay of project-specific
time and costs to require them to follow       include guidance to handle those              plan amendments. Some respondents
the new procedures, in addition to             conflicting situations. Another               felt the rule should require a 30-day
delaying needed improvements to                respondent also felt the entire section       delay for the effective date of all project­
outdated plans. It could also be unfair        needs more clarity.                           specific plan amendments, as plan
to the public who have invested time in           Response: The transition provision is      amendments are significant actions and
these efforts. The responsible official        important to provide a smooth change to       no amendment may apply only to a
does have the discretion to conform an         the new rule, and is workable. Changes        single concurrent project.


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   Response: Not all plan amendments          The Department modified the                 efficiency, efficiency, environmental
are significant actions. The final rule     definitions for: assessment,                  justice, healthy and resilient ecosystem,
does not require a 30 day-delay for         collaboration, connectivity,                  incidental recreation, Indian land,
project-specific plan amendments, and       conservation, designated areas,               internal trailheads, materially altered,
provides for site-specific project          ecological conditions, ecosystem, focal       measureable progress, national historic
amendments, in keeping with the             species, landscape, multiple use,             trails, net public benefits, non-Tribal
Department’s intent that the amendment      recreation setting, restoration, riparian     indigenous entity, primitive road,
process be efficient and used more          areas, sole source aquifer, sustainability,   reasonable basis, recreational values,
frequently.                                 and sustainable recreation to improve         roadless area, scenic landscape
                                            clarity.                                      character, science-based understanding,
Section 219.18—Severability                   The Department modified the                 silviculture, soundscape, substantive
   If any part of this final rule is held   definition of “ecosystem” to further          way, sustainable multiple uses, and
invalid by a court, this section provides   explain and describe the key                  timely manner.
that the invalid part would be severed      characteristics related to ecosystem             Response: The final rule either does
from the other parts of the rule, which     composition, structure, function, and         not use the term; therefore, a definition
would remain valid.                         connectivity so the relationship between      is not provided or the final rule uses the
                                            monitoring questions and indicators are       commonly understood meaning, making
Section 219.18—Response to Comments         clearly related to the ecological             definition unnecessary.
   This section explains that it is the     conditions of §§ 219.8 and 219.9.                Comment: Definition of assessment. A
Department’s intent that the individual                                                   respondent felt the definition of
                                            Section 219.19—Response to Comments           assessment should be revised to allow
provisions of the final rule be severable
from each other. The Department retains        Comment: Definitions for various           for the development of new information
the 2011 proposed rule wording in the       terms. Some respondents felt more             if and when it is necessary for a
final rule.                                 detailed definitions or explanations          successful assessment.
                                            about specific terms should be included          Response: The Department has
   Comment: Invalidation of entire rule.
                                            in the rule, including: access, aesthetic     modified the definition to be clear that
A respondent felt if any part of the
                                            value, air quality, capability, clerical      an assessment is to focus on and rapidly
proposed rule is judged invalid by a
                                            error, concurrence, coordination,             evaluate existing information to provide
court the rule should state the entire
                                            cultural images, cultural sustenance,         an informed basis and context for
rule is invalid.                            decision document, documented need,           initiating a change to a plan or plan
   Response: The Department retained        ecological integrity, educational,            development. The need for new
the provision in the final rule, because    evaluation, extent practicable,               information may be identified in the
rulemaking is an extensive                  feedbacks, fiscal capability of the unit,     assessment report, but development of
Departmental and public undertaking,        grasslands, identify, Indian, interested      new information is not required or
and the entire rule should not be           parties, irreversible damage, landscape       intended during the assessment process.
dismissed if a court finds only a portion   character, no reasonable assurance,              Comment: Definition of collaboration
of the rule is inappropriate.               opportunity, partners, reasonably             processes. A respondent felt the Agency
Section 219.19—Definitions                  foreseeable budgets, renewable energy         should define collaborative process. A
                                            projects, renewable resources, scenic         respondent requested the Agency add
   This section sets out and defines the    attractiveness, scenic integrity, small­      the concept of feedback to collaboration
special terms used in the final subpart     scale reasonably foreseeable risks,           definition.
A. Changes to this section were made in     spatial mosaic, spiritual, substantial and       Response: The proposed rule defined
response to public comments.                permanent impairment, sustainable             collaboration; the final rule defines both
   The Department added definitions for:    management of infrastructure,                 collaboration and collaborative process
best management practices, candidate        transportation and utility corridors,         using the proposed rule’s definition of
species, conserve, disturbance regime,      valid existing rights, and watershed          collaboration. The definition is
ecological integrity, inherent capability   conditions.                                   unchanged except that the last sentence
of the plan area, integrated resource          Response: Some of the requested            of the proposed rule’s definition was
management, maintain, management            definitions were included in the final        moved to § 219.4. The concept of
system, native species, persistence,        rule, where including a definition            feedback is indirectly included in the
proposed species, recreation                provides additional meaning or clarity,       proposed rule definition. The concept of
opportunity, restore, recovery, riparian    or where the term is uncommon terms           feedback is an important part of why the
management zone, scenic character, and      or used with a specific meaning. Other        Department supports an adaptive
stressors for clarity and to define new     requested definitions were not included,      framework that provides meaningful
terms.                                      either because the term was not               opportunities for public participation
   The Department removed definitions       included in the final rule, or the            early and throughout the process. The
for: Health(y), landscape character,        Department used the terms in their            moved sentence clarifies that under
potential wilderness areas, and             ordinary meaning.                             collaboration the Forest Service retains
resilience, because the terms are not          Comment: Requests for inclusion of         decisionmaking authority and
used in the final rule. The Department      definitions. Some respondents felt            responsibility for all decisions
moved a modified definition of species      additional definitions should be              throughout the process.
of conservation concern from § 219.19 to    included in the rule, including: airstrip,       Comment: Definitions for
§ 219.9. The Department removed the         alternate disputes resolution methods,        congressionally designated areas and
definition of system drivers, because the   animal welfare, appropriately                 administratively designated areas. A
term is defined in the rule in § 219.6 as   interpreted and applied, biodiversity,        respondent felt separating of
disturbance regimes, dominant               biological integration, completeness or       congressionally designated and
ecological processes, and stressors—        wholeness, cost effectiveness, cost           administratively designated areas
including wildland fire, invasive           efficiency, default width, ecological         through the definition would help in
species, and climate change.                unit, ecologically sustainable, economic      clarifying their differences, including a


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definition for national scenic and           definition is consistent with the use of     communities in the plan area, as
historic trail. A comment was received       the term in the rule. However, the           required in § 219.9. The Department
on the preferred alternative, asking if      Department added species to the list of      retained the concept of a small number
the lists in the definition of designated    resources included in the definition so      in the final rule because the responsible
areas were exhaustive.                       that conservation is defined as the          official has discretion to choose the
   Response: The Department clarified        protection, preservation, management,        small subset of focal species that he or
the definition of designated areas in the    or restoration of natural environments,      she determines will be useful and
final rule. The definition encompasses       ecological communities, and species.         reasonable in providing the information
both congressionally and                        Comment: Definition of disturbance.       necessary to make informed
administratively designated areas, and       A respondent felt the definition of          management decisions. The Department
provides examples of areas that are          disturbance should go beyond biological      does not expect a focal species to be
designated by each process. National         resources and extend to cultural,            selected for every element of ecological
scenic trails are referenced as one of the   historic, recreational, and aesthetic        conditions.
examples of a designated area, but a         resources as well.                              Comment: Definition of integrated
separate definition was not added to the        Response: In the final rule, the          resource management. Several
final rule. The final rule provides          concept of disturbance is limited to any     respondents felt the phrase “integrated
direction for wilderness and wild and        disruption of an ecosystem, watershed,       resource management” needed to be
scenic rivers in § 219.10(b) separately      plant and animal community, or species       defined.
from other designated or recommended         population: therefore the Department           Response: In the final rule the term
areas because their associated               retained the proposed rule definition.       has been defined as multiple-use
legislation contains specific                Such disturbance may result in impacts       management that recognizes the
requirements for the Secretary of            to cultural, historic, recreation,           interdependence of ecological resources
Agriculture. The final rule in               aesthetic, or other resources or uses.       and is based on the need for integrated
§ 219.10(b)(vi) provides for appropriate        Comment: Definition of diversity. A       consideration of ecological, social, and
management of other designated or            respondent felt the rule needs a             economic factors. The approach of
recommended areas, which would               definition of “diversity.” One               integrated resource management
include areas such as congressionally        respondent requested a definition of         considers all relevant interdependent
designated national historic trails. To      biodiversity.                                elements of sustainability as a whole,
respond to the comment on the                   Response: When the term diversity is      instead of as separate resources or uses.
preferred alternative, the Department        used alone in the rule, its meaning is the   “Integrated resource management” is
clarified the definition of designated       commonly understood use of the term          not the same as the “all-lands
areas to explicitly show that the list of    and therefore no rule definition of the      approach.” “Integrated resource
examples is not exhaustive by removing       term is necessary. The final rule retains    management” refers to the way in which
the word “include” and added the             a definition of the term ecosystem           the resources are to be considered, as a
words: Examples of * * * designated          diversity. The term biodiversity is not in   whole instead of by individual resource.
areas are.                                   the rule, and therefore no definition of     The “all-lands approach” refers to the
   Comment: Definition of connectivity.      that term is needed.                         area of analysis for the planning phases,
Some respondents felt the definition            Comment: Definition of ecosystem          which can extend beyond the national
should remove the word “separate” so         services. Some respondents felt specific     forest and grassland boundary.
that it includes connectivity both within    aspects of services should be included          Comment: Definition of landscape. A
and between national forests at multiple     in the definition. Other respondents felt    respondent felt landscapes should not
scales, reflecting the disparate needs of    the proposed definition is too limiting      be defined as being irrespective of
different species with different             to “direct human utility.” A respondent      ownership.
capacities for mobility. A respondent        felt the proposed rule definition mixes        Response: The Department recognizes
said the term is not appropriate because     services with uses and resources,            and respects ownership boundaries. The
it might trigger counterproductive           making the term “ecosystem services”         definition applies to a perspective for
litigation.                                  confusing.                                   assessment purposes for resources and
   Response: Connectivity is an                 Response: The final rule retains the      influences that may extend beyond the
important part of the concept of             proposed definition, which focuses on        NFS boundary. The Department
ecological integrity. The Department         the “benefits people obtain from             retained the landscape term in the final
therefore retained the term in the final     ecosystems.” The definition is               rule because conditions and trends
rule, and modified it in response to         consistent with the MUSYA mandate to         across the broader area may influence,
public comments. The Department              “administer the renewable surface            or be influenced by projects or activities
modified the definition of connectivity,     resources of the national forests for        on NFS lands. Plan components would
removing the words that would limit the      multiple use and sustained yield of the      apply only the NFS lands, but the
concept to “separate national forest or      several products and services obtained       responsible official should be informed
grassland areas.” The final rule             therefrom” (16 U.S.C. 529), and allows       by an understanding of the broader
definition is worded to apply to several     for changing conditions and needs.           landscape when developing plan
scales and to identify the types of the         Comment: Definition of focal species.     components.
biophysical aspects of ecological            A respondent felt the definition of focal       Comment: Definition of local and
functions that the term encompasses.         species is too narrow: it should not be      indigenous knowledge. Some
   Comment: Definition of conservation.      limited to a small number because of         respondents felt the rule should provide
Respondents felt the proposed rule           fiscal capability.                           a definition for local and indigenous
definition fails to include elements of         Response: The Department changed          knowledge, and this knowledge should
resource use and wise use, or should not     the definition of focal species based on     not be considered on the same level as
include preservation or should not           public comment to clarify the intended       scientifically- or historically-based
include management.                          role of focal species in assessing the       information.
   Response: The Department retains the      effectiveness of the plan in maintaining       Response: Section 219.19 of the final
definition of conservation because the       the diversity of plant and animal            rule retains the proposed rule’s


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definition for native knowledge. The             Response: The Department retained          in physical and biological terms;
final rule requires the use of the best       the proposed rule definition for              riparian management zones are defined
available scientific information to           participation because the Department          in administrative terms. A riparian area
inform decisions. The final rule strikes      cannot require engagement; but it can         and a riparian management zone would
a balance for using science as an integral    offer participation opportunities.            overlap, but one may be wider or
and foundational, but not the sole,              Comment: Definition of productivity.       narrower than the other.
influence on planning, allowing for           A respondent felt the current definition         Comment: Definition of risk. A
other sources of information or input,        of “productivity” should be amended to        respondent felt the definition of “risk”
including native knowledge, to be             include economic productivity.                should refer to “probability” and
considered during the planning process.          Response: The Department’s use of          “magnitude.”
   Comment: Definition of monitoring. A       the term productivity in the rule does           Response: The Department retains the
respondent felt the definition of             not include economic productivity;            definition of the proposed rule for risk
monitoring should be revised to capture       therefore, the proposed rule definition is    because “probability and magnitude”
the concept of measuring the response         retained in the final rule.                   are equivalent to “likelihood and
of resources to land management over             Comment: Definition of restoration.        severity” in the proposed rule
time. Another respondent felt the             Several respondents felt the definition       definition, which is “a combination of
definition should include the concepts        should not include the concept of going       the likelihood that a negative outcome
of inventory, continuity, desired             back to ecosystem conditions that once        will occur and the severity of the
conditions, public participation, and         existed, especially under changing            subsequent negative consequences.”
                                              climatic conditions. Still others felt that      Comment: Definition of social science.
open and transparent process.
                                              the definition should be clearer and          A respondent felt the final rule should
   Response: The final rule revised the
                                              more in line with definitions found in        define social science.
proposed rule definition to remove the                                                         Response: The term “social science”
                                              the scientific literature.
words “over time and space” to ensure            Response: The final planning rule          was not in the proposed rule and is not
that the definition is broad enough to        adopts the definition advanced by the         in the final rule, and therefore need not
incorporate the concept of measuring          Society for Ecological Restoration            be defined. The final rule includes
the response of resources to land             International, but retains from the           reference to social sustainability in the
management over time, or at a single          proposed rule (with minor word                definition for sustainability.
instant, at a broad geographic scale, or      changes) the additional explanation that         Comment: Definition of stressor. A
at a specific location, depending on the      ecological restoration focuses on             respondent felt the Agency should
objective for an individual monitoring        reestablishing the composition,               define the term stressor.
question or indicator. The rule               structure, pattern, and ecological               Response: The Department defines the
framework itself is based on the concept      processes necessary to facilitate             term stressor in the final rule as a factor
that the set of monitoring questions and      terrestrial and aquatic ecosystem             that may directly or indirectly degrade
indicators that make up the monitoring        sustainability, resilience, and health        or impair ecosystem composition,
program will be used to inform adaptive       under current and future conditions.          structure, or ecological process in a
management on the unit over time. The         Chapter 3 of the Final PEIS discusses         manner that may impair its ecological
terms that the commenter wishes added         the relevance of evaluating the range of      integrity, such as invasive species, loss
to the definition are key concepts and        natural variation in the “Historical          of connectivity, or the disruption of a
terms in the rule, but adding them to the     Range of Variability (HRV) as a Way of        natural disturbance regime.
definition of monitoring is unnecessary.      Understanding the Historical Nature of           Comment: Definition of sustainable
   Comment: Multiple use definition.          Ecosystems and Their Variation” under         recreation. A respondent felt the term
Some respondents requested specific           the “Dynamic Nature of Ecosystems”            was defined vaguely and should be
inclusions and exclusions from the            portion of the Affected Environment           deleted from the rule. A respondent felt
definition of “multiple use. Other            discussion.                                   ecosystem services and sustainable
respondents requested more detailed              Comment: Definition of riparian area       recreation are equivalent concepts but
definitions or explanations about             vs. riparian management zones. Some           defined differently so that it is
specific terms associated with § 219.10       respondents felt the use of the terms         confusing. A respondent felt the
Multiple use, such as access, aesthetic       “riparian areas” and “riparian                definition should include the
value, small-scale renewable energy           management zones” between the                 predictability of opportunities,
projects and transportation and utility       preamble and the proposed rule were           programs, and facilities over time. A
corridors.                                    inconsistent. Some felt the proposed          respondent said the definition should
   Response: The definition does not          definition of riparian areas was outdated     include ecologically sustainable,
reference specific uses or services. The      and did not reflect current science and       economically sustainable, fiscally
definition was established by Congress        understanding of riparian areas function      sustainable, socially sustainable, and be
at 16 U.S.C. 531. The type of direction       and management.                               focused on outcomes. A respondent
requested by the respondents is more             Response: The final rule rewords the       objected to the inclusion of the
appropriate as part of the specific           proposed rule’s definition for “riparian      undefined term “social sustainability”
requirements of the final rule, as part of    areas” and adds a definition for              in the definition of sustainable
plans, or as part of projects or activities   “riparian management zone.” Riparian          recreation, because social sustainability
carried out under the plans.                  areas are ecologically defined areas of       might be an opportunity to remove
   Other terms used in § 219.10 are           transition between terrestrial and            hunting and fishing from the NFS.
defined where necessary; see the first        aquatic systems and have unique                  Response: The Department decided to
response to comments in this section for      characteristics, values, and functions        keep the term but modify the definition
additional discussion.                        within the landscape. Riparian                for clarity. The definition in the rule is;
   Comment: Definition of participation.      management zones are portions of              “the set of recreation settings and
A respondent felt that the definition of      watersheds areas where riparian­              opportunities on the National Forest
participation be defined as engagement        dependent resources receive primary           System that is ecologically,
in activities.                                emphasis. “Riparian areas” are defined        economically, and socially sustainable


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for present and future generations.” In       money. Such a situation can also                Response: The Department’s choice of
addition, the Department defined the          damage public trust in the planning          this approach is based on two primary
terms economic sustainability and             process. Interim direction is often put      considerations. First, a pre-decisional
social sustainability as part of the          into place while the responsible official    objection is more consistent with the
definition of sustainability. The socially    prepares further analysis and other          collaborative nature of this final rule
sustainable part of sustainable               appropriate corrections.                     and encourages interested parties to
recreation (when considered within the          After receiving initial public input,      bring specific concerns forward earlier
boundaries of the NFS, which is how we        reviewing public comments, and taking        in the planning process, allowing the
have now defined it) deals largely with       into account agency history and              Forest Service a chance to consider and
addressing conflicts between uses.            experience regarding pre- or post­           respond to potential problems in a plan
   The Department’s use of the term           decision administrative appeal               or decision before it is approved and
socially sustainable is intended to give      processes, the Department decided to         implemented. Second, pre-decisional
the opposite direction as the                 include a pre-decisional administrative      objections lead to a more timely and
respondent’s concern, leading to              review process, called an objection          efficient planning process, reducing
support for hunting and fishing               process, in the final rule. An objection     waste of taxpayer and agency time and
opportunities because hunting and             prompts an independent administrative        dollars spent implementing projects
fishing are important to sustain              review by an official at a level above the   under plans subsequently found to be
traditions and connect people to the          deciding official and a process for          flawed.
land and to one another.                      resolution of issues. This process allows       With a pre-decisional objection
   Comment: Definition of viable              interested individuals to voice              process, the responsible official, the
population. Some respondents felt the         objections and point out potential errors    reviewing official, interested parties,
rule should replace “sufficient               or violations of law, regulations, or        and the objector have the opportunity to
distribution to be resilient and              agency policy prior to approval and          seek reasonable solutions to conflicting
adaptable” in the proposed definition         implementation of a decision. The            views of plan components before a
and incorporate the phrase “well-             Forest Service has successfully used a       responsible official approves a plan,
distributed in habitats throughout the        similar process since 2004 for               plan amendment, or plan revision. This
plan area” and “high likelihood” over a       administrative review of hazardous fuel      approach fits well with a collaborative
specified time period (50 years) into the     reduction projects developed pursuant        approach to planning, and encourages
definition of viable population.              to the Healthy Forests Restoration Act.      resolution before a plan, plan
   Response: See the response to                                                           amendment, or plan revision is
comments to section 219.9 for a               Section 219.50—Purpose and Scope
                                                                                           approved.
discussion of the term well-distributed.        This section states that the purpose of       The Department believes that having
   The final planning rule does not           the subpart is to establish a process for    both a pre-decisional objection process
specifically incorporate “high                pre-decisional administrative review of      and a post decision appeals process
likelihood” or a specified time period        plans, plan amendments, and plan             would be redundant and inefficient.
into the definition of viable population      revisions.
because it is difficult to interpret and                                                   Section 219.51—Plans, Plan
measure consistently and because              Section 219.50—Response to Comments          Amendments, or Plan Revisions Not
estimating the probabilities of                                                            Subject To Objection
                                                 This subpart describes a pre-
maintaining a viable population of a          decisional administrative review                This section identifies those plans,
particular species of conservation            (objection) process for plans, plan          plan amendments, or plan revisions that
concern over a certain period time will       amendments, or plan revisions. The           would not be subject to the pre-
vary from species to species and from         Department retains the 2011 proposed         decisional objection process under the
unit to unit, depending on existing           rule wording in the final rule of            final rule.
conditions and potential existing and         § 219.50. To respond to comments on
future threats and stressors, especially                                                   Section 219.51—Response to Comments
                                              the preferred alternative, the
those related to climate change, that         Department changed the wording in              The Department retains the 2011
may affect species differently on             § 219.50 and throughout subpart B to         proposed rule wording in the final rule
different NFS units.                          clarify that the parties that may object     except to change the term formal
Subpart B—Pre-Decisional                      include States and Tribes as well as         comments to substantive formal
Administrative Review Process                 organizations and individuals. The           comments. This change was made
                                              preferred alternative and the proposed       throughout this subpart.
Introduction to This Subpart                  rule used the terms “individual” and            Comment: Secretary decisions subject
  Subpart B sets forth the requirements       “organization” for those who may file        to administrative review. Some
for the objection process in this final       an objection. States and Tribes are not      respondents felt decisions made by the
rule.                                         organizations; therefore, the Department     Secretary or the Under Secretary for
  Prior to the 2000 rule, the                 changed the term “organization” to           Natural Resources and Environment
administrative review process for plan        “entity” in sections 219.50, 219.53,         affecting the Forest Service should be
decisions provided an opportunity for a       219.55 and 219.61. These modifications       subject to administrative review.
post-decisional appeal. With this             to subpart B are clarifications, not           Response: Land management plan
process, a plan was generally put into        changes in requirements.                     decisions made by the Secretary or
effect before the appeal was resolved.           Comment: Objection process over           Under Secretary for Natural Resources
This scenario has often been                  appeals process. Some respondents            and Environment have never been
problematic because when reviewing            expressed support for the objection          subject to appeal or objection. The
appeals, if a reviewing officer finds fault   process while some respondents want          Department chooses not to change this
with a plan already in effect, the remedy     the objection process removed and            approach. The Agency anticipates that
can be costly to both the Forest Service      replaced with the appeals process, or        approvals of plans, plan amendments,
and the public in terms of time and           want to see both processes used.             or plan revisions by the Secretary or


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Under Secretary will continue to be rare          The Department added a sentence to             Response A draft plan decision
occurrences.                                   paragraph (a) of this section to allow the     document is one of the items § 219.52
                                               responsible official to choose to use the      (c) requires to be made available to the
Section 219.52—Giving Notice of a Plan,
                                               objection process for a plan, plan             public when public notice of the
Plan Amendment, or Plan Revision
                                               amendment, or plan revision initiated          beginning of the objection process is
Subject To Objection Before Approval           before the effective date of the rule even     given. If no objections are filed, the
   Section 219.52 provides additional          when the scoping notice had not                draft, once signed would become the
information for providing the public           indicated that an objection process            decision. If an objection is filed, there
notice, required by § 219.16 subpart A,        would be used. To ensure meaningful            may be changes made for the final
that would begin the objection filing          notice is given, however, the notice that      decision. The objection process allows
period. This notice serves three               the objection process will be used must        objectors and interested parties to meet
particular purposes: (1) To notify parties     be given prior to an opportunity to            with the reviewing officer to try to
eligible to file objections that the           provide substantive formal comment on          resolve issues raised in an objection
objection filing period is commencing;         a proposed plan, plan amendment, or            before a final plan decision. This
(2] to notify parties eligible to file         revision and associated environmental          process is more efficient and more
objections and others of the availability      analysis.                                      consistent with the participatory
of planning documents and how to                  A requirement to make the documents         approach used in the final rule.
obtain those documents; and, (3) to            identified in paragraph (c)(1) of this
                                               section available online at the time of        Section 219.53—Who May File an
establish a publicly and legally                                                              Objection
verifiable start date for the objection        public notice was added for clarity, to
filing period.                                 reflect the Department’s intent.                  This section of the rule identifies
   Section 219.52 would require the               Comment: Notice of a plan, plan             eligibility requirements for filing an
Forest Service to make a special effort        amendment, or plan revision subject to         objection under this subpart. This
to ensure the public understands how           objection. Some respondents felt               section is written in the context of
                                               “making available” the public notice for       § 219.4 in subpart A, which expresses
the objection process in this subpart
would be used for each plan, plan              the beginning of the objection period for      the Agency’s intent to involve the
                                               a plan, plan amendment, or plan                public early and throughout the
amendment, and plan revision.
                                               revision was not adequate notification.        planning process in keeping with the
Specifically, the responsible official            Response: Section 219.16(a)(3) of
would be required to disclose the                                                             collaborative nature of this final rule.
                                               subpart A requires formal notification of
objection procedures by stating that this      the beginning of the objection period by       Section 219.53—Response to Comments
process will be used during scoping            posting the information online, and via           Except for minor corrections of
under the NEPA process and in the              the Federal Register and/or the                editorial errors, the Department retains
appropriate NEPA documents. Early              newspaper of record as set forth in            the proposed rule wording. The
disclosure will help ensure that those         § 219.16(c). The term “making                  Department changed the term “formal
parties who may want to file objections        available” is used in this section to          comments” to “substantive formal
are aware of the necessary steps to be         allow the responsible official the             comments.” In the proposed rule, we
eligible.                                      flexibility to use other tools at his or her   used both terms; in the final rule, we
   The final rule also requires the            disposal for notification, for example,        used the term “substantive formal
responsible official to make the public        sending an email to a list of interested       comments” consistently throughout.
notice for beginning the objection filing      parties or issuing a news release, in          The Department clarified in paragraph
period available to those who have             addition to the formal notifications           (a) that objections must be based on
requested the environmental documents          identified in § 219.16.                        previously submitted substantive formal
or who are eligible to file an objection.         Comment: Specific date for the start        comments “attributed to the objector” to
This requirement is intended to ensure         of the objection process. Some                 be consistent with § 219.54(c)(7). As
that the necessary information reaches         respondents felt there is a need for a         discussed in response to comments for
those who have specifically requested it       specific publication date for the              § 219.50, the Department changed the
and those who could have a particular          beginning of the objection period.             term “organizations” to “entities” in
interest in the start of the objection            Response: The Department believes           this section. These changes are not
filing period by virtue of their eligibility   the matter is best addressed by having         changes in requirements, but are
to file an objection.                          the objection filing deadline begin the        clarifications.
   Paragraph (cj outlines the format and       day after publication of the public               Comment: Substantive formal
content of the public notice to ensure         notice as outlined in § 219.56(b)(2).          comment. Some respondents requested
potential objectors have necessary             Although the Agency can request                the rule define “substantive formal
procedural information, can find               newspapers publish notices on a certain        comment.”
underlying documents, and understand           date, a publication date is not                   Response: The proposed rule
the process, timing, and requirements          guaranteed. When publication occurs on         included a definition for “formal
for filing an objection.                       a different date than estimated, the           comments.” The final rule includes
                                               result could lead to confusion. By not         instead a definition of “substantive
Section 219.52—Response to Comments
                                               publishing a (potentially different)           formal comments,” the term used
   Changes were made to wording in this        starting date, the Department believes         throughout this subpart in the final rule,
section to be consistent with changes          the potential for confusion is reduced or      at § 219.62 of the final rule, in response
made in response to public comments            eliminated and leaves all parties with         to this comment. The definition is
on other sections in this subpart,             the same information.                          consistent with the definition used in
including changing the term “formal               Comment: Need to guess and predict          Agency appeal regulations 36 CFR part
comments” to “substantive formal               decision. Some respondents said the            215 for “substantive comment.”
comments” and the objection periods            objection process forces the public to            Comment: Who may file an objection?
from 30 days in the proposed rule to 45        guess and predict what the actual              Some respondents felt limiting the
days, or 60 days if an EIS was prepared.       decision will be.                              opportunity for filing an objection to


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those who have participated in                in every one of those opportunities. This     Section 219.54—Response to Comments
providing substantive formal comments         requirement should assist in the timely
                                                                                               Minor changes were made to this
was the correct approach. Other               involvement of the public. The
respondents felt anyone should be able                                                      section in response to public comment.
                                              objection process is expected to resolve
to file an objection.                                                                       Paragraph (a) was changed to clarify that
                                              many potential conflicts by encouraging
   Response: The rule requires the                                                          all objections must be submitted to the
                                              resolution before a plan, plan
responsible official to engage the public                                                   reviewing officer for the plan. The
                                              amendment, or plan revision is
early and throughout the planning                                                           Department added “other published
                                              approved.
process in an open and transparent way,                                                     Forest Service documents” to (b)(2) of
                                                 Comment: Objection eligibility. Some       this section to indicate that, along with
providing opportunities for meaningful        respondents felt the objection process
public participation to inform all stages                                                   Forest Service Directives System
                                              forces the public to submit comments          documents and land management plans,
of planning. The requirement for              on everything in order to preserve their
limiting the opportunity for filing an                                                      published Forest Service documents
                                              right to object based on submitted            may be referenced rather than included
objection to those who have provided          comments. A number of respondents
substantive formal comments during at                                                       in an objection. The Department also
                                              stated objections should be permitted on      clarified in Paragraph (b) that any
least one public participation                issues raised by any party at any time.
opportunity is intended to encourage                                                        documents not listed in (b)(l)-(4) that
public engagement throughout the                 Response: The planning process is          are referenced in an objection must be
planning process and help ensure that         intended to engage interested                 included with the objection or a web
the Agency has the opportunity to hear        individuals and entities in an ongoing        link must be provided. These minor
and respond to potential problems as          dialogue in which all substantive issues      changes and clarifications reflect public
early as possible in the process. Without     and concerns are identified. The              comments.
this requirement some substantive             Department decided to retain the                 Comment: Proposed prohibition on
problems might not be identified until        requirements in this section to make          incorporation by reference. Some
the end of the planning process.              sure that issues are identified as early as   respondents felt the proposed
   This requirement will increase the         possible, by the parties interested in        prohibition on incorporation by
efficiency of the planning process and        those issues. At the same time, this          reference is unduly burdensome. Some
the effectiveness of plans by                 subpart recognizes that there may be          felt the wording on what references are
encouraging early and meaningful              issues that arise after the opportunities     required to be included in an objection
public participation. Engaging the            for public comment, and allows parties        were unclear.
public early and often results in better      who have participated earlier to object          Response: Section 219.54(b) of the
identification of issues and concerns         on those issues.                              final rule retains the proposed rule
and allows the Agency to respond                 Comment: Objections by other Federal       wording. The Department believes the
earlier in the process and in a way that      agencies and Federal employees. A             requirements are clear, and will help the
is transparent to all members of the          respondent stated that objections from        reviewing officer understand the
public.                                       other Federal agencies should be              objection and review it in a timely way.
   Comment: Substantive comment               allowed. Another respondent stated that       The documents that can be included by
submittal requirement. Some                   a Federal employee should be allowed          reference include: Federal laws and
respondents felt the proposed rule            to file an objection and should be            regulations. Forest Service Directives
requirement for participation by a            allowed to include and discuss non­           System documents, land management
formal comment submittal in order to          public information in their objection.        plans, and other published documents,
file an objection is an undue burden on                                                     documents referenced by the Forest
                                                 Response: The objection process is an
the public because organizations and                                                        Service in the planning documentation
                                              administrative review opportunity for
individuals with limited resources
                                              individuals and entities, other than          related to the proposal subject to
cannot be expected to participate in all                                                    objection, and formal comments
                                              Federal agencies. Federal agencies have
public involvement opportunities.
                                              other avenues for working together to         previously provided to the Forest
Others felt it places an unreasonable
                                              resolve concerns, including                   Service by the objector during a
limitation on the ability of citizens to
                                              consultations required by various             proposed plan, plan amendment, or
participate in the objection process. Still
                                              environmental protection laws. It is          plan revision comment period. The final
others disagree with the basic concept of
                                              expected that Federal agencies will           rule was modified to allow for
not submitting formal comments
                                              work cooperatively during the planning        published Forest Service documents to
equates to not having an opportunity to
                                              process.                                      be included by reference as well. All
object.
   Response: Because the final rule              Federal employees who meet                 documents not identified in the list in
requires significant investment in            eligibility requirements of § 219.53(a)       § 219.54(b), or Web links to those
providing opportunities for public            and choose to file an objection may do        documents, must be included with the
participation, the Department believes it     so, but not in an official capacity. They     objection, if referenced in the objection.
is important to honor that process and        must not be on official duty or use              Comment: Internet submission of
ensure that issues arise as early in the      Government property or equipment in           objections. Some respondents felt the
process as possible, when then can best       the preparation or filing of an objection,    rule should allow filing of objections via
be addressed. The Department does not         nor may they include information only         Internet communication.
believe it is too high a burden for a         available to them in their official              Response: An email submittal to the
potential objector to first engage in and     capacity as Federal employees.                appropriate email address is an
provide formal substantive comments                                                         acceptable form of filing an objection.
                                              Section 219.54—Filing an Objection
during at least one of the numerous                                                            Comment: Remedy inclusion
opportunities for public participation          This section of the final rule sets out     requirement. Some respondents felt
during the planning process for a plan,       how to file an objection, and the             requiring inclusion of a potential
plan amendment, or plan revision.             minimum content that must be                  remedy presents an obstacle for
Subpart B does not require participation      included.                                     participation in the objection process.


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  Response: The objection process sets       officer authority and responsibility to a       Response: It is the intent of the
the stage for meaningful dialogue on         line officer at the same administrative       Agency that all issues raised through
how a proposed plan, plan amendment,         level as the regional forester. In            objection will be responded to, although
or plan revision could be improved. The      addition, the Department added a              the responses may not necessarily
objection, including suggesting about        requirement for the reviewing officer for     address each issue individually.
how the proposed plan may be                 the plan to convey any such objections        Consolidating objection issues and
improved, can be concise, but should         to the appropriate line officer. These        answering with a single response may
provide a basis for dialogue to resolve      changes in requirements are needed            be appropriate for objection issues of a
concerns. The reviewing officer should       because of the change in § 219.9(c)           similar or related nature. Consolidated
be able to use the objection to engage       subpart A requiring that the regional         responses allow similar issues to be
with the objector and other interested       forester, rather than the responsible         examined and responded to consistently
parties during the objection period to       official for the plan, identify the species   and efficiently.
determine an appropriate course of           of conservation concern.
                                                Comment: Thirty-day comment                Section 219.58—Timing of a Plan, Plan
action.
                                             period. Some respondents felt the 30-         Amendment, or Plan Revision Decision
Section 219.55—Objections Set Aside          day time limit for filing an objection is       This section describes when a
From Review                                  too short.                                    responsible official could approve a
  This section describes the various            Response: Section 219.56 was               plan, plan amendment, or plan revision.
circumstances that would require a           changed to modify the objection filing
                                                                                           Section 219.58—Response to Comments
reviewing officer to set aside an            period to 60 days for a new plan, plan
objection from review and the                revision, or a plan amendment for               Other than a minor correction to
notification requirements related to         which an EIS is prepared, and 45 days         paragraph (c) to change “30-day time
setting an objection aside.                  for amendments for which an EIS is not        period” to “allotted filing period” to be
                                             prepared in response to this comment.         consistent with the option of either the
Section 219.55—Response to Comments             Comment: Interested person’s               60-day or 45-day time period for filing
  The Department made minor changes          timeframe. Some respondents felt the          of an objection under § 219.56, the
for clarity and consistency. Comments        proposed interested person’s timeframe        Department retains the proposed rule
on this section were answered in             of 10 days is insufficient and would          wording in the final rule.
response to comments regarding               limit interested parties ability to fully       Comment: A respondent felt that the
§ 219.53. As discussed in response to        participate in the objection process.         5-day business period following the
comments for § 219.50, the Department           Response: The final rule retains the       objection period should be increased to
changed the term “organization” to           10-day requirement. Persons who have          10 days.
“entity” in this section.                    been participating throughout the               Response: The Department
                                             process should already be familiar with       determined that 5 business days are an
Section 219.56—Objection Time Periods                                                      adequate time period for an objection
                                             those issues, and should be able to file
and Process                                                                                that was timely filed to be received by
                                             a request to participate within this
  This section details the time in which     timeframe. Granting a longer timeframe        the reviewing officer, under any
objections can be filed, how time            for filing a request to participate in an     delivery option.
periods are calculated, the evidence         objection would affect the reviewing
required to demonstrate a timely filing,                                                   Section 219.59—Use of Other
                                             officer’s ability to schedule meetings in     Administrative Review Processes
the role and responsibilities of the         a timely manner to discuss issues raised
reviewing officer, publication of            in the objection with the objector and          This section would allow for the use
notifications, and the reviewing officer’s   interested parties, thereby delaying          of other administrative review processes
response requirements.                       resolution of an objection and impacting      in lieu of the objection process in
                                             the reviewing officer’s ability to respond    certain circumstances when the Forest
Section 219.56—Response to Comments                                                        Service is participating in a multi-
                                             to all objections within the timeframe
  Two changes were made to this              provided by § 219.57.                         Federal agency planning process or
section. The Department lengthened the                                                     when a plan amendment is approved in
amount of time from 30 days to 60 days       Section 219.57—Resolution of                  a decision document approving a
to file an objection if an EIS has been      Objections                                    project or activity.
prepared and the Department                    This section explains the
lengthened the time from 30 days to 45                                                     Section 219.59—Response to Comments
                                             Department’s requirements for the
days if an EIS is not prepared. This         process and responsibilities related to          The proposed rule authorized the
change in procedural requirements was        the resolution of objectives. The intent      reviewing officer to choose whether to
made to give more time to the public in      of this process is to have a meaningful       adopt the administrative review
response to public comment on the            dialogue with objectors and interested        procedure of another Federal agency.
proposed rule. Changes to other sections     parties in order to resolve as many           The final rule instead gives the
in this subpart were made to be              concerns as possible prior to approval of     responsible official this authority, to
consistent with this change.                 a plan, plan amendment, or plan               better reflect the Department’s intent,
  In addition, in paragraph (e) of this      revision.                                     and consistent with the requirement for
section, the Department added the                                                          the responsible official to notify the
requirement that for an objection or part    Section 219.57—Response to Comments           public early in the planning process that
of an objection related to the selection       The Department retains the proposed         a review process other than the
of species of conservation concern, the      rule wording in the final rule.               objection process of this subpart would
reviewing officer may not be the               Comment: Some respondents felt that         be used.
regional forester who identified those       not requiring a point by point written           Comment: Public burden. Some
species, but must be a different line        response to objections is contrary to the     respondents expressed concern about
officer. The Chief may be the reviewing      objective of resolving issues before          the unreasonable and unfair burden
officer or may delegate the reviewing        decisions are made.                           placed on the public for site-specific


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plan amendments by having to respond        comments were submitted by the public       State or local governments. This final
to two processes, the NEPA appeal of        on this section.                            rule will not interfere with an action
project level activity and the planning                                                 taken or planned by another Agency.
                                            Section 219.62—Definitions
NFMA objection process for planning                                                     Finally, this final rule will not alter the
decision.                                     This section defines some of the terms    budgetary impact of entitlements,
   Response: The Department recognizes      and phrases used in subpart B of the        grants, user fees, or loan programs or the
there may be limited circumstances          proposed rule.                              rights and obligations of recipients of
when a plan amendment decision                                                          such programs. However, because of the
                                            Section 219.62—Response to Comments
applicable to a project and all future                                                  extensive interest in National Forest
projects in the plan area is made at the       The Department has made a few            System (NFS) planning and
same time as that project or activity       minor changes throughout this section.      decisionmaking, this rule has been
decision. In such circumstances, the           The final rule dropped the definition    designated a significant regulatory
objection process applies to the plan       of “formal comments” and added a            action, although not economically
amendment decision, and the review          definition of “substantive formal           significant, under section 3(f) of
process of 36 CFR part 215 or 218 would     comments.” This definition includes the     Executive Order 12866. Accordingly,
apply to the project or activity decision   definition of the proposed rule’s term,     the rule has been reviewed by the Office
(§ 219.59(b)). In these circumstances,      “formal comments,” and added wording        of Management and Budget (OMB).
while the NEPA analysis for amendment       to clarify when comments are                   A cost benefit analysis, including the
and project may be combined, the            considered substantive. The final rule      regulatory impact analysis requirements
responsible official is making two          also modified the definition of             associated with Executive Orders 13563
separate decisions: A project or activity   “objection period” by replacing the         and 12866 and OMB circulars, has been
decision and a plan amendment that          proposed rule’s “30 calendar day            developed. The analysis evaluates the
applies to all future projects or           period” with “allotted filing period.” As   regulatory impact and compares the
activities. Each action, project, and       discussed in response to comments for       costs and benefits of implementing the
amendment, should be reviewed under         § 219.50, the Department changed the        final rule to the baseline, which
its appropriate review procedures. A        term “organization” to “entity” in this     assumes planning pursuant to the 1982
person or entity may seek review of         section.                                    rule procedures, as allowed by the
either or both, depending upon the             Comment: Substantive formal              transition provisions of the 2000
person’s or entity’s concerns.              comment: Some respondents requested         planning rule (36 CFR 219.35(b), 74 FR
   The Department requires the public       the rule define “substantive formal         67073 (December 18, 2009)). This
be notified during the NEPA process         comment.”                                   analysis is posted on the World Wide
that the objection process will be used       Response: In response to this             Web at: http://www.fs.usda/
(unless the option provided by              comment, and because the term               planningrule, along with other
paragraph (a) of this section to use        “substantive formal comment” is now         documents associated with this final
another process is available and            used consistently throughout this           rule.
chosen). The Agency’s NEPA                  subpart, the final rule defines                The scope of this analysis is limited
requirements serve to assure ample          “substantive formal comments.” The          to programmatic or agency procedural
opportunities for notification of the       definition is consistent with the           activities related to plan development,
public of the use of the objection          definition used in Agency appeal            plan revision, and plan amendment of
process as well as the beginning of the     regulations 36 CFR 215 for “substantive     land management plans for management
objection process.                          comment.”                                   units (for example, national forests,
                                                                                        grasslands, prairies) within the NFS. No
Section 219.60—Secretary’s Authority        Regulatory Certifications                   costs or benefits associated with on-the-
  This section clarifies that nothing in    Regulatory Planning and Review              ground projects or activities are
this subpart restricts the statutory                                                    characterized or projected. Potential
                                               The Agency reviewed this final rule      procedural effects evaluated in the
authority of the Secretary of Agriculture
                                            under U.S. Department of Agriculture        analysis include potential changes in
regarding the protection, management,
                                            (Department) procedures and Executive       agency costs for planning and changes
or administration of NFS lands.
                                            Order (E.O.) 13563 issued January 18,       in overall planning efficiency. In this
Section 219.60—Response to Comments         2011, and E.O. 12866 issued September       analysis, costs refer to planning costs to
  The section of the final rule is          30, 1993. Executive Orders 13563 and        the Agency. Benefits refer to the benefits
unchanged from the proposed rule. No        12866 direct agencies to assess all costs   of the alternatives in terms of planning
comments were submitted by the public       and benefits of available regulatory        efficiency and capacity for land
on this section.                            alternatives and, if regulation is          management plans to maintain long­
                                            necessary, to select regulatory             term health and productivity of the land
Section 219.61—Information Collection       approaches that maximize net benefits       for the benefits of human communities
Requirements                                (including potential economic,              and natural resources. This analysis
  This section explains that this           environmental, public health and safety     identifies and compares the costs and
subpart’s requirements regarding            effects, distributive impacts, and          benefits associated with developing,
information that an objector must           equity). E.O. 13563 emphasizes the          maintaining, revising, and amending
provide are “information collection         importance of quantifying both costs        NFS land management plans under six
requirements” as defined by 5 CFR part      and benefits, of reducing costs, of         alternatives: Alternative A the proposed
1320 and that these requirements have       harmonizing rules, and of promoting         NFS planning rule (proposed rule);
been approved by the Office of              flexibility.                                Modified Alternative A modification of
Management and Budget.                         The final rule will not have an annual   the proposed rule (final rule);
                                            effect of $100 million or more on the       Alternative B the implementation of
Section 219.61—Response to Comments         economy or adversely affect                 1982 rule procedures under the 2000
  This section of the final rule is         productivity, competition, jobs, the        rule (No Action); Alternative C the
unchanged from the proposed rule. No        environment, public health or safety, or    minimum to meet the National Forest


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Management Act (NFMA) and purpose             costs associated specifically with plan      15 years (2012 through 2026). Total
and need; Alternative D a modified            amendments).                                 costs are assumed to cover activities
version of the proposed rule with an             Primary sources of data used to           directly related to planning (and
alternative approach to species diversity     estimate agency costs include recent         monitoring for planning purposes) at the
and an emphasis on watershed health;          cost-benefit analyses, business              unit and regional office levels, as well
Alternative E a modified version of the       evaluations, and budget justifications       as indirect or overhead (cost pools)
proposed rule with emphasis on                for planning rules issued between 2000       activity for supporting planning
monitoring performance and                    and 2008 and recent historical data          activities, but do not include project­
collaboration. Alternative B is the no        (1996-2009) regarding regional and           level costs. Costs associated with
action alternative and therefore the          unit-level budget allocations and paid       planning at the national office and
baseline for this analysis.                   expenditures for planning and                research stations are assumed to remain
   The final rule includes the same           monitoring activities related to             relatively constant across alternatives;
concepts and underlying principles as         planning. The 1982 rule procedures are       these costs are unknown but not
the proposed rule. However, there are a       considered the baseline for this analysis.   expected to be substantial compared to
number of changes to the rule text and        Until a new planning rule is in place,       other costs evaluated. Total costs (2009
to the document structure. The changes        the 1982 rule procedures are being used,     dollars ($)) are estimated for a 15-year
are based on public comment received          as permitted by the transition provision     planning cycle and then annualized
during the comment period on the DEIS         of the 2000 rule, to develop, revise, and    assuming a 3 percent and 7 percent
and the proposed rule (Alternative A).        amend all plans. Agency costs are            discount rate. Annualized costs accrued
                                              initially estimated for the 1982 rule        over the 15-year period reflect the
   The cost and benefits of the final rule
                                              procedures and then used as a baseline       annual flow of costs that have been
are evaluated within the context of a
                                              from which adjustments are made,             adjusted to acknowledge society’s time
planning framework consisting of the
                                              based on explicit differences in             value of money.
three-part learning and planning cycle:
                                              planning procedures, to estimate the            Due to the programmatic nature of the
Assessment, development/revision/
                                              incremental impact of the final rule.        final action, the benefits derived from
amendment, and monitoring. The cost­
                                              However, it should be noted that cost        land management plans developed,
benefit analysis focuses on key activities
                                              projections of the final rule are            revised, or amended under the different
related to this three-part planning cycle
                                              speculative because there are challenges     alternatives are not quantified. Instead,
for which agency costs can be estimated       anticipating the process costs of revising   the benefits of the alternatives are
with the 1982 rule procedures as a            and amending plans at this                   assessed qualitatively for procedural or
baseline. Differences in costs across         programmatic level of analysis. Annual       programmatic efficiency. Efficiency is a
alternatives are estimated when               costs are estimated separately for years     function of (1) the time and resources
possible, but benefits are discussed          during which units (with regional            used (costs) to complete and maintain
qualitatively as potential changes in         support) are engaged in plan revision        plans, and (2) the degree to which those
procedural or programmatic efficiency.        and the years units are engaged in plan      plans are capable of providing direction
The key activities for which costs were       maintenance/amendment. The                   for resource monitoring, management,
analyzed include: (1) Assessments (for        estimated costs are then aggregated to       and use/access that sustains multiple
example, identification and evaluation        estimate total planning costs. Based on      uses (including ecosystem services) in
of existing information relevant to the       past studies and analyses of plan            perpetuity and maintains long-term
plan area to establish a basis of             revisions under the 1982 rule                health and productivity of the land for
information and the landscape-scale           procedures, the agency determines that       the benefit of human communities and
context for management prior to               plan revisions under the 1982 rule           natural resources, giving due
changing the plan); (2) public                procedures will take approximately 5         consideration to relative values of
participation (for example, collaboration     years. These studies and analyses            resources (that is, meets the objectives
and public participation activities not       indicate that plan revisions for some        of the NFMA and other key guiding
including those required by the NFMA          units may take 7 years or longer. For        legislation).
and NEPA); (3) development and                estimation of average agency costs for
analysis of plan revision and                                                              Agency Cost Impacts
                                              planning over a 15-year planning cycle,
amendment decisions (developing of            it is assumed that management units            Results of the cost analysis indicate
alternatives to address the need to           will be engaged in plan revision for 3 to    agency costs increase for some key
change the plan, analyzing and                4 years under the final rule and 5 years     activities and decrease for others under
comparing the effects of alternatives,        under the 1982 rule procedures,              the final rule and alternatives. However,
notification and comment solicitation         assuming annual plan maintenance or          total annual planning costs are not
requirements under NEPA, and                  more frequent but shorter amendments         projected to be substantially different
finalizing and documenting plan               than the 1982 rule procedures will be        between the final rule and the 1982 rule
revision and plan amendment                   occurring for the remaining years            procedures. Estimates of potential
decisions); (4) science support               between revision cycles.                     differences in planning costs are
(activities for assuring identification and      Monitoring is assumed to occur every      complicated by the unknown effects of
use of the best available scientific          year, but monitoring differs slightly for    any future Forest Service directives that
information); (5) resolution of issues        plan revision years compared to              might be developed to support the final
regarding plan revisions or plan              maintenance years. Shorter revision          rule.
amendments through the administrative         periods reflect the expectation that the       As shown in Table 1, the annual
processes of appeals or objections; (6)       process for revising plans will be more      average undiscounted cost to the
monitoring (limited to those monitoring       efficient under the final rule because of    Agency for all planning-related
activities that support planning); and (7)    procedural changes described below           activities under the final rule ($97.7
minimum plan maintenance (minimum             (see “Efficiency and Cost Effectiveness      million per year) are estimated to be
expenses to maintain a plan during non­       Impacts”). It is also assumed that           $4.8 million per year lower compared to
revision years, excluding assessment,         approximately 120 management units           the proposed rule ($102.5 million per
collaboration, and analysis/decision          will initiate plan revision over the next    year), and $6.3 million per year lower


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compared to the 1982 rule procedures
($104 million per year).

                        Table 1—Summary              of   Estimated Annual Average Costs of Alternative Rules
                                                                   [In million $ per year *]

                                                                       Estimated annual average costs                         Net savings/(cost)
                                                                                                                                comparisons
                                                                                                       1982 rule pro­                      Final rule to
                                                                Final rule       Proposed rule                           Final rule to
                                                                                                          cedures       proposed rule     1982 rule pro­
                                                                                                                                             cedures

Annual average undiscounted costs .........................              97.7                  102.5            104                 4.8               6.3
Annualized discounted costs at 3% ..........................             97                    102              103                 5                 6
Annualized discounted costs at 7% ..........................             96.3                  101.2            102.2               4.9               5.9
  ‘Estimates are in 2009 dollars.


   Assuming a 3 percent discount rate,                  decrease gradually over time. Therefore,            requirements under the rule are
the projected annualized cost for the                   during the first 15-year period, planning           designed to recognize these needs. The
final rule is estimated to be $97 million,              costs will be slightly elevated and not             requirements are intended to increase
while the projected annualized cost for                 significantly different from the no­                agency capacity to adapt management
the proposed rule is $102 million,                      action alternative as units adjust to the           plans in response to new and evolving
implying an annualized cost difference                  new planning process and build                      information about risks, stressors,
between the final rule and the proposed                 collaborative capacity. In subsequent               contingencies, and management
rule of $5 million, while the projected                 15-year periods, planning costs are                 constraints as described in the section
annualized cost for the 1982 rule                       likely to decrease as the new process               above. It is anticipated under the final
procedures is $103 million, implying a                  becomes more established. Planning                  rule that the Agency will be able to
projected annualized cost difference of                 costs in subsequent planning cycles are             establish plans that are efficient and
$6 million. Assuming a 7 percent                        expected to decrease, recognizing there             legitimate frameworks for managing
discount rate for the same timeframe,                   will still be efficiency gains during the           resources that meet public demand in a
the projected annual cost estimate for                  initial planning efforts.                           sustainable fashion and satisfy the goals
the final rule is $96.3 million compared                   The cost and benefit analysis assumed            of the MUSYA and the NFMA, and that
to $102.2 million under the 1982 rule                   eight management units will start plan              management units will be better able to
procedures.                                             revision annually. Therefore,                       keep plans updated and current with
   Given the relatively small change in                 approximately 120 management units                  evolving science and public concerns
estimated costs, combined with the                      will at least initiate plan revision over           without substantial changes in planning
uncertainty associated with costing                     the next 15 years (2012 through 2026).              costs over a 15-year period.
assumptions, estimated annual planning                  This analysis also assumed each                        Under the final rule, costs are
costs for the final rule are not projected              management unit would take 3 to 4                   projected to be redirected toward
to be substantially different from the                  years to revise a plan under the final              collaboration, assessment, and
proposed rule and the 1982 procedures.                  rule and 5 years under the 1982 rule                monitoring activities and away from
However, over a 15-year period more                     procedures. Given these assumptions,                development and analysis of
plan revisions and amendments are                       over a 15 year period, there would be               alternatives compared to the 1982 rule
expected to be completed under the                      approximately 104 plan revisions                    procedures. Costs are also expected to
final rule as compared to the 1982 rule                 completed under the final rule in                   be redirected more toward maintenance
procedures for about the same amount                    contrast to an estimated 88 plans                   or plan amendments under the final
of cost estimated. It is anticipated that               revised under the 1982 rule procedures,             rule, due in part to expectations that
units will have greater capacity to                     a net increase of 16 plans revised under            less time will be needed to complete
maintain the currency, reliability, and                 the final rule.                                     plan revisions. These effects are
legitimacy of plans to meet the                                                                             projected to occur, in part, because of
objectives of the MUSYA, the NFMA,                      Efficiency and Cost-Effectiveness                   broader support and resolution of issues
and the planning rule (§ 219.1(b) and                   Impacts                                             at earlier stages of plan revision,
(c)): Thereby improving the quality of                     The numerous public meetings,                    achieved through collaboration as well
plans and therefore the efficiency of the               forums, and roundtable discussions                  as other procedural changes.
planning process.                                       revealed growing concern about a                       The reallocation of efforts and costs
   Based on the above quantitative                      variety of risks, stressors, and challenges         across different phases of planning, and
comparison, annual average planning                     to planning (for example, climate                   across key planning activities under the
costs to the Agency are projected to be                 change; insects and disease; recreation,            final rule is expected to improve overall
similar for the final rule, the proposed                timber, and other shifts in demands;                planning efficiency. Shifts in emphasis
rule, and the 1982 procedures. A                        population growth, and other                        and resources under the final rule are
learning curve is expected under the                    demographic shifts; water supply                    projected to improve the currency,
final rule. During the initial efforts by               protection and other ecosystem support              reliability, and legitimacy of plans to
management units to develop, revise, or                 services). Addressing these types of                serve as a guide for: (1) Reducing
amend plans under the new rule, costs                   risks and contingencies requires a larger           uncertainty by identifying and gathering
are expected to reflect additional time                 landscape perspective, information from             existing and new information about
and resources needed to adjust to a new                 a broad spectrum of sources, and a                  conditions, trends, risks, stressors,
planning framework, including training.                 framework that can facilitate adaptation            contingencies, vulnerabilities, values/
It is likely the cost of training will                  to new information. The new procedural              needs, contributions, and management


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constraints; (2) integrating and assessing   reliance on administrative boundaries.        commitments). Recognizing these
ecological, social, and economic             This broader approach would enhance           challenges, the final rule provides
information to determine if outputs and      capacity to incorporate information           responsible officials with discretion to
outcomes related to unit contributions       about conditions outside of NFS               determine the scope, methods, and
to ecological, social, and economic          boundaries relevant to management of          timing of opportunities for public
conditions indicate a need to change the     the plan area.                                participation that are appropriate to the
plan; and (3) responding to the need for        Risks and vulnerabilities to ecosystem     circumstances specific to the action
change in management activities,             elements and functions would be               being taken, and the final rule states that
projects, or revisions and amendments        considered in assessments thereby             opportunities for collaboration be
to plan components. Potential increases      encouraging consideration of the effects      offered when feasible and appropriate.
and/or reallocation of costs associated      of long-term environmental or social/         However, changes in guidance and
with assessment, analysis, and               economic variability, events, and trends      requirements for public participation
monitoring requirements for elements         on future outputs, ecosystem services,        under the final rule are expected to
such as diversity and sustainability are     and outcomes.                                 increase planning efficiency, especially
expected to provide clearer direction for       For the final rule, the level of effort,   as related to the relevance and
subsequent project planning. Project­        or reallocation of effort (and cost) to the   effectiveness of plans, because of the
level costs are not included in the          assessment phase is reduced as                following:
analysis of land management planning         compared with the proposed rule, due             (1) Improved analysis and
costs.                                       to a narrower focus on rapid review and       decisionmaking efficiency during latter
   Agency planning costs under the final     evaluation of existing information (for       stages of planning due to increases in
rule are estimated to be slightly lower      example, assessments completed by             public input during early phases;
compared to the proposed rule and the        States and other entities, and so forth),        (2) Improved capacity to reduce
1982 rule procedures, however, due to        as well as the inclusion of a specific set    uncertainty by gathering, verifying, and
relatively small differences in estimated    of topics to focus on for the assessment,     integrating information from a variety of
costs, combined with uncertainty             as opposed to the broader direction in        sources, including Tribal or other forms
associated with costing assumptions,         the proposed rule. Requirements to            of knowledge, within and beyond unit
the estimated agency costs are not           discuss roles and contributions, “need-       boundaries;
projected to be substantially different      to-change,” as well as monitoring                (3) Potential to offset or reduce agency
between the proposed rule, the final         questions have been removed under the         monitoring costs as a result of
rule, and the 1982 rule procedures.          final rule. The ‘benefits people obtain       collaboration during monitoring plan
Changes in rule requirements under the       from NFS planning areas’ (ecosystem           development and monitoring itself;
final rule will enhance planning             services) have been highlighted under            (4) Improved capacity to consider
efficiency, and more plan revisions and      the final rule. Direction to gather and       values and concerns for all economic
amendments, as well as more effective        evaluate information about potential          sectors and social segments, including
plans, are expected as a result of the       species of conservation concern is more       amenity-driven demographic shifts
final rule. Details about the potential      explicit (and transparent) under the          associated with local or rural
effects of specific procedural changes on    final rule. The changes in assessment         communities in wildland dependent
agency costs and planning efficiency are     requirements under the final rule are         counties;
described below, by activity category.       expected to improve the cost                     (5) Reduced need for large numbers of
   Assessment: Slight increases in           effectiveness of assessments. These           plan alternatives as well as time needed
assessment costs (compared to the cost       changes are also designed to increase         to complete plan revisions as a
of doing an analysis of the management       the likelihood of improving capacity to       consequence of broader support and
situation under the 1982 rule                respond to changes in conditions and          resolution of issues achieved through
procedures) are anticipated under the        trends, as originally intended under the      public participation and collaboration
final rule. This is due to an increased      proposed rule.                                during early phases of final plan
emphasis on characterizing factors such         Public Participation: Requirements for     development;
as assessing conditions, trends, and         public participation (including                  (6) Improved perceptions regarding
sustainability within a broader              collaboration) have not changed               the legitimacy of plans and the planning
ecological and geographic context            between the proposed and final rules.         process and improved ability to address
(landscapes), ecosystem and species          Costs associated with public                  issues and concerns prior to the need for
diversity, climate change, as well as        participation are projected to increase       litigation by increasing transparency,
other system drivers, risks, threats, and    under the final rule as compared to the       developing awareness of the values and
vulnerabilities. Gains in cost               1982 rule procedures due primarily to         expected behavior of others, and seeking
effectiveness are achieved through other     requirements that opportunities for           greater understanding about values,
elements such as direction to rely on        participation, including collaboration        needs, tradeoffs, and outcomes during
existing information and the removal of      where feasible and appropriate, be            earlier stages of planning; and,
required prescriptive benchmark              provided throughout the planning                 (7) Building unit (and regional)
analysis. Changes in the assessment          process. Gains in cost effectiveness may      capacity to overcome existing barriers to
requirements and guidance are expected       occur, in part, by providing responsible      collaboration (for example, absence of
to increase planning efficiency and          officials with discretion to design           social networks or capacity; perceptions
effectiveness by improving capacity to       collaborative strategies that meet unit­      about pre-existing power relationships)
assimilate and integrate existing and        specific needs and constraints and            through training and facilitation.
new information to inform changes to         recognize local collaborative capacity.          Analysis and decisions (plan
the plan.                                    Gosts for some units may be higher            development, plan revision or
   Assessments would identify and            where potential barriers to collaboration     amendment): Costs associated with
evaluate information at landscape levels     are present (for example, pre-existing        analysis and decisions are estimated to
and at a geographic scale based on           relationships may exacerbate perceived        decrease overall under the final rule due
ecological, economic, or social factors      inequities; absence of pre-existing social    primarily to the effect of fewer
relevant to the plan area, rather than       networks or capacity; or false                prescriptive requirements (relative to


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1982 rule procedures) regarding                 More frequent amendments expected         framework (i) places greater emphasis
probable (management) actions, timber        under the final rule could potentially       on public participation and
program elements, number and types of        lead to fewer need-for-change                collaboration early and throughout the
alternatives, evaluation of alternatives,    determinations when plans are revised.       planning process, (ii) adopts a pre-
and minimum management                       Assessments and proposal steps may           decisional objection process, and (iii)
requirements. The forces affecting the       not be needed for some amendments.           changes the regional office responsible
cost include (1) increased emphasis on          Under the final rule, slightly more       official from regional forester to forest
consideration of resource attributes and     effort is re-directed to activities          supervisor. These changes are expected
conditions such as sustainability,           associated with development and              to improve legitimacy and trust in the
watershed health, and water supply,          analysis of plan revisions (or               planning process and contribute to more
and (2) adaptation to new approaches         amendments) compared to the proposed         efficient resolution of issues early in the
for addressing species viability and         rule. Examples of changes under the          process, prior to the plan development,
diversity in the short-term (with long­      final rule that can enhance overall          plan revision or plan amendment
term potential for gains in cost­            planning efficiency include:                 approval. Making a decision on an
effectiveness).                                 • Moving “Need-to-change”                 objection before plan approval can be
   The following elements associated         determinations from assessments to the       less disruptive than an appeal decision
with the final rule are expected to          plan revision phase to clarify the           which can come months after plan
increase planning efficiency by              separation between the assessment and        implementation begins. The more
facilitating plan revisions and              NEPA phases;                                 frequent use of amendments expected
amendments, expanding capacity for              • Clarifying how plan area                under the final rule will keep plans
adaptive management, and improving           ecosystems are integrated into               more current and is expected to narrow
guidance for responding to diverse           landscape-level ecological, social, and      the focus of changes over time. In
determinations of a need to change the       economic sustainability;                     addition, the assessment and monitoring
plan:                                           • Refining and clarifying
                                                                                          phases of the planning framework are
   The adoption of a coarse-filter/fine-     requirements for riparian zones; and
                                                                                          expected to build public support and
filter approach for addressing species          • Clarifying unit responsibilities for
                                             the diversity of plant and animal            improve the legitimacy and relevance of
viability and diversity within plan                                                       plans by providing and continually
components, combined with the                communities.
                                                These changes are expected to             updating a transparent base of
recognition of land management and                                                        information to inform management
resource limits which constrain the          contribute to planning efficiency by
                                             improving the capacity of plans to           decisions. There is no expectation of
Agency, is expected to make                                                               unanimous support for any given
management units better able to develop      provide for sustainability and diversity.
                                                Science support: Slight cost increases    proposed plan development, plan
plans that provide feasible or realistic                                                  revision or plan amendment under any
direction for responding to species and      for science support may occur under the
                                             final rule due in part to more               of the alternatives, however early
ecosystem sustainability and recovery
                                             prescriptive wording to use the best         resolution of issues is expected to occur
needs and meeting requirements for
                                             available scientific information during      and contribute to overall planning
plant and animal diversity.
   A greater emphasis on sustainability      the planning process to inform the           efficiency under the final rule.
and ecosystem integrity in plan              planning process, plan components, and       Efficiency gains under the final rule are
components is expected to facilitate         other plan content, including the            expected to be similar to the proposed
restoration responses triggered by new       monitoring program. On the other hand,       rule for resolution of issues, recognizing
information regarding environmental,         requirements under the final rule for        that the objection period for actions
social, and economic risks and stressors,    using the best available scientific          involving environmental impact
including climate change and changes         information to inform decisions              statements is extended to 60 days under
in demand for goods and services.            contribute to planning efficiency by         the final rule and to 45 days when there
Expected results include reduced effects     maximizing coverage of scientific input      is no environmental impact statement.
from anthropogenic stressors, thereby        from diverse sources, integrating science       Monitoring: Relative increases in
helping to restore healthy ecosystems        throughout all stages of planning, and       monitoring costs as compared to the
and compatible uses (especially in areas     taking advantage of scientific knowledge     1982 rule procedures are anticipated as
sensitive to disturbance and changing        from external partners and agency            a consequence of a greater emphasis on
conditions) as well as increased             research stations, thereby strengthening     broader input and participation in the
protection of riparian area function.        the decisionmaking process. Also the         design and implementation of
   Refocusing the use of the term            final rule has fewer documentation           monitoring, new approaches for
“restoration” to focus on recovery of        requirements, concentrating the burden       characterizing diversity and resiliency,
resiliency and ecosystem functions           of documentation on the most relevant        and two-level (plan and broad-scale)
(instead of historical reference points)     and appropriate points in the planning       monitoring. However, over time, the
provides greater flexibility to respond to   process. Additional changes are made to      two-level approach to monitoring is
need-for-change regarding damaged            clarify the responsible official’s use of    expected to increase monitoring
ecosystems.                                  best available scientific information in     efficiencies and decrease the cost of
   Greater emphasis placed on                informing the planning process.              other planning related activities. Under
identifying each unit’s role in providing       Resolutions: The cost effect of a shift   the final rule, the two-level approach to
ecosystem services within a broader          from a post-decisional appeals process       monitoring is intended to inform the
landscape or region should facilitate the    (under the 1982 rule procedures) to a        plan area management and make
design of management responses that          pre-decisional objection period under        progress toward desired outcomes. By
recognize the marginal effects or            the final rule is difficult to project.      testing assumptions, tracking changing
contributions of ecological, social, or      Ongoing litigation under the current         conditions, and assessing management
economic conditions originating from         planning rule is costly and time             effectiveness, monitoring information
outside of the traditional unit study area   consuming and may continue under the         will inform adaptive management and
boundaries.                                  new rule. However, the new planning          lead to more effective and relevant


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plans. Plan monitoring and broader-           Distributional Impacts                       provide a flexible means for
scale monitoring levels are related. The         Due to the programmatic nature of         acknowledging the varying and relative
monitoring framework would require            this rule, it is not feasible to assess      importance of plan area contributions to
monitoring to be more consistent across       distributional impacts (for example,         social and economic sustainability as it
units of the NFS. The final rule would        changes in jobs, income, or other            relates to a range of economic sectors
mobilize multi-party monitoring               measures for social and economic             and populations across units and
resources by working across all Forest        conditions across demographics or            regions.
Service branches and engage partners                                                          The final rule is more prescriptive
                                              economic sectors) in detail. Under the
and other Government agencies in its                                                       about considering and facilitating
                                              final rule, units would continue to use
monitoring efforts to help reduce the                                                      restoration of damaged resources as well
                                              their timber sale program and other
cost of added monitoring requirements                                                      as improving resource capacity to
                                              forest management activities to enhance
and provide for monitoring efforts that                                                    withstand environmental risks and
                                              timber and other forest resource values
are complementary. There is also                                                           stressors (that is, resiliency), thereby
                                              and benefits over time (similar to the       providing greater capacity for sustaining
potential that collaboration would result     1982 procedures). Continued
in more cooperative monitoring                                                             local or rural economic opportunities to
                                              monitoring of recreation use is expected     benefit from forest resources and
programs with other agencies and the          under the final rule as a result of
public. This could help leverage                                                           ecosystem services, including
                                              continuation of the national visitor use     recreation/tourism and water supply/
resources to accomplish additional            monitoring system. Collaboration under
monitoring.                                                                                watershed health as well as restoration
                                              the final rule would help assure             based activities.
   Changes in guidance and                    consideration of a broad spectrum of
requirements for monitoring under the         recreational values and an integrated        Proper Consideration of Small Entities
final rule as compared to the 1982 rule       mix of sustainable recreation                   The final rule has also been
procedures are expected to increase           opportunities relevant to each NFS unit.     considered in light of Executive Order
planning effectiveness by improving              Grazing allotments are parcels or         13272 regarding proper consideration of
capacity to gather information and            designated areas of rangeland leased or      small entities and the Small Business
reduce uncertainty for a number of            permitted to a livestock grazer. Their       Regulatory Enforcement Fairness Act of
integrated ecological, social, and            use is planned and monitored to              1996 (SBREFA), which amended the
economic conditions, trends, risks,           maintain sustainable production and          Regulatory Flexibility Act (5 U.S.C. 601
stressors, constraints, and values within     rangeland health. Plans would include        et. seq.). The Department has
and beyond unit boundaries.                   plan components to maintain or restore       determined this action will not have a
   Monitoring under the final rule            ecological integrity of lands, including     significant economic impact on a
focuses to a greater extent on                rangelands, and grazing allotment            substantial number of small entities as
ecosystems, habitat diversity, and            management plans would continue to be        defined by the E.O. 13272 and SBREFA,
smaller numbers of species to monitor         modified to be consistent with plans         because the final rule imposes no
(relative to MIS under Alternative B],        developed under the final rule, as they      requirements or costs on small entities,
with the intent that tracking of species      are for plans developed using the 1982       nor does it impose requirements or costs
diversity and habitat sustainability will     rule procedures.                             on specific types of industries or
be more cost-effective and reflective of         In general, the final rule is designed    communities. In addition, the final rule
unit-specific capabilities. Two-level         to facilitate engagement and                 provides more opportunities for small
monitoring is intended to create a more       involvement throughout all phases of         entities to engage with the Department
systematic and unified monitoring             planning, thereby improving capacity to      and become more involved in all phases
approach to detect effects of                 consider and incorporate values and          of planning, thereby expanding capacity
management within unit boundaries as          concerns for all economic sectors and        to identify and consider the needs and
well as track risks, stressors, and           social segments affected by any given        preferences of small entities. Timelier
conditions beyond unit boundaries that        plan, plan revision, or plan amendment.      planning and management decisions
affect, or are affected by, unit conditions   The final rule is also intended to           under the final rule should increase
and actions.                                  facilitate assimilation of existing or new   opportunities for small entities to
                                              information about local or rural, as well    benefit from implementation of updated
   Emphasis on coordination between           as national, concerns and values             land management plans. Additional
plan area monitoring and broader-scale        throughout the planning process.             emphasis on ecosystem resiliency to
monitoring helps ensure information is        Increased opportunities for considering      facilitate restoration activities and on
complementary, is gathered at scales          and addressing social and economic           sustainable recreation opportunities
appropriate to monitoring questions,          concerns through participation and           should help sustain economic
reduces redundancy, and improves cost­        collaboration under the final rule           opportunities linked to local or rural
effectiveness.                                therefore apply evenly across all sectors    communities, many of which are host to
   Efficiency gains under the final rule      and populations.                             small entities. Therefore, a regulatory
are expected to be similar to the                The final rule requires plans to have     flexibility analysis is not required for
proposed rule. Changes to monitoring          plan components that “guide the plan         this final rule.
requirements under the final rule             area’s contributions to social and
should enhance those gains by: (1)            economic sustainability.’’ The final rule    Energy Effects
Clarifying that monitoring information        also requires that plans include a             This final rule has been reviewed
should inform need-to-change, (2)             statement of the roles and contributions     under Executive Order (E.O.) 13211
modifying requirements for engaging           of the unit within a broader landscape       issued May 18, 2001), “Actions
various partners in developing the            and that assessments, plan component         Concerning Regulations That
monitoring program, and (3) clarifying        development, and monitoring consider         Significantly Affect Energy Supply,
the connection between the monitoring         social and economic conditions,              Distribution, or Use.” It has been
requirements and the requirements for         including a broad spectrum of goods          determined that this final rule does not
diversity in § 219.9.                         and services. These requirements             constitute a significant energy action as


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defined in E.O. 13211. While the             alternatives. The final programmatic        shows sensitivity to Federalism
Agency does not manage subsurface            environmental impact statement is           concerns by requiring the responsible
minerals, mineral exploration and            available on the Web at http://             official to encourage participation of
development does occur on NFS lands.         www.fs.usda.gov/planningrule.               State and local governments and Indian
Similarly, the Agency recognizes the            The final rule requires plan             Tribes in the planning process. In
growing demand for geothermal, wind,         development, amendment, or revision to      addition, § 219.4(b) requires the
and solar energy development on NFS          follow NEPA procedures. The rule            responsible official to coordinate
lands. Agency management of the              requires an EIS for plan development        planning with State and local
renewable resources mandated by              and plan revisions. The rule also           governments and Indian Tribes.
MUSYA recognizes ongoing and                 requires that plan amendments comply           In the spirit of E.O. 13132, the Agency
potential exploration and development        with Forest Service NEPA procedures.        provided many opportunities for State
while protecting and conserving these        The appropriate NEPA documentation          and local officials, including their
renewable resources. The final rule set      for an amendment may be an EIS, an          national representatives, to share their
out administrative procedural                EA, or a CE, depending upon the scope       ideas and concerns in developing the
requirements whereby NFS land                and scale of the amendment and its          final regulation. Respondents to the
management plans are developed,              likely effects.                             February 14, 2011, proposed rule
revised, and amended. The final rule                                                     included the following: 113 county
                                             Controlling Paperwork Burdens on the
recognizes in § 219.10 that development                                                  government agencies or elected officials,
                                             Public
of renewable and non-renewable energy                                                    62 State government agencies, elected
resources are among the potential uses          In accordance with the Paperwork         officials, or associations, and 18
in a plan area. However, the final rule      Reduction Act of 1995 (44 U.S.C. 3501       American Indian government agency, or
does not dictate the activities that may     et seq.f the information collection or      elected officials. Many Tribal, State, and
occur or not occur on administrative         reporting requirements for the objection    local government agencies submitted
units of the NFS. Accordingly, the final     process were previously approved by         comments requesting that collaboration
rule does not have energy requirements       the Office of Management and Budget         and coordination be mandatory before
or energy conservation potential.            (OMB] and assigned control number           beginning plan revisions. Some
   Plans developed under the final rule      0596-0172 for the objection process         respondents suggested that forest plans
will provide the guidance for making         included in the Title 36, Code of Federal   be made locally and adapted to “local
future project or activity resource          Regulations, Part 218—Predecisional         management,” “local control,” and
management decisions. The final rule         Administrative Review Processes,            “local collaboration.” Intergovernmental
recognizes in § 219.10 that the              Subpart. A—Predecisional                    planning coordination was supported by
placement and maintenance of                 Administrative Review Process for           many respondents as well. Many
infrastructure such as transmission lines    Hazardous Fuel Reduction Projects           respondents cited Federal, Tribal, State,
are among the potential uses in a plan       Authorized by the Healthy Forests           local, and other types of planning they
area. Land management plans may              Restoration Act of 2003.                    felt the Agency should be careful to
identify major rights-of-way corridors          The information required by subpart      consider and integrate into forest plans.
for utility transmission lines, pipelines,   B of this rule is needed for an objector    Respondents often agreed that the
and water canals. The effects of the         to explain the nature of the objection      Agency’s planning efforts are
construction of utility transmission         being made to a land management plan,       strengthened when achieved in careful
lines, pipelines, and canals are, of         plan amendment, or plan revision. This      collaboration with local governments
necessity, considered on a case-by-case      final rule retains the objection process    and other local interests. Comments of
basis as specific construction proposals.    established in the CFR 218 objection        this nature were sometimes followed up
While these plans may consider the           regulation and does not require             with considerations for “cooperating
need for such facilities and may include     additional information be provided from     agency” provisions to solidify the
standards and guidelines that may            the public. This rule does instead give     process and outcomes to be achieved
constrain energy exploration and             direction that is more detailed to both     through the participation of cooperating
development, they would not authorize        the public and Forest Service personnel     agencies. The Department carefully
construction of them; therefore, the final   on the timelines, requirements, and         considered these comments when
rule does not constitute a significant       procedures of the objection process.        making changes to the rule.
energy action within the meaning of          Federalism                                  Consultation With Indian Tribal
E.O. 13211. Consistent with E.O. 13211,
                                                The Agency has considered this final     Governments
direction to incorporate consideration of
energy supply, distribution, and use in      rule under the requirements of                On September 23, 2010, the Deputy
the planning process will be included in     Executive Order (E.O.) 13132 issued         Chief for the National Forest System
the Agency’s administrative directives       August 4, 1999, “Federalism.” The           sent letters inviting more than 600
for carrying out the final rule.             Agency has made an assessment that the      federally recognized Tribes and Alaska
                                             final rule conforms with the Federalism     Native Corporations to begin
Environmental Impacts                        principles set out in this Executive        consultation on the proposed planning
  This final rule establishes the            Order; would not impose any                 rule. The Forest Service continued to
administrative procedures to guide           compliance costs on the States; and         conduct government-to-government
development, amendment, and revision         would not have substantial direct effects   consultation on the planning rule while
of NFS land management plans. The            on the States, on the relationship          developing the final rule. The Forest
Agency has prepared a final                  between the national Government and         Service considers Tribal consultation as
programmatic environmental impact            the States, nor on the distribution of      an ongoing, iterative process through
statement to analyze possible                power and responsibilities among the        the issuance of the final rule.
environmental effects of the final rule,     various levels of government. Therefore,      The Agency held 16 consultation
present several alternatives to the final    the Agency concludes that this final rule   meetings across the country in
rule, and disclose the potential             does not have Federalism implications.      November and December 2010. During
environmental impacts of those               Moreover, § 219.4(a) of this final rule     these meetings. Forest Service leaders


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met with Tribal and Alaska Native              The Agency heard from Tribal leaders       provide input during the planning
Corporation leaders, or their designees,    that the rule should clearly state how        process. Additionally, the responsible
to discuss a Tribal consultation paper,     the special rights and interests of Tribes    official may participate in planning
which described how the draft proposed      would be provided for in the planning         efforts of federally recognized Indian
rule discussed concerns Tribes had          process and show how Tribes will be           Tribes and Alaska Native Corporations,
raised during the collaborative sessions    engaged early throughout the planning         where practicable and appropriate. For
held earlier in the year. Forest Service    process. They emphasized the                  federally recognized Tribes, cooperating
leaders also met one-on-one with Tribal     obligation the Forest Service has to          agency status does not replace or
leaders that requested consultation in      Tribes to fulfill treaty obligations and      superseded the trust responsibilities and
this manner. In July 2011, the Deputy       trust responsibilities, protect and honor     requirements for consultation also
Chief for the National Forest System        reserved rights, and fully recognize the      recognized and included in the final
sent letters encouraging federally          unique government-to-government               rule.
recognized Tribes and Alaska Native         relationship that exists between the             Tribal leaders stated that they want to
Corporations to continue consult prior      Federal Government and Tribes. Tribal         see non-federally recognized Tribes and
to release of the final rule. Tribes have   leaders also stated that the role of          groups included in the consultation or
continued to consult one-on-one with        science in the planning process must          planning process, as well as the
Forest Service leaders, as well as          account for traditional Tribal                involvement of youth. Non-federally
through regional or sub-regional            knowledge. In response to these               recognized groups and Tribes would be
consultation meetings. All of the           concerns, the final rule recognizes and       able to participate in the planning
consultation meetings that have             does not modify the unique                    process under the public requirements
occurred throughout development of the      government-to-government relationship         in § 219.4. Section 219.4(a)(l)(ii)
proposed and final rule have                between the United States and Indian          requires the responsible officials to
strengthened the government-to-             Tribes. The final rule recognizes and         encourage participation by youth, as
government relationship with the Tribes     does not modify prior existing Tribal         well as low-income and minority
as well as improved the final rule.         rights, including those involving             populations.
Consultation is an ongoing process and      hunting, fishing, gathering, and                 Tribes place great emphasis on
can occur at any time, including            protecting cultural and spiritual sites.      protection of water resources and want
following publication of the final rule.    The rule requires the agency to work          to see the planning rule include
   The Agency incorporated the input        with federally recognized Indian Tribes,      stipulations for water protection. Water
received through consultation before                                                      resources are discussed throughout this
                                            government-to-government, as
December 13, 2010, into the proposed        providing in treaties and laws and            final rule, including specifically in
rule. Those concerns heard during                                                         § 219.7 (New plan development or plan
                                            consistent with Executive orders when
Tribal consultation after December 13                                                     revision), § 219.8 (Sustainability),
                                            developing, amending, or revising
and which were given to the Agency by                                                     § 219.9 (Diversity of Plant and Animal
                                            plans. The final rule encourages Tribal
October 21, 2011, were considered for                                                     Communities), and § 219.10 (Multiple
                                            participation in NFS planning. Further,
incorporation in the final rule.                                                          Use). Tribes support a management
                                            the rule recognizes the responsibility of
   The Agency also held two national                                                      approach that moves away from
                                            Forest Service officials to consult early
Tribal roundtable conference calls to                                                     monoculture management and promotes
                                            with Tribal governments and to work
provide additional opportunities for                                                      sustainable and diverse populations of
                                            cooperatively with them where
Tribes and Tribal associations to                                                         plants and animals. Section 219.9 of the
                                            planning issues affect Tribal interests.
comment prior to the development of                                                       final rule requires land management
                                            Nothing in the final rule should be           plans to contain components, including
the proposed planning rule. More than
45 Tribes and Tribal associations           construed as eliminating public input or      standards or guidelines, to maintain or
participated in the First National Tribal   Tribal consultation requirements for          restore the ecological integrity of
Roundtable on May 3, 2010, and more         future projects conducted in accordance       terrestrial and aquatic ecosystems and
than 35 Tribes and Tribal associations      with the final rule. The responsible          watersheds in the plan area.
participated in the Second National         official shall request information from          The definition of native knowledge in
Tribal Roundtable on August 5, 2010.        Tribes about native knowledge,                § 219.19 has been retained based on the
Transcripts and summaries of these          including information about land ethics,      feedback that we received during
meetings are available on the planning      cultural issues, and sacred and               consultation. The definition
rule Web site. Additionally, six Tribal     culturally significant sites, during the      acknowledges that native knowledge is
roundtables were held in California,        planning process.                             a way of knowing or understanding the
Arizona, and New Mexico.                       At § 219.4(b)(2), for plan development     world derived from multiple
   On March 11, 2011, after publication     or revision, the responsible official shall   generations of indigenous peoples’
of the proposed rule, the Forest Service    review the planning and land use              interactions, observations, and
held a Tribal teleconference to provide     policies of federally recognized Indian       experiences with their ecological
information on the proposed rule and        Tribes, Alaska Native Corporations,           systems, and that it is also place-based
answer questions. Sixteen Tribes            other Federal agencies, and State and         and culture-based knowledge in which
participated in the discussion and had      local governments. The results of the         people learn to live in and adapt to their
the opportunity to have their questions     review would be displayed in the              own environment through interactions,
answered by the Ecosystem                   environmental impact statement for the        observations, and experiences with their
Management Coordination Director and        plan. The final rule at § 219.4(a)(l)(v)      ecological system.
the Associate Chief of the Forest           requires, where appropriate, the                 Many Tribes had a variety of concerns
Service. A number of Tribes submitted       responsible official to encourage             regarding social, economic, and
comments on the proposed rule during        federally recognized Tribes to seek           ecological sustainability, and suggested
the public comment period and the           cooperating agency status. This provides      that the Agency specifically discuss
content of these letters has been           an additional opportunity for Tribes to       cultural sustainability within the final
carefully considered in developing the      be engaged in the planning process and        rule and protect cultural resources. The
final rule.                                 provides further avenues for Tribes to        definition in the final rule of


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“sustainability” notes that “social          responsible officials request information     rule does not mandate Tribal
sustainability refers to the capability of   from Tribes about sacred sites, and           participation in NFS planning. Rather,
society to support the network of            provides for protection of cultural and       the final rule imposes an obligation on
relationships, traditions, culture, and      historic resources and management of          Forest Service officials to provide Tribes
activities that connect people to the        areas of Tribal importance. In addition,      an opportunity to consult and to reach
land and to one another, and support         a separate initiative by the USDA Office      out early to engage them throughout the
vibrant communities.” In addition,           of Tribal Relations and the Forest            planning process.
§ 219.1(c) recognizes that NFS lands         Service is conducting a policy review
provide people and communities with a        concerning sacred sites and is                Takings of Private Property
wide array of benefits, including            consulting with Tribes during their             The Agency analyzed this rule in
“cultural benefits.” Section 219.4           effort. The Agency has informed Tribes        accordance with the principles and
requires opportunities for public and        of this separate initiative and how they      criteria contained in Executive Order
Tribal participation and coordination        can participate during the consultation       12630 issued March 15, 1988, and the
throughout the planning process.             meetings. Information that the Agency         Agency determined that the rule does
Section 219.4(a)(3) requires that the        received during the planning rule             not pose the risk of a taking of private
responsible official request “information    consultation process regarding sacred         property.
about native knowledge, land ethics,         sites has been shared with the USDA
                                                                                           Civil Justice Reform
cultural issues, and sacred and              Office of Tribal Relations and the Forest
culturally significant sites” during         Service initiative.                             The Agency reviewed the rule under
consultation and opportunities for              The Forest Service received many           Executive Order 12988, “Civil Justice
Tribal participation. Section 219.6(b)       other comments during the Tribal              Reform.” The Agency has not identified
requires assessment content to include       consultation meetings. A number of            any State or local laws or regulations
cultural conditions and cultural and         these comments were regarding                 that are in conflict with this regulation
historic resources and uses. Section         concerns that are outside of the scope of     or that would impede full
219.8 in the final rule recognizes           the national planning rule or that will       implementation of this rule.
cultural aspects of sustainability by        be discussed at the local level during        Nevertheless, in the event that such
requiring “cultural and historic             the development of land management            conflicts were to be identified, the final
resources and uses “be taken into            plans. Tribes received responses to           rule, if implemented, would preempt
account when designing plan                  these comments in separate documents,         the State or local laws or regulations
components to guide contributions to         which were mailed to those Tribes and         found to be in conflict. However, in that
social and economic sustainability.”         Alaska Native Corporations that               case, (1) no retroactive effect would be
Section 219.10(b)(l)(ii) of the rule         participated in the October and               given to this final rule; and (2) the
requires “plan components * * * for a        November 2010 consultation meetings           Department would not require the use of
new plan or plan revision must provide       following the publication of the              administrative proceedings before
for protection of cultural and historic      proposed rule. Additionally, a                parties could file suit in court
resources,” and “management of areas         document summarizing the comments             challenging its provisions.
of Tribal importance.” The final rule        and responses from these meetings was
                                             made available to federally recognized        Unfunded Mandates
also includes recognition of and
requirements for “ecosystem services,”       Tribes and Alaska Native Corporations           Pursuant to Title II of the Unfunded
which include “cultural heritage             as part of the consultation documents         Mandates Reform Act of 1995 (2 U.S.C.
values.” These requirements, in              provided in August 2011.                      1531-1538), the Agency has assessed
combination with the requirement that           Many of the public participation and       the effects of this final rule on State,
plan content include descriptions of a       other requirements in the final rule have     local, and Tribal governments and the
unit’s roles and contributions within the    significant potential to involve Tribes       private sector. This final rule does not
broader landscape under § 219.7(e),          and tribal members in NFS planning            compel the expenditure of $100 million
ensure the cultural aspects of               and management, and to incorporate            or more by any State, local, or Tribal
sustainability will be taken into account    information into the process that will be     governments or anyone in the private
when developing plan components that         relevant with regard to local effects of      sector. Therefore, a statement under
guide unit contributions to social           management on individual units,               § 202 of the Act is not required.
sustainability.                              including to Tribal communities.
                                             However, pursuant to Executive Order          Environmental Justice
  During the consultation meetings, the
Agency heard from Tribal leaders that        13175 of November 6, 2000,                      The Department considered impacts
confidentiality is a big concern. To         “Consultation and Coordination with           of the final rule to civil rights and
explicitly discuss confidentiality,          Indian Tribal Governments,” the final         environmental justice (pursuant to
§ 219.1(e) states that the responsible       rule itself does not have “substantial        Executive Order 12898 (59 FR 7629,
official shall comply with Section 8106      direct effects.” Effects, both positive and   February 16, 1994)). If implemented,
of the Food, Conservation, and Energy        adverse, may occur at the local planning      with outreach, public engagement and
Act of 2008, Executive Order 13007 of        level, which is one of the many reasons       using NEPA procedures to document
May 24, 1996, Executive Order 13175 of       the final rule includes requirements for      effects, this analysis concludes that no
November 6, 2000, laws and other             tribal consultation as well as outreach to    adverse civil rights or environmental
requirements with respect to disclosing      Tribes during public participation            justice impacts from the planning rule
or withholding under the Freedom of          opportunities. Effects may also occur at      are anticipated to the delivery of
Information Act certain information          the project or activity level, which have     benefits or other program outcomes on
regarding reburial sites or other            additional opportunities for public           a national level for any under­
information that is culturally sensitive     engagement.                                   represented population or to other U.S.
to Indian Tribe or Tribes.                      The Agency has also determined that        populations or communities from the
  The Agency has heard from Tribal           this final rule does not impose               adoption of the final planning rule.
leaders that they want to see sacred sites   substantial direct compliance costs on          While national level impacts are not
protected. The final rule requires that      Indian Tribal governments. This final         expected to be disproportionate, yet-to-


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be-identified adverse impacts may be         NFS projects and activities are planned      Subpart A—National Forest System
possible on a regional or local scale at     and executed consistent with                 Land Management Planning
the unit planning level. Differences in      Department policy.
national level effects and regional/local                                                 §219.1 Purpose and applicability.
level effects are the result of uneven       List of Subjects in 36 CFR Part 219             (a) This subpart sets out the planning
distribution of minorities, low-income                                                    requirements for developing, amending,
                                               Administrative practice and
populations, and variations in regional,                                                  and revising land management plans
                                             procedure. Environmental impact
cultural, or traditional use, and                                                         (also referred to as plans) for units of the
                                             statements, Indians, Intergovernmental
differences in local access to resources.                                                 National Forest System (NFS), as
                                             relations. National forests. Reporting
Impacts on the national forest level will                                                 required by the Forest and Rangeland
                                             and recordkeeping requirements.
be further examined at the unit level,                                                    Renewable Resources Planning Act of
                                             Science and technology.
including NEPA analysis for plan                                                          1974, as amended by the National Forest
development, plan revision, or plan            Therefore, for the reasons set forth in    Management Act of 1976 (16 U.S.C.
amendment and site-specific projects.        the preamble, the Forest Service revises     1600 et seq.] (NFMA). This subpart also
   The participation efforts required by     part 219 of Title 36 of the Code of          sets out the requirements for plan
the final rule have significant potential    Federal Regulations to read as follows:      components and other content in land
to reach and involve diverse segments of                                                  management plans. This part is
the population that historically have not    PART 219—PLANNING                            applicable to all units of the NFS as
played a large role in NFS planning and      Subpart A—National Forest System Land        defined by 16 U.S.C. 1609 or subsequent
management. Section 219.4(a) requires        Management Planning                          statute.
that when developing opportunities for                                                       (b) Consistent with the Multiple-Use
                                             Sec.                                         Sustained-Yield Act of 1960 (16 U.S.C.
public participation, the responsible        219.1 Purpose and applicability.
official shall take into account the         219.2 Levels of planning and responsible     528-531) (MUSYA), the Forest Service
discrete and diverse roles, jurisdictions,        officials.                              manages the NFS to sustain the multiple
responsibilities, and skills of interested   219.3 Role of science in planning.           use of its renewable resources in
and affected parties as well as the          219.4 Requirements for public                perpetuity while maintaining the long­
accessibility of the process,                     participation.                          term health and productivity of the
opportunities, and information. The          219.5 Planning framework.                    land. Resources are managed through a
responsible official is required to be       219.6 Assessment.                            combination of approaches and
proactive and use contemporary tools,        219.7 New plan development or plan           concepts for the benefit of human
such as the Internet, to engage the               revision.                               communities and natural resources.
public, and share information in an          219.8 Sustainability.                        Land management plans guide
open way with interested parties.            219.9 Diversity of plant and animal          sustainable, integrated resource
                                                  communities.                            management of the resources within the
Requirements of § 219.4 to consider          219.10 Multiple use.
accessibility and requirements to                                                         plan area in the context of the broader
                                             219.11 Timber requirements based on the
encourage participation by youth, low-            NFMA.                                   landscape, giving due consideration to
income populations, and minority             219.12 Monitoring.                           the relative values of the various
populations may improve                      219.13 Plan amendment and administrative     resources in particular areas.
environmental justice outcomes.                   changes.                                   (c) The purpose of this part is to guide
   The final rule includes provisions for    219.14 Decision document and planning        the collaborative and science-based
filing an objection before the final              records.                                development, amendment, and revision
decision if the objector has filed a         219.15 Project and activity consistency      of land management plans that promote
substantive formal comment related to a           with the plan.                          the ecological integrity of national
new plan, plan revision, or plan             219.16 Public notifications.                 forests and grasslands and other
amendment. In the past, substantive          219.17 Effective dates and transition.       administrative units of the NFS. Plans
formal comments were required to be in       219.18 Severability.                         will guide management of NFS lands so
writing and submitted during the formal      219.19 Definitions.                          that they are ecologically sustainable
comment period when developing land          Subpart B—Pre-Decisional Administrative      and contribute to social and economic
management plans. The final rule             Review Process                               sustainability; consist of ecosystems and
expands the definition of a substantive      219.50 Purpose and scope.                    watersheds with ecological integrity and
formal comment to include written or         219.51 Plans, plan amendments, or plan       diverse plant and animal communities;
oral comments submitted or recorded              revisions not subject to objection.      and have the capacity to provide people
during an opportunity for public             219.52 Giving notice of a plan, plan         and communities with ecosystem
participation provided during the local          amendment, or plan revision subject to   services and multiple uses that provide
unit’s planning process (§§ 219.4 and            objection before approval.               a range of social, economic, and
219.16).                                     219.53 Who may file an objection.            ecological benefits for the present and
   If implemented, there are no              219.54 Filing an objection.                  into the future. These benefits include
anticipated adverse or disproportionate      219.55 Objections set aside from review.
                                             219.56 Objection time periods and process.   clean air and water; habitat for fish,
impacts to underserved, protected                                                         wildlife, and plant communities; and
                                             219.57 Resolution of objections.
groups, low income, or socially              219.58 Timing of a plan, plan amendment,     opportunities for recreational, spiritual,
disadvantaged communities. The final             or plan revision decision.               educational, and cultural benefits.
rule requirements, including outreach        219.59 Use of other administrative review       (d) This part does not affect treaty
and collaboration, and the requirement           processes.                               rights or valid existing rights established
for NEPA analysis are designed to avoid      219.60 Secretary’s authority.                by statute or legal instruments.
adverse or disproportionate effects;         219.61 Information collection                   (e) During the planning process, the
therefore, mitigating measures are not           requirements.                            responsible official shall comply with
necessary or appropriate for adopting or     219.62 Definitions.                          Section 8106 of the Food, Conservation,
implementing the planning rule. Local          Authority: 5 U.S.C. 301; 16 U.S.C. 1604,   and Energy Act of 2008 (25 U.S.C.
site-specific mitigation may occur as        1613.                                        3056), Executive Order 13007 of May


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24, 1996, Executive Order 13175 of            be changed to reflect new information         official acts as the responsible official.
November 6, 2000, laws, and other             and changing conditions.                      Requirements for project or activity
requirements with respect to disclosing          (2) A plan does not authorize projects     planning are established in the Forest
or withholding under the Freedom of           or activities or commit the Forest            Service Directive System. Except as
Information Act (5 U.S.C. 552) certain        Service to take action. A plan may            provided in the plan consistency
information regarding reburial sites or       constrain the Agency from authorizing         requirements in § 219.15, none of the
other information that is culturally          or carrying out projects and activities, or   requirements of this part apply to
sensitive to an Indian Tribe or Tribes.       the manner in which they may occur.           projects or activities.
  (f) Plans must comply with all              Projects and activities must be
                                              consistent with the plan (§ 219.15). A        §219.3 Role of science in planning.
applicable laws and regulations,
including NFMA, MUSYA, the Clean              plan does not regulate uses by the               The responsible official shall use the
Air Act, the Clean Water Act, the             public, but a project or activity decision    best available scientific information to
Wilderness Act, and the Endangered            that regulates a use by the public under      inform the planning process required by
Species Act.                                  36 CFR Part 261, Subpart B, may be            this subpart. In doing so, the responsible
                                              made contemporaneously with the               official shall determine what
  (g) The responsible official shall
                                              approval of a plan, plan amendment, or        information is the most accurate,
ensure that the planning process, plan
                                              plan revision. Plans should not repeat        reliable, and relevant to the issues being
components, and other plan content are
                                              laws, regulations, or program                 considered. The responsible official
within Forest Service authority, the
                                              management policies, practices, and           shall document how the best available
inherent capability of the plan area, and
                                              procedures that are in the Forest Service     scientific information was used to
the fiscal capability of the unit.
                                              Directive System.                             inform the assessment, the plan
§219.2 Levels of planning and responsible        (3) The supervisor of the national         decision, and the monitoring program as
officials.                                    forest, grassland, prairie, or other          required in §§ 219.6(a)(3) and
   Forest Service planning occurs at          comparable administrative unit is the         219.14(a)(4). Such documentation must:
different organizational levels and           responsible official for development and      Identify what information was
geographic scales. Planning occurs at         approval of a plan, plan amendment, or        determined to be the best available
three levels—national strategic               plan revision for lands under the             scientific information, explain the basis
planning, NFS unit planning, and              responsibility of the supervisor, unless      for that determination, and explain how
project or activity planning.                 a regional forester; the Chief; the Under     the information was applied to the
   (a) National strategic planning. The       Secretary, Natural Resources and              issues considered.
Chief of the Forest Service is                Environment; or the Secretary acts as
                                              the responsible official. Two or more         §219.4 Requirements for public
responsible for national planning, such                                                     participation.
as preparation of the Forest Service          responsible officials may undertake
                                              joint planning over lands under their            (a) Providing opportunities for
strategic plan required under the                                                           participation. The responsible official
Covernment Performance and Results            respective jurisdictions.
                                                 (4) A plan for a unit that contains an     shall provide opportunities to the public
Modernization Act of 2010 (5 U.S.C.                                                         for participating in the assessment
                                              experimental area may not be approved
306; 31 U.S.C. 1115-1125; 31 U.S.C.                                                         process; developing a plan proposal,
                                              without the concurrence of the
9703-9704), which is integrated with                                                        including the monitoring program;
                                              appropriate research station director
the requirements of the Forest and                                                          commenting on the proposal and the
                                              with respect to the direction applicable
Rangeland Renewable Resources                                                               disclosure of its environmental impacts
                                              to that area, and a plan amendment
Planning Act of 1974, as amended by                                                         in accompanying NEPA documents; and
                                              applicable to an experimental area may
the NFMA. The strategic plan                                                                reviewing the results of monitoring
                                              not be approved without the
establishes goals, objectives,                                                              information. When developing
                                              concurrence of the appropriate research
performance measures, and strategies                                                        opportunities for public participation,
                                              station director.
for management of the NFS, as well as            (5) The Chief is responsible for           the responsible official shall take into
the other Forest Service mission areas:       leadership and direction for carrying out     account the discrete and diverse roles,
Research and Development, State and           the NFS land management planning              jurisdictions, responsibilities, and skills
Private Forestry, and International           program under this part. The Chief            of interested and affected parties; the
Programs.                                     shall:                                        accessibility of the process,
   (b) National Forest System unit               (i) Establish planning procedures for      opportunities, and information; and the
planning. (1) NFS unit planning results       this part in the Forest Service Directive     cost, time, and available staffing. The
in the development, amendment, or             System in Forest Service Manual 1920—         responsible official should be proactive
revision of a land management plan. A         Land Management Planning and in               and use contemporary tools, such as the
land management plan provides a               Forest Service Handbook 1909.12—              Internet, to engage the public, and
framework for integrated resource             Land Management Planning Handbook.            should share information in an open
management and for guiding project and           (ii) Establish and administer a            way with interested parties. Subject to
activity decisionmaking on a national         national oversight process for                the notification requirements in
forest, grassland, prairie, or other          accountability and consistency of NFS         § 219.16, the responsible official has the
administrative unit. A plan reflects the      land management planning under this           discretion to determine the scope,
unit’s expected distinctive roles and         part.                                         methods, forum, and timing of those
contributions to the local area, region,         (iii) Establish procedures in the Forest   opportunities. The Forest Service
and Nation, and the roles for which the       Service Directive System for obtaining        retains decisionmaking authority and
plan area is best suited, considering the     inventory data on the various renewable       responsibility for all decisions
Agency’s mission, the unit’s unique           resources, and soil and water.                throughout the process.
capabilities, and the resources and              (c) Project and activity planning. The        (1) Outreach. The responsible official
management of other lands in the              supervisor or district ranger is the          shall engage the public—including
vicinity. Through the adaptive planning       responsible official for project and          Tribes and Alaska Native Corporations,
cycle set forth in this subpart, a plan can   activity decisions, unless a higher-level     other Federal agencies. State and local


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governments, individuals, and public        information about native knowledge,          sustainability and their relationship to
and private organizations or entities—      land ethics, cultural issues, and sacred     the land management plan within the
early and throughout the planning           and culturally significant sites.            context of the broader landscape. The
process as required by this part, using        (b) Coordination with other public        responsible official shall consider and
collaborative processes where feasible      planning efforts. (1) The responsible        evaluate existing and possible future
and appropriate. In providing               official shall coordinate land               conditions and trends of the plan area,
opportunities for engagement, the           management planning with the                 and assess the sustainability of social,
responsible official shall encourage        equivalent and related planning efforts      economic, and ecological systems
participation by:                           of federally recognized Indian Tribes,       within the plan area, in the context of
   (i) Interested individuals and entities, Alaska Native Corporations, other            the broader landscape (§ 219.6).
including those interested at the local,    Federal agencies, and State and local           (2) Plan development, plan
regional, and national levels.              governments.                                 amendment, or plan revision.
   (ii] Youth, low-income populations,         (2) For plan development or revision,        (i) The process for developing or
and minority populations.                   the responsible official shall review the    revising a plan includes: Assessment,
   (iii) Private landowners whose lands     planning and land use policies of            preliminary identification of the need to
are in, adjacent to, or otherwise affected federally recognized Indian Tribes (43        change the plan based on the
by, or whose actions may impact, future U.S.C. 1712(b)), Alaska Native                   assessment, development of a proposed
management actions in the plan area.        Corporations, other Federal agencies,        plan, consideration of the
   (iv) Federal agencies. States, counties, and State and local governments, where       environmental effects of the proposal,
and local governments, including State      relevant to the plan area. The results of    providing an opportunity to comment
fish and wildlife agencies. State           this review shall be displayed in the        on the proposed plan, providing an
foresters and other relevant State          environmental impact statement (EIS)         opportunity to object before the
agencies. Where appropriate, the            for the plan (40 CFR 1502.16(c), 1506.2).    proposal is approved, and, finally,
responsible official shall encourage        The review shall include consideration       approval of the plan or plan revision. A
States, counties, and other local           of:                                          new plan or plan revision requires
governments to seek cooperating agency         (i) The objectives of federally           preparation of an environmental impact
status in the NEPA process for              recognized Indian Tribes, Alaska Native      statement.
development, amendment, or revision of Corporations, other Federal agencies,                (ii) The process for amending a plan
a plan. The responsible official may        and State and local governments, as          includes: Preliminary identification of
participate in planning efforts of States,  expressed in their plans and policies;       the need to change the plan,
counties, local governments, and other         (ii) The compatibility and interrelated   development of a proposed amendment,
Federal agencies, where practicable and impacts of these plans and policies;             consideration of the environmental
appropriate.                                   (iii) Opportunities for the plan to       effects of the proposal, providing an
   (v) Interested or affected federally     address the impacts identified or            opportunity to comment on the
recognized Indian Tribes or Alaska          contribute to joint objectives; and          proposed amendment, providing an
Native Corporations. Where appropriate,        (iv) Opportunities to resolve or reduce   opportunity to object before the
the responsible official shall encourage    conflicts, within the context of             proposal is approved, and, finally,
federally recognized Tribes to seek         developing the plan’s desired                approval of the plan amendment. The
cooperating agency status in the NEPA       conditions or objectives.                    appropriate NEPA documentation for an
process for development, amendment,            (3) Nothing in this section should be     amendment may be an environmental
or revision of a plan. The responsible      read to indicate that the responsible        impact statement, an environmental
official may participate in planning        official will seek to direct or control      assessment, or a categorical exclusion,
efforts of federally recognized Indian      management of lands outside of the plan      depending upon the scope and scale of
Tribes and Alaska Native Corporations,      area, nor will the responsible official      the amendment and its likely effects.
where practicable and appropriate.          conform management to meet non­                 (3) Monitoring. Monitoring is
   (2) Consultation with federally          Forest Service objectives or policies.       continuous and provides feedback for
recognized Indian Tribes and Alaska                                                      the planning cycle by testing relevant
Native Corporations. The Department         §219.5 Planning framework.                   assumptions, tracking relevant
recognizes the Federal Government has          (a) Planning for a national forest,       conditions over time, and measuring
certain trust responsibilities and a        grassland, prairie, or other comparable      management effectiveness (§ 219.12).
unique legal relationship with federally    administrative unit of the NFS is an         The monitoring program includes plan­
recognized Indian Tribes. The               iterative process that includes              level and broader-scale monitoring. The
responsible official shall honor the        assessment (§ 219.6); developing,            plan-level monitoring program is
government-to-government relationship       amending, or revising a plan (§§ 219.7       informed by the assessment phase;
between federally recognized Indian         and 219.13); and monitoring (§ 219.12).      developed during plan development,
Tribes and the Federal government. The These three phases of the framework are           plan amendment, or plan revision; and
responsible official shall provide to       complementary and may overlap. The           implemented after plan decision. The
federally recognized Indian Tribes and      intent of this framework is to create a      regional forester develops broader-scale
Alaska Native Corporations the              responsive planning process that             monitoring strategies. Biennial
opportunity to undertake consultation       informs integrated resource                  monitoring evaluation reports document
consistent with Executive Order 13175       management and allows the Forest             whether a change to the plan or change
of November 6, 2000, and 25 U.S.C. 450      Service to adapt to changing conditions,     to the monitoring program is warranted
note.                                       including climate change, and improve        based on new information, whether a
   (3) Native knowledge, indigenous         management based on new information          new assessment may be needed, or
ecological knowledge, and land ethics.      and monitoring.                              whether there is no need for change at
As part of tribal participation and            (1) Assessment. Assessments rapidly       that time.
consultation as set forth in paragraphs     evaluate existing information about             (b) Interdisciplinary team(s). The
(a)(l)(v) and (a)(21 of this section, the   relevant ecological, economic, and           responsible official shall establish an
responsible official shall request          social conditions, trends, and               interdisciplinary team or teams to


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prepare assessments; new plans, plan         disturbance regimes, and stressors, such     considering the environmental effects of
amendments, and plan revisions; and          as natural succession, wildland fire,        the proposal, providing an opportunity
plan monitoring programs.                    invasive species, and climate change;        to comment on the proposed plan,
                                             and the ability of terrestrial and aquatic   providing an opportunity to object
§219.6 Assessment.                           ecosystems on the plan area to adapt to      before the proposal is approved (subpart
  The responsible official has the           change;                                      B), and, finally, approving the plan or
discretion to determine the scope, scale,       (4) Baseline assessment of carbon         plan revision. A new plan or plan
and timing of an assessment described        stocks;                                      revision requires preparation of an
in § 219.5(a)(1), subject to the                (5) Threatened, endangered, proposed      environmental impact statement.
requirements of this section.                and candidate species, and potential            (2) In developing a proposed new
   (a) Process for plan development or       species of conservation concern present      plan or proposed plan revision, the
revision assessments. An assessment          in the plan area;                            responsible official shall:
must be completed for the development           (6) Social, cultural, and economic
of a new plan or for a plan revision. The                                                    (i) Review relevant information from
                                             conditions;                                  the assessment and monitoring to
responsible official shall:                     (7) Benefits people obtain from the
   (1) Identify and consider relevant                                                     identify a preliminary need to change
                                             NFS planning area (ecosystem services);      the existing plan and to inform the
existing information contained in               (8) Multiple uses and their
governmental or non-governmental                                                          development of plan components and
                                             contributions to local, regional, and        other plan content.
assessments, plans, monitoring reports,      national economies;
studies, and other sources of relevant          (9) Recreation settings, opportunities       (ii) Consider the goals and objectives
information. Such sources of                 and access, and scenic character;            of the Forest Service strategic plan
information may include State forest            (10) Renewable and nonrenewable           (§ 219.2(a)).
assessments and strategies, the              energy and mineral resources;                   (iii) Identify the presence and
Resources Planning Act assessment,              (11) Infrastructure, such as              consider the importance of various
ecoregional assessments, non­                recreational facilities and transportation   physical, biological, social, cultural, and
governmental reports, State                  and utility corridors;                       historic resources on the plan area
comprehensive outdoor recreation                (12) Areas of tribal importance;          (§ 219.6), with respect to the
plans, community wildfire protection            (13) Cultural and historic resources      requirements for plan components of
plans, public transportation plans. State    and uses;                                    §§ 219.8 through 219.11.
wildlife data and action plans, and             (14) Land status and ownership, use,         (iv) Consider conditions, trends, and
relevant Agency or interagency reports,      and access patterns; and                     stressors (§ 219.6), with respect to the
resource plans or assessments. Relevant         (15) Existing designated areas located    requirements for plan components of
private information, including relevant      in the plan area including wilderness        §§219.8 through 219.11.
land management plans and local              and wild and scenic rivers and potential        (v) Identify and evaluate lands that
knowledge, will be considered if             need and opportunity for additional          may be suitable for inclusion in the
publicly available or voluntarily            designated areas.                            National Wilderness Preservation
provided.                                       (c) Plan amendment assessments.           System and determine whether to
   (2) Coordinate with or provide            Where the responsible official               recommend any such lands for
opportunities for the regional forester,     determines that a new assessment is          wilderness designation.
agency staff from State and Private          needed to inform an amendment, the              (vi) Identify the eligibility of rivers for
Forestry and Research and                    responsible official has the discretion to   inclusion in the National Wild and
Development, federally recognized            determine the scope, scale, process, and     Scenic Rivers System, unless a
Indian Tribes and Alaska Native              content for the assessment depending         systematic inventory has been
Corporations, other governmental and         on the topic or topics to be addressed.      previously completed and documented
non-governmental parties, and the                                                         and there are no changed circumstances
public to provide existing information       § 219.7 New plan development or plan
                                             revision.                                    that warrant additional review.
for the assessment.                                                                          (vii) Identify existing designated areas
   (3) Document the assessment in a             (a) Plan revisions. A plan revision
                                             creates a new plan for the entire plan       other than the areas identified in
report available to the public. The report
                                             area, whether the plan revision differs      paragraphs (c)(2)(v) and (c)(2)(vi) of this
should document information needs
                                             from the prior plan to a small or large      section, and determine whether to
relevant to the topics of paragraph (b) of
                                             extent. A plan must be revised at least      recommend any additional areas for
this section. Document in the report
                                             every 15 years. But, the responsible         designation. If the responsible official
how the best available scientific
                                             official has the discretion to determine     has the delegated authority to designate
information was used to inform the
                                             at any time that conditions on a plan        a new area or modify an existing area,
assessment (§ 219.3). Include the report
                                             area have changed significantly such         then the responsible official may
in the planning record (§ 219.14).
   (b) Content of the assessment for plan    that a plan must be revised (16 U.S.C.       designate such area when approving the
development or revision. In the              1604(f)(5)).                                 plan, plan amendment, or plan revision.
assessment for plan development or              (b) New plan development. New plan           (viii) Identify the suitability of areas
revision, the responsible official shall     development is required for new NFS          for the appropriate integration of
identify and evaluate existing               units. The process for developing a new      resource management and uses, with
information relevant to the plan area for    plan is the same as the process for plan     respect to the requirements for plan
the following:                               revision.                                    components of §§ 219.8 through 219.11,
   (1) Terrestrial ecosystems, aquatic          (c) Process for plan development or       including identifying lands which are
ecosystems, and watersheds;                  revision. (1) The process for developing     not suitable for timber production
   (2) Air, soil, and water resources and    or revising a plan includes: Public          (§219.11).
quality;                                     notification and participation (§§ 219.4        (ix) Identify the maximum quantity of
   (3) System drivers, including             and 219.16), assessment (§§ 219.5 and        timber that may be removed from the
dominant ecological processes.               219.6), developing a proposed plan.          plan area (§ 219.11(d)(6)).


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   (x) Identify questions and indicators      that are not compatible with desired           structure, function, composition, and
for the plan monitoring program               conditions for those lands. The                connectivity, taking into account:
(§219.12).                                    suitability of lands need not be                  (i) Interdependence of terrestrial and
   (xi) Identify potential other content in   identified for every use or activity.          aquatic ecosystems in the plan area.
the plan (paragraph (f) of this section).     Suitability identifications may be made           (ii) Contributions of the plan area to
   (3) The regional forester shall identify   after consideration of historic uses and       ecological conditions within the broader
the species of conservation concern for       of issues that have arisen in the              landscape influenced by the plan area.
the plan area in coordination with the        planning process. Every plan must                 (iii) Conditions in the broader
responsible official.                         identify those lands that are not suitable     landscape that may influence the
   (d) Management areas or geographic         for timber production (§ 219.11).              sustainability of resources and
areas. Every plan must have                      (2) Optional plan component: goals. A       ecosystems within the plan area.
management areas or geographic areas          plan may include goals as plan                    (iv) System drivers, including
or both. The plan may identify                components. Goals are broad statements         dominant ecological processes,
designated or recommended designated          of intent, other than desired conditions,      disturbance regimes, and stressors, such
areas as management areas or                  usually related to process or interaction      as natural succession, wildland fire,
geographic areas.                             with the public. Goals are expressed in        invasive species, and climate change;
   (e) Plan components. Plan                  broad, general terms, but do not include       and the ability of terrestrial and aquatic
components guide future project and           completion dates.                              ecosystems on the plan area to adapt to
activity decisionmaking. The plan must           (3) Requirements for the set of plan        change.
indicate whether specific plan                components. The set of plan                       (v) Wildland fire and opportunities to
components apply to the entire plan           components must meet the                       restore fire adapted ecosystems.
area, to specific management areas or         requirements set forth in this part for           (vi) Opportunities for landscape scale
geographic areas, or to other areas as        sustainability (§ 219.8), plant and            restoration.
identified in the plan.                       animal diversity (§ 219.9), multiple use          (2) Air, soil, and water. The plan must
   (1) Required plan components. Every        (§ 219.10), and timber (§ 219.11).             include plan components, including
plan must include the following plan             (f) Other content in the plan. (1) Other    standards or guidelines, to maintain or
components:                                   required content in the plan. Every plan       restore:
   (i) Desired conditions. A desired          must:                                             (i) Air quality.
condition is a description of specific           (i) Identify watershed(s) that are a           (ii) Soils and soil productivity,
social, economic, and/or ecological           priority for maintenance or restoration;       including guidance to reduce soil
characteristics of the plan area, or a           (ii) Describe the plan area’s distinctive   erosion and sedimentation.
portion of the plan area, toward which        roles and contributions within the                (iii) Water quality.
management of the land and resources          broader landscape;                                (iv) Water resources in the plan area,
should be directed. Desired conditions           (iii) Include the monitoring program        including lakes, streams, and wetlands;
must be described in terms that are           required by § 219.12; and                      ground water; public water supplies;
specific enough to allow progress                (iv) Contain information reflecting         sole source aquifers; source water
toward their achievement to be                proposed and possible actions that may         protection areas; and other sources of
determined, but do not include                occur on the plan area during the life of      drinking water (including guidance to
completion dates.                             the plan, including: the planned timber        prevent or mitigate detrimental changes
   (ii) Objectives. An objective is a         sale program; timber harvesting levels;        in quantity, quality, and availability).
concise, measurable, and time-specific        and the proportion of probable methods            (3) Riparian areas, (i) The plan must
statement of a desired rate of progress       of forest vegetation management                include plan components, including
toward a desired condition or                 practices expected to be used (16 U.S.C.       standards or guidelines, to maintain or
conditions. Objectives should be based        1604(e)(2) and (f)(2)). Such information       restore the ecological integrity of
on reasonably foreseeable budgets.            is not a commitment to take any action         riparian areas in the plan area,
   (iii) Standards. A standard is a           and is not a “proposal” as defined by          including plan components to maintain
mandatory constraint on project and           the Council on Environmental Quality           or restore structure, function,
activity decisionmaking, established to       regulations for implementing NEPA (40          composition, and connectivity, taking
help achieve or maintain the desired          CFR 1508.23, 42 U.S.C. 4322(2)(C)).            into account:
condition or conditions, to avoid or             (2) Optional content in the plan. A            (A) Water temperature and chemical
mitigate undesirable effects, or to meet      plan may include additional content,           composition;
applicable legal requirements.                such as potential management                      (B) Blockages (uncharacteristic and
   (iv) Guidelines. A guideline is a          approaches or strategies and partnership       characteristic) of water courses;
constraint on project and activity            opportunities or coordination activities.         (C) Deposits of sediment;
decisionmaking that allows for                                                                  (D) Aquatic and terrestrial habitats;
departure from its terms, so long as the      §219.8 Sustainability.                            (E) Ecological connectivity;
purpose of the guideline is met.                The plan must provide for social,               (F) Restoration needs; and
(§ 219.15(d)(3)). Guidelines are              economic, and ecological sustainability           (G) Floodplain values and risk of
established to help achieve or maintain       within Forest Service authority and            flood loss.
a desired condition or conditions, to         consistent with the inherent capability           (ii ) Plans must establish width(s) for
avoid or mitigate undesirable effects, or     of the plan area, as follows:                  riparian management zones around all
to meet applicable legal requirements.           (a) Ecological sustainability. (1)          lakes, perennial and intermittent
   (v) Suitability of lands. Specific lands   Ecosystem Integrity. The plan must             streams, and open water wetlands,
within a plan area will be identified as      include plan components, including             within which the plan components
suitable for various multiple uses or         standards or guidelines, to maintain or        required by paragraph (a)(3)(i) of this
activities based on the desired               restore the ecological integrity of            section will apply, giving special
conditions applicable to those lands.         terrestrial and aquatic ecosystems and         attention to land and vegetation for
The plan will also identify lands within      watersheds in the plan area, including         approximately 100 feet from the edges
the plan area as not suitable for uses        plan components to maintain or restore         of all perennial streams and lakes.


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   (A) Riparian management zone               inherent capability of the plan area, as     practicable with other Federal, State,
width(s) may vary based on ecological         follows:                                     Tribal, and private land managers
or geomorptiic factors or type of water          (a) Ecosystem plan components. (1)        having management authority over
body; and will apply unless replaced by       Ecosystem integrity. As required by          lands relevant to that population.
a site-specific delineation of the riparian   § 219.8(a), the plan must include plan         (c) Species of conservation concern.
area.                                         components, including standards or           For purposes of this subpart, a species
   (B) Plan components must ensure that       guidelines, to maintain or restore the       of conservation concern is a species,
no management practices causing               ecological integrity of terrestrial and      other than federally recognized
detrimental changes in water                  aquatic ecosystems and watersheds in         threatened, endangered, proposed, or
temperature or chemical composition,          the plan area, including plan                candidate species, that is known to
blockages of water courses, or deposits       components to maintain or restore their      occur in the plan area and for which the
of sediment that seriously and adversely      structure, function, composition, and        regional forester has determined that the
affect water conditions or fish habitat       connectivity.                                best available scientific information
shall be permitted within the riparian           (2) Ecosystem diversity. The plan         indicates substantial concern about the
management zones or the site-specific         must include plan components,                species’ capability to persist over the
delineated riparian areas.                    including standards or guidelines, to        long-term in the plan area.
   (4) Best management practices for          maintain or restore the diversity of
                                              ecosystems and habitat types                 §219.10 Multiple use.
water quality. The Chief shall establish
                                              throughout the plan area. In doing so,          While meeting the requirements of
requirements for national best
                                              the plan must include plan components        §§ 219.8 and 219.9, the plan must
management practices for water quality
                                              to maintain or restore:                      provide for ecosystem services and
in the Forest Service Directive System.
                                                 (i) Key characteristics associated with   multiple uses, including outdoor
Plan components must ensure
                                              terrestrial and aquatic ecosystem types;     recreation, range, timber, watershed,
implementation of these practices.
                                                 (ii) Rare aquatic and terrestrial plant   wildlife, and fish, within Forest Service
   (b) Social and economic
                                              and animal communities; and                  authority and the inherent capability of
sustainability. The plan must include            (iii) The diversity of native tree        the plan area as follows:
plan components, including standards          species similar to that existing in the         (a) Integrated resource management
or guidelines, to guide the plan area’s       plan area.                                   for multiple use. The plan must include
contribution to social and economic              (b) Additional, species-specific plan     plan components, including standards
sustainability, taking into account:          components. (1) The responsible official     or guidelines, for integrated resource
   (1) Social, cultural, and economic         shall determine whether or not the plan      management to provide for ecosystem
conditions relevant to the area               components required by paragraph (a) of      services and multiple uses in the plan
influenced by the plan;                       this section provide the ecological          area. When developing plan
   (2) Sustainable recreation; including      conditions necessary to: contribute to       components for integrated resource
recreation settings, opportunities, and       the recovery of federally listed             management, to the extent relevant to
access; and scenic character;                 threatened and endangered species,           the plan area and the public
   (3) Multiple uses that contribute to       conserve proposed and candidate              participation process and the
local, regional, and national economies       species, and maintain a viable               requirements of §§ 219.7, 219.8, 219.9,
in a sustainable manner;                      population of each species of                and 219.11, the responsible official shall
   (4) Ecosystem services;                    conservation concern within the plan         consider:
   (5) Cultural and historic resources and    area. If the responsible official               (1) Aesthetic values, air quality,
uses; and                                     determines that the plan components          cultural and heritage resources,
   (6) Opportunities to connect people        required in paragraph (a) are insufficient   ecosystem services, fish and wildlife
with nature.                                  to provide such ecological conditions,       species, forage, geologic features,
                                              then additional, species-specific plan       grazing and rangelands, habitat and
§219.9 Diversity of plant and animal          components, including standards or           liabitat connectivity, recreation settings
communities.
                                              guidelines, must be included in the plan     and opportunities, riparian areas,
   This section adopts a complementary        to provide such ecological conditions in     scenery, soil, surface and subsurface
ecosystem and species-specific                the plan area.                               water quality, timber, trails, vegetation,
approach to maintaining the diversity of         (2) If the responsible official           viewsheds, wilderness, and other
plant and animal communities and the          determines that it is beyond the             relevant resources and uses.
persistence of native species in the plan     authority of the Forest Service or not          (2) Renewable and nonrenewable
area. Compliance with the ecosystem           within the inherent capability of the        energy and mineral resources.
requirements of paragraph (a) is              plan area to maintain or restore the            (3) Appropriate placement and
intended to provide the ecological            ecological conditions to maintain a          sustainable management of
conditions to both maintain the               viable population of a species of            infrastructure, such as recreational
diversity of plant and animal                 conservation concern in the plan area,       facilities and transportation and utility
communities and support the                   then the responsible official shall:         corridors.
persistence of most native species in the        (i) Document the basis for that              (4) Opportunities to coordinate with
plan area. Compliance with the                determination (§ 219.14(a)); and             neighboring landowners to link open
requirements of paragraph (b) is                 (ii) Include plan components,             spaces and take into account joint
intended to provide for additional            including standards or guidelines, to        management objectives where feasible
ecological conditions not otherwise           maintain or restore ecological               and appropriate.
provided by compliance with paragraph         conditions within the plan area to              (5) Habitat conditions, subject to the
(a) for individual species as set forth in    contribute to maintaining a viable           requirements of § 219.9, for wildlife,
paragraph (b). The plan must provide          population of the species within its         fish, and plants commonly enjoyed and
for the diversity of plant and animal         range. In providing such plan                used by the public; for hunting, fishing,
communities, within Forest Service            components, the responsible official         trapping, gathering, observing,
authority and consistent with the             shall coordinate to the extent               subsistence, and other activities (in


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collaboration with federally recognized       inherent capability of the plan area, as      purposes, plan components, including
Tribes, Alaska Native Corporations,           follows:                                      standards or guidelines, must ensure the
other Federal agencies, and State and            (a) Lands not suited for timber            following:
local governments).                           production. (1) The responsible official         (1) No timber harvest for the purposes
   (6) Land status and ownership, use,        shall identify lands within the plan area     of timber production may occur on
and access patterns relevant to the plan      as not suited for timber production if        lands not suited for timber production.
area.                                         any one of the following factors applies:        (2) Timber harvest would occur only
   (7) Reasonably foreseeable risks to           (i) Statute, Executive order, or           where soil, slope, or other watershed
ecological, social, and economic              regulation prohibits timber production        conditions would not be irreversibly
sustainability.                               on the land;                                  damaged;
   (8) System drivers, including                 (ii) The Secretary of Agriculture or the      (3) Timber harvest would be carried
dominant ecological processes,                Chief has withdrawn the land from             out in a manner consistent with the
disturbance regimes, and stressors, such      timber production;                            protection of soil, watershed, fish,
as natural succession, wildland fire,            (iii) Timber production would not be       wildlife, recreation, and aesthetic
invasive species, and climate change;         compatible with the achievement of            resources.
and the ability of the terrestrial and        desired conditions and objectives                (4) Where plan components will allow
aquatic ecosystems on the plan area to        established by the plan for those lands;      clearcutting, seed tree cutting,
adapt to change (§ 219.8);                       (iv) The technology is not currently
                                                                                            shelterwood cutting, or other cuts
   (9) Public water supplies and              available for conducting timber harvest
                                                                                            designed to regenerate an even-aged
associated water quality.                     without causing irreversible damage to
                                                                                            stand of timber, the plan must include
   (10) Opportunities to connect people       soil, slope, or other watershed
                                                                                            standards limiting the maximize size for
with nature.                                  conditions;
                                                 (v) There is no reasonable assurance       openings that may be cut in one harvest
   (b) Requirements for plan components                                                     operation, according to geographic
for a new plan or plan revision. (1) The      that such lands can be adequately
                                              restocked within 5 years after final          areas, forest types, or other suitable
plan must include plan components,                                                          classifications. Except as provided in
including standards or guidelines, to         regeneration harvest; or
                                                 (vi) The land is not forest land.          paragraphs (d)(4)(i) through (iii) of this
provide for;                                                                                section, this limit may not exceed 60
   (i) Sustainable recreation; including         (2) The responsible official shall
                                              review lands identified in the plan as        acres for the Douglas-fir forest type of
recreation settings, opportunities, and                                                     California, Oregon, and Washington; 80
access; and scenic character. Recreation      not suited for timber production at least
                                              once every 10 years, or as otherwise          acres for the southern yellow pine types
opportunities may include non­                                                              of Alabama, Arkansas, Georgia, Florida,
motorized, motorized, developed, and          prescribed by law, to determine whether
                                              conditions have changed so that they          Louisiana, Mississippi, North Carolina,
dispersed recreation on land, water, and                                                    South Carolina, Oklahoma, and Texas;
in the air.                                   have become suitable for timber
                                              production. As a result of this 10-year       100 acres for the hemlock-Sitka spruce
   (ii) Protection of cultural and historic                                                 forest type of coastal Alaska; and 40
resources.                                    review, the plan may be amended to
                                              identify any such lands as suitable for       acres for all other forest types.
   (iii) Management of areas of tribal
                                              timber production, if warranted by               (i) Plan standards may allow for
importance.
                                              changed conditions.                           openings larger than those specified in
   (iv) Protection of congressionally
                                                 (b) Timber harvest for purposes of         paragraph (d)(4) of this section to be cut
designated wilderness areas as well as
                                              timber production. A plan that identifies     in one harvest operation where the
management of areas recommended for
                                              lands as suitable for timber production       responsible official determines that
wilderness designation to protect and
                                              must include plan components,                 larger harvest openings are necessary to
maintain the ecological and social
                                              including standards or guidelines, to         help achieve desired ecological
characteristics that provide the basis for
                                              guide timber harvest for timber               conditions in the plan area. If so,
their suitability for wilderness
                                              production or for other multiple use          standards for exceptions shall include
designation.
                                              purposes on such lands.                       the particular conditions under which
   (v) Protection of designated wild and
                                                 (c) Timber harvest for purposes other      the larger size is permitted and must set
scenic rivers as well as management of
                                              than timber production. Except as             a maximum size permitted under those
rivers found eligible or determined
                                              provided in paragraph (d) of this             conditions.
suitable for the National Wild and
                                              section, the plan may include plan               (ii) Plan components may allow for
Scenic River system to protect the
values that provide the basis for their       components to allow for timber harvest        size limits exceeding those established
                                              for purposes other than timber                in paragraphs (d)(4) and (d)(4)(i) of this
suitability for inclusion in the system.
   (vi) Appropriate management of other       production throughout the plan area, or       section on an individual timber sale
designated areas or recommended               portions of the plan area, as a tool to       basis after 60 days public notice and
designated areas in the plan area,            assist in achieving or maintaining one or     review by the regional forester.
including research natural areas.             more applicable desired conditions or            (iii) The plan maximum size for
   (2) Other plan components for              objectives of the plan in order to protect    openings to be cut in one harvest
integrated resource management to             other multiple-use values, and for            operation shall not apply to the size of
provide for multiple use as necessary.        salvage, sanitation, or public health or      openings harvested as a result of natural
                                              safety. Examples of using timber harvest      catastrophic conditions such as fire,
§219.11 Timber requirements based on          to protect other multiple use values may      insect and disease attack, or windstorm
the NFMA.                                     include improving wildlife or fish            (16 U.S.C. 1604(g)(3)(F)(iv)).
  While meeting the requirements of           habitat, thinning to reduce fire risk, or        (5) Timber will be harvested from
§§ 219.8 through 219.10, the plan must        restoring meadow or savanna                   NFS lands only where such harvest
include plan components, including            ecosystems where trees have invaded.          would comply with the resource
standards or guidelines, and other plan          (d) Limitations on timber harvest.         protections set out in sections 6(g)(3)(E)
content regarding timber management           Whether timber harvest would be for the       and (F) of the NFMA (16 U.S.C.
within Forest Service authority and the       purposes of timber production or other        1604(g)(3)(E) and (F)). Some of these


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requirements are listed in paragraphs       achieving or maintaining the plan’s          activity monitoring may be used to
(d){2] to (dK4) of this section.            desired conditions or objectives.            gather information for the plan
   (6) The quantity of timber that may be   Questions and indicators should be           monitoring program, and information
sold from the national forest is limited    based on one or more desired                 gathered through plan monitoring may
to an amount equal to or less than that     conditions, objectives, or other plan        be used to inform development of
which can be removed from such forest       components in the plan, but not every        projects or activities. But, the
annually in perpetuity on a sustained-      plan component needs to have a               monitoring requirements of this section
yield basis. This limit may be measured     corresponding monitoring question.           are not a prerequisite for making a
on a decadal basis. The plan may               (3) The plan monitoring program           decision to carry out a project or
provide for departures from this limit as   should be coordinated and integrated         activity.
provided by the NFMA when departure         with relevant broader-scale monitoring          (b) Broader-scale monitoring
would be consistent with the plan’s         strategies (paragraph (b) of this section)   strategies. (1) The regional forester shall
desired conditions and objectives.          to ensure that monitoring is                 develop a broader-scale monitoring
Exceptions for departure from this limit    complementary and efficient, and that        strategy for plan monitoring questions
on the quantity sold may be made only       information is gathered at scales            that can best be answered at a
after a public review and comment           appropriate to the monitoring questions.     geographic scale broader than one plan
period of at least 90 days. The Chief          (4) Subject to the requirements of        area.
must include in the Forest Service          paragraph (a)(5) of this section, the           (2) When developing a monitoring
Directive System procedures for             responsible official has the discretion to   strategy, the regional forester shall
estimating the quantity of timber that      set the scope and scale of the plan          coordinate with the relevant responsible
can be removed annually in perpetuity       monitoring program, after considering:       officials. Forest Service State and
on a sustained-yield basis, and                (i) Information needs identified          Private Forestry and Research and
exceptions, consistent with 16 U.S.C.       through the planning process as most         Development, partners, and the public.
1611.                                       critical for informed management of          Two or more regional foresters may
   (7) The regeneration harvest of even­    resources on the plan area; and              jointly develop broader-scale
aged stands of trees is limited to stands      (ii) The financial and technical          monitoring strategies.
that generally have reached the             capabilities of the Agency.                     (3) Each regional forester shall ensure
culmination of mean annual increment           (5) Each plan monitoring program          that the broader-scale monitoring
of growth. This requirement would           must contain one or more monitoring          strategy is within the financial and
apply only to regeneration harvest of       questions and associated indicators          technical capabilities of the region and
even-aged stands on lands identified as     addressing each of the following:            complements other ongoing monitoring
suitable for timber production and             (i) The status of select watershed        efforts.
where timber production is the primary      conditions.
                                                                                            (4) Projects and activities may be
purpose for the harvest. Plan                  (ii) The status of select ecological
                                                                                         carried out under plans developed,
components may allow for exceptions,        conditions including key characteristics
                                                                                         amended, or revised under this part
set out in 16 U.S.C. 1604(m), only if       of terrestrial and aquatic ecosystems.
                                               (iii) The status of focal species to      before the regional forester has
such harvest is consistent with the other
                                            assess the ecological conditions             developed a broader-scale monitoring
plan components of the land
                                            required under § 219.9.                      strategy.
management plan.
                                               (iv) The status of a select set of the       (c) Timing and process for developing
§219.12 Monitoring.                         ecological conditions required under         the plan monitoring program and
   (a) Plan monitoring program. (1) The     § 219.9 to contribute to the recovery of     broader-scale strategies. (1) The
responsible official shall develop a        federally listed threatened and              responsible official shall develop the
monitoring program for the plan area        endangered species, conserve proposed        plan monitoring program as part of the
and include it in the plan. Monitoring      and candidate species, and maintain a        planning process for a new plan
information should enable the               viable population of each species of         development or plan revision. Where a
responsible official to determine if a      conservation concern.                        plan’s monitoring program has been
change in plan components or other             (v) The status of visitor use, visitor    developed under the provisions of a
plan content that guide management of       satisfaction, and progress toward            prior planning regulation and the unit
resources on the plan area may be           meeting recreation objectives.               has not initiated plan revision under
needed. The development of the plan            (vi) Measurable changes on the plan       this part, the responsible official shall
monitoring program must be                  area related to climate change and other     modify the plan monitoring program
coordinated with the regional forester      stressors that may be affecting the plan     within 4 years of the effective date of
and Forest Service State and Private        area.                                        this part, or as soon as practicable, to
Forestry and Research and                      (vii) Progress toward meeting the         meet the requirements of this section.
Development. Responsible officials for      desired conditions and objectives in the        (2) The regional forester shall develop
two or more administrative units may        plan, including for providing multiple       a broader-scale monitoring strategy as
jointly develop their plan monitoring       use opportunities.                           soon as practicable.
programs.                                      (viii) The effects of each management        (3) To the extent practicable,
   (2) The plan monitoring program sets     system to determine that they do not         appropriate, and relevant to the
out the plan monitoring questions and       substantially and permanently impair         monitoring questions in the plan
associated indicators. Monitoring           the productivity of the land (16 U.S.C.      monitoring program, plan monitoring
questions and associated indicators         1604(g)(3)(C)).                              programs and broader-scale strategies
must be designed to inform the                 (6) A range of monitoring techniques      must be designed to take into account:
management of resources on the plan         may be used to carry out the monitoring         (i) Existing national and regional
area, including by testing relevant         requirements in paragraph (a)(5) of this     inventory, monitoring, and research
assumptions, tracking relevant changes,     section.                                     programs of the Agency, including from
and measuring management                       (7) This section does not apply to        the NFS, State and Private Forestry, and
effectiveness and progress toward           projects or activities. Project and          Research and Development, and of other


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governmental and non-governmental             how to amend the plan. Except as            §219.14 Decision document and planning
entities;                                     provided by paragraph (c) of this           records.
   (ii) Opportunities to design and carry     section, a plan amendment is required          (a) Decision document. The
out multi-party monitoring with other         to add, modify, or remove one or more       responsible official shall record
Forest Service units. Federal, State or       plan components, or to change how or        approval of a new plan, plan
local government agencies, scientists,        where one or more plan components           amendment, or revision in a decision
partners, and members of the public;          apply to all or part of the plan area       document prepared according to Forest
and                                           (including management areas or              Service NEPA procedures (36 CFR 220).
   (iii) Opportunities to design and carry    geographic areas).                          The decision document must include:
out monitoring with federally                    (b) Amendment process. The                  (1) The rationale for approval;
recognized Indian Tribes and Alaska           responsible official shall:                    (2) An explanation of how the plan
Native Corporations.                                                                      components meet the sustainability
                                                 (1) Base an amendment on a
   (d) Biennial evaluation of the                                                         requirements of § 219.8, the diversity
                                              preliminary identification of the need to
monitoring information. (1) The                                                           requirements of § 219.9, the multiple
                                              change the plan. The preliminary
responsible official shall conduct a                                                      use requirements of § 219.10, and the
                                              identification of the need to change the
biennial evaluation of new information                                                    timber requirements of § 219.11;
                                              plan may be based on a new assessment;
gathered through the plan monitoring                                                         (3) A statement of how the plan, plan
                                              a monitoring report; or other               amendment, or plan revision applies to
program and relevant information from
                                              documentation of new information,
the broader-scale strategy, and shall                                                     approved projects and activities
                                              changed conditions, or changed
issue a written report of the evaluation                                                  (§219.15);
                                              circumstances. When a plan amendment           (4) The documentation of how the
and make it available to the public.
                                              is made together with, and only applies     best available scientific information was
   (i) The first monitoring evaluation for
                                              to, a project or activity decision, the     used to inform planning, the plan
a plan or plan revision developed in
accordance with this subpart must be          analysis prepared for the project or        components, and other plan content,
                                              activity may serve as the documentation     including the plan monitoring program
completed no later than 2 years from the
                                              for the preliminary identification of the   (§219.3);
effective date of plan decision.
   (ii) Where the monitoring program          need to change the plan;                       (5) The concurrence by the
developed under the provisions of a              (2) Provide opportunities for public     appropriate research station director
prior planning regulation has been            participation as required in § 219.4 and    with any part of the plan applicable to
modified to meet the requirements of          public notification as required in          any experimental forests or
paragraph (c)(1) of this section, the first   § 219.16. The responsible official may      experimental ranges (§ 219.2(b)(4)); and
monitoring evaluation must be                 combine processes and associated               (6) The effective date of the plan,
completed no later than 2 years from the      public notifications where appropriate,     amendment, or revision.
date the change takes effect.                 considering the scope and scale of the         (b) Planning records. (1) The
   (iii) The monitoring evaluation report     need to change the plan; and                responsible official shall keep the
may be postponed for 1 year in case of           (3) Amend the plan consistent with       following documents readily accessible
exigencies, but notice of the                 Forest Service NEPA procedures. The         to the public by posting them online
postponement must be provided to the          appropriate NEPA documentation for an       and through other means: assessment
public prior to the date the report is due    amendment may be an environmental           reports (§ 219.6); the plan, including the
for that year (§ 219.16(c)(6)).               impact statement, an environmental          monitoring program; the proposed plan,
   (2) The monitoring evaluation report       assessment, or a categorical exclusion,     plan amendment, or plan revision;
must indicate whether or not a change         depending upon the scope and scale of       public notices and environmental
to the plan, management activities, or        the amendment and its likely effects. A     documents associated with a plan; plan
the monitoring program, or a new              proposed amendment that may create a        decision documents; and monitoring
assessment, may be warranted based on         significant environmental effect and        evaluation reports (§219.12).
the new information. The monitoring           thus require preparation of an                 (2) The planning record includes
evaluation report must be used to             environmental impact statement is           documents that support analytical
inform adaptive management of the plan        considered a significant change in the      conclusions made and alternatives
area.                                         plan for the purposes of the NFMA.          considered throughout the planning
   (3) The monitoring evaluation report          (c) Administrative changes. An           process. The responsible official shall
may be incorporated into other planning       administrative change is any change to      make the planning record available at
documents if the responsible official has     a plan that is not a plan amendment or      the office where the plan, plan
initiated a plan revision or relevant         plan revision. Administrative changes       amendment, or plan revision was
amendment.                                    include corrections of clerical errors to   developed.
   (4) The monitoring evaluation report       any part of the plan, conformance of the
is not a decision document representing                                                   §219.15 Project and activity consistency
                                              plan to new statutory or regulatory         with the plan.
final Agency action, and is not subject       requirements, or changes to other
to the objection provisions of subpart B.                                                    (a) Application to existing
                                              content in the plan (§ 219.7(f)).           authorizations and approved projects or
§219.13 Plan amendment and                       (1) A substantive change to the          activities. Every decision document
administrative changes.                       monitoring program made outside of the      approving a plan, plan amendment, or
   (a) Plan amendment. A plan may be          process for plan revision or amendment      plan revision must state whether
amended at any time. Plan amendments          may be made only after notice to the        authorizations of occupancy and use
may be broad or narrow, depending on          public of the intended change and           made before the decision document may
the need for change, and should be used       consideration of public comment             proceed unchanged. If a plan decision
to keep plans current and help units          (§ 219.16(c)(6)).                           document does not expressly allow such
adapt to new information or changing             (2) All other administrative changes     occupancy and use, the permit, contract,
conditions. The responsible official has      may be made following public notice         and other authorizing instrument for the
the discretion to determine whether and       (§ 219.16(c)(6)).                           use and occupancy must be made


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consistent with the plan, plan               developed by the Forest Service that        for which a draft EIS is prepared, the
amendment, or plan revision as soon as       apply to the resources or land areas        Environmental Protection Agency (EPA)
practicable, as provided in paragraph (d) within the planning area must be               Federal Register notice of availability of
of this section, subject to valid existing   consistent with the plan components.        a draft EIS shall serve as the required
rights.                                      Resource plans developed prior to plan      Federal Register notice.
   (b) Application to projects or activities decision must be evaluated for                 (4) For a plan amendment when an
authorized after plan decision. Projects     consistency with the plan and amended       official other than the Chief, the Under
and activities authorized after approval     if necessary.                               Secretary, or the Secretary is the
of a plan, plan amendment, or plan                                                       responsible official, and for which a
revision must be consistent with the         §219.16 Public notifications.               draft EIS is not prepared, notices must
plan as provided in paragraph (d) of this       The following public notification        be published in the newspaper(s) of
section.                                     requirements apply to plan                  record.
   (c) Resolving inconsistency. When a       development, amendment, or revision.           (5) If a plan, plan amendment, or plan
proposed project or activity would not       Notifications may be combined where         revision applies to two or more units,
be consistent with the applicable plan       appropriate.                                notices must be published in the
components, the responsible official            (a) When formal public notification is   Federal Register and the newspaper(s)
shall take one of the following steps,       required. Public notification must be       of record for the applicable units.
subject to valid existing rights:            provided as follows:
                                                                                            (6) Additional public notice of
   (1) Modify the proposed project or           (1) To initiate the development of a
                                                                                         administrative changes, changes to the
activity to make it consistent with the      proposed plan, plan amendment, or
                                                                                         monitoring program, opportunities to
applicable plan components;                  plan revision;
                                                                                         provide information for assessments,
   (2) Reject the proposal or terminate         (2) To invite comments on a proposed
                                             plan, plan amendment, or plan revision,     assessment reports, monitoring
the project or activity;                                                                 evaluation reports, or other notices not
   (3) Amend the plan so that the project and associated environmental analysis.         listed in paragraph (a) of this section
or activity will be consistent with the      For a new plan, plan amendment, or a
                                             plan revision for which a draft             may be made in any way the responsible
plan as amended; or                                                                      official deems appropriate.
   (4) Amend the plan                        environmental impact statement (EIS) is
                                                                                            (d) Content of public notices. Public
contemporaneously with the approval of prepared, the comment period is at least
                                                                                         notices required by this section except
the project or activity so that the project 90 days. For an amendment for which
                                             a draft EIS is not prepared, the comment    for notices applicable to paragraph (c)(3)
or activity will be consistent with the
                                                                                         of this section, must clearly describe the
plan as amended. This amendment may period is at least 30 days;
                                                (3) To begin the objection period for    action subject to notice and the nature
be limited to apply only to the project
                                             a plan, plan amendment, or plan             and scope of the decisions to be made;
or activity.
                                             revision before approval (§ 219.52);        identify the responsible official;
   (d) Determining consistency. Every
                                                (4) To approve a final plan, plan        describe when, where, and how the
project and activity must be consistent
                                                                                         responsible official will provide
with the applicable plan components. A amendment, or plan revision; or
                                                (5) To announce whenever a plan,         opportunities for the public to
project or activity approval document
must describe how the project or             plan amendment, or plan revision            participate in the planning process; and
                                             process initiated under the provisions of   explain how to obtain additional
activity is consistent with applicable
                                             a previous planning regulation will be      information.
plan components developed or revised
in conformance with this part by             conformed to meet the provisions of this    §219.17 Effective dates and transition.
meeting the following criteria:              part (§ 219.17(b)(3)).
                                                (b) Project or activity plan                (a) Effective dates. (1) A plan or plan
   (1) Goals, desired conditions, and                                                    revision is effective 30 days after
objectives. The project or activity          amendments. When a plan amendment
                                             is approved in a decision document          publication of notice of its approval.
contributes to the maintenance or
                                                                                            (2) Except as provided in paragraph
attainment of one or more goals, desired approving a project or activity and the
                                             amendment applies only to the project       (a)(3) of this section, a plan amendment
conditions, or objectives, or does not
                                                                                         for which an environmental impact
foreclose the opportunity to maintain or or activity, the notification requirements
                                                                                         statement (EIS) has been prepared is
achieve any goals, desired conditions, or of 36 CFR part 215 or part 218, subpart
                                             A, applies instead of this section.         effective 30 days after publication of
objectives, over the long term.
                                                (cj How public notice is provided. The   notice of its approval; a plan
   (2) Standards. The project or activity
                                             responsible official should use             amendment for which an EIS has not
complies with applicable standards.
   (3) Guidelines. The project or activity: contemporary tools to provide notice to      been prepared is effective immediately.
   (i) Complies with applicable              the public. At a minimum, all public           (3) A plan amendment that applies to
guidelines as set out in the plan; or        notifications required by this part must    only one specific project or activity is
   (ii) Is designed in a way that is as      be posted online, and:                      effective on the date the project may be
effective in achieving the purpose of the       (1) When the Chief, the Under            implemented in accordance with
applicable guidelines (§ 219.7(e)(l)(iv)).   Secretary, or the Secretary is the          administrative review regulations at 36
   (4) Suitability. A project or activity    responsible official, notice must be        CFR parts 215 and 218.
would occur in an area;                      published in the Federal Register.             (b) Plan amendment and plan
   (i) That the plan identifies as suitable     (2) For a new plan or plan revision,     revision transition. For the purposes of
for that type of project or activity; or     when an official other than the Chief,      this section, initiation means that the
   (ii) For which the plan is silent with    the Under Secretary, or the Secretary is    Agency has issued a notice of intent or
respect to its suitability for that type of  the responsible official, notice must be    other notice announcing the beginning
project or activity.                         published in the Federal Register and       of the process to develop a proposed
   (e) Consistency of resource plans         the applicable newspaper(s) of record.      plan, plan amendment, or plan revision.
within the planning area with the land          (3) When the notice is for the purpose      (1) Initiating plan development and
management plan. Any resource plans          of inviting comments on a proposed          plan revisions. Plan development and
(for example, travel management plans)       plan, plan amendment, or plan revision      plan revisions initiated after May 9,


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2012 must conform to the requirements          on units with plans developed or                 inclusive and cooperative manner
of this part.                                  revised under a prior planning rule until        toward a common purpose.
   (2) Initiating plan amendments. All         the plan is revised under this part,             Collaboration, in the context of this part,
plan amendments initiated after May 9,         except that projects or activities on such       falls within the full spectrum of public
2012 are subject to the objection process      units must comply with the consistency           engagement described in the Council on
in subpart B of this part. With respect        requirement of § 219.15 with respect to          Environmental Quality’s publication of
to plans approved or revised under a           any amendments that are developed and            October, 2007: Collaboration in NEPA—
prior planning regulation, including the       approved pursuant to this part.                  A Handbook for NEPA Practitioners.
transition provisions of the reinstated                                                            Connectivity. Ecological conditions
2000 rule (36 CFR part 209, published          §219.18 Severability.                            that exist at several spatial and temporal
at 36 CFR parts 200 to 209, revised as           In the event that any specific                 scales that provide landscape linkages
of July 1, 2010), plan amendments may          provision of this part is deemed by a            that permit the exchange of flow,
be initiated under the provisions of the       court to be invalid, the remaining               sediments, and nutrients; the daily and
prior planning regulation for 3 years          provisions shall remain in effect.               seasonal movements of animals within
after May 9, 2012, and may be                                                                   home ranges; the dispersal and genetic
completed and approved under those             §219.19 Definitions.                             interchange between populations; and
provisions (except for the optional                Definitions of the special terms used        the long distance range shifts of species,
appeal procedures of the prior planning        in this subpart are set out as follows.          such as in response to climate change.
regulation); or may be initiated,                  Alaska Native Corporation. One of the           Conservation. The protection,
completed, and approved under the              regional, urban, and village native              preservation, management, or
requirements of this part. After the 3-        corporations formed under the Alaska             restoration of natural environments,
year transition period, all plan               Native Claims Settlement Act of 1971.            ecological communities, and species.
amendments must be initiated,                      Assessment. For the purposes of this            Conserve. For purposes of § 219.9, to
completed, and approved under the              subpart, an assessment is the                    protect, preserve, manage, or restore
requirements of this part.                     identification and evaluation of existing        natural environments and ecological
   (3) Plan development, plan                  information to support land                      communities to potentially avoid
amendments, or plan revisions initiated        management planning. Assessments are             federally listing of proposed and
before this part. For plan development,        not decisionmaking documents, but                candidate species.
plan amendments, or plan revisions that        provide current information on select               Culmination of mean annual
were initiated before May 9, 2012, the         topics relevant to the plan area, in the         increment of growth. See mean annual
responsible official may complete and          context of the broader landscape.                increment of growth.
approve the plan, plan amendment, or               Best management practices for water            Designated area. An area or feature
plan revision in conformance with the          quality (BMPsf Methods, measures, or             identified and managed to maintain its
provisions of the prior planning               practices selected by an agency to meet          unique special character or purpose.
regulation, including its transition           its nonpoint source control needs. BMPs          Some categories of designated areas may
provisions (36 CFR part 209, published         include but are not limited to structural        be designated only by statute and some
at 36 CFR parts 200 to 209, revised as         and nonstructural controls and                   categories may be established
of July 1, 2010), or may conform the           operation and maintenance procedures.            administratively in the land
plan, plan amendment, or plan revision         BMPs can be applied before, during, and          management planning process or by
to the requirements of this part. If the       after pollution-producing activities to          other administrative processes of the
responsible official chooses to complete       reduce or eliminate the introduction of          Federal executive branch. Examples of
an ongoing planning process under the          pollutants into receiving waters.                statutorily designated areas are national
provisions of the prior planning                   Candidate species. (1) For U.S. Fish         heritage areas, national recreational
regulation, but chooses to allow for an        and Wildlife Service candidate species,          areas, national scenic trails, wild and
objection rather than an administrative        a species for which the U.S. Fish and            scenic rivers, wilderness areas, and
appeal, the objection process in subpart       Wildlife Service possesses sufficient            wilderness study areas. Examples of
B of this part shall apply. When the           information on vulnerability and threats         administratively designated areas are
responsible official chooses to conform        to support a proposal to list as                 experimental forests, research natural
an ongoing planning process to this            endangered or threatened, but for which          areas, scenic byways, botanical areas,
part, public notice must be made               no proposed rule has yet been published          and significant caves.
(§ 219.16(a)(5)). An objection process         by the U.S. Fish and Wildlife Service.             Disturbance. Any relatively discrete
may be chosen only if the public is                (2) For National Marine Fisheries            event in time that disrupts ecosystem,
provided the opportunity to comment            Service candidate species, a species that        watershed, community, or species
on a proposed plan, plan amendment, or         is:                                              population structure and/or function
plan revision, and associated                      (i) The subject of a petition to list and    and changes resources, substrate
environmental analysis.                        for which the National Marine Fisheries          availability, or the physical
   (c) Plans developed, amended, or            Service has determined that listing may          environment.
revised under a prior planning                 be warranted, pursuant to section                  Disturbance regime. A description of
regulation. This part supersedes any           4(b)(3)(A) of the Endangered Species             the characteristic types of disturbance
prior planning regulation. No                  Act (16 U.S.C. 1533(b)(3)(A)), or                on a given landscape; the frequency,
obligations remain from any prior                  (ii) Not the subject of a petition but for   severity, and size distribution of these
planning regulation, except those that         which the National Marine Fisheries              characteristic disturbance types; and
are specifically included in a unit’s          Service has announced in the Federal             their interactions.
existing plan. Existing plans will remain      Register the initiation of a status review.        Ecological conditions. The biological
in effect until revised. This part does            Collaboration or collaborative               and physical environment that can
not compel a change to any existing            process. A structured manner in which            affect the diversity of plant and animal
plan, except as required in                    a collection of people with diverse              communities, the persistence of native
§ 219.12(c)(1). None of the requirements       interests share knowledge, ideas, and            species, and the productive capacity of
of this part apply to projects or activities   resources while working together in an           ecological systems. Ecological


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conditions include habitat and other          cultural heritage values, recreational       continuance of the desired ecological
influences on species and the                 experiences and tourism opportunities.       condition in terms of its desired
environment. Examples of ecological              Environmental assessment (EA). See        composition, structure, and processes.
conditions include the abundance and          definition in § 219.62.                      Depending upon the circumstance,
distribution of aquatic and terrestrial          Environmental document. For the           ecological conditions may be
habitats, connectivity, roads and other       purposes of this part: an environmental      maintained by active or passive
structural developments, human uses,          assessment, environmental impact             management or both.
and invasive species.                         statement, finding of no significant            Management area. A land area
   Ecological integrity. The quality or       impact, categorical exclusion, and           identified within the planning area that
condition of an ecosystem when its            notice of intent to prepare an               has the same set of applicable plan
dominant ecological characteristics (for      environmental impact statement.              components. A management area does
example, composition, structure,                 Environmental impact statement            not have to be spatially contiguous.
function, connectivity, and species           (EIS). See definition in § 219.62.              Management system. For purposes of
composition and diversity) occur within          Even-aged stand. A stand of trees         this subpart, a timber management
the natural range of variation and can        composed of a single age class.              system including even-aged
withstand and recover from most                  Federally recognized Indian Tribe. An     management and uneven-aged
perturbations imposed by natural              Indian or Alaska Native Tribe, band,         management.
environmental dynamics or human               nation, pueblo, village, or community           Mean annual increment of growth and
influence.                                    that the Secretary of the Interior           culmination of mean annual increment
                                              acknowledges to exist as an Indian Tribe     of growth. Mean annual increment of
   Ecological sustainability. See
                                              under the Federally Recognized Indian        growth is the total increment of increase
sustainability.
                                              Tribe List Act of 1994, 25 U.S.C. 479a.      of volume of a stand (standing crop plus
   Ecological system. See ecosystem.
                                                 Focal species. A small subset of          thinnings) up to a given age divided by
  Economic sustainability. See
                                              species whose status permits inference       that age. Culmination of mean annual
sustainability.
                                              to the integrity of the larger ecological    increment of growth is the age in the
  Ecosystem. A spatially explicit,                                                         growth cycle of an even-aged stand at
                                              system to which it belongs and provides
relatively homogeneous unit of the                                                         which the average annual rate of
                                              meaningful information regarding the
Earth that includes all interacting                                                        increase of volume is at a maximum. In
                                              effectiveness of the plan in maintaining
organisms and elements of the abiotic                                                      land management plans, mean annual
                                              or restoring the ecological conditions to
environment within its boundaries. An                                                      increment is expressed in cubic measure
                                              maintain the diversity of plant and
ecosystem is commonly described in                                                         and is based on the expected growth of
                                              animal communities in the plan area.
terms of its:                                                                              stands, according to intensities and
                                              Focal species would be commonly
   (1) Composition. The biological                                                         utilization guidelines in the plan.
                                              selected on the basis of their functional
elements within the different levels of                                                       Monitoring. A systematic process of
                                              role in ecosystems.
biological organization, from genes and          Forest land. Land at least 10 percent     collecting information to evaluate
species to communities and ecosystems.        occupied by forest trees of any size or      effects of actions or changes in
   (2) Structure. The organization and        formerly having had such tree cover and      conditions or relationships.
physical arrangement of biological            not currently developed for non-forest          Multiple use. The management of all
elements such as, snags and down              uses. Lands developed for non-forest         the various renewable surface resources
woody debris, vertical and horizontal         use include areas for crops, improved        of the NFS so that they are utilized in
distribution of vegetation, stream habitat    pasture, residential or administrative       the combination that will best meet the
complexity, landscape pattern, and            areas, improved roads of any width and       needs of the American people; making
connectivity.                                 adjoining road clearing, and power line      the most judicious use of the land for
   (3) Function. Ecological processes that    clearings of any width.                      some or all of these resources or related
sustain composition and structure, such          Geographic area. A spatially              services over areas large enough to
as energy flow, nutrient cycling and          contiguous land area identified within       provide sufficient latitude for periodic
retention, soil development and               the planning area. A geographic area         adjustments in use to conform to
retention, predation and herbivory, and       may overlap with a management area.          changing needs and conditions; that
natural disturbances such as wind, fire,         Inherent capability of the plan area.     some land will be used for less than all
and floods.                                   The ecological capacity or ecological        of the resources; and harmonious and
   (4) Connectivity, (see connectivity        potential of an area characterized by the    coordinated management of the various
above).                                       interrelationship of its physical            resources, each with the other, without
  Ecosystem diversity. The variety and        elements, its climatic regime, and           impairment of the productivity of the
relative extent of ecosystems.                natural disturbances.                        land, with consideration being given to
  Ecosystem services. Benefits people            Integrated resource management.           the relative values of the various
obtain from ecosystems, including:            Multiple use management that                 resources, and not necessarily the
   (1) Provisioning services, such as         recognizes the interdependence of            combination of uses that will give the
clean air and fresh water, energy, fuel,      ecological resources and is based on the     greatest dollar return or the greatest unit
forage, fiber, and minerals;                  need for integrated consideration of         output, consistent with the Multiple­
   (2) Regulating services, such as long      ecological, social, and economic factors.    Use Sustained-Yield Act of 1960 (16
term storage of carbon; climate                  Landscape. A defined area                 U.S.C. 528-531).
regulation; water filtration, purification,   irrespective of ownership or other              National Forest System. See definition
and storage; soil stabilization; flood        artificial boundaries, such as a spatial     in §219.62.
control; and disease regulation;              mosaic of terrestrial and aquatic               Native knowledge. A way of knowing
   (3) Supporting services, such as           ecosystems, landforms, and plant             or understanding the world, including
pollination, seed dispersal, soil             communities, repeated in similar form        traditional ecological and social
formation, and nutrient cycling; and          throughout such a defined area.              knowledge of the environment derived
   (4) Cultural services, such as                Maintain. In reference to an ecological   from multiple generations of indigenous
educational, aesthetic, spiritual and         condition: To keep in existence or           peoples’ interactions, observations, and


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experiences with their ecological            species to the point at which listing as          Sole source aquifer. Underground
systems. Native knowledge is place-          federally endangered or threatened is no       water supply designated by the
hased and culture-based knowledge in         longer appropriate.                            Environmental Protection Agency (EPA)
which people learn to live in and adapt         Recreation. See Sustainable                 as the “sole or principle” source of
to their own environment through             recreation.                                    drinking water for an area as established
interactions, observations, and                 Recreation opportunity. An                  under section 1424(e) of the Safe
experiences with their ecological            opportunity to participate in a specific       Drinking Water Act (42 U.S.C. 300h-
system. This knowledge is generally not      recreation activity in a particular            3(e)).
solely gained, developed by, or retained     recreation setting to enjoy desired               Source water protection areas. The
by individuals, but is rather                recreation experiences and other               area delineated by a State or Tribe for
accumulated over successive                  benefits that accrue. Recreation               a public water system (PWS) or
generations and is expressed through         opportunities include non-motorized,           including numerous PWSs, whether the
oral traditions, ceremonies, stories,        motorized, developed, and dispersed            source is ground water or surface water
dances, songs, art, and other means          recreation on land, water, and in the air.     or both, as part of a State or tribal source
within a cultural context.                      Recreation setting. The social,             water assessment and protection
  Native species. An organism that was       managerial, and physical attributes of a       program (SWAP) approved by
historically or is present in a particular   place that, when combined, provide a           Environmental Protection Agency under
ecosystem as a result of natural             distinct set of recreation opportunities.      section 1453 of the Safe Drinking Water
migratory or evolutionary processes;         The Forest Service uses the recreation         Act (42 U.S.C. 300h-3(e)).
and not as a result of an accidental or      opportunity spectrum to define                    Stressors. For the purposes of this
deliberate introduction into that            recreation settings and categorize them        subpart: Factors that may directly or
ecosystem. An organism’s presence and        into six distinct classes: primitive, semi­    indirectly degrade or impair ecosystem
evolution (adaptation) in an area are        primitive non-motorized, semi-primitive        composition, structure or ecological
determined by climate, soil, and other       motorized, roaded natural, rural, and          process in a manner that may impair its
biotic and abiotic factors.                  urban.                                         ecological integrity, such as an invasive
  Newspaper(s) of record. See definition        Responsible official. See definition in     species, loss of connectivity, or the
in §219.62.                                  §219.62.                                       disruption of a natural disturbance
   Objection. See definition in § 219.62.       Restoration. The process of assisting       regime.
   Online. See definition in § 219.62.       the recovery of an ecosystem that has             Sustainability. The capability to meet
  Participation. Activities that include a   been degraded, damaged, or destroyed.          the needs of the present generation
wide range of public involvement tools       Ecological restoration focuses on              without compromising the ability of
and processes, such as collaboration,        reestablishing the composition,                future generations to meet their needs.
public meetings, open houses,                structure, pattern, and ecological             For purposes of this part, “ecological
workshops, and comment periods.              processes necessary to facilitate              sustainability” refers to the capability of
  Persistence. Continued existence.          terrestrial and aquatic ecosystems             ecosystems to maintain ecological
  Plan area. The NFS lands covered by        sustainability, resilience, and health         integrity; “economic sustainability”
a plan.                                      under current and future conditions.           refers to the capability of society to
  Plan or land management plan. A               Restore. To renew by the process of         produce and consume or otherwise
document or set of documents that            restoration (see restoration).                 benefit from goods and services
provide management direction for an             Riparian Areas. Three-dimensional           including contributions to jobs and
administrative unit of the NFS               ecotones of interaction that include           market and nonmarket benefits; and
developed under the requirements of          terrestrial and aquatic ecosystems that        “social sustainability” refers to the
this part or a prior planning rule.          extend down into the groundwater, up           capability of society to support the
  Plant and animal community. A              above the canopy, outward across the           network of relationships, traditions,
naturally occurring assemblage of plant      floodplain, up the near-slopes that drain      culture, and activities that connect
and animal species living within a           to the water, laterally into the terrestrial   people to the land and to one another,
defined area or habitat.                     ecosystem, and along the water course          and support vibrant communities.
  Productivity. The capacity of NFS          at variable widths.                               Sustainable recreation. The set of
lands and their ecological systems to           Riparian management zone. Portions          recreation settings and opportunities on
provide the various renewable resources      of a watershed where riparian­                 the National Forest System that is
in certain amounts in perpetuity. For        dependent resources receive primary            ecologically, economically, and socially
the purposes of this subpart,                emphasis, and for which plans include          sustainable for present and future
productivity is an ecological term, not      plan components to maintain or restore         generations.
an economic term.                            riparian functions and ecological                 Timber harvest. The removal of trees
  Project. An organized effort to achieve    functions.                                     for wood fiber use and other multiple­
an outcome on NFS lands identified by           Risk. A combination of the likelihood       use purposes.
location, tasks, outputs, effects, times,    that a negative outcome will occur and            Timber production. The purposeful
and responsibilities for execution.          the severity of the subsequent negative        growing, tending, harvesting, and
  Proposed Species. Any species of fish,     consequences.                                  regeneration of regulated crops of trees
wildlife, or plant that is proposed by the      Scenic character. A combination of          to be cut into logs, bolts, or other round
U.S. Fish and Wildlife Service or the        the physical, biological, and cultural         sections for industrial or consumer use.
National Marine Fisheries Service in the     images that gives an area its scenic              Viable population. A population of a
Federal Register to be listed under          identity and contributes to its sense of       species that continues to persist over the
Section 4 of the Endangered Species          place. Scenic character provides a frame       long term with sufficient distribution to
Act.                                         of reference from which to determine           be resilient and adaptable to stressors
  Recovery. For the purposes of this         scenic attractiveness and to measure           and likely future environments.
subpart, and with respect to threatened      scenic integrity.                                 Watershed. A region or land area
or endangered species: The                      Social sustainability. See                  drained by a single stream, river, or
improvement in the status of a listed        sustainability.                                drainage network; a drainage basin.


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  Watershed condition. The state of a        §219.52 Giving notice of a plan, plan         formal comments specific to the
watershed based on physical and              amendment, or plan revision subject to        proposed plan, plan amendment, or
biogeochemical characteristics and           objection before approval.                    plan revision during any opportunity for
processes.                                      (a) The responsible official shall         public comment as provided in subpart
                                             disclose during the NEPA scoping              A.
  Wild and scenic river. A river             process and in the appropriate NEPA              (5) Include a statement that the
designated by Congress as part of the        documents that the proposed plan, plan        publication date of the public notice in
National Wild and Scenic Rivers System       amendment, or plan revision is subject        the applicable newspaper of record (or
that was established in the Wild and         to the objection procedures in this           the Federal Register, if the responsible
Scenic Rivers Act of 1968 (16 U.S.C.         subpart. This disclosure is in addition to    official is the Chief) is the exclusive
1271 (note), 1271-1287).                     the public notice that begins the             means for calculating the time to file an
  Wilderness. Any area of land               objection filing period, as required at       objection (§ 219.56).
designated by Congress as part of the        § 219.16. When a responsible official            (6) Include a statement that an
National Wilderness Preservation             chooses to use the objection process of       objection, including attachments, must
System that was established in the           this subpart for a plan, plan                 be filed with the appropriate reviewing
Wilderness Act of 1964 (16 U.S.C. 1131­      amendment, or plan revision process           officer (§ 219.62) within 60 days, if an
1136).                                       initiated before the effective date of this   environmental impact statement has
                                             rule, notice that the objection process       been prepared, otherwise within 45
Subpart B—Pre-Decisional                     will be used must be given prior to an        days of the date of publication of the
Administrative Review Process                opportunity to provide substantive            public notice for the objection process.
                                             formal comment on a proposed plan,               (7) Include a statement describing the
§219.50 Purpose and scope.                   plan amendment, or revision and               minimum content requirements of an
                                             associated environmental analysis.            objection (§ 219.54(c)).
  This subpart establishes a pre-
                                                (b) The responsible official shall make
decisional administrative review             available the public notice for the           §219.53 Who may file an objection.
(hereinafter referred to as objection)       beginning of the objection period for a          (a) Individuals and entities who have
process for plans, plan amendments, or       plan, plan amendment, or plan revision        submitted substantive formal comments
plan revisions. This process gives an        (§ 219.16(a)(3)) to those who have            related to a plan, plan amendment, or
individual or entity an opportunity for      requested the environmental documents         plan revision during the opportunities
an independent Forest Service review         or are eligible to file an objection          for public comment as provided in
and resolution of issues before the          consistent with § 219.53.                     subpart A during the planning process
approval of a plan, plan amendment, or          (c) The content of the public notice       for that decision may file an objection.
plan revision. This subpart identifies       for the beginning of the objection period     Objections must be based on previously
who may file objections to a plan, plan      for a plan, plan amendment, or plan           submitted substantive formal comments
amendment, or plan revision; the             revision before approval (§ 219.16(a)(3))     attributed to the objector unless the
responsibilities of the participants in an   must;                                         objection concerns an issue that arose
objection; and the procedures that apply        (1) Inform the public of the               after the opportunities for formal
to the review of the objection.              availability of the plan, plan                comment. The burden is on the objector
                                             amendment, or plan revision, the              to demonstrate compliance with
§219.51 Plans, plan amendments, or plan      appropriate final environmental               requirements for objection. Objections
revisions not subject to objection.          documents, the draft plan decision            that do not meet the requirements of
   (a) A plan, plan amendment, or plan       document, and any relevant assessment         this paragraph may not be accepted;
revision is not subject to objection when    or monitoring evaluation report; the          however, objections not accepted must
the responsible official receives no         commencement of the objection filing          be documented in the planning record.
substantive formal comments (§ 219.62)       period under 36 CFR part 219 Subpart             (b) Formal comments received from
                                             B; and the process for objecting. The         an authorized representative(s) of an
on that proposal during the
                                             documents in this paragraph will be           entity are considered those of the entity
opportunities for public comment
                                             made available online at the time of          only. Individual members of that entity
(§ 219.53(a)).
                                             public notice.                                do not meet objection eligibility
   (b) Plans, plan amendments, or plan          (2) Include the name of the plan, plan     requirements solely based on
revisions proposed by the Secretary of       amendment, or plan revision, the name         membership in an entity. A member or
Agriculture or the Under Secretary for       and title of the responsible official, and    an individual must submit substantive
Natural Resources and Environment are        instructions on how to obtain a copy of       formal comments independently to be
not subject to the procedures set forth in   the appropriate final environmental           eligible to file an objection in an
this section. A decision by the Secretary    documents; the draft plan decision            individual capacity.
or Under Secretary constitutes the final     document; and the plan, plan                     (c) When an objection lists multiple
administrative determination of the U.S.     amendment, or plan revision.                  individuals or entities, each individual
Department of Agriculture.                      (3) Include the name and address of        or entity must meet the requirements of
   (c) A plan, plan amendment, or plan       the reviewing officer with whom an            paragraph (a) of this section. Individuals
                                             objection is to be filed. The notice must     or entities listed on an objection that do
revision is not subject to objection
                                             specify a street, postal, fax, and email      not meet eligibility requirements may
under this subpart if another
                                             address; the acceptable format(s) for         not be considered objectors, although an
administrative review process is used
                                             objections filed electronically; and the      objection must be accepted (if not
consistent with § 219.59.
                                             reviewing officer’s office business hours     otherwise set aside for review under
   (d) When a plan, plan amendment, or       for those filing hand-delivered               § 219.55) if at least one listed individual
plan revision is not subject to objection    objections.                                   or entity meets the eligibility
under this subpart, the responsible             (4) Include a statement that objections    requirements.
official shall include an explanation        will be accepted only from those who             (d) Federal agencies may not file
with the signed decision document.           have previously submitted substantive         objections.


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  (e) Federal employees who otherwise         or plan revision to which the objection       review for reasons of illegibility or lack
meet the requirements of this subpart         applies;                                      of a means of contact, the reasons must
for filing objections in a non-official          (6) A concise statement explaining the     be documented in the planning record.
capacity must comply with Federal             objection and suggesting how the
conflict of interest statutes at 18 U.S.C.    proposed plan decision may be                 §219.56 Objection time periods and
                                              improved. If applicable, the objector         process.
202-209 and with employee ethics
requirements at 5 CFR part 2635.              should identify how the objector                 (a) Time to file an objection. For a
Specifically, employees may not be on         believes that the plan, plan amendment,       new plan, plan amendment, or plan
official duty nor use government              or plan revision is inconsistent with         revision for which an environmental
property or equipment in the                  law, regulation, or policy; and               impact statement (EIS) is prepared,
preparation or filing of an objection.           (7) A statement that demonstrates the      written objections, including any
Further, employees may not include            link between prior substantive formal         attachments, must be filed within 60
information unavailable to the public,        comments attributed to the objector and       days following the publication date of
such as Federal agency documents that         the content of the objection, unless the      the public notice for a plan, plan
are exempt from disclosure under the          objection concerns an issue that arose        amendment, or plan revision before
Freedom of Information Act (5 U.S.C.          after the opportunities for formal            approval (§§ 219.16 and 219.52). For an
552(b)).                                      comment (§ 219.53(a)).                        amendment for which an EIS is not
                                                                                            prepared, the time to file an objection is
§219.54 Filing an objection.                  § 219.55 Objections set aside from review.    within 45 days. It is the responsibility
   (a) All objections must be filed, in          (a) The reviewing officer shall set        of the objector to ensure that the
writing, with the reviewing officer for       aside and not review an objection when        reviewing officer receives the objection
the plan. All objections must be open to      one or more of the following applies:         in a timely manner.
public inspection during the objection           (1) Objections are not filed in a timely      (b) Computation of time periods. (1)
process.                                      manner (§ 219.56);                            All time periods are computed using
   (b) Including documents by reference          (2) The proposed plan, plan                calendar days, including Saturdays,
is not allowed, except for the following      amendment, or plan revision is not            Sundays, and Federal holidays in the
list of items that may be referenced by       subject to the objection procedures of        time zone of the reviewing officer.
including the name, date, page number         this subpart pursuant to §§ 219.51 and        However, when the time period expires
(where applicable), and relevant section      219.59;                                       on a Saturday, Sunday, or Federal
of the cited document. All other                 (3) The individual or entity did not       holiday, the time is extended to the end
documents or Web links to those               submit substantive formal comments            of the next Federal working day (11:59
documents, or both must be included           (§ 219.53) during opportunities for           p.m. for objections filed by electronic
with the objection, if referenced in the      public comment on the proposed                means such as email or facsimile
objection.                                    decision (§ 219.16(a)(1) and (a)(2));         machine).
                                                 (4) None of the issues included in the        (2) The day after publication of the
   (1) All or any part of a Federal law or
                                              objection is based on previously              public notice for a plan, plan
regulation.
                                              submitted substantive formal comments         amendment, or plan revision before
   (2) Forest Service Directive System
                                              unless one or more of those issues arose      approval (§§ 219.16 and 219.52), is the
documents and land management plans
                                              after the opportunities for formal            first day of the objection filing period.
or other published Forest Service
                                              comment;                                         (3) The publication date of the public
documents.                                       (5) The objection does not provide         notice for a plan, plan amendment, or
   (3) Documents referenced by the            sufficient information as required by         plan revision before approval (§§ 219.16
Forest Service in the planning                § 219.54(c);                                  and 219.52), is the exclusive means for
documentation related to the proposal            (6) The objector withdraws the             calculating the time to file an objection.
subject to objection.                         objection in writing;                         Objectors may not rely on dates or
   (4) Formal comments previously                (7) The objector’s identity is not         timeframe information provided by any
provided to the Forest Service by the         provided or cannot be determined from         other source.
objector during the proposed plan, plan       the signature (written or electronically         (c) Evidence of timely filing. The
amendment, or plan revision comment           scanned), and a reasonable means of           objector is responsible for filing the
period.                                       contact is not provided (§ 219.54(c)); or     objection in a timely manner.
   (c) At a minimum, an objection must           (8) The objection is illegible for any     Timeliness must be determined by one
include the following:                        reason and a legible copy cannot easily       of the following indicators:
   (1) The objector’s name and address        be obtained.                                     (1) The date of the U.S. Postal Service
(§ 219.62), along with a telephone               (b) When an objection includes an          postmark for an objection received
number or email address if available;         issue that is not based on previously         before the close of the fifth business day
   (2) Signature or other verification of     submitted substantive formal comments         after the objection filing date;
authorship upon request (a scanned            and did not arise after the opportunities        (2) The electronically generated
signature for electronic mail may be          for formal comment, that issue will be        posted date and time for email and
filed with the objection);                    set aside and not reviewed. Other issues      facsimiles;
   (3) Identification of the lead objector,   raised in the objection that meet the            (3) The shipping date for delivery by
when multiple names are listed on an          requirements of this subpart will be          private carrier for an objection received
objection (§ 219.62). Verification of the     reviewed.                                     before the close of the fifth business day
identity of the lead objector if requested;      (c) The reviewing officer shall give       after the objection filing date; or
   (4) The name of the plan, plan             written notice to the objector and the           (4) The official agency date stamp
amendment, or plan revision being             responsible official when an objection        showing receipt of hand delivery.
objected to, and the name and title of        or part of an objection is set aside from        (d) Extensions. Time extensions for
the responsible official;                     review and shall state the reasons for        filing are not permitted except as
   (5) A statement of the issues and/or       not reviewing the objection in whole or       provided at paragraph (b)(1) of this
the parts of the plan, plan amendment.        part. If the objection is set aside from      section.


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   (e) Reviewing officer role and              involving the reviewing officer,              procedure of another participating
responsibilities. The reviewing officer is     objectors, and interested persons.            Federal agency. As a condition of such
the U.S. Department of Agriculture             During meetings with objectors and            a waiver, the responsible official for the
(USDA) or Forest Service official having       interested persons, the reviewing officer     Forest Service must have agreement
the delegated authority and                    may choose to use alternative dispute         with the responsible official of the other
responsibility to review an objection          resolution methods to resolve                 agency or agencies that a joint agency
filed under this subpart. The reviewing        objections. All meetings are open to          response will be provided to those who
officer is a line officer at the next higher   observation by the public.                    file for administrative review of the
administrative level above the                   (b) Response to objections. (1) The         multi-agency effort. When such an
responsible official; except that:             reviewing officer must render a written       agreement is reached, the responsible
   (1) For a plan amendment, that next         response to the objection(s) within 90        official for the Forest Service shall
higher-level line officer may delegate         days of the close of the objection-filing     ensure public notice required in
the reviewing officer authority and            period, unless the allowable time is          § 219.52 sets forth which administrative
responsibility to a line officer at the        extended as provided at § 219.56(g). A        review procedure is to be used.
same administrative level as the               written response must set forth the              (b) When a plan amendment is
responsible official. Any plan                 reasons for the response but need not be      approved in a decision document
amendment delegation of reviewing              a point-by-point response, and may            approving a project or activity and the
officer responsibilities must be made          contain instructions to the responsible       amendment applies only to the project
prior to the public notification of an         official. In cases involving more than        or activity, the administrative review
objection filing period (§ 219.52).            one objection to a plan, plan                 process of 36 CFR part 215 or part 218,
   (2) For an objection or part of an          amendment, or plan revision, the              subpart A, applies instead of the
objection specific to the identification of    reviewing officer may consolidate             objection process established in this
species of conservation concern, the           objections and issue one or more              subpart. When a plan amendment
regional forester who identified the           responses. The response must be sent to       applies to all future projects or
species of conservation concern for the        the objecting party(ies) by certified mail,   activities, the objection process
plan area may not be the reviewing             return receipt requested, and posted          established in this subpart applies only
officer. The Chief may choose to act as        online.                                       to the plan amendment decision; the
the reviewing officer or may delegate            (2) The reviewing officer’s review of       review process of 36 CFR part 215 or
the reviewing officer authority to a line      and response to the objection(s) is           part 218 would apply to the project or
officer at the same administrative level       limited to only those issues and              activity part of the decision.
as the regional forester. The reviewing        concerns submitted in the objection(s).
officer for the plan will convey any such        (3) The response of the reviewing           §219.60 Secretary’s authority.
objections or parts thereof to the             officer will be the final decision of the       Nothing in this subpart restricts the
appropriate line officer.                      U.S. Department of Agriculture on the         Secretary of Agriculture from exercising
   (f) Notice of objections filed. Within      objection.                                    any statutory authority regarding the
10 days after the close of the objection                                                     protection, management, or
period, the responsible official shall         §219.58 Timing of a plan, plan                administration of NFS lands.
publish a notice of all objections in the      amendment, or plan revision decision.
applicable newspaper of record and post           (a) The responsible official may not       §219.61 Information collection
the notice online.                             issue a decision document concerning a        requirements.
   (g) Response to objections. The             plan, plan amendment, or plan revision          This subpart specifies the information
reviewing officer must issue a written         subject to the provisions of this subpart     that objectors must give in an objection
response to the objector(s) concerning         until the reviewing officer has               to a plan, plan amendment, or plan
their objection(s) within 90 days of the       responded in writing to all objections.       revision (§ 219.54(c)). As such, this
end of the objection-filing period. The           (b) A decision by the responsible          subpart contains information collection
reviewing officer has the discretion to        official approving a plan, plan               requirements as defined in 5 CFR part
extend the time when it is determined          amendment, or plan revision must be           1320 and have been approved by the
to be necessary to provide adequate            consistent with the reviewing officer’s       Office of Management and Budget and
response to objections or to participate       response to objections.                       assigned control number 0596-0158.
in discussions with the parties. The              (c) When no objection is filed within
                                                                                             §219.62 Definitions.
reviewing officer must notify all parties      the allotted filing period, the reviewing
(lead objectors and interested persons)        officer must notify the responsible             Definitions of the special terms used
in writing of any extensions.                  official. The responsible official’s          in this subpart are set out as follows.
                                               approval of the plan, plan amendment,           Address. An individual’s or entity’s
§219.57 Resolution of objections.              or plan revision in a plan decision           current mailing address used for postal
   (a) Meetings. Prior to the issuance of      document consistent with § 219.14, may        service or other delivery services. An
the reviewing officer’s written response,      occur on, but not before, the fifth           email address is not sufficient.
either the reviewing officer or the            business day following the end of the           Decision memo. A concise written
objector may request to meet to discuss        objection-filing period.                      record of the responsible official’s
issues raised in the objection and                                                           decision to implement an action that is
potential resolution. The reviewing            §219.59 Use of other administrative           categorically excluded from further
officer must allow other interested            review processes.                             analysis and documentation in an
persons to participate in such meetings.         (a) Where the Forest Service is a           environmental impact statement (EIS) or
An interested person must file a request       participant in a multi-federal agency         environmental assessment (EA), where
to participate in an objection within 10       effort that would otherwise be subject to     the action is one of a category of actions
days after publication of the notice of        objection under this subpart, the             which do not individually or
objection by the responsible official          responsible official may waive the            cumulatively have a significant effect on
(§ 219.56(f)). The responsible official        objection procedures of this subpart and      the human environment, and does not
shall be a participant in all meetings         instead adopt the administrative review       give rise to extraordinary circumstances


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in which a normally excluded action            National Forest System. The National      files an objection that meets the
may have a significant environmental         Forest System includes national forests,    requirements of §§ 219.54 and 219.56.
effect.                                      national grasslands, and the National          Online. Refers to the appropriate
   Environmental assessment (EA). A          Tallgrass Prairie.                          Forest Service Web site or future
public document that provides                  Newspaper(s) of record. The               electronic equivalent.
sufficient evidence and analysis for         newspaper(s) of record is (are) the            Responsible official. The official with
determining whether to prepare an EIS        principal newspaper(s) of general           the authority and responsibility to
or a finding of no significant impact,       circulation annually identified and         oversee the planning process and to
aids an agency’s compliance with the         published in the Federal Register by        approve a plan, plan amendment, and
National Environmental Policy Act            each regional forester to be used for       plan revision.
(NEPA) when no EIS is necessary, and         publishing notices as required by 36           Reviewing officer. The USDA or
facilitates preparation of a statement       CFR 215.5. The newspaper(s) of record       Forest Service official having the
when one is necessary (40 CFR 1508.9;        for projects in a plan area is (are) the    delegated authority and responsibility to
ESH 1909.15, Chapter 40).                    newspaper(s) of record for notices          review an objection filed under this
  Environmental impact statement             related to planning.                        subpart.
(EIS). A detailed written statement as          Objection. The written document filed       Substantive formal comments.
required by section 102(2)(C) of the         with a reviewing officer by an              Written comments submitted to, or oral
National Environmental Policy Act            individual or entity seeking pre-           comments recorded by, the responsible
(NEPA) of 1969 (40 CFR 1508.11; 36           decisional administrative review of a       official or his designee during an
CFR 220).                                    plan, plan amendment, or plan revision.     opportunity for public participation
  Formal comments. See substantive              Objection period. The allotted filing    provided during the planning process
formal comments.                             period following publication of a public    (§§ 219.4 and 219.16), and attributed to
   Lead objector. For an objection           notice in the applicable newspaper of       the individual or entity providing them.
submitted with multiple individuals,         record (or the Federal Register, if the     Comments are considered substantive
multiple entities, or combination of         responsible official is the Chief) of the   when they are within the scope of the
individuals and entities listed, the         availability of the appropriate             proposal, are specific to the proposal,
individual or entity identified to           environmental documents and draft           have a direct relationship to the
represent all other objectors for the        decision document, including a plan,        proposal, and include supporting
purposes of communication, written or        plan amendment, or plan revision            reasons for the responsible official to
otherwise, regarding the objection.          during which an objection may be filed      consider.
   Line officer. A Forest Service official   with the reviewing officer.
who serves in a direct line of command          Objection process. Those procedures         Dated: March 23, 2012.
from the Chief.                              established for pre-decisional              Harris D. Sherman,
   Name. The first and last name of an       administrative review of a plan, plan       Under Secretary, Natural Resources and
individual or the name of an entity. An      amendment, or plan revision.                Environment.
electronic username is insufficient for         Objector. An individual or entity who    |FR Doc. 2012-7502 Filed 4-6-12; 8:45 am]
identification of an individual or entity.   meets the requirements of § 219.53, and     BILLING CODE P




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                    CHAPTER 1920 - LAND MANAGEMENT PLANNING
  Amendment No.: 1900-2015-1

  Effective Date: January 30, 2015.

  Duration: This amendment is effective until superseded or removed.

  Approved: LESLIE WELDON                                    Date Approved: 01/30/2015
            Deputy Chief

  Posting Instructions: Amendments are numbered consecutively by title and calendar year.
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  1900-2013-1 to FSM 1930.

  New Document                      1920                                            42 Pages

  Superseded Document(s) by         1920                                            68 Pages
  Issuance Number and               (Amendment 1900-2006-2, 01/31/2006)
  Effective Date

  Digest:
  1920 - Revises chapter in its entirety.




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  This chapter provides a process for developing, revising, amending, and making administrative
  changes to land management plans (plans) for the National Forest System (NFS). This chapter
  should be used in conjunction with Forest Service Handbook 1909.12, which provides additional
  policy direction for the process of developing, revising, amending, and making administrative
  changes to plans.

  1920.1 - Authority

  1920.11 - Statutory Authorities

  See FSM 1901 for a summary of the relevant acts and FSH 1909.12, zero code, section 08.1, for
  text of the Forest and Rangeland Renewable Resource Planning Act, the Wilderness Act of 1964,
  the Eastern Wilderness Act, the Wild and Scenic Rivers Act, and the regulations for National
  Forest System Land Management Planning. Other applicable authorities are discussed at
  FSM 1011.

  1920.12 - Regulations
  Under the authority of Title 36, Code of Federal Regulations, part 219 -- Planning, Subpart A -­
  National Forest System Land Management Planning, published April 9, 2012 (77 FR 21162)
  plans may be developed, revised, amended, or administratively changed. Plan development and
  plan revisions initiated after May 9, 2012, must conform to the requirements of the 2012
  Planning Rule.

  Under the 2012 Planning Rule, for plan amendments or plan revisions initiated prior to May 9,
  2012, the Forest Service may continue use provisions of the prior planning rule, which was the
  2000 Planning Rule, including transition provisions that permit use of the planning procedures of
  the 1982 Planning Rule. The provisions of the prior planning regulation can be used in certain
  circumstances and as follows (see 36 CFR 219.17):

           1. Plan development, plan amendments, or plan revisions initiated before May 9, 2012 ,
           may be completed using the provisions of the prior planning regulation or conform to the
           requirements of the 2012 Planning Rule. The Responsible Official shall give public
           notice (see 36 CFR 219.16(a)(5)) if the ongoing planning process is changed to the 2012
           planning process.

           2. For plans approved or revised under a prior planning regulation, plan amendments
           initiated during the transition period (until May 9, 2015) (36 CFR 219.17 (b)(2)) may be
           initiated and completed under the provisions of the prior planning regulations or they
           may conform to the 2012 Planning Rule provisions. Any plan amendments initiated after
           May 9, 2015, must conform to the applicable provisions of the 2012 Planning Rule.




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           3. For units with plans developed, revised, or amended using the provisions of a prior
           planning regulation, no obligations remain from any prior planning regulations, except
           those that are specifically included in the plan.

  1920.2 - Objectives

  General objectives of land management planning are to:

            1. Develop a fully integrated plan to guide the management of the land and resources of
           the plan area.

           2. Display short- and long-term management intent for the plan area to the public,
           Federal, State, Tribal, and local governments.

  1920.3 - Policy

  See FSM 1903 for general policy for planning. It is the Agency’s policy to:

           1. Prepare and maintain a work plan to guide and manage the planning process.

           2. Organize the planning record and make it available for public review when the
           Responsible Official files the draft environmental impact statement.

           3. Write using plain language so documents are clear, concise, and well organized .

           4. Amend the plan with sufficient frequency to keep plans current throughout the 15-year
           plan period .

           5. Use the current land management plan as a starting point for revision, and make
           changes based on a need to do so.

           6. Provide all Service-wide direction necessary for planning assessments, plan
           development, plan revision, plan amendment, and plan monitoring is contained or
           referenced in this chapter, and supplements, or handbooks thereto.

           7. Encourage participation by Federal, State, and local agencies, and Tribes, as well as
           the public, and consider their public input in the planning process.

           8. Establish clear expectations with the public of the timeline and the need for a timely
           and efficient planning process to be completed within the fiscal capability of the unit.

           9. Ensure changes in Service-wide planning direction (FSM 1920 and FSH 1909.12) are
           carried out as follows:

                a. For new plans, plan revisions, and plan amendments. Upon issuance of an
                amended directive, Responsible Officials shall comply with the amended directive for



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                all new plans, plan revisions and plan amendments developed pursuant to the 2012
                Planning Rule that are initiated after the amended directive. Note that plan
                amendments may be initiated under the procedures of the prior planning rule for 3
                years after May 9, 2012, and may be completed and approved under those procedures
                (See transition provisions of the 2012 Planning Rule, 36 CFR 219.17(b)).

                b. For plan amendments and revisions initiated prior to the issuance of an amended
                directive. If a plan amendment or a revision has been initiated prior to issuance of the
                amend ed directive, the Responsible Official should use the amend ed directive in any
                new step or phase of the planning process, but is not required to revise past steps or
                phases within the process: for example, a completed assessment would not need to be
                revised to comply with the amended directives. For a phase or step that is ongoing at
                the time of the issuance of the amended directive, the Responsible Official should
                incorporate the amend ed directive to the extent practicable, but may choose to
                complete that phase or step as planned to avoid significant disruptions to ongoing
                public engagement and planning schedules: for example, it may be practicable to
                incorporate more elements of the amended directive into development of an
                assessment that is 20 percent complete, while an assessment that is 90 percent
                complete may simply incorporate the guidance in the amended directive on how to
                document the assessment report. As another example, if a unit is in the process of
                developing a draft plan and has identified segments of rivers to study for eligibility
                for Wild and Scenic River designation, the Responsible Official would not be
                required to re-inventory segments based on the amended directives. The Responsible
                Official shall document in the project file the circumstance and rationale for staging
                compliance with the amended directive.

           10. If approval of a plan, plan revision, or amendment may affect listed species or
           critical habitat, the Responsible Official shall consult with National Marine Fisheries
           Service (NMFS) or the U.S. Fish and Wildlife Service (USFWS) in accordance with the
           Endangered Species Act (ESA) section 7(a)(1), U.S.C 1636(a)(1). The Agency may also
           consult on the plan as a “conservation program” in accordance with the ESA section
           7(a)(2). Additional guid ance on procedures for conducting such consultations can be
           found in FSM 2670.

           11. If approval of a plan, plan revision, or amendment may jeopardize the continued
           existence of species proposed for listing under the ESA or may adversely modify
           proposed critical habitat, the Responsible Official shall confer with NMFS or USFWS in
           accordance with Endangered Species Act section 7(a)(2) (FSM 2670).

  1920.31 - Compliance with Legal Requirements for Civil Rights and
  Environmental Justice

  The Responsible Official shall ensure that civil rights impacts are considered during the land
  management planning process in accordance with Departmental Regulation (DM) 4300-4 and
  FSM 1730.4. Consider any civil rights impacts and any disproportionate negative impacts of




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  plan approval to minority or low-income populations early in the planning process and, if
  warranted, throughout the process and the land management plan itself. Further direction on
  civil rights impact analyses is found at FSH 1709.11, chapter 30.

  Environmental justice issues that arise during the development, revision, or amendment of a plan
  should be examined as directed by Departmental Regulation 5600-2 and Council on
  Environmental Quality publication titled “Environmental Justice - Guidance under the National
  Environmental Policy Act,” located at htip://ceq.eh.doe.gov/nepa/regs/ijjustice.pcf.

  1920.32 - Compliance with Legal Requirements for Tribal Consultation
  The Responsible Official shall provide to federally recognized Indian Tribes and
  Alaska Native Corporations the opportunity to undertake consultation consistent with
  Executive Order 13175 of November 6, 2000, and 25 U.S.C. 450 note (36 CFR
  219.4(a)). Consultation for plans should be in accord with FSH 1509.13 - American
  Indian and Alaska Native Relations Handbook, Chapter 10 - Consultation with
  Tribes.

  1920.4 - Responsibility

  General responsibilities for planning are found in Title 36, Code of Federal Regulations, sections
  219.1 and 219.2 (36 CFR 219.1 and 219.2) and FSM 19o4. Additional, specific responsibilities
  for unit-level land management planning are found in FSM 1921.04 and FSM 1926.04.
  Additional, specific responsibilities for wilderness recommendations and wild and scenic river
  system additions are found in FSM 1923.04 and 1924.04 respectively.

  1920.41 - Chief, Forest Service

           1. The Chief of the Forest Service is responsible for national planning, such as the
           preparation of the Forest Service Strategic Plan required under the Government
           Performance and Results Modernization Act of 2010 (5 U.S.C. 306; 31 U.S.C. 1115­
           1125; 31 U.S.C. 9703-9704).

           2. The Chief reserves the authority to approve the schedule for revising individual land
           management plans.

           3. The Chief administers a national performance oversight process for NFS land
           management planning (FSM 1921.1).

           4. The Chief may choose to serve as the Responsible Official for any plan development,
           revision, or amendment.

  1920.42 - Washington Office, Director, Ecosystem Management Coordination

  The Washington Office, Director, Ecosystem Management Coordination, is responsible for:




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           1. Assisting the Chief, through the Deputy Chief for the NFS, in all land management
           planning matters, including oversight of compliance with the NFMA.

           2. Coordinating NFS input into the national strategic plan.

           3. Strengthening the relationship between land management plans and strategic plan goals,
           objectives, strategies, and related performance measures that apply to management of the
           NFS.

           4. Providing planning and coordination assistance to the Regions about land
           management plans, monitoring plans and strategies, and the National Environmental
           Policy Act (NEPA).

           5. Coordinating national performance oversight and accountability for consistency of
           National Forest System land management planning.

  1920.5 - Definitions

  See 36 CFR 219 and FSH 1909.12, zero code, for definitions that apply to land management
  planning.

  1921 - LAND MANAGEMENT PLANNING UNDER THE 2012 PLANNING RULE

  The following sections of FSM 1921 set forth Forest Service management objectives, policy, and
  responsibilities for meeting the requirements of Title 36, Code of Federal Regulations, part 219 -
  - National Forest System. Land Management Planning, as published April 9, 2012 (77 FR
  21162).

  FSM 1921 must be used in conjunction with FSH 1909.12, which sets forth additional Forest
  Service management objectives, policy, and responsibilities for meeting the requirements of Title
  36, Code of Federal Regulations, part 219 -- National Forest System Land Management
  Planning, as published April 9, 2012 (77 FR 21162). Title 36, Code of Federal Regulations, part
  219 (36 CFR 219), FSM 1921, and FSH 1909.12 together present an integrated set of guidance
  and direction for land management planning. Line Officers and relevant staff shall meet the
  requirements in 36 CFR 219, FSM 1921, and FSH 1909.12 when developing, revising, or
  amending plans.

  See FSM 1926 for guidance for any plan amendments or plan revisions that will continue to use
  the provisions of the planning regulations in effect before November 9, 2000, under 36 CFR 219,
  published at 36 CFR parts 200 to 299, revised as of July 1, 2010. See FSH 1909.12, zero code,
  section 08.1 for text of the regulations for National Forest System Land Management Planning.




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  1921.02 - Objectives

           1. Sustain multiple use of NFS land’s renewable resources in perpetuity while
           maintaining the long-term health and productivity of the land and contribute to the social,
           cultural, and economic vitality of affected communities for current and future
           generations, consistent with the Multiple-Use Sustained-Yield Act of 1960 (36 CFR
           219.1(b)).

           2. Promote the ecological integrity of National Forests and Grasslands through the
           collaborative, science-informed development, revision, or amendment of land
           management plans (36 CFR 219.1(c)).

           3. Broaden and deepen the engagement of the American people in National Forest and
           Grasslands planning.

           4. Improve the resilience of National Forests and Grasslands to climate change and other
           stressors.

           5. Improve the efficiency, relevance, and effectiveness of land management planning.

  1921.03 - Policy
  See FSM 1903 and FSM 1920.03 for general policy for planning activities.

           1. Responsible Officials shall follow policy direction stated in FSH 1909.12 for all
           phases of land management planning: assessments, plan development, plan revisions,
           plan amendments, and monitoring.

           2. Responsible Officials shall ensure that new or revised plans provide for ecological
           sustainability and contribute to social and economic sustainability, and must:

                a. Use available information pertaining to ecosystem composition, structure,
                function, and connectivity when developing plan components to contribute to
                ecological sustainability (36 CFR 219.8 (a), FSM 1921.5, and FSH 1909.12, ch.10
                and 20).

               b. Use available information pertaining to social and economic systems when
               developing plan components to contribute to social and economic sustainability
               (36 CFR 219.8 (b), and FSH 1909.12, ch. 10 and 20).

                c. Use the Scenery Management System (SMS) in all plan revisions to address scenic
                character and develop scenery-related plan direction unless the Responsible Official
                provides written justification and obtains concurrence from the Regional Forester.




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           3. Responsible Officials shall conduct all aspects of land management planning
           (assessment; development, amendment or revision; monitoring) in a timely and efficient
           manner.

           4. The Forest Service’s goal is to complete plan revisions within 4 years from initiation
           of assessment to plan approval.

           5. Responsible Officials shall use a continual assessment, planning, and monitoring
           process that provides a feedback loop that allows the Forest Service to adapt to changing
           conditions and to improve plans based on new information and monitoring (36 CFR
           219.5(a)).

  1921.04 - Responsibility

  1921.04a - Regional Forester

  The Regional Forester may choose to be the Responsible Official for a plan, plan amendment, or
  plan revision (36 CFR 219.2(b)(3)). Following approval of the plan, plan amendment, or plan
  revision, the National Forest, Grassland , Prairie or other comparable administrative unit
  Supervisor will be the Responsible Official for future amendment or revision unless indicated
  otherwise by the Regional Forester.

  In addition to the responsibilities specified in FSM 1904, it is the responsibility of the Regional
  Forester to:

           1. Coordinate planning efforts among adjoining units and Regions.

           2. Coordinate monitoring among multiple units to address broader geographic scale
           questions and to maintain a broader-scale monitoring strategy that supports these needs.

           3. Maintain quality control throughout the planning process.

           4. Identify, in coordination with the Responsible Official, the species of conservation
           concern (36 CFR 219.7(c)(3)) to be used by Responsible Officials for meeting the
           requirements of diversity of plant and animal communities (36 CFR 219.9(c)).

           5. Coordinate between the Responsible Official and the Chief on planning-related
           matters, when appropriate.

           6. Coordinate on broader-scale monitoring strategies with other Regional Foresters,
           Research Station Directors, and the Northeastern Area State and Private Forestry
           Director, as appropriate.

           7. Serve as the Reviewing Officer for an objection (36 CFR part 219, subpart B) when
           the Responsible Official is a Line Officer at the first administrative level below a
           Regional Forester.



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           8. Follow policy direction stated in FSH 1909.12 for land management planning.

           9. Direct State and Private Forestry and other staffs to assist Responsible Officials with
           assessment information and data, plan monitoring programs, and broader-scale
           monitoring strategies, and provide planning support as appropriate.

  1921.04b - Research Station Director

  It is the responsibility of the Research Station Directors to provide:

           1. Assistance to Responsible Officials for science reviews, as appropriate.

           2. Assistance with assessment information and d ata, where appropriate.

           3. Assistance with plan monitoring programs and broader-scale monitoring strategies.

           4. Review of the proposed plan components applicable to experimental areas and, upon
           determining that those plan components are adequate and appropriate, concur in the plan
           approval with respect to those plan components.

  1921.04c - Director, Northeastern Area State and Private Forestry

  It is the responsibility of the Director for the Northeastern Area State and Private Forestry to
  provide within the Area:

           1. Assistance with plan monitoring programs and broader-scale monitoring strategies,
           where appropriate.

           2. Assistance with assessment information and d ata, and support during planning, where
           appropriate.

  1921.04d - Forest, Grassland, Prairie, or Other Comparable Administrative Unit
  Supervisor




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           1. The Supervisor of the National Forest, Grassland, Prairie, or other comparable
           administrative unit is the Responsible Official for preparing assessment, developing, and
           approving a plan or plan revision, plan amendments, and developing and implementing a
           plan monitoring program, for lands under the responsibility of the Supervisor, unless the
           Regional Forester, the Chief, the Under Secretary, or the Secretary chooses to act as the
           Responsible Official (36 CFR 219.2(b)(3)).

           2. The authority for approving project-specific plan amendments cannot be delegated to
           District Rangers.

           3. The Supervisor of the National Forest, Grassland, or Prairie or other comparable
           administrative unit is responsible for:

                a. Adapting the plan to changing situations through amendments and administrative
                changes.

                b. Ensuring required assessments, monitoring reports, plan, plan amendments, and
                plan revisions are prepared by an Interdisciplinary Team, (36 CFR 219.5(b)).

               c. Coordinating with Research Station Directors when experimental or research
               natural areas are located on the unit.

                d . Determining the best available scientific information for the issues being
                considered and using it to inform the planning process.

               e. Providing meaningful public participation opportunities early and throughout the
               planning process.

               f. Guiding the planning process with a goal of completion of plan revisions within 4
               years.

                g. Conducting all aspects of land management planning (assessment; development,
                amendment, or revision; monitoring) in a timely and efficient manner and within the
                fiscal capability of the unit.

               h. Ensuring the integration of assessment, planning, implementation, and monitoring
               into an adaptive management framework that facilitates continued management and
               planning improvements and changes as suggested by monitoring results.

           4. The Supervisor of the National Forest, Grassland, or Prairie or other comparable
           administrative unit is responsible for following policy direction stated in FSH 1909.12 for
           land management planning.




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  1921.1 - Oversight of Land Management Planning

  This section describes general requirements for oversight of land management planning.

  See 36 CFR 219.2(b)(5)(ii) for additional direction.

  1921.11 - Regional Oversight
  The Regional Office staff works with the Supervisor’s staff by assisting in the planning process
  and providing oversight throughout the planning process to support consistency and
  accountability among planning efforts. FSM 1921.12 lists the criteria for land management
  plans.

  1921.12 - Criteria for Land Management Plans

  Regional Foresters and Supervisors shall ensure that:

           1. Each land management plan or amendment complies with laws, regulations, and
           policy, including 36 CFR part 219, FSM 1920, and FSH 1909.12, and including
           requirements for threatened and endangered species.

           2. Each land management plan is aligned with the goals and objectives of the Forest
           Service Strategic Plan.

           3. The analysis in the applicable NEPA document for each plan is adequate to permit an
           informed selection of a preferred alternative.

           4. Each final land management plan or amendment and applicable NEPA document has
           received an appropriate interdisciplinary review.

           5. Oversight supports the identification and use of best practices, and facilitates
           consistent approaches and outcomes among comparable planning efforts.

  1921.13 - Oversight Process
  The Regional Office staff and the Responsible Official’s staff work together to develop an action
  plan to share resources, coordinate with the Washington Office, and prepare the assessment,
  plan, and plan monitoring program.

  The Regional Office staff provides oversight throughout the planning process and should agree
  on the plan development processes and environmental document methodologies and analysis
  before the Forest Supervisor formally invites comments on a proposed plan or plan revision
  (36 CFR 219.16(a)(2).

  After the proposed plan is published in the Federal Register and the 90-day comment period
  closes, the Regional Office staff continues to provide oversight regarding processes,



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  methodologies, and analysis used to develop a summary of the public comments received on the
  proposed plan, the responses to the public comment (which are made available to the public in
  accordance with 36 CFR 219.216), and the plan and applicable NEPA documents before the
  Forest Supervisor begins the objection period for a plan or plan revision (36 CFR 219.52).

  For a plan or plan revision, the Regional staff shall forward the appropriate briefing papers about
  the plan prepared by the Supervisor’s staff to the Director of Ecosystem Management
  Coordination. Based on the briefing papers, the Ecosystem. Management Coordination staff
  confirms that the criteria (FSM 1921.12) have been met. The Director of Ecosystem
  Management coordinates appropriate briefings in the Washington Office.

  Upon briefing the Washington Office and review of the final land management plan by the
  Regional staff, the Forest Supervisor may print and release the final documents, except as
  provided in FSM 1921.14.

  The Regional Office staff is also responsible before, during, and after the planning process, for
  coordinating among Supervisors across the Region and with other Regions and Deputy Areas to:
  ensure compliance with requirements, support consistency among efforts, identify and share
  lessons-learned and best practices, and facilitate sharing data and information across Forests,
  Regions, and Deputy Areas.

  1921.14 - National Reviews for Planning

           1. The Chief may require Washington Office review of a draft proposed plan or revision
           before Responsible Officials formally invite comments on it, (36 CFR 219.16(a)(2) and
           before the Responsible Official begins the objection period for a plan or plan revision
           (36 CFR 219.52), for example, if:

                a. The plan makes recommendations for Congressional action. Examples of
                congressional action are additions to or deletions from the National Wilderness
                Preservation System, national trails, national recreation areas, studies, or changes to
                the National Wild and Scenic River System, and adjustments in NFS boundaries.

                b. The Region has specifically requested Washington Office review.

                c. The plan is the first plan prepared within the Region under the 2012 Planning
                Rule, the degree or intensity of controversy, the extent of changes in the preferred or
                any other alternative, or if other circumstances warrant.

           2. The Director of Ecosystem Management Coordination (EMC) shall conduct reviews
           of the Regional oversight for NFS land management planning including for consistency
           and compliance within and across Regions with 36 CFR 219, FSM 1920 and
           FSH 1909.12. The Director of EMC should conduct at least one Regional review
           annually. The purpose of a review is to evaluate internal and administrative controls and




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           to identify successful management, management weaknesses, and needed corrective
           actions. Direction for conducting reviews is found in FSM 1410.

  1922 - TRANSITION OF PRIOR RULE PLANS TO 2012 RULE COMPLIANCE
  See 36 CFR 219.12(c)(1), 36 CFR 219.17 for additional direction.

  Plan development and plan revision initiated on or after May 9, 2012, must conform to the new
  planning requirements of the 2012 Planning Rule. Plan amendments initiated on or after May 9,
  2015, must conform to the 2012 Rule; amendments initiated prior to May 9, 2015, may be
  d eveloped and completed under the prior planning rule.

  Monitoring programs for all NFS units must comply with the requirements of the 2012 Planning
  Rule by May 9, 2016, or as soon as practicable, based on the scope of needed changes, timing of
  planned revisions, and availability of funding.

  1923 - WILDERN ESS EVALUATION
  Consideration of areas for wilderness recommendation is inherent in the land management
  planning process and required by the Planning Rule. Although the President and the Secretary
  may recommend that certain areas be designated as wilderness, Congress reserves the authority
  to designate wilderness areas. In addition, the Congress may direct the study of specific areas
  and provide other guidance on wilderness evaluations through specific wilderness legislation.

  1923.01 - Authority
  Specific authority for the study and designation of wilderness is contained in the Wilderness Act
  of September 3, 1964 (16 U.S.C. 1131, Pub. L. 88-577) and the Eastern Wilderness Act of
  January 3, 1975 (16 U.S.C. 1132, Pub. L. 93-622). The land management planning rule requires
  identification and evaluation of lands that may be suitable for inclusion in the National
  Wilderness Preservation System and a determination of whether to recommend lands for
  wilderness designation (36 CFR 219.7(c)(5)). The Planning Rule also requires that management
  of areas recommended for wilderness designation protect and maintain the ecological and social
  characteristics that provide the basis for their suitability for wilderness designation (36 CFR
  219.10(b)(iv)). For wilderness study, see FSH 1909.15 to determine the applicable NEPA
  d ocumentation.

  1923.03 - Policy

           1. Unless otherwise provided by law, all areas that may be suitable for inclusion in the
           National Wilderness Preservation System must be inventoried and evaluated for
           recommendation as designated wilderness areas during plan development or revision.
           Responsible Officials shall follow policy direction stated in FSH 1909.12, chapter 70, for
           this inventory and evaluation process.




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           2. The results of the inventory and evaluation of areas recommended for designated
           wilderness conducted during plan revision or plan development must be included in the
           planning record .

           3. Any area recommended for wilderness or wilderness study designation is not available
           for any use or activity that may reduce the wilderness potential of an area.

  1923.04 - Responsibility

  1923.04a - Chief, Forest Service
  Exhibit 01 displays responsibilities of the Forest Service Chief when an area is recommended for
  wilderness or Congress authorizes a wilderness study.




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                                                1923.04a - Exhibit 01

                                               Chief’s Responsibilities

                                              Forest Service
        Forest Service                       Recommended
  Recommended Wilderness                  Wilderness Using 1982               Legislatively Mandated
  Using 2012 Planning Rule1                  Planning Rule2                            Study

  1. May review before                  1. May review before               1. Review before printing
  printing the final EIS for a          printing the final EIS for a       the preliminary and final
  plan, plan amendment, or              plan, plan amendment, or           study report and/or
  plan revision if the draft            plan revision if record of         applicable NEPA document.
  plan decision would make              decision would make
  preliminary administrative            preliminary administrative         2. Transmit final study
  recommendations                       recommendations                    report and/or applicable
  (FSH 1909.12, sec. 24.41)             (FSM 1926.31b).                    NEPA document to
                                                                           Secretary of Agriculture for
  2. Prepare and submit to              2. Transmit the final study        approval.
  Congress, a notification              report or legislative
  letter documenting the                environmental impact               3. Provide support, review,
  preliminary administrative            statement or both that are         and coordination of the
  recommendation for                    extracted from FEIS and            legislative proposal with the
  wilderness designation                record of decision to              Secretary and Office of
                                        Secretary of Agriculture           Management and Budget.
  3. Provide the final study            for further consideration.
  report or legislative
  environmental impact                  3. Provide support,
  statement or both from the            review, and coordination
  FEIS and record of decision           of the legislative proposal
  to Congress for further               with the Secretary and
  consideration.                        Office of Management and
                                        Budget.
  4. Provide support, review,
  and coordination of the
  legislative proposal with the
  Secretary and Office of
  Management and Budget.
  1 2012 Planning Rule - 36 CFR part 219.
  2 1982 Planning Rule - The 2012 Planning Rule allows plan revisions or amendments initiated prior to the Rule’s
  effective date (May 9, 2012), and plan amendments initiated within 3 years of the effective date, to continue to use
  the planning process of a prior rule (i.e., the 1982 Planning Rule process) 36 CFR 219.17. The 1982 Planning Rule
  was last published in the Code of Federal Regulations, 36 CFR part 219 (2000).




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  1923.04b - Regional Forester
  Exhibit 01 displays Regional Forester responsibilities for an area recommended for wilderness or
  Congress authorizes a wilderness study.

                                                1923.04b - Exhibit 01

                                        Regional Forester Responsibilities

                                              Forest Service
        Forest Service                       Recommended
  Recommended Wilderness                  Wilderness Using 1982               Legislatively Mandated
  Using 2012 Planning Rule1                  Planning Rule2                            Study

  1. F orward the tentative             1. Forward the tentative           1. Review and forward the
  preliminary administrative            preliminary administrative         preliminary and final
  recommendations to the                recommendations to the             wilderness study report
  Chief.                                Chief.                             and/or applicable NEPA
                                                                           document to the Chief for
  2. Upon request of the                2. Make preliminary                approval to print.
  Chief, review and forward             administrative
  the study report or                   recommendations in record          2. Prepare summary
  applicable NEPA document              of decision.                       material for submission to
  or both that support the                                                 the Secretary.
  preliminary administrative            3. Approve plan, including
  recommendations of the                the management direction           3. Prepare a draft
  plan, plan amendment, or              for recommended                    transmittal letter.
  plan revision.                        wilderness or
                                        recommended wilderness
  3. Upon request of the                study areas.
  Chief, prepare a legislative
  proposal (FSH 1909.12, ch.            4. Upon request of the
  70).                                  Chief, preparing a
                                        legislative proposal
                                        (FSH 1909.12, ch. 70).
  1 2012 Planning Rule --36 CFR 219.
  2 1982 Planning Rule -- The 2012 Planning Rule allows plan revisions or amendments initiated prior to the Rule’s
  effective date (May 9, 2012), and plan amendments initiated within 3 years of the effective date, to continue to use
  the planning process of a prior rule (i.e., the 1982 Planning Rule process) 36 CFR 219.17. The 1982 Planning Rule
  was last published in the Code of Federal Regulations, 36 CFR part 219 (2000).




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  1923.04c - Forest, Grassland, Prairie, or Other Comparable Administrative Unit
  Supervisor

  Exhibit 01 displays responsibilities of the Forest, Grassland, Prairie, or other comparable
  administrative unit Supervisor for the preparation of wilderness recommendations.

                                                1923.04c - Exhibit 01

        Forest, Grassland, Prairie, or Other Comparable Administrative Unit Supervisor
                                         Responsibilities
         Forest Service                        Forest Service
   Recommended Wilderness                Recommended Wilderness               Legislatively Mandated
   Using 2012 Planning Rule1             Using 1982 Planning Rule2                     Study

  1. Conduct the wilderness             1. Conduct necessary               1. Prepare study report and/or
  inventory and evaluations             wilderness evaluations during      applicable NEPA document
  during plan development, plan         plan development, plan             (FSH 1909.15).
  amendment, or plan revision           amendment, or plan revision.
  (see FSH 1909.12 ch. 10 and                                              2. Print and distribute the
  70).                                  2. Document the process of         approved study report or
                                        inventory and evaluation in        applicable NEPA document or
  2. Maintain documentation for         an appendix of an EIS.             both for comment
  the areas inventoried and                                                (FSH 1909.12, sec. 72.2).
  evaluated for wilderness in the       3. Develop management
  planning record.                      direction for recommended          3. Print and distribute the
                                        wilderness or recommended          approved study report and/or
  3. Make preliminary                   wilderness study areas.            applicable NEPA document to
  administrative                                                           the public
  recommendations in plan                                                  (FSH 1909.12, sec. 74)
  decision document.

  4. Approve plan, including the
  plan components for
  recommended wilderness or
  recommended wilderness
  study areas (see 36 CFR
  219.10 and FSH 1909.12,
   ch. 20).
  1 2012 Planning Rule --36 CFR 219

  2 1982 Planning Rule -- The 2012 Planning Rule allows plan revisions or amendments initiated prior to the Rule’s
  effective date (May 9, 2012), and plan amendments initiated within 3 years of the effective date, to continue to use
  the planning process of a prior rule (i.e., the 1982 Planning Rule process) 36 CFR 219.17. The 1982 Planning Rule
  was last published in the Code of Federal Regulations, 36 CFR part 219 (2000).




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  1923.1 - Review and Approval

  1923.11 - Proposals Resulting from Wilderness Recommendations Incorporated
  in Land Management Plans, Including Legislatively Mandated Studies

           1. Forest Service Recommended Wilderness Using 2012 Planning Rule. Before
           publishing the public notice commencing the 60-day objection period (36 CFR
           219.16(a)(3)) for a plan, plan amendment, or plan revision, the Responsible Official,
           through the Regional Forester, shall notify the Chief of tentative preliminary
           administrative recommendations for wilderness designation of areas evaluated during the
           land management planning process.

           The land management plan decision document that makes preliminary administrative
           recommendations for wilderness must contain the following statement:

                    This recommendation is a preliminary administrative
                    recommendation that will receive further review and possible
                    modification by the Chief of the Forest Service, the Secretary of
                    Agriculture, and the President of the United States. The Congress
                    has reserved the authority to make final decisions on wilderness
                    designation. Plan implementation is not dependent upon
                    subsequent action related recommendations for wilderness
                    designation.

           2. Forest Service Recommended Wilderness Using 1982 Planning Rule. Before printing
           the applicable NEPA document for a plan, plan amendment, or plan revision, the
           Regional Forester shall notify the Chief by letter of the tentative preliminary
           administrative recommendations for wilderness designation of areas evaluated during the
           land management planning process.

           The land management plan decision document that makes preliminary administrative
           recommendations for wilderness must contain the following statement:

                    This recommendation is a preliminary administrative
                    recommendation that will receive further review and possible
                    modification by the Chief of the Forest Service, the Secretary of
                    Agriculture, and the President of the United States. Congress has
                    reserved the authority to make final decisions on wilderness
                    designation.

           When the Chief decides to forward preliminary administrative wilderness
           recommendations to the Secretary, the study report and information from the applicable
           NEPA document and plan approval document must accompany these recommendations.




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           3. Legislatively Mandated Study. The Chief shall coordinate an intergovernmental
           review, prepare any legislation proposal, and coordinate review with the Secretary and
           Office of Management and Budget before release of the final study report and/or applicable
           NEPA document.

  1923.12 - Proposals Resulting from Wilderness Recommendations Not
  Incorporated in Land Management Plans, Including Legislatively Mandated
  Studies

  For wilderness recommendations based on evaluations or studies conducted separately from the
  land management planning process, follow Agency policy and procedures for implementing the
  NEPA (FSH 1909.15) to determine the applicable NEPA documentation. The study document
  may be combined with any applicable NEPA document. The Forest, Grassland , Prairie, or other
  comparable administrative unit Supervisor shall transmit the study documents for legislatively
  mandated studies to the Chief, through the Regional Forester. Wilderness recommendations or
  studies conducted outside of the land management planning process require the same level of
  detail as for recommendations made as part of the land management planning process.

  1924 - WILD AND SCENIC RIVER EVALUATION

  Consideration of potential wild and scenic rivers is an inherent part of the land management
  planning process. A river study assesses the eligibility of a river for inclusion in the National
  Wild and Scenic Rivers System (National System) and evaluates the potential physical,
  biological, economic, and social effects of adding the river to the National System. River
  segments in the National System may be classified as Wild , Scenic, or Recreational. See FSH
  1909.12, chapter 80, for the river study process. The study forms the basis for recommendations
  to the Secretary and Congress and for legislative action.

  1924.01 - Authority
  The authority for study and designation of wild and scenic rivers is the Wild and Scenic Rivers
  Act of October 2, 1968 (Act), as amended (16 U.S.C. 1271 et seq.). The act has two provisions
  for identification of rivers for study: (1) by act of Congress under Section 5(a) or (2) through
  Federal agency planning processes under Section 5(d)(1). The U.S. Department of Agriculture
  and U.S. Department of the Interior Guidelines for Eligibility, Classification, and Management
  of River Areas, 47 FR 39454-39461 (Sept. 7, 1982), (USDA-USDI Guidelines provide uniform
  guidelines for carrying out studies and for managing rivers that are part of the System .

  The land management Planning Rule specifically requires that during plan development or
  revision, the eligibility of rivers must be identified unless an inventory has been completed and
  no changed circumstances warrant further review (219.7(vi). The Planning Rule also requires
  that management of eligible and suitable rivers protect the values that provide the basis for their




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  inclusion in the system of Wild and Scenic rivers (36 CFR 219.10(b)(v)). The Act and USDA-
  USDI Guidelines are referenced in FSH 1909.12, zero code, section 08.1. For river study, see
  FSH 1909.15 to determine the applicable NEPA documentation.

  1924.03 - Policy

           1. Complete legislatively mandated study or studies within the specified study period.

           2. If a systematic inventory of Forest Service identified eligible rivers or a
           comprehensive Forest, Grassland , Prairie, or other comparable administrative unit
           suitability study has been previously completed and documented , conduct additional
           assessment and study at the time of a proposed plan, plan amendment, or plan revision
           only if changed circumstances warrants additional review of eligibility or if the
           Responsible Official considers the river suitability study an issue. Document the process
           in an appendix to the Environmental Impact Statement for the plan.

           3. Conduct studies in close cooperation with affected Federal, State, and local agencies,
           Tribal governments, landowners, and national and local publics. Include a determination
           of possible State participation in the preservation and administration of the river if it is
           added to the National System.

           4. For rivers identified eligible for study, manage until suitability is determined to protect
           the values for which they might be added to the National System (free-flow, water
           quality, and outstandingly remarkable values) by statute for legislatively mandated study,
           or by existing Forest Service authorities for Forest Service identified study. Refer to FSH
           19O9.12, section 84 for specific management guidance for each of the river
           classifications.

           5. A river determined through a suitability study to not be suitable will no longer be
           considered eligible and interim protection measures no longer need to be applied to those
           rivers. Consideration of potential wild and scenic rivers is an inherent part of the ongoing
           land management planning process. A river study assesses the eligibility of a river for
           inclusion in the National Wild and Scenic Rivers System (National System) and evaluates
           the potential physical, biological, economic, and social effects of adding the river to the
           National System. See FSH 1909.12, chapter 80, for the river study process. The study
           forms the basis for recommendations to the Secretary and Congress and for legislative
           action.

  1924.04 - Responsibility

  The Secretary of Agriculture has designated the Forest Service as the lead coordinating Agency
  for the U.S. Department of Agriculture in the studies of rivers that involve NFS lands.




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  1924.04a - Chief

  Exhibit 01 displays responsibilities of the Chief when a river is recommended as a Wild and
  Scenic River or Congress authorizes a river for study.
                                                1924.04a - Exhibit 01
             Chief’s Responsibilities for River Studies on National Forest System Lands

    Forest Service Identified             Forest Service Identified
   Study Using 2012 Planning             Study Using 1982 Planning             Legislatively Mandated
             Rule1                                 Rule2                                Study

  1. May review before printing         1. May review before printing      1. Must review before printing
  the final EIS for a plan, plan        the final EIS for a plan, plan     the preliminary and final study
  amendment, or plan revision if        amendment, or plan revision if     report and/or applicable NEPA
  the draft plan decision would         record of decision would make      document.
  make preliminary administrative       preliminary administrative
  recommendations                       recommendations                    2. Transmit the preliminary
  (FSH 1909.12, sec 85.2).              (FSM 1926.31b).                    study report/applicable NEPA
                                                                           document for intergovernmental
  2. Prepare a notification letter      2. Transmit the final study        review as required by Section
  documenting the preliminary           report or legislative              4(b) of the Act. Provide
  administrative recommendation         environmental impact               comments to the Region.
  for river designation                 statement or both that are
                                        extracted from EIS and record      3. Transmit the final study
  3. Transmit the final study           of decision to Secretary of        report/applicable NEPA
  report or legislative                 Agriculture for further            document to Secretary of
  environmental impact statement        consideration.                     Agriculture for approval.
  or both that are extracted from
  EIS and record of decision to         3. Provide support and review      4. Provide support and review
  Secretary of Agriculture for          of legislative proposal and        of legislative proposal and
  further consideration                 coordinate review of the           coordinate review of the
                                        legislative proposal with the      legislative proposal with the
  4. Provide support, review, and       Secretary and Office of            Secretary and Office of
  coordination of the legislative       Management and Budget.             Management and Budget.
  proposal with the Secretary and
  Office of Management and
  Budget.
  1 2012 Planning Rule --36 CFR 219
  2 1982 Planning Rule -- The 2012 Planning Rule allows plan revisions or amendments initiated prior to the Rule’s
  effective date (May 9, 2012), and plan amendments initiated within 3 years of the effective date, to continue to use
  the planning process of a prior rule (i.e., the 1982 Planning Rule process) 36 CFR 219.17. The 1982 Planning Rule
  was last published in the Code of Federal Regulations, 36 CFR part 219 (2000).




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  1924.04b - Washington Office, Deputy Chief, National Forest System

  The Washington Office, Deputy Chief, National Forest System, is responsible for:

           1. Designating the lead Region when a legislatively mandated study river involves more
           than one Region.

           2. Coordinating the Departmental review of other agency and State Wild and Scenic
           River designation proposals submitted pursuant to sections 5(a) and 2(a)(ii) of the Act.

  1924.04c - Regional Forester

           The Regional Forester is responsible for designating the lead unit when a legislatively
           mandated or Forest Service identified study river involves more than one Forest,
           Grassland , Prairie, or other comparable administrative unit or more than one Region.

  Exhibit 01 displays the responsibilities of the Regional Forester when a river is recommended as
  a wild and scenic river or Congress authorizes a river for study.




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                                                1924.04c - Exhibit 01
    Regional Forester’s Responsibilities for River Studies on National Forest System Lands

   Forest Service Identified             Forest Service Identified
      Study Using 2012                      Study Using 1982                  Legislatively Mandated
       Planning Rule1                        Planning Rule2                            Study

  1. Forward the tentative              1. Decide whether to use           1. Provide two copies of the
  preliminary administrative            the land management                preliminary and final study
  recommendations to the                planning process to                report and/or applicable
  Chief.                                evaluate suitability for one       NEPA document to Chief
                                        or more eligible rivers.           for approval to print.
  2. Upon request of the                                                   Submit 10 copies of
  Chief, review and forward    2. Forward the tentative                    approved and printed
  the study report or          preliminary administrative                  preliminary to Chief for
  applicable NEPA document, recommendations to the                         intergovernmental review.
  or both, that support        Chief.
  preliminary administrative                                               2. Prepare summary
  recommendations of the       3. Make preliminary                         information document and
  plan, plan amendment, or     administrative                              draft transmittal letter from
  plan revision.               recommendations in record                   the President to the
                               of decision.                                Congress
  3. Upon request of the                                                   (FSH 1909.12, ch. 80).
  Chief, prepare a legislative 4. Approve management
  proposal                     direction for eligible or
  (FSH 1909.12, ch. 80).       suitable rivers.

                                        5. Upon request of the
                                        Chief, prepare a legislative
                                        proposal
                                        (FSH 1909.12, ch. 80).



  1 2012Planning Rule --36 CFR 219

  2 1982 Planning Rule -- The 2012 Planning Rule allows plan revisions or amendments initiated prior to the Rule’s
  effective date (May 9, 2012), and plan amendments initiated within 3 years of the effective date, to continue to use
  the planning process of a prior rule (i.e., the 1982 Planning Rule process) 36 CFR 219.17. The 1982 Planning Rule
  was last published in the Code of Federal Regulations, 36 CFR part 219 (2000).




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  1924.04d - Forest, Grassland, Prairie, or Other Comparable Administrative Unit
  Supervisor

  The unit Supervisor is responsible for:

           1. Inviting concerned State(s) to participate jointly in a legislatively mandated study
           where the U.S. Department of Agriculture is the lead agency (section 5(c) of the Act).

           2. Where a Forest Service identified study river touch only a small part of National
           Forest System lands, inviting the participation of the agency(ies) with jurisdiction over
           the largest proportion of the lands involved (refer to FSH 1909.12, sec. 83.12).

  Exhibit 01 displays responsibility of the Forest, Grassland, Prairie, or other comparable
  administrative unit Supervisor related to wild and scenic river studies.




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                                                1924.04d - Exhibit 01
        Forest, Grassland, Prairie, or Other Comparable Administrative Unit Supervisor
               Responsibilities for River Studies on National Forest System Lands

   Forest Service-Identified             Forest Service-Identified
  Study Using 2012 Planning                 Study Using 1982                  Legislatively Mandated
            Rule1                            Planning Rule2                            Study

  1. Identify eligible rivers           1. Identify eligible rivers        1. Prepare the study report
  within the plan area (36              within the plan area               and applicable NEPA
  CFR 219.7(c)(2)(vi)                                                      document or both (FSH
  following guidance in FSH             2. Conduct any wild and            1909.15).
  1909.12, chapter 80.                  scenic studies during plan
                                        development, plan                  2. Print and distribute the
  2. Decide whether to use              amendment, or plan                 approved study report or
  the land management                   revision.                          applicable NEPA document
  planning process to evaluate                                             or both for comment
  suitability for one or more           3. Develop management              (FSH 1909.12, sec. 85.1).
  eligible rivers..                     direction for eligible or
                                        suitable rivers.                   3. Respond to
  3. Conduct wild and scenic                                               intergovernmental and
  studies during plan                                                      public comments in the final
  development, plan                                                        study report and/or
  amendment, or plan                                                       applicable NEPA document.
  revision, as appropriate.
                                                                           4. Print and distribute the
  4. Make preliminary
                                                                           approved final study report
  administrative
                                                                           or applicable NEPA
  recommendations in plan
                                                                           document or both to the
  decision document.
                                                                           public
  5. Develop and approve                                                   (FSH 1909.12, sec. 85.1).
  plan components for eligible
  or suitable rivers
  (36 CFR 219.10).
  1 2012 Planning Rule --36 CFR 219

  2 1982 Planning Rule -- The 2012 Planning Rule allows plan revisions or amendments initiated prior to the Rule’s
  effective date (May 9, 2012), and plan amendments initiated within 3 years of the effective date, to continue to use
  the planning process of a prior rule (i.e., the 1982 Planning Rule process) 36 CFR 219.17. The 1982 Planning Rule
  was last published in the Code of Federal Regulations, 36 CFR part 219 (2000).




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  1924.1 - Review and Approval

  Internal review and approval of a Forest Service recommendation for wild and scenic river
  designation shall meet the same requirements as those for land management plans
  (FSH 1909.12, ch. 20, sec. 21.4 and, when in relation to plans completed using planning
  regulations in effect before November 9, 2000, FSM 1926.3).

  1924.11 - Proposals Resulting from River Studies Incorporated in Land
  Management Plans, Including Legislatively Mandated Studies

           1. Forest Service Identified Study Using 2012 Planning Rule. Before publishing the
           public notice commencing the 60-day objection period (36 CFR 219.16(a)(3)) for a plan,
           plan amendment, or plan revision, the Responsible Official, through the Regional
           Forester, shall notify the Chief by letter of tentative preliminary administrative
           recommendations on rivers evaluated during land management planning process.

           The land management plan decision document that makes preliminary administrative
           recommendations for rivers must contain the following statement:

                    This recommendation is a preliminary administrative
                    recommendation that will receive further review and possible
                    modification by the Chief of the Forest Service, Secretary of
                    Agriculture, and the President of the United States. Congress has
                    reserved the authority to make final decisions on designation of
                    rivers as part of the National Wild and Scenic Rivers System.

           2. Forest Service Identified Study Using 1982 Planning Rule. Before printing the
           applicable NEPA document for a plan, plan amendment, or plan revision, the Regional
           Forester shall notify the Chief by letter of the tentative preliminary administrative
           recommendations on rivers evaluated during land management planning process.

           The land management plan decision document that makes preliminary administrative
           recommendations for rivers must contain the following statement:

                    This recommendation is a preliminary administrative
                    recommendation that will receive further review and possible
                    modification by the Chief of the Forest Service, Secretary of
                    Agriculture, and the President of the United States. Congress has
                    reserved the authority to make final decisions on designation of
                    rivers as part of the National Wild and Scenic Rivers System.

           When the Chief decides to forward preliminary administrative river recommendations to
           the Secretary, the study report and information from the applicable NEPA document and
           plan approval document will accompany these recommendations.




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           3. Legislatively Mandated Study. The Chief shall coordinate intergovernmental review,
           prepare any legislation proposal, and coordinate review with the Secretary and Office of
           Management and Budget before release of the final study report/applicable NEPA
           document (FSH 1909.12, sec. 85.1).

  1924.12 - Proposals Resulting from River Studies Not Incorporated in Land
  Management Plans, Including Legislatively Mandated Studies

           1. Forest Service Identified Study. For river studies conducted separately from the land
           management planning process, follow the Agency policy and procedures for
           implementing the National Environmental Policy Act (NEPA) (FSH 1909.15) to
           determine the applicable NEPA document. To meet the requirements of NEPA, the
           Council on Environmental Quality (CEQ) regulations (40 CFR 1506.4), FSM 1950, and
           FSH 1909.15, the study document may be combined with any applicable NEPA
           document and meet the standard found in FSH 1909.12, section 85.21b.

           Before printing the final combined study report and/or applicable NEPA document, the
           Regional Forester shall notify the Chief by letter of the tentative preliminary
           administrative recommendations.

           The applicable NEPA document should include the following statement:

                    This recommendation is a preliminary administrative
                    recommendation that will receive further review and possible
                    modification by the Chief of the Forest Service, Secretary of
                    Agriculture, and the President of the United States. Congress has
                    reserved the authority to make final decisions on designation of
                    rivers as part of the National Wild and Scenic Rivers System.

           2. Legislatively Mandated Study. The Forest, Grassland, Prairie, or other comparable
           administrative unit Supervisor shall transmit through the Regional Forester the combined
           study report and applicable NEPA documents to the Chief. The Chief shall coordinate
           intergovernmental review, prepare any legislation proposal, and coordinate review with the
           Secretary and Office of Management and Budget before release of the final study report
           and/or applicable NEPA document (FSH 1909.12, sec. 85.1).

  1925 - MANAGEMENT OF INVENTORIED ROADLESS AREAS [RESERVED]

  1926 - LAND MANAGEMENT PLANNING USING PLANNING REGULATIONS IN
  EFFECT BEFORE NOVEMBER 9, 2000

  This section provides guidance to carry out plan development, plan amendment, or plan revision
  using the planning regulations in effect before November 9, 2000. See FSH 1909.15 to
  d etermine the applicable NEPA documentation.




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  In two situations, under 36 CFR 219.17, Responsible Officials may continue to use the
  provisions of the planning regulations in effect before November 9, 2000 (36 CFR parts 200 to
  299, revised as of July 1, 2000).

           1. Plan development, plan amendments, or plan revisions initiated before May 9, 2012.

           2. Plan amendments initiated before May 9, 2015.

  1926.03 - Policy

  In addition to complying with the general policies and principles set forth in FSM 1920.3, the
  land management planning process must:

           1. Integrate all resource programs and supporting activities.

           2. Base resource inventories on sound sampling designs using common definitions and
           standards.

           3. Estimate the goods and services, activities, and investments to be implemented or
           produced by decade and display these outputs for the identified Forest and Rangeland
           Renewable Resources Planning Act of 1974 (16 U.S.C. 1600 etseq.) time periods.

           4. Prepare a monitoring program that is responsive to identified issues and sufficient to
           meet legal requirements for monitoring soil, water, air, wildlife and fish, vegetation, and
           other resources.

  1926.04 - Responsibility
  When Responsible Officials continue to use the provisions of the planning regulations in effect
  before November 9, 2000, the following responsibilities are applicable.

  1926.04a - Regional Forester
  In addition to the responsibilities specified in FSM 1904, it is the responsibility of the Regional
  Forester to:

           1. Coordinate planning efforts between Forests, Grasslands, Prairie, or other comparable
           administrative unit within and between adjacent units and Regions.

           2. Maintain quality control of land management plans by ensuring that required
           standards of FSM 1926.21 are met

           3. Ensure land management plan monitoring requirements are consistent among
           adjoining units.




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           4. Review, and approve as appropriate, any amendment that results in a significant
           change to a land management plan.

  1926.04b - Forest, Grassland, Prairie, or Other Administrative Unit Supervisor
  In addition to the responsibilities specified in FSM 1904, it is the responsibility of the
  administrative unit Supervisor to:

           1. Prepare the draft and final land management plan and applicable environmental
           analysis to meet the standards in FSM 1926.21 and 1926.31a.

           2. Ensure that the Interdisciplinary Team integrates knowledge of the physical,
           biological, economic, and social sciences, and environmental design in the planning
           process.

           3. Conduct planning activities in a manner fully consistent with the National
           Environmental Policy Act (NEPA), the Council on Environmental Quality (CEQ)
           implementing regulations, the Forest Service’s environmental policies and procedures
           described in FSM 1950 and FSH 1909.15.

           4. Develop and approve amendments that result in a non-significant change to the land
           management plan.

           5. Prepare amendments that result in a significant change to the land management plan
           and recommend them to the Regional Forester for approval.

  1926.1 - Land Management Planning Process

  1926.11 - Land Management Planning Results
  Minimum results required of land management planning are:

           1. Identification of major public issues, management concerns, and management
           opportunities.

           2. Development of a set of criteria to guid e the formulation and evaluation of
           alternatives.

           3. Analysis of the management situation that d etermines both the need for and the
           opportunity to establish or change management direction.

           4. Formulation of a set of alternatives that respond s to the significant issues.

           5. Evaluation of alternatives and identification of a preferred alternative to the extent
           required by NEPA, CEQ regulations, and Forest Service environmental policies and
           procedures (FSM 1950 and FSH 1909.15).




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           6. A land management plan that achieves the 14 principles described in section 219.1 of
           the planning regulations in effect before November 9, 2000 (36 CFR parts 200 to 299,
           revised as of July 1, 2000).

           7. A monitoring program, to evaluate progress toward achieving the goals, objectives,
           and desired future conditions of the plan.

  1926.12 - Benchmark Analysis

  The development of benchmarks is not limited by Forest Service policy or budget, discretionary
  constraints, or program and staffing requirements. Benchmark analysis will be conducted in
  accordance with section 219.12(e)(1) of the planning regulations in effect before November 9,
  2000 (see 36 CFR parts 200 to 299, revised as of July 1, 2000).

  1926.13 - Formulation of Alternatives

  Formulate alternatives to meet the requirements of sections 219.12(f) and 219.16 of the planning
  regulations in effect before November 9, 2000 (see 36 CFR parts 200 to 299, revised as of
  July 1, 2000).

  1926.14 - Estimated Effects of Alternatives

  The analysis and comparison must be sufficient to permit an informed selection of the preferred
  alternative as described above.

  1926.15 - Resource Integration Requirements When Using Planning Regulations
  In Effect Before November 9, 2000
  Requirements for integrating individual resources including designated wilderness and other
  special areas into the land management planning process are found in sections 219.14 through
  219.27 of the planning regulations in effect before November 9, 2000 (see 36 CFR parts 200 to
  299, revised as of July 1, 2000). The land management planning process must:

           1. Provide land management plan direction for designated wilderness, wild and scenic
           rivers, national recreation areas, national trails, national monuments, national scenic
           areas, research natural areas, national management emphasis areas, and other identified
           special interest areas.

           2. Use the recreation opportunity spectrum. system to determine management of
           recreation settings, opportunities, and to provide a broad spectrum of experiences in
           response to user preference.

           3. Estimate the silvicultural systems and practices to be applied to lands suitable for
           timber production.




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           4. Provide for management of land suitable for timber production for saw timber-size
           crop trees unless exceptions, such as pulpwood crop trees, are provided for in the land
           management plan. Also, provide for management of suitable forest land to provide
           multiple products including, but not limited to, saw logs, pulpwood , poles, posts, and fuel
           wood through appropriate silvicultural practices to utilize site productivity.

           5. Estimate output levels for fuel wood and other nonindustrial wood products that do
           not require secondary processing where sustained demand is anticipated.

           6. Permit a departure sale schedule to temporarily drop below the base timber sale
           schedule at or beyond the end of the first decade.

           7. Meet the intent of the culmination of mean annual increment (CMAI) requirement by
           ensuring the total yield from stands at harvest age is equal to or greater than 95 percent of
           the volume production corresponding to CMAI. Base CMAI on cubic measure and on
           the yield from regeneration harvests and any additional yields resulting from intermediate
           harvests.

           8. Estimate the annual net growth on lands suitable for timber production for the fifth
           decade of the land management plan for at least the preferred alternative.

           9. Use cubic foot volume and harvest acres, by harvest method , as a dual control in
           regulating the amount of timber to be offered and sold as specified by the allowable
           timber sale quantity. Base the control for treatment practices such as site preparation,
           reforestation, and pre-commercial thinning on acreage measurements.

           10. Ensure that the set of management indicator species meets the requirements of
           36 CFR 219.14(f) and the applicable provisions of the planning regulations in effect
           before November 9, 2000 (see 36 CFR parts 200 to 299, revised as of July 1, 2000).

           11. Ensure that management prescriptions will provide for habitat capability to meet
           demand for management indicator species and provide access for recreational and
           commercial uses with minimal disturbance to species use of suitable habitats.

           12. Ensure that, consistent with other resource management needs, management
           prescriptions will provide for pest prevention activities to lessen host susceptibility to
           pest damage, increase host vigor, or otherwise minimize pest impact before an outbreak
           occurs.

           13. Ensure the plan provides for the kinds, amounts, and distribution of habitat needed
           for recovery of threatened or endangered species and needed to maintain viable, well-
           distributed populations of all existing native and desired nonnative species.

           14. Provide plan direction for wildfire protection and prescribed fire use appropriate to
           efficient attainment of land management goals and objectives. Except for planning units
           with low historic large fire occurrence or low potential for significant wildland fires, the



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           Responsible Official should consider plan guidance for cost containment of fire
           suppression costs (FSH 1909.12, sec. 13).

           15. Identify the desired landownership pattern and develop guidance for landownership
           adjustments to include purchase, donations, exchange, right -of-way acquisition, transfers,
           interchanges, sales, and boundary adjustments. Guidance for landownership adjustments
           should emphasize the following objectives:

                a. Acquisition to meet identified resource management needs.

               b. Acquisition contributing to consolidation that reduces administrative problems and
               costs and further enhances public use.

                c. Conveyance of land better suited for non-Federal ownership.

           16. Provide access to energy and mineral resources in the most efficient manner and
           encourage industry proposals for resource development on NFS lands, consistent with the
           rights that individuals or companies have acquired under the mineral leasing acts and
           mining laws and consistent with the objective of the alternatives.

           17. Identify the specific access guidance and travel management options available to
           meet the objectives for each management prescription. Describe how access will be
           provided and how travel will be managed . Include the forest transportation system and
           air and water access. Integrate considerations of biological, physical, social, and
           economic factors, and environmental design criteria. Link access and travel requirements
           and opportunities to the full spectrum of resource objectives for each management area
           and alternative.

           18. Develop guidance for the development and maintenance of other physical support
           facilities required to carry out management objectives.

           19. Provide for consideration of transportation and utility corridor designation and
           utilization. Energy right-of-way corridors on Federal land must be designated and
           incorporated into the land management plan in accordance with the Energy Policy Act of
           2005 (Public Law 109-58, section 368). Coordinate activities between Regions and with
           other Federal and State agencies to designate location, alignment, and associated use and
           occupancy standards for rights-of-way.

           20. Determine watershed condition class and include objectives or prescriptions for
           improving watershed conditions when necessary.

           21. Ensure municipal watershed requirements (36 CFR 251.9) are incorporated in land
           management plan standards and guidelines.

           22. Develop guidance to maintain surface resources associated with groundwater
           resources.



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           23. Establish plan guidance that will be used to protect water quality.

           24. Provide management direction to protect air quality related values, including
           visibility, in Class I Federal areas as required by the Clean Air Act Amendments of 1977
           and FSM 2120.

           25. Plan for pest prevention and protection appropriate to attainment of land
           management goals and objectives.

           26. Provide guidance for geothermal leasing and development for areas with high
           geothermal resource potential in accordance with Title 30 United States Code, section 4
           as amended by Energy Policy Act of 2005 (Public Law 109-58, section 222).

  1926.2 - Land Management Plan Content
  Section 219.11 of the planning regulations in effect before November 9, 2000 (see 36 CFR parts
  200 to 299, revised as of July 1, 2000) establishes minimum, requirements for content of the land
  management plan.

  1926.21 - Standards for Land Management Plans

  In addition to the other requirements of this chapter, land management plans must meet the
  following standards:

           1. Resource information and other data are factual and accurate.

           2. Guidance is adequate to guide formulation of individual resource programs and
           schedules needed to implement the plan.

           3. Assumptions, analytical approaches, and data are consistently applied within the plan.

           4. Interdisciplinary planning and resource coordination are evident.

           5. A map delineating management areas and displaying future corrid ors is included .

  1926.3 - Review and Approval of Land Management Plans
  Section 219.10 of the planning regulations in effect before November 9, 2000 (see 36 CFR parts
  200 to 299, revised as of July 1, 2000) establishes general requirements for review and approval
  of land management plans.

  1926.31 - Internal Review
  The Regional Forester reviews land management plans against the standards in section 1926.21.

  1926.31a - Standards for Regional Review




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   Regional reviews must ensure that:

            1. Each land management plan complies with laws, regulations, policy, and Chief’s
            direction.

            2. Each land management plan is reviewed against Resources Planning Act targets and
            related costs for the unit and the Region as a whole.

            3. The analysis and comparative evaluation, documented in the applicable NEPA
            document, is adequate to permit an informed selection of the preferred alternative.

            4. The completed land management plan and applicable NEPA document have received
            an interdisciplinary review.

   1926.31b - Internal Review Process

            1. Following approval by the Regional Forester, the Forest, Grassland , Prairie, or other
            comparable administrative unit Supervisor prints the draft plan and accompanying
            applicable NEPA document and makes them available for public review (see the Forest
            Service “National Environmental Policy Act Handbook,” FSH 1909.15, ch 20, sec. 24 for
            direction on making draft material available to the public).




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            2. The Regional Forester reviews a summary of the public comment received on the
            draft, the response to the public comment, and the proposed final plan and applicable
            NEPA document (see the Forest Service “National Environmental Policy Act
            Handbook,” FSH 1909.15, ch 20, sec. 25 for direction on making final material available
            to the public).

            3. The Chief may require Washington Office review before printing of all final plans and
            their accompanying applicable NEPA documents, if the plan makes recommendations
            that will ultimately require congressional action. Examples of congressional action
            include additions to or deletions from, the National Wilderness Preservation System,
            National Trails, National Recreation Areas, studies or changes to the National Wild and
            Scenic River System, and proposed adjustments in NFS boundaries. Otherwise, upon
            approval of final land management plan by the Regional Forester, the Forest, Grassland,
            Prairie, or other comparable administrative unit Supervisor may print and release the final
            documents unless:

                 a. The Region has specifically requested Washington Office review.

                 b. The Chief has specified Washington Office review because of the degree or
                 intensity of controversy, the extent of changes in the preferred or any other
                 alternative, or if other circumstances warrant.

   1926.32 - External Review

   External reviews during the land management planning process require public participation and
   coordination with other public planning efforts. Provide public participation at the earliest stages
   of the process. Use public participation to identify public issues during the formal scoping
   process and during review of draft documents. Prepare a public participation plan and make this
   plan a part of the planning records along with documented results of participation activities.
   Document results of coordination with other Federal agencies, Tribal, State, and local
   governments.

   1926.4 - Land Management Plan Implementation

   1926.41 - Analysis and Evaluation

   Conduct analysis and evaluation to establish a rational basis for making decisions on proposed
   projects or activities. The analysis must provide the Responsible Official with relevant
   information necessary to make a decision to select or reject proposed projects or activities. The




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   analysis and evaluation must be sufficient to establish a determination of consistency, comply
   with National Environmental Policy Act (NEPA) requirements, document findings, and provide
   a basis for selecting actions to implement. The following provides specific requirements for
   analysis and evaluation:

            1. Confirm and document that the proposed project or activity is consistent with the
            management direction in the land management plan. If an action cannot be changed to be
            consistent, the action must be rejected or the land management plan must be amended as
            directed in FSM 1926.5. Consistency determinations, including specific required
            findings, are described in FSH 1909.12, section 29.

            2. Normally, economic evaluations of proposed projects or activities that yield or affect
            priced outputs should be based on cost-efficiency analysis (FSM 1970). Land
            management plan information may be used if the underlying analysis was sufficiently site
            specific and if costs and output values have not changed. Select projects or activities that
            are most efficient in following land management plan direction.

            3. Complete environmental analysis before approving projects and activities (FSM 1950
            and FSH 1909.15).

   1926.5 - Amendment
   The need to amend a land management plan may arise from several sources, including the
   following:

            1. Recommendations of the Forest, Grassland, Prairie, or other comparable
            administrative unit Interdisciplinary Team that are based on findings that result from
            monitoring and evaluating implementation of the land management plan (FSM 1926.7).

            2. Findings that existing or proposed permits, contracts, cooperative agreements, and
            other instruments authorizing occupancy and use are not consistent with the land
            management plan, but should be approved .

            3. Changes necessitated by resolution of administrative appeals.

            4. Changes in plan guidance needed to correct planning errors.

            5. Changes in plan guidance necessitated by changed physical, social, or economic
            conditions.

            6. Desired implementation of projects or activities outside the scope of the land
            management plan.

   Upon receiving advice from the Interdisciplinary Team that the plan requires change, the
   Responsible Official shall:




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            1. Determine whether proposed changes to a land management plan are significant or not
            significant in accordance with the requirements of sections 1926.51 and 1926.52.

            2. Document the determination of whether the change is significant or not significant in a
            decision document.

            3. Provide appropriate public notification of the decision before implementing the
            changes as follows.

                (a) The Responsible Official shall notify those who, in writing, have requested it, and
                to those who are known to have participated in the decision-making process.

                (b) When the Chief, the Under Secretary, or the Secretary is the Responsible Official,
                notices must be published in the Federal Register.

                (c) For a plan amendment when an official other than the Chief, the Under Secretary,
                or the Secretary is the Responsible Official, and for which a draft EIS is not prepared,
                notices must be published in the newspaper(s) of record .

                (d) If plan amendment, applies to two or more units, or if a draft EIS has been
                prepared, notices must be published in the Federal Register and the newspaper(s) of
                record for the applicable units.

   Findings of the Responsible Official regarding the consistency of projects or activities and
   actions with the land management plan and the determination of the significance of an
   amendment are an integral part of decisions. As such, they are subject to administrative review
   under 36 CFR 219.14.

   1926.51 - Changes to the Land Management Plan That are Not Significant
   Changes to the land management plan that are not significant can result from:

             1. Actions that do not significantly alter the multiple-use goals and objectives for long­
            term land and resource management.

            2. Adjustments of management area boundaries or management prescriptions resulting
            from further on-site analysis when the adjustments do not cause significant changes in the
            multiple-use goals and objectives for long-term land and resource management.

            3. Minor changes in standards and guidelines.

            4. Opportunities for additional projects or activities that will contribute to achievement
            of the management prescription.

   The Forest, Grassland, Prairie, or other comparable administrative unit Supervisor shall prepare
   an amendment to the land management plan to accommodate a change determined not to be




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   significant. Appropriate public notification is required before implementation of the amendment
   as described in FSM 1926.5.

   1926.52 - Changes to the Land Management Plan That are Significant

   The following examples indicate circumstances that may cause a significant change to a land
   management plan:

            1. Changes that would significantly alter the long-term relationship between levels of
            multiple-use goods and services originally projected (see section 219.10(e) of the
            planning regulations in effect before November 9, 2000 (see 36 CFR parts 200 to 299,
            revised as of July 1, 2000)).

            2. Changes that may have an important effect on the entire land management plan or
            affect land and resources throughout a large portion of the planning area during the
            planning period .
   When a significant change need s to be made to the land management plan, the Forest, Grassland ,
   Prairie, or other comparable administrative unit Supervisor shall prepare an amendment.
   Documentation of a significant change, including the necessary analysis and evaluation should
   focus on the issues that have triggered the need for the change. In developing and obtaining
   approval of the amendment for significant change to the land management plan, follow the same
   procedures as are required for developing and approving the land management plan (see secs.
   219.10(f) and 219.12 of the planning regulations in effect before November 9, 2000 (36 CFR
   parts 200 to 299, revised as of July 1, 2000)).

   1926.6 - Revision

   The National Forest Management Act (NFMA) requires revision of land management plans at
   least every 15 years; however, a plan may be revised sooner if physical conditions or demand s
   on the land and resources have changed sufficiently to affect overall goals or uses for the entire
   unit. To revise a land management plan, plan revisions initiated after May 9, 2012, must
   conform to 36 CFR 219, after obtaining approval of the Chief to schedule a revision. Plan
   revisions previously initiated before May 9, 2012, may continue to follow procedures set forth in
   section 219.12 of the planning regulations in effect before November 9, 2000 (see 36 CFR parts
   200 to 299, revised as of July 1, 2000).




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   1926.7 - Monitoring and Evaluation

   Conduct monitoring of the land management plan and of the individual projects or activities to
   determine how well objectives have been met and how closely management standards and
   guidelines have been applied. Monitoring and evaluation requirements for the land management
   plan are found at section 219.12(k) of the planning regulations in effect before November 9,
   2000 (see 36 CFR parts 200 to 299, revised as of July 1, 2000).

   Monitoring of the land management plan is conducted at three levels:

            1. Implementation Monitoring. Implementation monitoring is designed to determine if
            plans, prescriptions, projects, and activities are implemented as designed and in
            compliance with land management plan objectives, requirements, and stand ards and
            guidelines. Evaluation of implementation monitoring may require adjustment of
            prescriptions and targets or changes in plan or project administration.

            2. Effectiveness Monitoring. Effectiveness monitoring is designed to determine if plans,
            prescriptions, projects, and activities are effective in meeting management direction,
            objectives, and the standards and guidelines. Evaluation of the results of effectiveness
            monitoring is used to adjust land management plan objectives, targets, prescriptions,
            standards and guidelines, conservation practices, mitigation measures, and other best
            management practices and could result in change to or amendment of the land
            management plan.

            3. Validation Monitoring. Validation monitoring is designed to ascertain whether the
            initial assumptions and coefficients used to develop the land management plan are correct
            or if there is a better way to meet land management planning regulations, policies, goals,
            and objectives. Evaluation of this type of monitoring can result in amendment of land
            management plans and may be used t o recommend changes in laws, regulations, and
            policies that affect both the plan and project implementation.

   1926.71 - Monitoring Requirements

            1. Focus monitoring on those activities that:

                 a. Affect significant management systems such as total silvicultural systems and
                 other monitoring requirements.

                 b. Are responsive to stated issues, concerns, and management opportunities.

                 c. Affect major components of the environment.

            2. Coordinate monitoring efforts with resource inventory needs to reduce duplication.

            3. Monitor to ensure that:



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                 a. The land management plan complies with applicable laws and regulations.

                b. Cumulative effects of project implementation do not exceed standards or
                thresholds stated in the land management plan.

                 c. Planned mitigation actions are implemented and maintained as designed .




                                                                        Rvsd Plan - 00001362
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  Accordingly, the Saint Lawrence              ACTION:   Final rule.                        recreational activities. From 1982 to
Seaway Development Corporation is                                                           2009, the number of people in the
amending 33 CFR part 401, Regulations          SUMMARY:   The Forest Service manages        United States participating in viewing
and Rules, as follows:                         winter uses to protect National Forest       or photographing birds increased 304.2
                                               System (NFS) resources and to provide        percent, the number of people
PART 401—SEAWAY REGULATIONS                    a range of opportunities for motorized       participating in day hiking increased
AND RULES                                      and non-motorized recreation. In 2005,       228.2 percent, the number of people
                                               the agency regulated winter motorized        participating in backpacking increased
Subpart A—Regulations                          use as a discretionary activity under its    167 percent, the number of people
                                               regulations for Use by Over-Snow             participating in fishing increased 36
■ 1. The authority citation for subpart A      Vehicles. Consistent with a court order      percent, and the number of people
of part 401 continues to read as follows:      dated March 29, 2013, the United States      participating in hunting increased 34
  Authority: 33 U.S.C. 983(a} and 9841a)(4),   Department of Agriculture (the               percent [id. at 135-36). Providing for the
as amended; 49 CFR 1.52, unless otherwise      Department) amends the Department’s          long-term sustainable use of NFS lands
noted.                                         travel management rule (TMR) to              and resources is essential to maintaining
■ 2. In § 401.29, remove footnote 1 and        require designation of roads, trails, and    the quality of the recreation experience
revise paragraph (a) to read as follows:       areas on NFS lands to provide for over­      in the National Forests and Grasslands.
                                               snow vehicle (OSV) use. An over-snow            In 2005, the Forest Service (Agency)
§401.29    Maximum draft.                      vehicle is defined as “a motor vehicle       promulgated the TMR to provide more
  (a) Notwithstanding any provision            that is designed for use over snow and       effective management of public motor
herein, the loading of cargo, draft and        that runs on a track and/or a ski or skis,   vehicle use. The 2005 TMR includes
speed of a vessel in transit shall be          while in use over snow”. The                 subpart B, which requires designation of
controlled by the master, who shall take       Responsible Official will establish a        those NFS roads, NFS trails, and areas
into account the vessel’s individual           system of routes and areas to provide for    on NFS lands where public motor
characteristics and its tendency to list or    over-snow vehicle use. The regulations       vehicle use is allowed (36 GFR
squat, so as to avoid striking bottom.         will continue to exempt over-snow            212.51(a)), and subpart C, under which
*     *     *     *     *                      vehicle use from the travel management       the Responsible Official has the
■ 3. Revise § 401.61 to read as follows:       rule, which provides for designation of      discretion to determine whether to
                                               a system of routes and areas for other       regulate OSV use and to establish a
§ 401.61   Assigned frequencies.               types of motor vehicle use.                  system of routes and areas where OSV
  The Seaway stations operate on the           DATES: This rule is effective February       use is allowed unless prohibited or a
following assigned VHP frequencies:            27, 2015.                                    system of routes and areas where OSV
  156.8 MHz—(channel 16)—Distress              ADDRESSES: The record for this final rule
                                                                                            use is prohibited unless allowed.
and Calling.                                   contains all the documents pertinent to      Subpart C of the 2005 TMR authorizes
  156.7 MHz—(channel 14)—Working               this rulemaking. These documents are         but does not require the Responsible
(Canadian stations in Sector 1 and the         available for inspection and copying at      Official to allow, restrict, or prohibit
Welland Canal).                                                                             OSV use on NFS roads, on NFS trails,
                                               the Office of the Director, Recreation,
  156.65 MHz—(channel 13)—Working              Heritage, and Volunteer Resources Staff,     and in areas on NFS lands.
(U.S. station in Lake Ontario).                                                                On March 29, 2013, the U.S. District
                                               5th Floor, Sidney R. Yates Federal
  156.6 MHz—(channell2)—Working                                                             Court for the District of Idaho ruled that
                                               Building, 1400 Independence Avenue
(U.S. station in Lake Ontario).                                                             subpart C of the TMR violated Executive
                                               SW., Washington, DC, on business days
  156.6 MHz—(channel 12)—Working                                                            Order (E.O.) 11644, as amended by E.O.
                                               between 8:30 a.m. and 4:00 p.m. Those        11989. Winter Wildlands Alliance v.
(U.S. stations in Sector 2 of the River);      wishing to inspect or copy these             U.S. Forest Serv., 2013 WL 1319598, No.
and                                            documents are encouraged to call Jamie
  156.55 MHz—(channel 11)—Working                                                           l:ll-CV-586-REB (D. Idaho Mar. 29,
                                               Schwartz, Recreation, Heritage, and          2013). The court did not rule that the
(Canadian stations in Sector 3, Lake           Volunteer Resources Staff, at 202-205­       Agency lacks the discretion to
Ontario and Lake Erie).                        1589 beforehand to facilitate access into    determine how to regulate OSV use. To
  Issued at Washington, DC, on January 23,     the building.                                the contrary, the court held that the
2015.                                          FOR FURTHER INFORMATION CONTACT:             Forest Service has the discretion to
Saint Lawrence Seaway Development              Jamie Schwartz, 202-205-1589,                determine where and when OSV use
Corporation.                                   Recreation, Heritage, and Volunteer          can occur on NFS lands. The ruling
Carrie Lavigne,                                Resources Staff.                             requires the Agency to designate routes
Chief Counsel.                                 SUPPLEMENTARY INFORMATION:                   and areas where OSV use is permitted
|FR Doc. 2015-01554 Filed 1-27-15; 8:45 am]                                                 and routes and areas where OSV use is
                                               1.   Background and Need for the Rule
BILLING CODE 4910-61-P                                                                      not permitted on NFS lands, consistent
                                                 Between 1982 and 2009, the number          with E.O. 11644, as amended by E.O.
                                               of people who operated motor vehicles        11989, sec. 3(a), but does not dictate
DEPARTMENT OF AGRICULTURE                      off road increased by more than 153          where and when OSV use can occur on
                                               percent in the United States (“Outdoor       those lands. The court ordered the
Forest Service                                 Recreation Trends and Futures, a             Forest Service to issue a new rule
                                               Technical Document Supporting the            consistent with the E.O.s.
36 CFR Parts 212 and 261                       Forest Service 2010 RPA [Forest and             The Department is amending subpart
                                               Rangeland Renewable Resources                C of the TMR to provide for
RIN 0596-AD17
                                               Planning Act of 1974] Assessment,” p.        management of OS Vs on NFS lands
Use By Over-Snow Vehicles (Travel              135 (H. Cordell, 2012)). While both          consistent with the EOs, the court’s
Management Rule)                               motor vehicle use and OSV use are            order, and subpart B of the TMR.
                                               increasing in the National Forests and       Specifically, the Department is
AGENCY:    Forest Service, USDA.               Grasslands, so are many other types of       amending subpart C of the TMR to


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require the Responsible Official to         western mountains can support cross­         displaying designations for other types
designate NFS roads, NFS trails, and        country OSV use.                             of motor vehicle use.
areas on NFS lands where OSV use is           Subpart B of the TMR recognizes that
                                            cross-country travel by other types of       4. Public Comments and Response to
allowed in administrative units or
                                            motor vehicles is generally                  Comments
Ranger Districts, or parts of
administrative units or Ranger Districts,   unacceptable. Subpart C of the TMR as        Overview
where snowfall is adequate for OSV use      originally promulgated and in the final         On June 18, 2014, the Forest Service
to occur. The Department is not             rule recognizes that cross-country travel    published a document in the Federal
removing the exemption for OSVs from        by OSVs may be acceptable in                 Register (79 FR 34678) seeking public
subpart B.                                  appropriate circumstances.                   comment on the proposed amendments
                                              Recreational preferences are another
2. Unique Qualities of OSV Use and                                                       to subpart C of the TMR. The proposed
                                            factor accounting for the difference in
Management                                                                               rule was posted electronically on the
                                            management of OSV use and other types
                                                                                         Federal Register site at
   The Department believes that a           of motor vehicle use. The public’s desire
                                                                                         www.gpoaccess.gov and at the Federal e­
separate subpart for regulation of OSV      for recreational opportunities is            rulemaking site at www.regulations.gov.
use is appropriate because of the           different in the summer and the winter.
                                                                                         During the 45-day comment period that
difference in management and impacts        The public enjoys the National Forests
                                                                                         ended on August 4, 2014, the Agency
of OSV use and other types of motor         for a variety of winter activities
                                                                                         received no requests for an extension of
vehicle use on NFS lands.                   including snowmobiling, cross country
   The difference between management                                                     the comment period. The Forest Service
                                            skiing, snowshoeing, and winter snow
of OSV use and management of other                                                       received 20,210 comments on the
                                            play. NVUM data from 2008 to 2012
                                                                                         proposed rule.
types of motor vehicle use on NFS lands     indicate that 21 percent of public use of      The respondents represented 37
stems from differences in their             the National Forests (152 million visits)    States and the District of Columbia. The
associated settings, activities,            occurs during the snow season. Most of       following lists the categories of
environmental impacts, and public           this winter use (69 percent) occurs at       respondents:
preferences. National Forests and           alpine ski areas. Nearly 4 million people       • Recreation interests, including
Grasslands change when snow blankets        enjoy snowmobiling on the National           permit holders;
the landscape. Vegetation camouflages,      Forests.                                        • Government agencies;
animals burrow, and water transforms          In summary, OSV route and area                • Environmental or conservation
into ice. Recreationists and others         designations will sustain natural            groups; and
accessing snow-covered National             resource values, enhance user                   • Individuals who did not identify an
Forests and Grasslands typically trade      experiences, and be consistent with          affiliation.
hiking boots for skis and snowshoes and     other types of motor vehicle use               Comments came from organizations
motor vehicles with tires for those with    designations on NFS lands.                   and individuals concerned about the
tracks and sleds.                                                                        impacts of OSV use on the environment
   Because of snowfall patterns. National   3. Impact on Existing Decisions
                                                                                         and on non-motorized uses. Comments
Forests and Grasslands vary                    Consistent with § 212.50(b) of subpart    also came from organizations and
significantly in their need to address      B of the 2005 TMR, existing decisions        individuals concerned about potential
OSV use. National Visitor Use               that allow, restrict, or prohibit OSV use    restrictions on OSV use.
Monitoring (NVUM) data from 2008 to         on NFS roads, on NFS trails, or in areas       Respondents offered general
2012 show that approximately 30             on NFS lands that were made under            comments either supporting or not
percent of NFS lands do not offer OSV       prior authorities (part 295 or subpart C)    supporting the proposed rule or
recreation opportunities. OSV use           will remain in effect under the final rule   supporting or opposing OSV use in
occurs only when sufficient snow is         and will not have to be revisited.           general on NFS lands. Respondents also
present, in contrast to other types of         Analogous to § 212.52(a) of subpart B     offered specific comments about
motor vehicle use, which can occur at       of the 2005 TMR, the final rule provides     sections of the proposed rule that they
any time of the year. Other types of        that public notice with no further public    would like to see revised. Many
motor vehicles operating over snow are      involvement is sufficient for previous       respondents offered suggestions for
regulated under subpart B of the TMR.       administrative decisions, made under         implementation, funding, and
   When properly operated and               other authorities and including public       enforcement of the proposed rule at the
managed, OSVs do not make direct            involvement, that regulate OSV use on        local level and comments on other
contact with soil, water, and vegetation;   NFS roads, on NFS trails, and in areas       rulemaking efforts or existing Forest
whereas most other types of motor           on NFS lands over the entire                 Service policy, all of which are beyond
vehicles operate directly on the ground.    administrative unit or Ranger District, or   the scope of this rulemaking.
Unlike other types of motor vehicles        parts of the administrative unit or
traveling cross-country, OSVs generally     Ranger District, where snowfall is           General Comments
do not create a permanent trail or have     adequate for OSV use to occur, and no           Comment: Some respondents believed
a direct impact on soil and ground          change is required to these previous         that the Forest Service has successfully
vegetation. In some areas of the country,   decisions. In short, units or Districts      used current subpart C of the TMR for
OSV use is therefore not always             that have completed OSV use                  managing OSV use and that there is no
confined to roads and trails.               designations under other authorities and     reason to implement the proposed rule.
   The public’s OSV preferences and         including public involvement do not             Response: The March 29, 2013, order
practices on NFS lands vary nationwide      have to revisit them.                        requires the Agency to revise subpart C
due to different terrain, snow typology        For clarity, the final rule adds a        to require, rather than provide for,
and amount, recreational activities, and    provision in subpart C regarding the         designation of routes and areas where
transportation needs. OSV use on NFS        requirement for an OSV use map to            OSV use is permitted and routes and
lands in the Northeast and Midwest is       display designations for OSV use,            areas where OSV use is not permitted
largely trail-based, while the larger,      separate from the requirement in             on NFS lands, consistent with EO
wide-open, powder-filled bowls in           subpart B for a motor vehicle use map        11644, as amended by EO 11989.


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   Comment: Some respondents stated             Response: Enforcement of the TMR,           deadline can make collaborative
that the Forest Service should have          including subpart C, is beyond the             solutions more difficult.
addressed OSV use in the TMR; that           scope of this rulemaking. Forest Service          Comment: Some respondents stated
failure to do so has resulted in use         law enforcement personnel play a               that how the Agency will fund
conflicts and resource damage; and that      critical role in ensuring compliance           management of OSV use and enforce
the TMR should be reviewed and used          with applicable laws and regulations,          restrictions on OSV use should be
as a starting point for developing an        protecting public safety, and protecting       considered in OSV designation
over-snow rule.                              NFS resources. The Forest Service also         decisions, and requested that the
   Response: Current subpart C of the        maintains cooperative relationships            Agency consider pursuing alternative
TMR addresses OSV use by providing           with many State and local law                  management practices in coordination
for but not requiring designation of         enforcement agencies that provide              with the States and organizations like
routes and areas for OSV use. The            mutual support across jurisdictional           the Interagency Off-Highway Vehicle
Department disagrees that the approach       boundaries. Education and cooperative          (OHV) Working Group established by
to management of OSV use in current          relationships with users support               the State of Montana’s Department of
subpart C has resulted in use conflicts      enforcement efforts by promoting               Fish, Wildlife, and Parks.
and resource damage. As stated in the        voluntary compliance. The final rule             Response: Recreation management in
preamble to the proposed and final           will not increase the Agency’s budget or       general and recreation funding are
rules, the Forest Service is amending        the number of law enforcement officers.        beyond the scope of this rulemaking,
subpart C in response to a court order       However, the final rule will enhance           which addresses designation of routes
to require designation of those NFS          consistency and clarity in management          and areas on NFS lands for OSV use.
roads, NFS trails, and areas on NFS          of OSV use on NFS lands.                       Forest Service appropriations are
lands that are open to OSV use and to           OSV use maps will be available at           authorized by Gongress. The Forest
prohibit OSV use that is inconsistent        local Forest Service offices and, as soon      Service is committed to using whatever
with those designations.                     as practicable, on Forest Service Web          funds it has available to accomplish the
   Comment: Some respondents stated          sites. Once an administrative unit or a        purposes of this final rule in a targeted,
that the Forest Service should have          Ranger District issues an OSV use map,         efficient manner. The Agency makes
more vigorously defended subpart C of        OSV use in that unit or District that is       appropriate use of all other sources of
the TMR and the Agency’s management          inconsistent with the designations             available funding and has a number of
of OSV use.                                  reflected on the map will be prohibited.       successful cooperative relationships
   Response: The Federal Government          The Forest Service plans to issue              with State governments. Volunteer
vigorously defended subpart C of the         additional travel management guidance          agreements with user groups and others
TMR in the litigation that resulted in the   in its sign handbook to enhance                have proven successful in extending
March 29, 2013, order. This order            consistency in content and use of              Agency resources for trail construction,
requires the Agency to revise subpart C      standard interagency symbols in signs.         maintenance, monitoring, and
to require, rather than provide for,            Comment: Some respondents stated            mitigation. Regardless of the level of
designation of routes and areas where        that the Forest Service should not             funding available, the Department
OSV use is permitted and routes and          establish an artificial, predetermined         believes that the final rule provides an
areas where OSV use is not permitted         date by which local units are required         appropriate procedural framework for
on NFS lands, consistent with EO             to complete winter travel planning             management of OSV use on NFS lands
11644, as amended by EO 11989.               across the NFS. Other respondents              that is consistent with EO 11644, as
   Comment: Some respondents stated          requested that the Forest Service              amended by EO 11989, the District
that the proposed rule should not have       establish a timeline for issuance of OSV       Gourt’s March 29, 2013, order, and
been published in the summer, when           use maps.                                      regulation of other types of motor
OSV users are not focused on winter             Response: The Department shares an          vehicle use on NFS lands. While
recreation.                                  interest in completing route and area          availability of resources for maintenance
   Response: This rulemaking is court-       designations for OSV use as quickly as         and administration must be considered
ordered and is subject to a court            possible. The Forest Service will make         in designating routes for OSV use
deadline. The Agency had to proceed as       every effort, within its available             (§§ 212.55(a) and 212.81(d) of the final
quickly as possible to comply with the       resources, to complete route and area          rule), cooperative relationships and
court order. Moreover, no publication        designations for OSV use as quickly as         volunteer agreements may be included
time is ideal for everyone. For example,     possible. However, the Department              in this consideration.
in the winter time, OSV users could be       disagrees with establishing an                    Comment: Some respondents
recreating and not focused on                enforceable deadline for completion of         supported the Forest Service policy for
rulemaking.                                  the process. Imposing an enforceable           managing nonconforming uses in
   Comment: Some respondents stated          deadline for completing OSV use                recommended wilderness and
that since OSV use is not adequately         designations would subject the Forest          wilderness study areas and encouraged
regulated, and since few current             Service to a legal challenge if, despite its   the Forest Service to codify this policy
restrictions on OSV use are enforced,        best efforts (perhaps due to the               nationally in the final rule. Some
OSV use should not be expanded. Other        controversy involved in the process],          respondents believed that inventoried
respondents noted that enforcement of        the Agency is unable to meet the               roadless areas, areas recommended for
restrictions and prohibitions on OSV         deadline. The Department believes that         wilderness in land management plans,
use is an issue in the backcountry and       appropriate public input and                   and wilderness study areas should be
that OSVs are encroaching on non­            coordination between the Responsible           more protected under the final rule.
motorized areas in search of fresh           Official and Federal, State, Tribal,           Other respondents suggested that the
powder and are disregarding signage in       county, and municipal governments              Forest Service amend 36 CFR 212.55(e)
the area. Other respondents stated that      offers the best hope for long-term             to state that “National Forest System
the registration fee for OSVs should be      resolution of issues involving                 roads. National Forest System trails, and
raised to pay for increased enforcement      designations for motor vehicle use,            areas on National Forest System lands
and signage for OSV use designations.        including OSV use. An inflexible               in wilderness areas, or primitive areas.


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inventoried roadless areas, areas            fat tire bicycles, in Forest Service         among private organizations, counties,
recommended for wilderness in land           Handbook 2309.18 as “a pedal-driven,         and the Forest Service.
and resource management plans, or            human-powered device with two                  Response: The Department disagrees.
wilderness study areas shall not be          wheels attached to a frame, one behind       The final rule revises the procedural
designated for motor vehicle use             the other.” Management of bicycles,          framework for designating routes and
pursuant to this section, unless, in the     including fat tire bicycles in winter,       areas for OSV use consistent with E.O.
case of wilderness areas, motor vehicle      would be addressed as part of trail          11644, as amended, and the March 29,
use is authorized by the applicable          management planning for non­                 2013, court order and will not have any
enabling legislation for those areas.”       motorized uses. New technologies that        direct effect on grooming programs or
   Response: The issue regarding             merge bicycles and motors, such as e­        cooperative agreements for grooming
nonconforming uses in recommended            bikes, are considered motor vehicles         among private organizations, counties,
wilderness and wilderness study areas        under § 212.1 of the TMR.                    and the Forest Service.
is beyond the scope of this final rule.         Comment: Some respondents stated
                                                                                          OSV Exemption in Subpart B
The Department believes that the             that the proposed rule should require
National Forests and Grasslands should       Forest Service employees to spend half          Comment: Some respondents stated
provide access for both motorized and        their time in the field improving            that the Forest Service should remove
non-motorized uses in a manner that is       conditions and reducing fuels for fire.      the OSV exemption in subpart B to
environmentally sustainable over the            Response: Allocation of employees’        provide consistency between winter and
long term. Designations for motor            time with regard to conditions on the        summer travel management. Other
vehicle use, including OSV use, are best     ground and reducing fuel loads is            respondents stated that OSVs are motor
made at the local level, in coordination     beyond the scope of this final rule,         vehicles and therefore should be subject
with Federal, State, Tribal, and local       which addresses regulation of OSV use.       to the same regulation as other types of
governments and appropriate public              Comment: Some respondents stated          motor vehicles, such as OHVs. Some
involvement, as provided for in this         that the term “Responsible Agency            respondents stated that the OSV
final rule.                                  Official” should be clearly defined, and     exemption in subpart B is appropriate
   Protection of roadless areas is           that identifying who this official is        given the differences between OSVs and
adequately addressed by the national         might help with potential inconsistency      other types of motor vehicles, including
and State-specific roadless rules and        in implementing the rule.                    OHVs.
need not be addressed in this                   Response: The Forest Service did not         Response: The Department believes
rulemaking.                                  propose any changes pertaining to            that there are enough differences
   Comment: Many respondents                 identification of the Responsible Official   between OSV use and other types of
commented on the backcountry hut             in the current TMR. Therefore, the           motor vehicle use to justify regulation of
system in Colorado. Some of these            request to define the term “Responsible      OSV use in a separate subpart. As stated
respondents were in favor of allowing        Official” is beyond the scope of this        above, the difference between
OSV use in the area surrounding these        final rule. The Department believes the      management of OSV use and
huts, while other respondents were           meaning of this term is clear from the       management of other types of motor
opposed to OSV use in this area.             context of the TMR. The Responsible          vehicle use on NFS lands stems from
   Response: Whether OSV use should          Official in the context of the TMR is the    differences in their associated settings,
be allowed in certain areas on NFS           person who has responsibility for            activities, environmental impacts, and
lands is beyond the scope of this final      managing an administrative unit or a         public preferences. For example,
rule. This final rule addresses the          Ranger District and who has delegated        impacts from wheeled motor vehicles
procedural framework for making OSV          authority to make designation decisions      traveling directly on the soil differ from
use designations rather than OSV use         under the TMR for that unit or District.     impacts from motor vehicles with tracks
designations themselves. The                    Comment: Some respondents                 or skis traveling over snow. Therefore,
Department encourages public                 commented that education regarding           the Department is retaining the OSV
participation in local OSV use               outdoor ethics is paramount for              exemption in subpart B of the TMR.
designations.                                backcountry activities such as OSV use
   Comment: Some respondents stated          and should be required in the final rule.    Biological Resource Management
that fat tire bicycles should be regulated   These respondents believed that                 Comment: Some respondents stated
under the proposed rule. Some                inexperienced users cause much of the        that the Forest Service should limit OSV
respondents stated that the Forest           environmental damage and use conflicts       use off established trails to minimize
Service should explicitly incorporate a      associated with OSV use and that better      damage to habitat for species like bear,
definition of bicycles that                  outdoor ethics training could prevent a      ermine, dusky grouse, lynx, mountain
unambiguously distinguishes them from        lot of these problems.                       goat, bighorn sheep, and snowshoe hare
motor vehicles, including OSVs, and             Response: Outdoor ethics training is      and that OSV use on trails should be
should provide guidance to ensure that       outside the scope of this rulemaking,        limited to areas with no ecological value
bicycles are managed as a non­               which addresses designation of routes        to ensure these species have adequate
motorized use. Some respondents              and areas for OSV use. The Department        habitat. Other respondents stated that
commented that bicycles should be            appreciates the valuable and long­           there is no credible evidence that OSVs
managed on their own merits and not as       standing contributions of                    cause resource damage or have an
an afterthought to motorized travel          nongovernmental organizations,               impact on wildlife and that the
management.                                  including user groups, to promote            proposed rule should be rewritten to
   Response: Regulation of non­              environmental ethics and responsible         reflect that fact.
motorized use, including bicycles            behavior on Federal lands.                     Response: The National Forests and
without motors, is beyond the scope of          Comment: Some respondents                 Grasslands are managed by law for
this final rule, which addresses             commented that implementation of the         multiple uses, including wildlife,
motorized use, specifically, OSV use.        proposed rule would have a direct            timber, grazing, mining, and outdoor
The Forest Service has clearly defined       impact on grooming programs and              recreation. These uses must be
the term “bicycle”, which includes new       cooperative agreements for grooming          balanced, rather than given preference.


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OSV use may have an impact on NFS            procedural framework for making OSV         Some respondents commented that the
resources and wildlife. Managers must        use designations, rather than OSV use       Responsible Official should have to
apply the so-called “minimization            designations themselves. OSV use            address OSV use in the same manner as
criteria” in § 212.55 when determining       designations are made at the local level,   other motorized recreational uses on
which roads, trails and areas to             with appropriate public input and           NFS lands. These respondents reasoned
authorize for OSV use in order to            coordination with Federal, State, Tribal,   that the issue of use conflicts between
minimize effects on National Forest          and local governments based on the          motorized and non-motorized recreation
resources including wildlife. These          criteria in the final rule (§§ 212.55 and   is the same regardless of the level of
criteria do not change with this rule.       212.81(d)). The final rule does not         snowfall or the season.
The Department believes that National        provide for designating routes and areas       Other respondents stated that OSVs
Forests and Grasslands should provide        for OSV use everywhere it may occur.        are loud and that their noise carries, in
access for both motorized and non­           Rather, the final rule provides for         some cases for several miles, which
motorized uses in a manner that is           designation of a system of routes and       disturbs the quiet recreational
environmentally sustainable over the         areas where OSV use is allowed and for      experience of non-motorized users.
long term. The Department believes that      prohibition of OSV use that is              Some respondents believed that OSVs
the analysis of effects to wildlife and      inconsistent with the designations.         compromise air and water quality, the
other NFS resources for designations for       The final rule will not have any effect   landscape, and the quiet of the natural
motor vehicle use, including OSV use,        on the ground until designation of          forest setting. Some respondents
are best made at the local level, in         roads, trails, and areas for OSV use is     believed that OSV users leave behind
coordination with Federal, State, Tribal,    complete for a particular administrative    trash and litter that adversely affects
and local governments and with               unit or Ranger District, with appropriate   other users. Other respondents stated
appropriate public involvement, as           public involvement and coordination         that the Forest Service should endorse
provided for in this final rule.             with Federal, State, Tribal, and local      the minimization of OSV use in the
   Comment: Some respondents stated          governments. Designation decisions at       backcountry and that mechanized travel
that allowing OSV use everywhere hurts       the local level will be accompanied by      spoils the wilderness experience.
dedicated lynx and wolverine habitat.        appropriate consideration of potential         Some respondents stated that the
Some respondents stated that a large         impacts on threatened and endangered        proposed rule should protect the quiet
portion of wolverine habitat in North        species. In making designations for OSV     use of NFS lands, as this use predates
America is under Federal ownership           use, the Forest Service will consult with   any motorized use. Some respondents
and should be protected. These               the U.S. Fish and Wildlife Service, as      stated that the Forest Service failed to
respondents requested that the final rule    appropriate, under Section 7 of the         address non-motorized winter
fully evaluate and disclose the effects of   Endangered Species Act. BAT is not          recreational uses like skiing and
dispersed recreation on wolverines and       required for assessing impacts from         snowshoeing, which predate OSV use,
their habitat and, where necessary,          motor vehicle use. The Forest Service       and that these non-motorized uses are
minimize the harm from those activities.     encourages public participation in local    most likely to be heavily impacted by
These respondents also stated that the       OSV decision making.                        OSV use and should be addressed.
final rule should require the Forest                                                     Some respondents commented that it is
                                             Other Environmental Impacts and Use         difficult for non-motorized winter users
Service to consult with the U.S. Fish
                                             Conflicts                                   to reach the backcountry, but when they
and Wildlife Service to determine best
mitigation practices regarding                  Comment: Some respondents noted          do and find it overrun with OSVs, it can
wolverines. Some respondents stated          that OSVs are heavy and compact the         detract from their experience. These
that OSV use compact snow, which             snow, leaving deep tracks that make         respondents believed that motorized
gives larger predators like the coyote       slopes unusable and dangerous for           winter uses should be limited to certain
easier access to areas previously            cross-country skiing. These respondents     areas so that non-motorized winter users
available to only smaller predators like     stated that this impact could be avoided    can seek solitude and quiet elsewhere.
the lynx and results in increased            by separating motorized and non­            Other respondents stated that advances
competition during sensitive lifecycles.     motorized uses. Some respondents            in technology have allowed OSVs to go
Other respondents stated that there are      commented that motorized and non­           places they never have before, further
fewer species in the winter season than      motorized uses should be located in         decreasing the areas available for quiet
in the summer, but that their protection     separate staging areas, where possible,     recreation. Some respondents believed
is still important. Some respondents         to limit use conflicts. Some respondents    that non-motorized uses should be given
stated that Responsible Officials should     believed that snow pack from track          priority over motorized uses when
be required to use the best available        compaction decreases snow melt. Other       undertaking winter travel management
technology (BAT), as determined by the       respondents stated that OSVs come in        planning.
U.S. Environmental Protection Agency,        direct contact with the soil when OSV          Some respondents believed that OSVs
in assessing impacts of OSV use in areas     users search for adequate snow and that     with two-cycle motors are obsolete and
with sensitive species or special            OSVs come in contact with the top of        environmentally wasteful and should be
features. Some respondents stated that       vegetation, which has an impact on the      banned in favor of modern four-cycle
wildlife impacts from OSV use would          soil and vegetation. Some respondents       motors. These respondents noted that
be minimal because OSV users tend to         stated that motorized and non­              the exhaust from an OSV not only
favor higher elevations and because          motorized recreational activities are       smells but lingers in the area for several
wildlife has typically migrated to lower     legitimate uses of Federal land, but they   hours.
elevations where conditions are more         should be separated to ensure safe             Other respondents stated that OSVs
favorable.                                   enjoyment for all involved. Other           do not come in direct contact with the
   Response: The impact of OSV use on        respondents believed that OSV use is        ground and often ride on a cushion of
specific species, including threatened       incompatible with non-motorized uses        snow several feet thick, and that when
and endangered species, in specific          and should be excluded from all NFS         the snow melts, the tracks are washed
locations is beyond the scope of this        lands or should be restricted to trails     away. Some respondents believed that
final rule. This final rule addresses the    and subject to a licensing requirement.     OSVs on NFS roads do little to no harm


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compared to other motor vehicles and         environmentally sustainable over the          plowing trailhead parking and grooming
therefore should not be restricted. Other    long term. The NFS is not reserved for        trails by paying for a trail pass or
respondents believed that motorized          the exclusive use of any one group, nor       parking pass or paying a use fee. Some
winter use is an appropriate use of NFS      must every use be accommodated on             respondents stated that if non-motorized
lands and should not be limited in favor     every acre. It is entirely appropriate for    users want a separate system of trails,
of non-motorized winter uses. Some           different areas of the NFS to provide         they should have to pay a separate fee
respondents suggested that winter travel     different opportunities for recreation.       to fund maintenance of those trails.
planning be based on an equitable            The Department believes that                  Other respondents stated that the
process that eliminates the perceived        designations for motor vehicle use,           motorized recreation community has
bias that the OSV community has dealt        including OSV use, are best made at the       many partnerships in place to maintain
with for many years. These respondents       local level, in coordination with             and improve existing trails that are used
stated that non-motorized users like         Federal, State, Tribal, and local             by both motorized and non-motorized
cross-country and backcountry skiers,        governments and with appropriate              users.
snowshoe enthusiasts, split boarders,        public input, as provided for in this            Response: The extent to which the
and dog-sledders have unlimited access       final rule. The Forest Service                costs of plowing trailhead parking and
to the backcountry, including areas that     encourages public involvement in local        grooming trails are borne by users is
they could not realistically reach           OSV decisions.                                beyond the scope of this rulemaking.
without the aid of an OSV, while OSVs           The Department agrees that OSVs            The Forest Service does not typically
are limited to small fractions of the        have different impacts from other types       plow trailhead parking or groom trails
National Forests and Grasslands. These       of motor vehicles that run on the             and does not run programs that generate
respondents believed that limiting OSVs      ground. However, per EO 11644, as             revenue to pay for these services. States
to small areas would result in more use      amended, and the court order, the             or private organizations typically plow
conflicts and greater environmental          Forest Service must designate those           trailhead parking and groom trails using
impacts.                                     routes and areas where OSV use is             revenue derived from the States’ sales
   Response: The site specific potential     allowed and those routes and areas            tax or the sale of stickers issued by the
effects of OSV use on non-motorized          where OSV use is prohibited.                  States. The final rule revises the
winter recreational use and natural                                                        procedural framework for local
                                             Economic Impacts
resources and the designation of certain                                                   decision-making regarding OSV use and
types of OSVs in specific locations are         Comment: Some respondents believe          will not have any effect until
beyond the scope of this final rule. This    that increased regulation of OSV use          designation of roads, trails, and areas is
final rule addresses the procedural          will have a negative impact on small­         complete for a particular administrative
framework for making OSV use                 town economies that depend on OSV             unit or Ranger District, with appropriate
designations, rather than OSV use            users for income.                             public involvement and in coordination
designations themselves. OSV use                Response: The final rule revises the       with Federal, State, Tribal, and local
designations are made at the local level,    procedural framework for local                governments. The Forest Service’s
with appropriate public input and            decision-making regarding OSV use and         authority to charge and retain fees for
coordination with Federal, State, Tribal,    will not have any effect until                use of recreational facilities and services
and local governments based on the           designation of roads, trails, and areas for   is contained in the Federal Lands
criteria in the final rule (§§ 212.55 and    OSV use is complete for a particular          Recreation Enhancement Act (16 U.S.G.
212.81(d)). The same criteria are applied    administrative unit or Ranger District,       6801-6814), which is beyond the scope
to designations for OSV use and              with appropriate public involvement           of this rulemaking. The Department
designations for other types of motor        and coordination with Federal, State,         agrees that cooperators make valuable
vehicle use. Potential effects of OSV use    Tribal, and local governments. Even           contributions to maintenance and
on non-motorized winter recreational         after OSV designations are complete, the      improvement of NFS trails for both
use and natural resources are addressed      final rule will have no direct impact on      motorized and non-motorized users.
in the procedural framework for OSV          small business entities because
use designations in the final rule. The      designations merely will regulate where       Demographics of OSV Use
criteria for designation of roads, trails,   OSV use will occur on NFS roads, on             Comment: The demographics used in
and areas for OSV use in the final rule      NFS trails, and in areas on NFS lands.        the proposed rule are outdated and
require the Responsible Official to          The Department has determined that the        should be updated to reflect current
consider, with the objective of              final rule will not have a significant        OSV use.
minimizing, effects of OSV use on            economic impact on a substantial                Response: The demographics for OSV
natural resources and conflicts between      number of small entities because the          use used in the proposed rule are
OSV use and existing or proposed             final rule will not impose recordkeeping      provided for background purposes and
recreational uses of NFS lands,              requirements on them, nor will it affect      date from a 2012 Resource Planning
including non-motorized winter               their competitive position in relation to     Assessment. These figures are current,
recreational uses. In addition, the          large entities or their cash flow,            as figures in Resource Planning
criteria for designation of routes and       liquidity, or ability to remain in the        Assessments conducted under the
areas for OSV use require the                market.                                       Forest and Rangeland Renewable
Responsible Official to consider the            Comment: Some respondents stated           Resources Planning Act of 1974 (RPA)
compatibility of OSV use with existing       that non-motorized winter users of NFS        (16 U.S.G. 1600 note, 1600-1614) are
conditions in populated areas, taking        lands use staging areas and trails that in    normally updated every 5 to 10 years.
into account sound, emissions, and           many cases have been plowed or                The increase in cross-country skiing
other factors (§§ 212.55(b) and 212.81(d)    groomed with revenue from OSV users;          between 1992-93 and 1999-2000 is 2.6
of the final rule).                          that non-motorized users do not pay for       million visits, while the increase in OSV
   The Department believes that              plowed trailhead parking or groomed           use for those periods is 6.1 million
National Forests and Grasslands should       trails but want increased access to these     visits.
provide access for both motorized and        areas; and that non-motorized users             Comment: The percentages used in
non-motorized uses in a manner that is       should be required to share the cost of       the proposed rule to demonstrate an


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increase in recreational activities like     Comments Related to Specific Sections          Response: Regulation of non­
bird-watching and fishing can be             of the Proposed Rule                         motorized uses such as bicycle use is
misleading; the Forest Service should                                                     beyond the scope of this rulemaking.
                                             Part 212—Travel Management
replace them with actual numbers.                                                         The definition of “over-snow vehicle” is
   Response: This information was            Subpart A—Administration of the              also beyond the scope of this
provided for background purposes and         Forest Transportation System                 rulemaking, as it was not proposed for
came from research data in “Outdoor          212.1—Definitions                            revision. The Department does not
Recreation Trends and Futures, a                                                          believe it is necessary or appropriate to
Technical Document Supporting the               Comment: Some respondents                 revise the definition of “over-snow
Forest Service 2010 RPA Assessment,”         commented that designation of areas as       vehicle” at this time.
p. 135 (H. Cordell, 2012) at http://         big as a Ranger District would not
WWW. srs .fs.usda.gov/pubs/gtr/gtr_          comply with the language or intent of        Subpart C---- Over-Snow Vehicle Use
srsl50.pdf.                                  EO 11644, as amended. Some                   212.81(a)—Over-Snow Vehicle Use,
Recreational Preferences                     respondents commented that the               General
                                             proposed definition for an area would           Comment: Some respondents believed
   Comment: Some respondents stated          not resolve use conflicts and would only
that wilderness areas have increased                                                      that local officials should be given the
                                             exacerbate them. One respondent              discretion to designate a system of
steadily over the last 40 years, which       suggested that designated areas should
has limited all forms of motorized                                                        routes and areas where OSV use is
                                             be limited to watersheds no larger than      allowed unless prohibited or a system of
recreation and given more access to          those assigned hydrologic unit code 6
non-motorized uses. These respondents                                                     routes and areas where OSV use is
                                             by the U.S. Geological Survey. Other         prohibited unless allowed.
stated that Federal lands should be open     respondents supported the proposed
to all members of the public.                                                                Some respondents believed that the
                                             definition of an area.                       Responsible Official should not have the
   Response: This final rule does not
                                                Response: a.O. 11644, as amended,         discretion to designate a system of
encourage or discourage motor vehicle
                                             does not define the term “area.” The         routes and areas where OSV use is
use, but rather requires designation of
                                             amended definition for “area” in the         allowed unless prohibited or a system of
roads, trails, and areas for OSV use. The
                                             proposed and final rules is based on the     routes and areas where OSV use is
Department believes that a well-
                                             characteristics of OSV use, which            prohibited unless allowed. These
designed system of routes and areas
                                             presents a distinct suite of issues. An      respondents stated that winter travel
designated for OSV use can reduce
                                             OSV traveling over snow has different        management planning should be more
maintenance needs and environmental
                                             impacts on natural resource values than      consistent with travel management
damage while enhancing the
                                             motor vehicles traveling over the            planning in other seasons by producing
recreational experience for all users,
                                             ground. Unlike other motor vehicles          a system of routes and areas where OSV
both motorized and non-motorized.
   Comment: Some respondents                 traveling cross-country, OSVs traveling      use is prohibited unless allowed. These
commented that motor vehicle access          cross-country generally do not create a      respondents noted that this approach is
for the elderly and persons with             permanent trail or have a direct impact      easily understood by the public and is
disabilities should not be limited.          on soil and ground vegetation. However,      more enforceable. Other respondents
   Response: Under section 504 of the        OSV use may have an impact on NFS            stated that where appropriate (for
Rehabilitation Act of 1973, no person        resources and wildlife. The Department       example, where no natural resource
with a disability can be denied              anticipates that it may be appropriate to    issues are identified), the Forest Service
participation in a Federal program that      designate areas for cross-country OSV        should be consistent regarding
is available to all other people solely      use and that it may be appropriate to        designations for OSV use across District,
because of his or her disability. In         designate larger areas for cross-country     Forest, and Regional boundaries. These
conformance with section 504,                OSV use than for cross-country use by        respondents believed that District,
wheelchairs are welcome on all NFS           other types of motor vehicles.               Forest, and Regional boundaries can be
lands that are open to foot travel and are   Accordingly, the definition for an area      confusing to the public and that
specifically exempted from the               in the proposed and final rules exempts      consistent designations for OSV use
definition of a motor vehicle in § 212.1     OSVs from the statement that in most         would improve public understanding as
of the TMR, even if they are battery-        cases an area will be much smaller than      well as provide consistent opportunities
powered. However, there is no legal          a Ranger District. The definition of         for OSV use.
requirement to allow people with             “area” in the proposed and final rules          Other respondents commented that
disabilities to use OSVs on NFS roads,       does not provide that areas designated       the proposed rule violates E.O. 11644,
on NFS trails, and in areas on NFS lands     for OSV use will necessarily be as large     as amended, and the March 29, 2013,
where OSV use is prohibited because          as a Ranger District, but rather that they   court decision by continuing to allow
such an exemption could fundamentally        do not have to be much smaller than a        designation of a system that is open
alter the nature of the Forest Service’s     Ranger District. As with evaluation of       unless closed to OSV use, which
travel management program (7 CFR             areas proposed for other types of motor      circumvents analysis of impacts from
15e.l03). Reasonable restrictions on         vehicle use, proposed OSV areas will be      OSV use. Other respondents commented
OSV use, applied consistently to             subject to the minimization criteria in      that, to be consistent with the E.O.
everyone, are not discriminatory.            § 212.55{b)(l)-(4), pursuant to              11644, as amended, the Agency must
   Comment: Some respondents believed        § 212.81(d) of the final rule.               designate trails and areas where OSV
that the Forest Service should remove           Comment: Some respondents                 use is allowed and trails and areas
references to “play areas” from the final    commented that the definition of the         where OSV use is not allowed.
rule because all types of terrain are        term “over-snow vehicle” needs to be            Response: In its March 29, 2013,
conducive to OSV travel and recreation.      expanded to allow for modified               ruling, the Federal District Court held
   Response: Like the proposed rule, the     vehicles, such as snowcats and fat tire      that under E.O. 11644, as amended, the
final rule does not include a reference      bicycles, to be used on the trail system     Forest Service has the discretion to
to “play areas.”                             if permitted by State law.                   determine how to regulate OSV use, but


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that the Agency does not have the            depth, rather than a specific timeframe.      Midwest and West and should be
discretion to determine whether it will      Other respondents suggested that OSV          allowed to continue under the final rule.
regulate OSV use. The proposed rule is       use be zoned by timeframe as well as by       Other respondents believed that OSV
consistent with the court’s ruling in that   location.                                     use in the West should not be limited
it requires the Agency to designate             Response: The Department agrees that       to designated trails and that experienced
routes and areas for OSV use, hut gives      OSV designation decisions, including          riders would not ride off route in an
the Responsible Official the discretion      adequacy of snowfall for OSV use,             area that is not conducive to OSV use
to determine whether to designate a          should be made at the local level, as         because they are aware that riding in
system of routes and areas that is open      reflected in the final rule. Designation of   this type of area would damage the
unless designated closed to OSV use or       OSV use in specific locations, including      expensive tracks on OSVs. Some
a system of routes and areas that is         determination of where snowfall is            respondents stated that OSVs should be
closed unless designated open for OSV        adequate for OSV use to occur, is             given the same opportunity to travel
use. In either case, the decision would      beyond the scope of this rule. The final      cross-country as skiers and snowshoers.
be based on an analysis of the impacts       rule revises the procedural framework         Some respondents suggested that the
from the proposed designations and           for local decision-making regarding OSV       ability to travel cross-country on an
anticipated uses in accordance with          use, utilizing the criteria for designation   OSV is what brings people to snow-
subpart B, as modified in subpart C to       of roads, trails, and areas (§§ 212.55 and    covered areas and that by limiting OSV
provide for consistency in terminology.      212.81(d) of the final rule).                 use to routes, the Forest Service would
   The Department agrees that it would          Section 212.81(a) of the proposed rule     decrease the number of people who will
be clearer for the public and would          provides, subject to certain exceptions,      visit these areas. Some respondents
enhance consistency in travel                that OSV use on NFS roads, on NFS             believed that the proposed rule
management planning and decision­            trails, and in areas on NFS lands must        recognizes that OSV use is a legitimate
making if the Responsible Official were      be designated on administrative units         use on NFS lands and that OSV use
required to designate a system of routes     and Ranger Districts, or parts of those       should not be limited to designated
and areas where OSV use is prohibited        units and Districts, where snowfall is        trails and roads, but should also be
unless allowed. Accordingly, the             adequate for that use to occur. The           allowed to occur in open areas. These
Department has revised § 212.81(a) in        Forest Service intended the phrase,           respondents stated that the proposed
the final rule to state that, subject to     “where snowfall is adequate for that use      rule should be implemented as written.
specified exemptions, OSV use on NFS         to occur,” to have two applications.             Other respondents believed that cross­
roads, on NFS trails, and in areas on        First, the Agency intended the phrase to      country OSV use should not be allowed
NFS lands must be designated by the          exempt units like the National Forests of     because OSV users can quickly become
Responsible Official on administrative       Florida that never have enough snowfall       lost and end up in a non-motorized area.
units or Ranger Districts, or parts of       for OSV use to occur from the                 Some respondents suggested that areas
administrative units or Ranger Districts,    designation requirement in § 212.81(a).       3 to 5 square miles beyond trailheads
where snowfall is adequate for that use      Second, where snowfall may occur, but         and parking lots should be closed to
to occur and, as appropriate, must be        is not consistently adequate for OSV use      cross-country OSV use during the snow
designated by class of vehicle and time      to occur, the Agency intended the             months. These respondents believed
of year. Under § 261.14 of the final rule,   phrase to provide for the Responsible         that this approach would allow OSVs to
OSV use that is not in accordance with       Official to determine when snowfall is        access the backcountry while leaving
the designations reflected on an OSV         adequate in designating OSV use. To           the more accessible areas to snowshoers
use map is prohibited.                       clarify these intentions, the Department      and cross-country skiers.
   The Department has removed the            has added the phrase, “and if                    Response: The Department agrees that
definition of “designated road, trail, or    appropriate, shall be designated by class     OSV use presents a distinct suite of
area” from § 212.1, as with                  of vehicle and time of year,” after the       issues. An OSV traveling over snow has
promulgation of this final rule it is no     phrase, “where snowfall is adequate for       different impacts on natural resource
longer accurate to define designated         that use to occur.” The Department has        values than motor vehicles traveling
routes and areas as those that are           included the phrase, “class of vehicle,”      over the ground. Unlike other motor
designated for motor vehicle use             to enhance consistency with subpart B,        vehicles traveling cross-country, OSVs
pursuant to §212.51 on a motor vehicle       in accordance with the preceding              traveling cross-country generally do not
use map. Under this final rule, routes       comment and response, and to allow            create a permanent trail or have a direct
and areas will also be designated for        Responsible Officials to take into            impact on soil and ground vegetation.
OSV use pursuant to § 212.81 on an           account changing technology in OSVs.          Therefore, the Department anticipates
OSV use map.                                 The Department has included the               that it may be appropriate to designate
   Comment: Most respondents                 qualifier, “as appropriate,” because it       areas for cross-country OSV use and that
commented that OSV designation               may not always be appropriate or              it may be appropriate to designate larger
decisions should be made at the local        necessary to designate OSV use by class       areas for cross-country OSV use than for
level, not at the national level. Some       of vehicle or time of year. The               cross-country use by other types of
respondents commented that the local         Department believes that determinations       motor vehicles. Accordingly, the
Forest Service official should retain the    of when snowfall is adequate for OSV to       definition for an area in the proposed
discretion to manage OSV use to              occur should be based on local                and final rules exempts OSVs from the
address local conditions.                    conditions, including, as appropriate,        statement that in most cases an area will
   Many respondents stated that whether      variability in the weather.                   be much smaller than a Ranger District.
there is adequate snowfall for OSV use          Comment: Many respondents                  Whether specific areas should be
should be determined at the local level      commented that the proposed rule              designated for OSV use is beyond the
and should not be based on specific          recognizes the difference between OSV         scope of this final rule. This final rule
starting and ending dates because of the     use in the East and OSV use in the            addresses the procedural framework for
unpredictability of snowfall. Some           Midwest and West. These respondents           making OSV use designations, rather
respondents suggested that adequate          stated that cross-country travel is the       than OSV use designations themselves.
snowfall be determined by a minimum          preferred method of OSV use in the            OSV use designations are made at the


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local level, with appropriate public        designation for OSV use. Other              administrative use by State fish and
input and coordination with Federal,        respondents commented that by failing       wildlife management agencies. The
State, Tribal, and local governments,       to provide for analysis of trails within    Department has retained the qualifier
based on the criteria in the final rule     areas, the proposed rule does not           “limited administrative use” in the
(§§212.55 and 212.81(d)).                   address the requirement to show that        exemption. A broad exemption from
   Comment: Some respondents                OSV use on those routes will not have       OSV designations could undercut the
commented that the proposed rule            a negative impact on the environment or     purposes of the final rule. The
should restrict OSV use to designated       other uses.                                 Department is not making the requested
routes and prohibit cross-country OSV          Response: The Department believes        revision so as to stay consistent with the
use near wilderness and that the routes     that if an area is analyzed appropriately   corresponding exemption in
should be designated so as to minimize      under NEPA for OSV use utilizing the        §§ 212.51(a)(4) and 261.13(d) of the
impacts on wilderness and wildlife and      criteria established in the final rule      TMR. The Forest Service has the ability
to avoid impairment of the visitor          (§§ 212.55 and 212.81(d)), there is no      to authorize OSV use by State fish and
experience in wilderness.                   need for additional analysis to evaluate    wildlife management agencies on a case-
   Response: The Department does not        effects of OSV use on specific trails in    by-case basis.
believe it would be appropriate for this    that area, which are typically covered by      Comment: Some respondents stated
rule to restrict OSV use to designated      snow. As units analyze an area, impacts     that there should be a process for
routes and prohibit cross-country OSV       on the environment and other users will     administrative review of OSV
use near wilderness. Responsible            be minimized within that area as            designation decisions prior to their
officials will consider impacts of OSV      specified in § 212.55(b)(l)-(4).            enforcement.
use on nearby wilderness and wildlife       Consistent with the EOs, the proposed         Response: OSV designation decisions
during the designation process by           and final rules do not require the Forest   that are documented with a decision
applying the minimization criteria of       Service to show the absence of any          notice or record of decision associated
212.55 to minimize effects to National      adverse impacts from OSV use on the         with an environmental assessment or
Forest resources and to other users.        environment or other uses. Rather, the      environmental impact statement are
   Comment: Some respondents                proposed and final rules require the        subject to the predecisional objection
commented that Forest Service units         Agency to consider, with the objective      process in 36 CFR part 218.
will need to conduct site-specific          of minimizing, certain environmental        212.81 (b)—Previous Comprehensive
analysis for all resources within an area   impacts and use conflicts
to be designated for OSV use, which                                                     Over-Snow Vehicle Decisions
                                            (§212.55(b)(l)-(4)).
would require a “hard look” under the          Comment: Some respondents                   Comment: Some respondents believed
National Environmental Policy Act           commented that there is a master            that all areas on NFS lands that are open
(NEPA). These respondents believed          memorandum of understanding between         to OSV use should remain that way.
that the NFPA process for designating       the Forest Service’s Alaska Region and         Other respondents stated that the final
an area for OSV use could be onerous.       the Alaska Department of Fish and           rule should allow areas and routes to be
Other respondents commented that            Game (ADF&G) and that ADF&G has             designated for OSV use only after
NEPA documentation for winter travel        authority to regulate fish and wildlife     comprehensive analysis has been made
management decisions does not               populations on NFS lands, except to the     available for public review and
adequately reflect how the Forest           extent that authority is superseded by      comment.
Service applied the minimization            Federal law. These respondents also            Response: The final rule’s prohibition
criteria in the TMR in those decisions      noted that, with regard to designated       on OSV use off the designated system
and is inconsistent with the TMR.           wilderness in Alaska, administrative use    (§ 261.14) goes into effect on an
   Response: Regulations implementing       of OSVs by governmental agencies is         administrative unit or a Ranger District
NEPA are issued by the Council on           allowed pursuant to the Alaska National     once that unit or District has designated
Environmental Quality and are found at      Interest Lands Conservation Act             those NFS roads, NFS trails, and areas
40 CFR part 1500. Agency direction on       (ANILCA) and Forest Service Manual          on NFS lands that are open to OSV use
NEPA compliance is found in 36 CFR          Supplement no. R-10 2300-2003-2,            and published an OSV use map
part 220 and FSH 1909.15. The               2326.1, Conditions Under Which Use          identifying those roads, trails, and areas
Department believes that the scope,         May Be Approved. These respondents          (§ 212.81(c) of the final rule). Until
content, and documentation of NEPA          suggested amending the exemption from       designations for a unit or District are
analysis associated with designating        OSV designations in proposed                complete and an OSV use map
routes and areas for OSV use will           § 212.81(a)(1) for limited administrative   identifying those designations is
ultimately depend on site-specific          use by the Forest Service to add            published, existing OSV travel
factors, including the local history of     administrative use by State fish and        management policies, restrictions, and
travel planning, public input, and          wildlife management agencies. These         orders remain in effect. Use of NFS
environmental impacts at the local          respondents believed that an exemption      roads, NFS trails, and areas on NFS
level. Therefore, the Department is not     should be granted for all administrative    lands consistent with current OSV
addressing NEPA compliance in this          use because the qualifier “limited” is      travel management decisions and
final rule. The Responsible Official will   not defined and is redundant, since         management objectives may continue.
address application of the minimization     Agency administrative field work and        Forest Supervisors may continue to
criteria pursuant to §§ 212.55(b)(l)-(4)    travel are presumably necessary rather      issue travel management orders
and 212.81(d) of the final rule in          than superfluous.                           pursuant to part 261, subpart B, and
documentation for OSV designation              Response: The Department disagrees       impose temporary, emergency closures
decisions.                                  that the exemption from OSV                 based on a determination of
   Comment: Some respondents stated         designations in § 212.81(a)(1) of the       considerable adverse effects pursuant to
that the Forest Service should clarify in   proposed rule and from the prohibition      §§ 212.52(b)(2) and 212.81(d) of the final
the final rule the need to apply the        in § 261.14(a) of the TMR for limited       rule. Under §§ 212.80(b) and 212.81(b)
minimization criteria in the TMR to         administrative use by the Forest Service    of the final rule, previous administrative
trails within areas that are proposed for   should be revised to add limited            decisions that allow, restrict, or prohibit


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OSV use on NFS roads and NFS trails           reviewed under the proposed rule.          designate those routes and areas where
or in areas on NFS lands and that were        Some respondents suggested that the        OSV use is allowed and in prohibiting
made under other authorities may              Forest Service retain only previous OSV OSV use off the designated system.
remain in effect.                             use decisions that were based on              Comment: Some respondents
   As stated above, units or Districts that   application of the minimization criteria, suggested expanding the criterion to
have completed OSV use designations           as required by E.O. 11644, and that all    consider conflicts between motorized
under other authorities and including         other previous OSV use decisions are       and non-motorized uses under
public involvement do not have to             deemed invalid.                            § 212.55(b)(3) in making OSV
revisit them and may, with public                Some respondents believed that          designations to state that (1) remote
notice but no further analysis or             previous OSV use decisions should not      lands that are not readily reachable by
decision-making, establish those              have to be reviewed, as they were made     non-motorized winter recreationists but
decisions as the designation pursuant to      in accordance with the legal authorities   are readily reachable by OSV users
this final rule for the unit or District,     in effect at that time, and as the Forest  should not be counted against OSV
effective upon publication of an OSV          Service does not have the budget or        users; (2) OSV users should be credited
use map.                                      personnel to review all previous OSV       for maintaining restrooms, parking
   In that situation, the only substantive    use decisions while making new OSV         facilities, and trails that benefit non­
change effected by this final rule will be    use decisions. These respondents           motorized recreationists; and (3) lands
enforcement of the restrictions pursuant      believed that requiring review of all      that are open to OSV use generally
to the prohibition in § 261.14, rather        previous OSV use decisions would           remain open to non-motorized winter
than pursuant to an order issued under        result in a backlog that would negatively recreation and so provide value to non­
part 261, subpart B. Section 212.81(b) of     affect all winter recreationists.          motorized recreationists.
the final rule provides that no further          Response: The Department does not          Response: The Department does not
public involvement is required in this        believe that previous OSV use decisions believe that it would be appropriate to
special case. Alternatively, Responsible      made under other authorities should be     make this revision. Section 212.55(b)(3)
Officials may revise OSV designations         subject to an expiration date or a         of the TMR applies to all types of motor
under §§ 212.54 and 212.81(d) of the          requirement for review. As with prior      vehicle use, including OSV use, and
final rule.                                   administrative decisions governing         tracks the corresponding wording in
   New OSV designation decisions will         other types of motor vehicle use,          Section 3(a)(3) of E.O. 11644, as
be subject to the procedural                  nothing in this final rule requires        amended. Decisions regarding where
requirements in the final rule, including     reconsideration of any previous            OSV use may occur are best made at the
appropriate public involvement                administrative decisions that allow,       local level based on site-specific
(§§ 212.52(a) and 212.81(d) of the final      restrict, or prohibit OSV use on NFS       conditions and with appropriate public
rule). Nothing in this final rule requires    roads and NFS trails or in areas on NFS    involvement, including input from
reconsideration of any previous               lands and that were made under other       motorized and non-motorized users and
administrative decisions that allow,          authorities, including decisions made in other interested parties.
restrict, or prohibit OSV use on NFS          land management plans and travel              Comment: Some respondents
roads and NFS trails or in areas on NFS       plans. To the contrary, §§ 212.80(b) and   commented that the final rule should
lands and that were made under other          212.81(b) of the final rule provide for    require the Responsible Official to
authorities, including decisions made in      these decisions to be given effect. The    coordinate with State and local officials
land management plans and travel              Department believes that previous OSV      before making any preliminary or final
plans. Section 212.80(b) of the final rule    use decisions made under other             OSV designation decision.
provides that these decisions may be          authorities are valid and that requiring      Response: The Department agrees that
incorporated into OSV designations            review of previous OSV use decisions       travel management decisions should be
made pursuant to this final rule.             would be inefficient and disrespectful of coordinated with appropriate Federal,
   Comment: Some respondents                  public involvement in past OSV use         State, Tribal, county, and other local
suggested that the Forest Service             decision-making. The final rule            governments, as provided for in
establish an expiration date for all          recognizes that designations of roads,     §§ 212.53 and 212.81(d) of the final rule.
previous OSV use decisions to ensure          trails, and areas for OSV use are not         Comment: Some respondents
that an administrative unit or a Ranger       permanent. Unforeseen environmental        commented that the proposed rule
District is not relying on OSV use            impacts, changes in public demand,         appropriately requires the Responsible
decisions or winter travel plans that are     route construction, and monitoring         Official to recognize Sections 811(b) and
woefully out of date. Other respondents       conducted under §§ 212.57 and              1110(a) of ANILCA when implementing
stated that previous OSV use decisions        212.81(d) of the final rule may lead       the rule in Alaska and that the proposed
should not be given undue weight, and         Responsible Officials to consider          rule should reference OSV use
that just because they were made under        revising OSV designations under            authorized under other applicable
previous authorities does not mean that       §§ 212.54 and 212.81(d) of the final rule. provisions of ANILCA.
they should not be reviewed. Some                                                           Response: The Department declines to
respondents suggested that all existing       212.81 (c)—Decision-Making Process         make this change, as sections 811(b) and
OSV use decisions be reviewed for                Comment: Some respondents stated        1110(a) are the only provisions in
compliance with the minimization              that the specific requirements for         ANILCA that directly address OSV use.
criteria in the TMR and E.O. 11644, as        management of OSV use in E.O. 11644,          Comment: Some respondents stated
amended. Other respondents believed           as amended, as reinforced by the March that the OSV use map, a requirement
that if previous OSV use decisions            29, 2013, court ruling, should be          under the proposed rule, must have
addressed the minimization criteria in        incorporated into the proposed rule.       sufficient detail in order to be useful,
E.O. 11644, as amended, and were made            Response: The Department agrees and and that the final rule should identify
with public involvement, they should          believes that the final rule is consistent more clearly what should be included
not have to be reviewed, but that             with E.O. 11644, as amended, and the       on an OSV use map.
previous OSV use decisions that do not        March 29, 2013, court ruling in               Response: The Forest Service plans to
meet these criteria should have to be         requiring the Responsible Official to      develop a standard national format for


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OSV use maps issued under this final         on natural resources and non-motorized       final rule will not have a significant
rule. The Forest Service also plans to       users.                                       economic impact on a substantial
issue additional travel management              Response: Regulation of activities and    number of small entities pursuant to the
guidance in its sign handbook to             events involving OSV use on NFS lands        Regulatory Flexibility Act because it
enhance consistency in content and use       is beyond the scope of this rulemaking,      will not impose recordkeeping
of standard interagency symbols in           which involves designation of routes         requirements on them; it will not affect
signs. In addition, the Department has       and areas for OSV use. OSV use               their competitive position in relation to
added a definition for “over-snow            designations are made at the local level,    large entities; and it will not affect their
vehicle use map” to 36 CFR 212.1 and         with appropriate public input and            cash flow, liquidity, or ability to remain
has moved the requirement for an OSV         coordination with Federal, State, Tribal,    in the market.
use map in subpart C to a separate           and local governments based on the
section, § 212.81(c) of the final rule, to                                                Federalism and Consultation and
                                             criteria in the final rule (§§ 212.55 and
underscore that this requirement is                                                       Coordination With Indian Tribal
                                             212.81(d)). The Department does not
separate from the requirement for a                                                       Governments
                                             believe it would be appropriate to
motor vehicle use map under subpart B.       establish a prohibition on activities and       The Department has considered this
Consistent with § 212.81(a) of the final     events involving OSV use, which is a         final rule under the requirements of E.O.
rule, § 212.81(c) of the final rule          legitimate use of NFS lands. Permit          13132 on federalism and has
provides for an OSV use map to display       requirements for OSV use are governed        determined that the final rule conforms
the classes of vehicles and the time of      by the Federal Lands Recreation              with the federalism principles set out in
year designated for OSV use, if              Enhancement Act (16 U.S.C. 6802(h)).         this E.O. The final rule will not impose
applicable.                                                                               any compliance costs on the States and
   Comment: Some respondents stated          5. Regulatory Certifications for the
                                                                                          will not have substantial direct effects
that NFS roads, NFS trails, and areas on     Final Rule
                                                                                          on the States, the relationship between
NFS lands designated for OSV use             Regula tory Impact                           the Federal Government and the States,
should be clearly marked. Other                                                           or the distribution of power and
respondents believed that restrictions         This final rule has been reviewed
                                             under USDA procedures and E.O. 12866         responsibilities among the various
on OSV use should be more clearly                                                         levels of government. Therefore, the
relayed to the public so incidents of        on regulatory planning and review. The
                                             Office of Management and Budget              Department has determined that no
OSV use off the designated system                                                         further assessment of federalism
could be reported to the proper              (OMB) has determined that this final
                                             rule is nonsignificant and is therefore      implications is necessary at this time.
authorities. These respondents                                                               Moreover, this final rule does not
recommended increasing signage               not subject to OMB review under E.O.
                                             12866.                                       have Tribal implications as defined by
around areas designated for OSV use to                                                    E.O. 13175, entitled “Consultation and
increase awareness of these designations     Environmental Impact                         Coordination with Indian Tribal
by both motorized and non-motorized                                                       Governments,” and therefore advance
users.                                          This final rule requires designation at
                                             the field level, with appropriate public     consultation with Tribes is not required.
   Response: The Department declines to
adopt this suggestion. The Forest            input, of those NFS roads, NFS trails,       No Takings Implications
Service has found that posting routes as     and areas on NFS lands that are open to
                                             OSV use. This final rule will have no           The Department has analyzed this
open or closed to particular uses has not
                                             effect on users or on the environment        final rule in accordance with the
always been effective in controlling use,
                                             until designation of NFS roads, NFS          principles and criteria contained in E.O.
partly because new unauthorized routes
                                             trails, and areas on NFS lands for OSV       12630. The Department has determined
continue to appear even in areas that are
                                             use is complete for a particular             that this final rule will not pose the risk
closed to motor vehicle use. Requiring
                                             administrative unit or Ranger District,      of a taking of private property.
each undesignated route and area to be
posted as closed would be an                 with appropriate public involvement.         Controlling Paperwork Burdens on the
unreasonable and unnecessary burden          Forest Service regulations at 36 CFR         Public
on Agency resources and would tend to        220.6(d)(2) exclude from documentation
                                             in an environmental assessment or              This final rule does not contain any
defeat the purpose of the final rule.
                                             environmental impact statement “rules,       recordkeeping or reporting requirements
Signs have also proven to be difficult to
                                             regulations, or policies to establish        or other information collection
maintain and subject to vandalism. The
                                             service-wide administrative procedures,      requirements as defined in 5 U.S.C.
final rule places more responsibility on
                                             program processes, or instructions.” The     1320 that are not already required by
users to get OSV use maps from Forest
                                             Department has concluded that this           law or not already approved for use.
Service offices or Web sites and to
                                             final rule falls within this category of     Accordingly, the review provisions of
remain on routes and in areas
                                             actions and that no extraordinary            the Paperwork Reduction Act of 1995
designated for OSV use. This approach
                                             circumstances exist which would              (44 U.S.C. 3501 et seq.} and its
is consistent with subpart B of the TMR.
                                             require preparation of an environmental      implementing regulations at 5 CFR part
Part 261—Prohibitions                        assessment or environmental impact           1320 do not apply.
Subpart A—General Prohibitions               statement.                                   Energy Effects
261.14—Over-Snow Vehicle Use                 Regulatory Flexibility Act Analysis             The Department has reviewed this
   Comment: Some respondents                    The Department has considered this        final rule under E.O. 13211, entitled
suggested that the Forest Service require    final rule in light of the Regulatory        “Actions Concerning Regulations That
a special use permit for or prohibit         Flexibility Act (5 U.S.C. 602 ef seq.}.      Significantly Affect Energy Supply,
activities and events involving OSV use      This final rule will not directly affect     Distribution, or Use.” The Department
on NFS lands. Other respondents              small businesses, small organizations,       has determined that this final rule does
commented that day use permits should        and small governmental entities. The         not constitute a significant energy action
be required for OSV use to limit impacts     Department has determined that this          as defined in the E.O.


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Civil Justice Reform                           road, a National Forest System trail, or           (2) Use of any fire, military,
   The Department has reviewed this            an area on National Forest System lands         emergency, or law enforcement vehicle
final rule under E.O. 12988 on civil           where over-snow vehicle use is allowed          for emergency purposes;
justice reform. After adaptation of this       pursuant to § 212.81.                              (3) Authorized use of any combat or
final rule, (1) all State and local laws                                                       combat support vehicle for national
and regulations that conflict with this           Over-snow vehicle use map. A map             defense purposes;
final rule or that impede its full             reflecting roads, trails, and areas
                                                                                                  (4) Law enforcement response to
implementation will he preempted; (2)          designated for over-snow vehicle use on
                                                                                               violations of law, including pursuit; and
no retroactive effect will he given to this    an administrative unit or a Ranger
final rule; and (3) it will not require        District of the National Forest System.            (5) Over-snow vehicle use that is
administrative proceedings before              A                                               specifically authorized under a written
parties may file suit in court challenging                                                     authorization issued under Federal law
its provisions.                                Subpart C—Over-Snow Vehicle Use                 or regulations.
Unfunded Mandates                                                                                 (b) Previous over-snow vehicle
                                               ■ 3. Revise the heading of subpart C to         decisions. Public notice with no further
   Pursuant to Title II of the Unfunded        read as set forth above.                        public involvement is sufficient if an
Mandates Reform Act of 1995 (2 U.S.C.          ■ 4. The authority citation for subpart C       administrative unit or a Ranger District
1531-1538), which the President signed         continues to read as follows;                   has made previous administrative
into law on March 22, 1995, the                  Authority: 7 U.S.C. 1011(f), 16 U.S.C. 551,   decisions, under other authorities and
Department has assessed the effects of         E.O. 11644, 11989 (42 FR 26959).                including public involvement, which
this final rule on State, Tribal, and local
governments and the private sector.            ■ 5. Revise § 212.80 to read as follows:        restrict over-snow vehicle use to
This final rule will not compel the                                                            designated routes and areas over the
                                               §212.80    Purpose, scope, and definitions.     entire administrative unit or Ranger
expenditure of $100 million or more by
any State, Tribal, or local government or         (a) Purpose. This subpart provides for       District, or parts of the administrative
anyone in the private sector. Therefore,       a system of National Forest System              unit or Ranger District, where snowfall
a statement under section 202 of the act       roads. National Forest System trails, and       is adequate for OSV use to occur, and
is not required.                               areas on National Forest System lands           no change is proposed to these previous
                                               that are designated for over-snow               decisions.
List of Subjects                               vehicle use. After these roads, trails, and        (c) Identification of roads, trails, and
36 CFR Part 212                                areas are designated, over-snow vehicle         areas for over-snow vehicle use.
                                               use not in accordance with these                Designation of National Forest System
  Highways and roads. National Forests,        designations is prohibited by 36 CFR
Public lands—rights-of-way, and                                                                roads. National Forest System trails, and
                                               261.14. Over-snow vehicle use off               areas on National Forest System lands
Transportation.                                designated roads and trails and outside
                                                                                               for over-snow vehicle use shall be
36 CFR Part 261                                designated areas is prohibited by 36
                                                                                               reflected on an over-snow vehicle use
                                               CFR 261.14.
  Law enforcement. National forests.                                                           map. Over-snow vehicle use maps shall
                                                  (b) Scope. The Responsible Official          be made available to the public at
  Therefore, for the reasons set out in
                                               may incorporate previous                        headquarters of corresponding
the preamble, the Forest Service amends
                                               administrative decisions regarding over­
parts 212 and 261 of title 36 of the Code                                                      administrative units and Ranger
                                               snow vehicle use made under other
of Federal Regulations as follows:                                                             Districts of the National Forest System
                                               authorities in designating National
                                                                                               and, as soon as practicable, on the Web
PART 212—TRAVEL MANAGEMENT                     Forest System roads. National Forest
                                                                                               site of the corresponding administrative
                                               System trails, and areas on National
                                                                                               units and Ranger Districts. Over-snow
Subpart A—Administration of the                Forest System lands for over-snow
                                               vehicle use under this subpart.                 vehicle use maps shall specify the
Forest Transportation System
                                                                                               classes of vehicles and the time of year
                                                  (c) Definitions. For definitions of
■ 1. The authority citation for subpart A                                                      for which use is designated, if
                                               terms used in this subpart, refer to
continues to read as follows:                                                                  applicable.
                                               §212.1.
    Authority: 16 U.S.C. 551, 23 U.S.C. 205.   ■ 6. Revise § 212.81 to read as follows:           (d) Decision-making process. Except
                                                                                               as modified in paragraph (b) of this
■ 2. Amend § 212.1 by revising the
                                               § 212.81   Over-snow vehicle use.               section, the requirements governing
definition for “area,” adding definitions
                                                 (a) General. Over-snow vehicle use on         designation of National Forest System
for “designation of over-snow vehicle
use” and “over-snow vehicle use map”           National Forest System roads, on                roads. National Forest System trails, and
in alphabetical order, and removing the        National Forest System trails, and in           areas on National Forest System lands
definition for “designated road, trail, or     areas on National Forest System lands           in §§ 212.52 (public involvement),
area” to read as follows:                      shall be designated by the Responsible          212.53 (coordination), 212.54 (revision),
                                               Official on administrative units or             212.55 (designation criteria (including
§212.1     Definitions.                        Ranger Districts, or parts of                   minimization)), and 212.57
W     W    *     5«C   *                       administrative units or Ranger Districts,       (monitoring), shall apply to decisions
  Area. A discrete, specifically               of the National Forest System where             made under this subpart. In making
delineated space that is smaller, and,         snowfall is adequate for that use to            decisions under this subpart, the
except for over-snow vehicle use, in           occur, and, if appropriate, shall be            Responsible Official shall recognize the
most cases much smaller, than a Ranger         designated by class of vehicle and time         provisions concerning rights of access in
District.                                      of year, provided that the following uses       sections 811(b) and 1110(a) of the
*          tk    tk    *                       are exempted from these decisions:              Alaska National Interest Lands
  Designation of over-snow vehicle use.          (1) Limited administrative use by the         Conservation Act (16 U.S.C. 3121(b) and
Designation of a National Forest System        Forest Service;                                 3170(a), respectively).


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4512             Federal Register/Vol. 80, No. 18/Wednesday, January 28, 2015/Rules and Regulations

PART 261—PROHIBITIONS                           ENVIRONMENTAL PROTECTION                     I. General Information
                                                AGENCY                                       A. Does this action apply to me?
■ 7. The authority citation for part 261
continues to read as follows:                   40 CFR Part 180                                 You may be potentially affected by
                                                                                             this action if you are an agricultural
  Authority: 7 U.S.C. 1011(f); 16 U.S.C. 472,                                                producer, food manufacturer, or
                                                [EPA-HQ-OPP-2014-0643; FRL-9920-45]
551, 620(f), 1133(c), (d)(1), 1246(i).                                                       pesticide manufacturer. The following
                                                Sulfoxaflor; Pesticide Tolerances for        list of North American Industrial
Subpart A—General Prohibitions                  Emergency Exemptions                         Classification System (NAICS) codes is
                                                                                             not intended to be exhaustive, but rather
■ 8. Revise the definition for “area” in        AGENCY:  Environmental Protection
                                                                                             provides a guide to help readers
§ 261.2 to read as follows:                     Agency (EPA).
                                                                                             determine whether this document
                                                ACTION: Final rule.                          applies to them. Potentially affected
§261.2    Definitions.
W     W      *      5«C   *                     SUMMARY:    This regulation establishes      entities may include:
                                                time-limited tolerances for residues of         • Crop production (NAICS code 111).
  Area. A discrete, specifically                                                                • Animal production (NAICS code
                                                sulfoxaflor, Af-[methyloxido[l-[6-
delineated space that is smaller, and,          (trifluoromethyl)-3-pyridinyl]ethyl]- /d-    112).
except for over-snow vehicle use, in            sulfanylidenejcyanamide, including its          • Food manufacturing (NAICS code
most cases much smaller, than a Ranger          metabolites and degradates in or on          311).
District.                                       sorghum, grain; sorghum, forage; and            • Pesticide manufacturing (NAICS
W     W    *     5«C   *                        sorghum, stover. This action is in           code 32532).
                                                response to EPA’s granting of an             B. How can I get electronic access to
■ 9. Revise § 261.14 to read as follows:
                                                emergency exemption under the Federal        other related information?
§261.14 Over-snow vehicle use.                  Insecticide, Fungicide, and Rodenticide
                                                Act (FIFRA) authorizing use of the             You may access a frequently updated
   After National Forest System roads,          pesticide on sorghum. This regulation        electronic version of 40 CFR part 180
National Forest System trails, and areas        establishes a maximum permissible            through the Government Printing
on National Forest System lands have            level for residues of sulfoxaflor in or on   Office’s e-CFR site at http://
been designated for over-snow vehicle           these commodities. The time-limited          WWW.ecfr.gov/cgi-bin/text-
use pursuant to 36 CFR 212.81 on an             tolerances expire on December 31, 2017.      idx?&c=ecfr&tpl=/ecfrbrowse/Title40/
administrative unit or a Ranger District        DATES: This regulation is effective
                                                                                             40tab_02.tpl.
of the National Forest System, and these        January 28, 2015. Objections and             C. How can I file an objection or hearing
designations have been identified on an         requests for hearings must be received       request?
over-snow vehicle use map, it is                on or before March 30, 2015, and must
prohibited to possess or operate an over­                                                      Under section 408(g) of the Federal
                                                be filed in accordance with the
snow vehicle on National Forest System                                                       Food, Drug, and Cosmetic Act (FFDCA),
                                                instructions provided in 40 CFR part
lands in that administrative unit or                                                         21 U.S.C. 346a, any person may file an
                                                178 (see also Unit I.C. of the
Ranger District other than in accordance        SUPPLEMENTARY INFORMATION).
                                                                                             objection to any aspect of this regulation
                                                                                             and may also request a hearing on those
with those designations, provided that          ADDRESSES:    The docket for this action,    objections. You must file your objection
the following vehicles and uses are             identified by docket identification (ID)     or request a hearing on this regulation
exempted from this prohibition:                 number EPA-HQ-OPP-2014-0643, is              in accordance with the instructions
   (a) Limited administrative use by the        available at http://www.regulations.gov      provided in 40 CFR part 178. To ensure
Forest Service;                                 or at the Office of Pesticide Programs       proper receipt by EPA, you must
                                                Regulatory Public Docket (OPP Docket)        identify docket ID number EPA-HQ-
   (b) Use of any fire, military,               in the Environmental Protection Agency
emergency, or law enforcement vehicle                                                        OPP-2014-0643 in the subject line on
                                                Docket Center (EPA/DC), West William         the first page of your submission. All
for emergency purposes;                         Jefferson Clinton Bldg., Rm. 3334, 1301      objections and requests for a hearing
   (c) Authorized use of any combat or          Constitution Ave. NW., Washington, DC        must be in writing, and must be
combat support vehicle for national             20460-0001. The Public Reading Room          received by the Hearing Clerk on or
defense purposes;                               is open from 8:30 a.m. to 4:30 p.m.,         before March 30, 2015. Addresses for
   (d) Law enforcement response to              Monday through Friday, excluding legal       mail and hand delivery of objections
violations of law, including pursuit;           holidays. The telephone number for the       and hearing requests are provided in 40
                                                Public Reading Room is (202) 566-1744,       CFR 178.25(b).
   (e) Over-snow vehicle use that is            and the telephone number for the OPP
specifically authorized under a written                                                        In addition to filing an objection or
                                                Docket is (703) 305-5805. Please review      hearing request with the Hearing Clerk
authorization issued under Federal law          the visitor instructions and additional      as described in 40 CFR part 178, please
or regulations; and                             information about the docket available       submit a copy of the filing (excluding
   (f) Use of a road or trail that is           at http://www.epa.gov/dockets.               any Confidential Business Information
authorized by a legally documented              FOR FURTHER INFORMATION CONTACT:             (CBI)) for inclusion in the public docket.
right-of-way held by a State, county, or        Susan Lewis, Registration Division           Information not marked confidential
other local public road authority.              (7505P), Office of Pesticide Programs,       pursuant to 40 CFR part 2 may be
                                                Environmental Protection Agency, 1200        disclosed publicly by EPA without prior
 Dated: January 20, 2015.
                                                Pennsylvania Ave. NW., Washington,           notice. Submit the non-CBI copy of your
Robert Bonnie,                                  DC 20460-0001; main telephone                objection or hearing request, identified
Under Secretary, NRE.                           number: (703) 305-7090; email address:       by docket ID number EPA-HQ-OPP-
[FR Doc. 2015-01573 Filed 1-27-15; 8:45 am]     RDFRNotices@epa.gov.                         2014-0643, by one of the following
BILLING CODE 3411-15-P                          SUPPLEMENTARY INFORMATION:                   methods:


                                                                                             Rvsd Plan - 00001375
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   This chapter describes the planning requirements of 36 CFR 219 (“2012 Planning Rule”) and the
   procedures for developing, amending, and revising land management plans during the planning
   phase. FSH 1909.12, chapter 10 describes the requirements for the assessment phase for
   developing, amending, and revising land management plans.

   20.5 - Definitions

   See the Zero Code chapter of this Handbook for definitions.

   20.6 - Cited References

           U.S. Department of Agriculture, Forest Service. 2011a. Watershed Condition
           Classification Technical Guide. FS-978. Washington, DC: U.S. Department of
           Agriculture, Forest Service. 49 p. Available at
           http://www.fs.fed. us/publications/watershed/watershed_classi_fication_guide.pcf.

           U.S. Department of Agriculture, Forest Service. 2011b. Watershed Condition
           Framework. FS-977. Washington, DC: U.S. Department of Agriculture, Forest Service.
           34 p. Available at http://www.fs.fed.us/publications/watershed/.

           U.S. Department of Agriculture. Forest Service. 2012a. National Best Management
           Practices for Water Quality Management on National Forest System Lands. Volume 1:
           National Core BMP Technical Guide. FS-990a. Washington, DC: U.S. Department of
           Agriculture, Forest Service. 177 p. Available online at
           http://www.fs.fed.us/biology/resources/pubs/watershed/index.html.

           U.S. Department of Agriculture. Forest Service. [In prep]. National Best Management
           Practices for Water Quality Management on National Forest System Lands. Volume 2:
           National BMP Monitoring Protocols Technical Guide. FS-990b. Washington, DC: U.S.
           Department of Agriculture. Forest Service. [n.d.].

           U.S. Department of Agriculture. Forest Service 2014. National Riparian Vegetation
           Monitoring Technical Guide: Conterminous United States. General Technical Report.
           Rocky Mountain Research Station-GTR-XXX. Fort Collins, CO: U.S. Department of
           Agriculture, Forest Service, Rocky Mountain Research Station. (Draft). Available at
           http://www.fs.fed.us/biology/watershed/riparian/USFS_National_Riparian_Protocol.pdf.

           Weins, J.A., G.D. Hayward, H.D. Safford, and C.M. Giffen. 2012. Historical
           Environmental Variation in Conservation and Natural Resource Management. Wiley-
           Blackwell. Chichester, West Sussex, UK. 337 p.




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   21 - DEVELOPING, REVISING, AMENDING, OR ADMINISTRATIVELY CHANGING A
   PLAN

   This section gives guidance on the planning phase of how to develop, amend, revise, or
   administratively change a plan. FSH 1909.12, chapter 10 describes the requirements for the
   assessment phase for developing, amending, and revising land management plans. Plans provide
   vision, strategy, guidance, and constraints. Plans themselves do not compel Agency action or
   guarantee specific results.

   21.1 - Developing or Revising Plans

   21.11 - General Steps for Developing or Revising Plans

   The Responsible Official should complete the plan development or plan revision, from the public
   notice of the assessment to final plan approval, within 4 years.

   The plan development or revision process may be conducted in many different ways depending
   on the circumstances. The Interdisciplinary Team shall design the process to be transparent and
   efficient, to reflect principles of adaptive management, and to engage the public through
   meaningful opportunities for participation early and throughout the process.

   The Responsible Official has the discretion to determine the scope, methods, forum, and timing
   of the process, subject to public notification requirements listed in 36 CFR 219.16 (see FSH
   1909.12, ch. 40, sec. 42).

   The Responsible Official shall establish an Interdisciplinary Team to carry out the planning
   process (36 CFR 219.5(b)) and provide the Team direction regarding the scope and nature of the
   new plan or plan revision. FSH 1909.15, chapter 10, section 12.2 gives guidance on
   Interdisciplinary Team selection. After the assessment phase and during planning phase, the
   Interdisciplinary Team develops potential plan components, and constantly reviews, evaluates,
   and adjusts them throughout planning phase to assure that they make a coherent whole.

   Outreach to the public continues at all steps of the plan development or revision process (FSH
   1909.12, ch. 40). While the Agency does not specify a sequence of steps for developing or
   revising plans, general steps for conducting the planning process include:

           1. Identifying the need to change the plan (36 CFR 219.7(c)(2)(i), sec. 21.21 of this
           Handbook).

           2. Describing the plan area’s distinctive roles and contributions in the broader landscape
           (36 CFR 219.7(f)(1)(ii), sec. 22.32 of this Handbook).

           3. Identifying the species of conservation concern (36 CFR 219.9(c));
           FSH 1909.12, ch. 10, sec. 12.52 and sec. 21.22 of this Handbook).




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           4. Developing a proposed new plan or revised plan with public participation (36 CFR
           219.4 and 219.16 (FSH 1909.12, ch. 40).

           5. Analyzing and documenting the environmental and social effects of the proposed plan
           components and alternatives in an environmental impact statement following the
           appropriate National Environmental Policy Act (NEPA) Procedures (36 CFR 220, FSM
           1950, and FSH 1909.15).

           6. Reviewing the land use policies of federally recognized Indian Tribes, Alaska Native
           Corporations, other Federal agencies, and State and local governments required by 36
           CFR 219.4(b)(2) and document the review in the environmental impact statement.

           7. Providing an opportunity for the public to comment on the proposed new plan or
           revised plan and the draft environmental impact statement (36 CFR 219.16(a)(2)). The
           required comment period is at least 90 days for a new plan or plan revision.

           8. Considering public comments and preparing a predecisional new plan or revised plan.

           9. Consulting with National Oceanic and Atmospheric Administration’s National Marine
           Fisheries Service (NMFS), a division of the Department of Commerce, or the U.S. Fish
           and Wildlife Service, a bureau of the Department of the Interior (USFWS), or both; if the
           approval of a plan, or plan revision, or plan amendment may affect listed species or
           critical habitat or may adversely affect essential fish habitat of managed fisheries.

           10. Providing an opportunity to object to a plan, before approval (36 CFR 219.52;
           FSH 1909.12, ch. 50).

           11. Approving the final plan or plan revision with in a decision document that also
           serves as a record of decision, and notifying the public (36 CFR 219.14(a) and
           219.16(a)(4)).

   21.12 - Considerations when Preparing New or Revised Plans

   In addition to identifying a need to change the plan and reviewing the assessment, the
   Responsible Official shall identify and consider a number of resources and issues during the
   planning process as listed by the 2012 Planning Rule (36 CFR 219.7(c)(2)). The Responsible
   Official should consider this list of resources and issues before developing a proposed new plan
   or revised plan or as part of the process of developing the proposed plan. The following list sets
   forth requirements, along with references for guidance and information. Note that each
   consideration also may be supported by information generated during public participation or
   derived from some other source.

           1. The Responsible Official shall base the plan components on likely budgets and other
           assumptions that are realistic as required by 36 CFR 219.1(g):




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                (g) The responsible official shall ensure that the planning process,
                plan components, and other plan content are within Forest Service
                authority, the inherent capability of the plan area, and the fiscal
                capability of the unit.

           2. Before or as part of the process of developing plan components for a new plan or plan
           revision, the following items should be completed:

                a. Identification of the species of conservation concern (§ 219.7(c)(3), § 219.9(c),
                sec. 21.22a of this Handbook).

                b. Descriptions of the plan area’s distinctive roles and contributions within the
                broader landscape (§ 219.7(f)(1)(ii), sec. 22.32 of this Handbook).

                c. Identification of the need to change the existing plan (§ 219.7(c)(2)(i)), sec. 21.21
                of this Handbook).

                d. Identification of priority watersheds (§ 219.7(f)(1)(i), sec. 22.31 of this
                Handbook).

                e. Consideration of the goals and objectives of the Forest Service strategic plan,
                available at htip://www.fs.fed.us, as they relate to the plan area (§ 219.2(a)).

                f. Identification of the presence and consider the importance of various physical,
                biological, social, cultural, and historic resources on the plan area (§ 219.6)based on
                the assessment and the need to change the plan components (sec. 23 of this
                Handbook).

                g. Consideration of conditions, trends, and stressors identified in the assessment
                related to the need to change the plan components. (§ 219.6).

                h. Inventory and evaluation of lands that may be suitable for inclusion in the National
                Wilderness Preservation System (§ 219.7(c)(2)(v), FSH 1909.12, ch. 70, and sec.
                24.41 of this Handbook).

                i. Identification of the eligibility of rivers for inclusion in the National Wild and
                Scenic Rivers System, unless a systematic inventory has been previously completed
                and documented and there are no changed circumstances that warrant additional
                review (§ 219.7(c)(2)(vi), FSH 1909.12, ch. 80, and sec. 24.42 of this Handbook).

                j. Identification of existing designated areas other than wilderness areas and wild and
                scenic rivers (§ 219.7(c)(2)(iii), sec. 24 of this Handbook).




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                k. Identification of the lands that may be suitable for timber production and identify
                the maximum quantity of timber that may be removed from the plan area
                (FSH 1909.12, ch. 60).

                l. Identification of questions and indicators for the plan monitoring program
                (§ 219.12, FSH 1909.12, chapter 30).

                m. Identification of other content in the plan (§ 219.7(f), sec. 22.3 and 22.4 of this
                Handbook).

                n. Review of land use policies of federally recognized Indian Tribes, Alaska Native
                Corporations, other Federal agencies, and State and local governments required by
                36 CFR 219.4(b)(2).

           3. The recommended layout for plan components and other plan content is illustrated by
           the plan model, described in the technical guide “Foundations of Forest Planning”
           available on the Ecosystem Management Coordination website at
           http://www.fs.fed. us/emc/n_fma/index. htm.

           4. The Responsible Official shall ensure an integrated set of plan components that:

                a. Together provide for sustainability, ecological integrity, diversity of plant and
                animal communities, ecosystem services, and multiple use;

                b. Contribute to social and economic sustainability;

                c. Provide a strategic and practical framework for managing the plan area;

                d. Are within Forest Service authority, the inherent capability of the plan area, and
                the fiscal capability of the unit; and

                e. On balance, best meet the needs of the American people (16 U.S.C. 531).

           5. The Responsible Official should understand:

                a. Local customs and culture;

                b. Different and possibly conflicting public interests, needs, perspectives, and wants,
                including regional and national points of view; and

                c. The broad range of public values and the input from the public, governmental
                entities, and the Agency.




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   21.13 - Opportunities for Coordinating Planning and NEPA Activities

   The NEPA and Forest planning processes must be integrated. The Responsible Official should
   provide direction to the Interdisciplinary team in a project initiation letter to ensure that the
   Interdisciplinary Team develops a strategic approach for coordinating planning and NEPA
   procedures. The Forest Service NEPA directives are found in FSM 1950 - Environmental
   Policy and Procedures and in FSH 1909.15 - National Environmental Policy Act Handbook.
   See http://www.fs.fed. us/emc/nepa/nepa procedures/index. htm.

   Careful coordination of planning and NEPA procedures, particularly public participation, allows
   the Interdisciplinary Team to be more efficient by aligning planning tasks with the requirements
   of NEPA. Important opportunities to integrate planning and NEPA requirements include the
   following:

           1. Using the results of the assessment to describe the affected environment in the
           environmental impact statement. If information gaps were identified during or
           subsequent to the assessment, additional information might be needed to effectively
           describe the affected environment, consistent with NEPA requirements.

           2. Using the need to change the plan identified during the planning process to write the
           purpose and need statement for the environmental impact statement. Early in the
           planning phase, a preliminary need to change the plan is identified and public comment is
           sought to help develop the need to change the plan, which in turn helps focus plan
           development or revision.

           3. Including both planning and NEPA requirements in the public participation strategy
           (FSH 1909.12, ch. 40, sec. 42).

           4. Integrating NEPA scoping, where appropriate, into public engagement activities used
           to support development of plan components and other plan content. Scoping includes
           refining the proposed action, determining cooperating agencies, identifying preliminary
           issues, and identifying interested and affected persons (FSH 1909.15, ch. 10, sec. 11.)
           Early public engagement during the planning process can help to identify goals and
           concerns for the plan area. This phase provides the opportunity for the Interdisciplinary
           Team to meet NEPA scoping requirements and, therefore, gain an understanding of the
           following elements that will be important during the NEPA analysis:

                a. Significant issues that will frame alternatives for considerations,

                b. Potential alternatives for analysis, and

                c. Potential effects of alternatives.




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   21.14 - Coordination of Public Outreach and Scoping Activities for Plan Revision

   The Responsible Official has discretion to determine when to begin the NEPA scoping phase; for
   example, during the assessment, as soon as the assessment is complete, before developing plan
   components, or early in the development of plan components. The Responsible Official may
   adjust steps and content of the scoping process, depending upon when scoping begins.

   The Responsible Official should ensure that the Interdisciplinary Team has planned
   appropriately to meet and integrate NEPA and planning public outreach requirements and to
   meet notice and maintenance of meeting records (see FSH 1909.15, ch. 10, sec. 11, “Conduct
   Scoping,” and sec. 12.1, “Project Initiation”).

   There are considerations when coordinating public outreach and scoping activities. Here are two
   examples:

           1. Engage the public to develop the proposal and later begin NEPA scoping. Once the
           Responsible Official starts the planning process with notice to start development of a new
           plan revision (36 CFR 219.5(a)(1)), the Interdisciplinary Team would conduct public
           engagement activities needed to ensure strong public input into developing a proposal.
           The proposal might consist of a detailed need to change the plan, proposed management
           areas, plan components, or a combination of these items. At a reasonable time in advance
           of preparation of the draft environmental impact statement (EIS), the Responsible
           Official has the option to start NEPA scoping by publishing a notice of intent (NOI) in
           the Federal Register. Under this consideration, the Agency gives the public a more
           specific proposal, developed with public input, in the NOI to bring about specific
           comments that are useful to identify specific issues related to the proposal. Responsible
           Officials shall set the expectation that they will consider and use all public comments
           arising through the NEPA process to refine or alter the proposal.

           2. Engage the public to develop the proposal and at the same time begin NEPA scoping.
           NEPA scoping may begin simultaneously with the planning process. The notice of intent
           to prepare an EIS can be combined with the notice to start development of a new plan
           revision (36 CFR 219.5(a)(1). In this approach, the proposal in the NOI would be less
           specific than paragraph 1. In this approach, public engagement efforts intended to
           identify issues and potential alternatives, and to design plan components are done
           together. Under this consideration, additional public engagement may be needed once a
           proposal is refined to identify specific issues related to the proposal. If there are major
           changes to the NOI proposal, a corrected notice of intent should be published in the
           Federal Register.




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   Exhibit 01 displays a model on how planning, NEPA, and opportunities to participate are related
   over time in the plan revision process. There is a row for each topic. The beginning of the
   assessment is on the left. The end of the planning process is on the right. It should take 3 to 4
   years to cross the page. The activities that occur about the same time are arranged on top of one
   another. The duration of any given activity will vary depending on specific circumstances.




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                                                                      21.12 - Exhibit 01

                            Relationship of Planning, NEPA, and Opportunities to Participate in Plan Revision

 Planning Timeline
                                                                         Planning Process
 Assessment          Preliminary           Development of plan components         Seek public      Develop plan      Objection            Plan approval
                     identification of     and other plan content for proposed    comment on                         Process
                     need to change        plan                                   proposed plan
                     the plan
                                                     National Environmental Policy Act (NEPA) Process
                     Scoping (flexibility to begin  Identify alternatives        Seek public         Consider        Issue errata sheet   Record of
                     scoping at any point in the    Describe affected            comment on          comments and    or supplemental      decision
                     assessment and planning        environment                  draft               respond to      EIS if needed        approving the
                     process)                       Estimate effects of each     environmental       comments.                            plan
                     Review results of scoping.     alternative                  impact analysis
                     Identify purpose and need      Develop environmental        (EIS) and           Develop final
                     based on need to change the    impact statement             preferred           EIS and draft
                     plan                                                        alternative         plan decision
                                                              Opportunities for Public Participation
 Formal notice       Formal notice of starting plan          Inform public of Formal notice of                       Formal notice to     Formal notice of
 starting            revision*                               results of scoping availability of                      begin objection      plan approval*
 assessment *                                                                    DEIS and                            period
                                                                                 proposed plan*                      (availability of
                                                                                                                     FEIS, final plan,
                                                                                                                     and draft plan
 Public              Formal notice of intent to develop        Public              Public          Public            decision             Public
 engagement in       EIS (when scoping starts)*                engagement          engagement      engagement        document*            engagement
 assessment.                                                                                                         Notice of            about plan
                     Public engagement in planning                                                                   objections filed     approval
                     process and scoping process.                                                                    in the newspaper
                                                                                                                     of record
* Formal notice means notice in the Federal Register and the newspaper of record




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   21.2 - Information Basis for Plan Development, Plan Amendment, and Plan
   Revision

   New plans, plan amendments, and plan revisions are based on a need to change the plan.
   Usually the Responsible Official begins a plan revision because it is time to do so; that is, NFMA
   requires plan revision "at least every 15 years." 16 USC 1604 (f)(5). In that case, how much of
   the content of the plan must change in the revision process is the “need to change the plan”
   inquiry.

   Otherwise, if a need to change the plan is identified that cannot be made through administrative
   changes (36 CFR 219.13) or by changing management practices rather than plan components, an
   amendment or revision should be started, as appropriate. A well-supported and effective
   rationale determining a need to change the plan must be based on a good source of information.
   Assessments (ch. 10), along with the planning record, are an important source of information for
   a new plan or plan revision.

   For plan amendments, an assessment is not required (see FSH 1909.12, ch. 10, sec. 15). The
   Responsible Official may rely on a monitoring report or other documentation of new
   information, changed conditions, or changed circumstances to identify a need to change the plan
   (36 CFR 219.13(b)).

   The Responsible Official shall focus on evaluating available, relevant information. The terms
   “available” and “relevant” are defined in FSH 1909.12, chapter 10, section 11.

   21.21 - Need to Change the Plan

   The Responsible Official for plan development, plan amendment, and plan revisions shall
   identify a need to change the plan to give focus to the planning process. If a need to change the
   plan is identified that cannot be made through administrative changes (36 CFR 219.13), an
   amendment or revision should be started, as appropriate.

   The need to change the plan helps define the proposed action, purpose and need, and decision
   framework for the environmental analysis related to the planning process (See FSH 1909.12,
   ch. 40 and FSH 1909.15, ch. 10, sec. 11.2). The Responsible Official should involve the public
   in the development of the need to change the plan by giving the public the opportunity to
   comment on a preliminary need to change before documenting the need to change the plan as
   part of the purpose and need in the environmental analysis documents for the plan development,
   plan revision, or plan amendment.

           1. The need to change the plan should be written so that it is clear to the public which
           plan components are proposed to be changed and which are not.




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           2. Numerous sources of information are available to the Responsible Official to help
           determine a need to change the plan including:

                a. Biennial evaluations of monitoring information (36 CFR 219.12(d); FSH 1909.12,
                ch. 30, sec. 34)

                b. An assessment for plan development or plan revision (36 CFR 219.6(a) and (b);
                FSH 1909.12, ch. 10, secs. 12, 13 and 14)

                c. A focused assessment for plan amendments, if needed (36 CFR 219.6;
                FSH 1909.12, ch. 10, sec. 15)

                d. Other documentation of new information, changed conditions, or changed
                circumstances on the plan area, from any source, that supports a need for a revision,
                amendment or administrative change to the plan (36 CFR 219.6(c)).

                e. Changes in laws, regulations, or policy.

           3. When developing or revising a plan, the Responsible Official should invite public
           input on a preliminary need to change the plan (36 CFR 219.7(c)(2)(i)) so that:

                a. Public comments are used to improve the need to change the plan.

                b. The topics and concerns considered can be broadened or reduced as needed.

                c. The need to change the plan may support retaining existing plan direction as plan
                components as well as developing new plan components as appropriate.

           4. For documentation, the Responsible Official should document the need to change as
           part of the purpose and need in the environmental analysis documents for the plan
           development, plan revision, or plan amendment.

   21.22 - Species of Conservation Concern

   21.22a - Identifying Species of Conservation Concern

   The Regional Forester is the Responsible Official for identifying any species of conservation
   concern in a plan area. Identifying the SCCs usually occurs during the planning phase, but may
   occur at any time.

           1. The Regional Forester has the authority and responsibility to:

                a. Review the rationale and documentation for potential species of conservation
                concern provided by the Responsible Official (FSH 1909.12, ch. 10, sec. 12.52), and
                determining whether the best available scientific information indicates:



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                (1) That the species is native and known to occur in the plan area, and

                (2) There is a substantial concern about the species’ capability to persist over the
                long term in the plan area based on the guidance of FSH 1909.12, chapter 10, section
                12.52c.

                b. Based on the review of the potential species of conservation concern, identify the
                species of conservation concern in coordination with the Responsible Official for the
                plan area. This authority to identify species of conservation concern may not be
                delegated.

                c. Identify species of conservation concern early enough to expedite the planning
                process.

                d. Leverage expertise of the public and local, State, Tribal, and other Federal natural
                resource agencies, for identifying species of conservation concern.

                e. Engage the public and invite public input when identifying species of conservation
                concern, as part of the public participation strategy (FSH 1909.12, ch. 40, sec. 42).

                f. Document the rationale for the selection of species of conservation concern.

                g. Inform the Responsible Official and the public of the identified species of
                conservation concern.

                h. Identify any species of conservation concern at times outside the planning process
                as appropriate.

           2. The Responsible Official has the authority to:

                a. Leverage expertise of the public and local, State, Tribal, and other Federal natural
                resource agencies in determining whether plan components need to be added,
                removed, or changed based on any new species of conservation concern being
                identified by the Regional Forester.

                b. Recommend additional changes to the list of species of conservation concern to
                the Regional Forester, if appropriate. See section 21.22b of this Handbook for
                guidance on new information and species of conservation concern.

   21.22 b - Evaluating New Information on Species of Conservation Concern

   After the Regional Forester has identified the species of conservation concern, new scientific
   information may indicate some species should be added or removed from the list.




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   If any employee receives such new scientific information before or after a new plan or plan
   revision is approved, the employee should send the information to the Forest Supervisor for the
   plan area.

           1. When there is new scientific information indicating a potential change to the list of
           species of conservation concern, the Forest Supervisor should:

                a. Evaluate the new information using the guidance of FSH 1909.12, chapter 10,
                section 12.52 to develop a recommendation whether to change the list of species of
                conservation concern.

                b. Leverage expertise of the public and local, State, Tribal, and other Federal natural
                resource agencies.

                c. Document the rationale for including or not including the species as a species of
                conservation concern for the plan area using the guidance of FSH 1909.12, chapter
                10, section 12.52.

                d. Send documentation and recommendation to the Regional Forester.

           2. When the Regional Forester receives a recommendation from a Forest Supervisor to
           change the species of conservation concern for a plan area, the Regional Forester should:

                a. Consider the recommendation using the guidance of FSH 1909.12, chapter 10,
                section 12.52.

                b. Leverage expertise of the public, including local, State, Tribal, and other Federal
                natural resource agencies, for identifying species of conservation concern.

                c. Document a response and rationale.

                d. Notify the public and the Responsible Official of any changes to the list of species
                of conservation concern for the plan area.

           3. If the Regional Forester identifies an additional species of conservation concern, the
           Forest Supervisor should:

                a. Review the information relevant to the threats, stressors, and other risks to the
                species persistence within the plan area using the guidance of FSH 1909.12,
                chapter 10, section 12.




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                b. Evaluate whether existing plan components would provide the ecological
                conditions necessary to maintain the long-term persistence of the species within the
                planning area using the guidance of section 23.13 of this Handbook.

                c. Determine if the plan must include additional species-specific plan components to
                maintain the species’ long-term persistence.

                d. Document the determination, and amend the plan accordingly, if appropriate.

           4. If the Regional Forester removes a species from the list of species of conservation
           concern, the Forest Supervisor should review the plan and amend the plan, if appropriate
           (sec. 21.3 of this Handbook).

   21.23 - Outreach during Development or Revision of Plans

   Guidance on a public and governmental outreach strategy, including tribal consultation, and on
   methods for giving notice is provided in FSH 1909.12, chapter 40. The 2012 Planning Rule
   requirements include 36 CFR 219.4, “Requirements for Public Participation,” and 36 CFR
   291.16, “Public Notifications.”

   If the approval of a plan, or plan revision, or plan amendment may affect listed species or critical
   habitat, or may adversely affect essential fish habitat of managed fisheries, the Responsible
   Official shall follow procedures in FSM 2670 for working with the NMFS or the USFWS or both
   (FSM 1920.3). See FSM 2670 for requirements for consultation on land management plans.

   For plan development or plan revision that may adversely affect historic properties or sites of
   religious or cultural importance to Indian Tribes, the Responsible Official shall follow
   procedures in FSM 2360 for consulting with State Historic Preservation Offices (SHPOs), Indian
   Tribes, and the Advisory Council for Historic Preservation (Title 16, United States Code 470 et
   seq.; 36 CFR 800; Executive Order 13007 - Indian Sacred Sites).

   21.24 - Consultation with Federally Recognized Indian Tribes and Alaska Native
   Corporations

   Under the Federal Land Policy and Management Act of 1976, the Responsible Official shall
   coordinate with planning programs of Indian Tribes and for Indian Tribes (such as those
   developed by the Bureau of Indian Affairs):
                In the development and revision of land use plans, the Secretary of
                Agriculture shall coordinate land use plans for lands in the National Forest
                System with the land use planning and management programs of and for
                Indian tribes by, among other things, considering the policies of approved
                tribal land resource management programs. (43 U.S.C. 1712(b)).




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   The Responsible Official shall engage in formal, meaningful consultation and collaboration with
   Tribal Officials on new plans or plan revisions as part of the Federal government-to-government
   relationship and Executive Order 13175, Consultation and Coordination with Indian Tribal
   Governments. See FSH 1509.13, chapter 10, and FSH 1909.12 and Chapter 40 - Public
   Participation, for guidance regarding consultation and coordination with Indian Tribes and
   Alaska Native Corporations. (See 36 CFR 219.4(a)(2); FSH 1909.12, ch. 40, sec. 44.3;
   FSH 1509.13, ch. 10)

   21.3 - Amending a Plan

   Plan amendments started after May 9, 2015, must conform to the 2012 Planning Rule
   requirements. Before that date, plan amendments may be made following the 1982 Rule process
   or following the 2012 Planning Rule. (36 CFR 219.17(b)(2)).

   For plans developed, revised, or amended under a previous Planning Rule, changes to plan
   content that correspond to plan components defined in the 2012 Planning Rule (desired
   conditions, goals, guidelines, objectives, standards, or suitability of lands for uses) must be made
   by plan amendment or plan revision. All additions or modifications to the text of plan direction
   that are made by plan amendments using the 2012 rule must be written in the form of plan
   components as defined at 36 CFR 219.7(c).

   Amendment of a plan developed and approved using the 1982 Rule process requires application
   of the 2012 Planning Rule requirements only to those changes to the plan made by the
   amendment. For example, the 2012 Rule’s requirements to establish a riparian management
   zone (36 CFR 219.8(a)(3)) would apply only if the plan amendment focuses on riparian area
   guidance.

   Plan amendments are intended to be an adaptive management tool to keep plans current,
   effective, and relevant between required plan revisions (every 15 years). Amendments help
   Responsible Officials adapt an existing plan to new information and changed conditions.
   Maintaining plans through amendment also may reduce the workload for subsequent plan
   revisions.

   Amendments may be broad or narrow in scope, depending on the need to change the plan. An
   assessment for a plan amendment is not required, but may be developed at the discretion of the
   Responsible Official (see ch. 10, sec. 15).

   Whether an amendment is proposed in response to changing conditions or in relation to a
   specific project, the Responsible Official should keep the scope and scale of the process,
   including public participation, commensurate with the scope of the plan amendment
   (CFR 219.13(b)(2)).

   A plan amendment process relies on the Responsible Official’s identification of the need to
   change a plan.



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                Amendment process. The responsible official shall^[b]ase an
                amendment on a preliminary identification of the need to change the
                plan. The preliminary identification of the need to change the plan
                may be based on a new assessment; a monitoring report; or other
                documentation of new information, changed conditions, or changed
                circumstances. (36 CFR 219.13(b)).

   In general, the steps for conducting a plan amendment process are as follows:

           1. The Responsible Official identifies a need to change the plan by means of a plan
           amendment.

           2. Invite input from public and governmental entities on the need to change the plan
           identified at step 1. (See 36 CFR 219.4 and FSH 1909.12, ch. 40).

           3. Consider public comments, complete documentation regarding the need to change the
           plan, and determine whether an amendment is appropriate. If an administrative change is
           appropriate, follow procedures in section 21.5 of this Handbook.

           4. Document the need to change the plan in the appropriate NEPA analysis document as
           part of the purpose and need (see 21.21 of this Handbook and see FSH 1909.15, ch. 10).

           5. Provide opportunity for the public and governmental entities to comment on the
           proposed amendment and the environmental document. The comment period is at least
           90 days when an EIS is prepared and at least 30 days otherwise (36 CFR 219.16(a)(2)).

           6. Provide an opportunity to object to the plan amendment before approval (36 CFR
           219.52; see ch. 50).

           7. Respond to objections, if any (36 CFR 219.57(b); FSH 1909.12, ch. 50, sec. 51.66).

           8. Approve the final plan amendment and notify the public (36 CFR 219.14(a) and 36
           CFR 219.16(a)(4)).

   Correction of clerical errors to any plan component is not an amendment but administrative
   changes. Requirements for administrative changes are found at 36 CFR 219.13 (c); see also
   section 21.5 of this Handbook.

   21.31 - Project-specific Plan Amendments and Administrative Review

   Amendments may be project-specific. If a proposed project is not consistent with the plan, the
   Responsible Official has the option to start a plan amendment that, if approved, would
   accommodate the project.




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   The administrative review process for plan amendments varies based on whether the amendment
   applies to one project or to future projects as well. If the plan amendment applies only to a
   single project, the amendment would be subject to the project review process. If the plan
   amendment would apply to future projects as well, the objections process of the 2012 Planning
   Rule (36 CFR 219, Subpart B) would apply. The project itself will always be subject to the
   applicable project review process of 36 CFR 215 or 218 (see 36 CFR 219.59(b) as described in
   FSH 1909.12, ch. 50, sec. 51.1).

   When a plan amendment is approved in the same decision document with a project, the
   Responsible Official for both decisions must be a Forest Supervisor or higher-level official,
   regardless of whether the District Ranger could have authorized the project in the absence of a
   plan amendment. The decision document for the project and amendment must include the
   rationale for amending the plan.

   Multiple or frequent project-specific plan amendments of the same type may suggest a need to
   change a plan component. The Responsible Official should recognize when there are multiple
   project-specific plan amendments and evaluate the presence of any systemic need to change the
   plan that should be addressed by a plan amendment.

   21.32 - Plan Amendment Outreach and Consultation

   Outreach and consultation during a plan amendment is similar to outreach and consultation for a
   plan outreach (sec. 21.1 of this Handbook). See FSH 1909.12, chapter 40 for additional
   guidance on outreach.

   21.33 - Project consistency with Prior Plans amended using the 2012 Planning
   Rule

   The 2012 Planning Rule sets forth how to determine whether a project is consistent with the plan
   amendments at 36 CFR 219.17(c) and 36 CFR 219.15(d). The applicable provisions are quoted
   below with the relevant wording underlined.
                § 219.15 Project and activity consistency with the plan.
                ***

                (d) Determining consistency. Every project and activity must be
                consistent with the applicable plan components. A project or activity
                approval document must describe how the project or activity is
                consistent with applicable plan components developed or revised in
                conformance with this part by meeting the following criteria:

                § 219.17 Effective dates and transition
                ***



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                (c) Plans developed, amended, or revised under a prior planning
                regulation. This part supersedes any prior planning regulation. No
                obligations remain from any prior planning regulation, except those
                that are specifically included in a unit’s existing plan. Existing plans
                will remain in effect until revised. This part does not compel a change
                to any existing plan, except as required in § 219.12(c)(1). None of the
                requirements of this part apply to projects or activities on units with
                plans developed or revised under a prior planning rule until the plan
                is revised under this part, except that projects or activities on such
                units must comply with the consistency requirement of § 219.15 with
                respect to any amendments that are developed and approved
                pursuant to this part.

   For a plan developed or revised under a prior planning regulation that is amended pursuant to the
   2012 Planning Rule, the consistency requirement is as follows:

           1. The 2012 Planning Rule consistency provisions at 36 CFR 219.15(d ) apply only to
           plan component(s) added or modified in conformance with, and as defined by, the 2012
           Planning Rule; with respect to other plan provisions, the Forest Service's prior
           interpretation of consistency, that projects need only be consistent with plan standards
           and guidelines, applies.

           2. The Forest Service's prior interpretation of consistency, that projects need only be
           consistent with plan standards and guidelines, and not the 2012 Planning Rule
           consistency provisions at 36 CFR 219.15(d), also applies when an amendment developed
           and approved under the 2012 Planning Rule does not change the text of the plan direction
           but simply applies existing plan direction to a different, or additional, area or areas within
           the plan area.

   The reason that the manner of compliance with consistency requirements depends upon the
   origin of the plan direction applicable to a project is that, before the 2012 Planning Rule, the
   Forest Service interpretation was that the consistency requirement applied to standards and
   guidelines but not to other parts of the plan. Plan direction was written with this interpretation in
   mind, so there was no expectation that projects must be consistent with any direction other than
   standards and guidelines. The 2012 Planning Rule applies a new interpretation, so that projects
   and activities must be consistent with all applicable plan components (desired conditions,
   objectives, suitability of lands, as well as standards and guidelines), see 36 CFR 219.15(d).

   The 2012 Planning Rule also includes new direction for designing and drafting plan components
   (see 36 CFR 219.7(c) ) through (e).The application of the project consistency requirements of the
   2012 Planning Rule to plan direction that does not conform to these new drafting requirements
   could trigger an expansion of the amendment process that would be inconsistent with the need to
   change the plan. Such a result would impede the intent of the 2012 Rule to make it easier to




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   keep plans current by amending them frequently and by providing for amendments with a narrow
   scope. Therefore, when an amendment developed and approved pursuant to the 2012 Planning
   Rule retains the text of plan direction that had been developed when the Forest Service had the
   narrower interpretation of consistency, it is appropriate also to retain the application of that
   interpretation.

   Applying the consistency requirements at 36 CFR 219.15(d) for such plan direction would also
   make project-level planning considerably more difficult, when the base plan was developed
   under a previous planning rule. Thus, it is important to continue to apply the prior interpretation
   of consistency to plan direction developed under that interpretation, for project consistency to be
   determined with respect to standards and guidelines. See the preamble to the Proposed Planning
   Rule for further explanation, 76 FR 8480, 8501 (February 14, 2011).

   21.4 - Concluding the Plan Development, Revision, or Amendment Process

   21.41 - Decision Document

   The Responsible Official approves plans, plan amendments, and revised plans with a decision
   document developed according to NEPA procedures (FSH 1909.15). For a new plan or plan
   revision, the decision document is a Record of Decision (sec. 21.1 of this Handbook). For a plan
   amendment, the decision document would be a Decision Memo, Decision Notice, or Record of
   Decision, depending upon what type of NEPA analysis was prepared (sec. 21.3 of this
   Handbook). In addition to complying with Forest Service NEPA procedures, a decision
   document for a plan, revised plan, or amendment must meet the requirements of the Rule at 36
   CFR 219.14(a) and 219.15(a), which are set out in exhibit 01.




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                                                    21.4 - Exhibit 01

                           Planning Rule Requirements for Decision Documents

             Decision Document Requirements                              New or Revised
                                                                                          Plan Amendment
       (36 CFR 219.14(a), 219.15(a)) and 219.51(d)                           Plan
     The rationale for approval                                               Yes               Yes
     An explanation of how the plan components meet
     the sustainability requirements of
     § 219.8, the diversity requirements of
                                                                              Yes           If Applicable
     § 219.9, the multiple use requirements of
     § 219.10, and the timber requirements of
     § 219.11
     Every decision document approving a plan, plan
     amendment, or plan revision must state whether
     authorizations of occupancy and use made before
     the decision document may proceed unchanged.
     If a plan decision document does not expressly
     allow such occupancy and use, the permit,                                Yes               Yes
     contract, and other authorizing instrument for the
     use and occupancy must be made consistent with
     the plan, plan amendment, or plan revision as
     soon as practicable, subject to valid existing
     rights. 36 CFR 219.15(a)
     The documentation of how the best available
     scientific information was used to inform
     planning, the plan components, and other plan                            Yes               Yes
     content, including the plan monitoring program
     (§ 219.3)
     The concurrence by the appropriate research
     station director with any part of the plan
                                                                          If Applicable     If Applicable
     applicable to any experimental forests or
     experimental ranges (§ 219.2(b)(4));
     The effective date of the plan, plan amendment,
                                                                              Yes               Yes
     or plan revision
     When a plan, plan revision, or plan amendment is
     not subject to objection, the Responsible Official
     shall include an explanation in the decision                             Yes               Yes
     document of why it is not subject to objection (36
     CFR 219.51(d)).




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   The decision document should also include a summary (with cross-references to the planning
   record; see sec. 21.42 of this Handbook) of how the plan and the planning process meets all the
   applicable requirements of the Planning Rule including those not specifically required by
   36 CFR 219.14 This summary should provide a description of how the plan decision is
   responsive to public and governmental participation including the success in reaching low-
   income and minority communities and young people in the planning process. The scope of the
   summary should be commensurate with the complexity of the decision made.

   For plan amendments, the decision document must discuss only those requirements of 36 CFR
   219.8 through 219.11 that are applicable to the plan components that are being modified or
   added. For example, if a plan amendment does not add or modify plan components applicable to
   an experimental forest or range, there would be no need to document the Research Station
   Director’s concurrence with the amendment

   Plans serve as an umbrella for projects, activities, and resource plans. If ongoing projects,
   activities, and resource plans would not be consistent with the plan, plan revision, or the plan as
   amended, they must be made consistent with the plan, unless the decision document allows them
   to proceed unchanged (36 CFR 219.15(a)). The decision document should identify projects,
   activities, and resource plans that must be changed to be consistent with the plan and set forth a
   schedule for modifying the ongoing projects to be consistent with the plan (subject to prior
   existing rights).

   21.42 - Documentation of Plan Revision and the Planning Record

                (b) Planning records. (1) The responsible official shall keep the
                following documents readily accessible to the public by posting them
                online and through other means: assessment reports (§ 219.6); the
                plan, including the monitoring program; the proposed plan, plan
                amendment, or plan revision; public notices and environmental
                documents associated with a plan; plan decision documents; and
                monitoring evaluation reports. (36 CFR 219.12).

                (2) The planning record includes documents that support analytical
                conclusions made and alternatives considered throughout the
                planning process. The responsible official shall make the planning
                record available at the office where the plan, plan amendment, or
                plan revision was developed. (36 CFR 219.14).

   Analytical conclusions should be written using plain language that discusses any important risks
   and uncertainties in the assumptions. The Interdisciplinary Team may support conclusions using
   the “Issue-Rule-Analysis/Application-Conclusion ” model (IRAC). The model follows the
   following formula:

           1. The issue statement poses a key question to be answered or issue to be addressed.



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           2. The rule statement presents the criterion necessary to address the issue.

           3. The analysis/application section applies the relevant assumptions, data, facts, or
           results of a Resource Specialist’s analysis to the rule.

           4. The conclusion directly answers the question posed in the issue statement based on the
           material presented in the rule and analysis/application sections.

   See exhibit 01 for an example.


                                                   21.42 - Exhibit 01

                     Example of Issue-Rule-Analysis/Application-Conclusion model

     Issue: Whether the plan components should require a specific canopy cover to provide the
     ecological conditions necessary to maintain a viable population of XX species within the
     plan area (a species of conservation concern).

     Rule: Planning regulations require plan components provide the ecological conditions
     necessary to maintain a viable population of each species of conservation concern within the
     plan area unless the responsible official determines that it is beyond the authority of the
     Forest Service or not within the inherent capability of the plan area.

    Analysis: The best available scientific information shows that a viable population of XX
    species will be maintained through managing its habitat to meet ecological conditions of 1,
    2, and 3. Specific canopy cover percentage is not one of those ecological conditions.

     Conclusion: Plan components need not require a specific amount of canopy cover because
     the best available scientific information demonstrates that specific canopy cover is not
     necessary to maintain a viable population of XX species within the plan area.

     (Note: analysis for an actual plan issue would likely be more detailed).



   21.43 - Documenting Public Involvement

   The Interdisciplinary Team should document how the public involvement contributed to the
   development of the proposed plan in a “participation process” document. The Team should
   document the “who, what, where, when, and how” of public and governmental participation.
   The Team should document the steps of the public and governmental participation process
   related to the need to change the plan and the development of any alternatives (sec. 21.21 of this
   Handbook; and FSH 1909.12, ch. 40). Comments and other input received during scoping




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   should be managed and documented. Documentation should include contact information like
   electronic and postal mailing information (FSH 1909.15, ch. 10, sec. 12.6). This documentation
   may be in an appendix to the appropriate environmental document.

   21.5 - Administrative Changes

                Administrative changes. An administrative change is any change to a
                plan that is not a plan amendment or plan revision. Administrative
                changes include corrections of clerical errors to any part of the plan,
                conformance of the plan to new statutory or regulatory requirements,
                or changes to other content in the plan (§ 219.7(f)).

                (1) A substantive change to the monitoring program made outside of
                the process for plan revision or amendment may be made only after
                notice to the public of the intended change and consideration of public
                comment (§ 219.16(c)(6)).
                (2) All other administrative changes may be made following public
                notice (§ 219.16(c)(6)). (36 CFR 219.13(c)).

   Administrative changes are:

           1. Corrections of clerical errors to any plan content, including plan components;

           2. Any changes to plan content, including plan components, when necessary to conform
           the plan to new statutory or regulatory requirements, for which there is no discretion.

           3. Any other changes to plan content except for changes to the substance of plan
           components, or to the application of plan components to specific areas within the
           planning area.

   Administrative changes to the monitoring program must have at least 30 days for public
   comment, and section 21.51 of this Handbook describes the process.

   The Responsible Official shall give public notice before issuing an administrative change
   (36 CFR 219.13(c)(2)). The public notice may be made in any way the Responsible Official
   deems appropriate, except for, at a minimum; the notice must be posted online on the
   administrative unit’s planning website.

   After reviewing comments on the proposed change, if any, the Responsible Official may make
   the change effective by posting the change online. Administrative changes are not subject to the
   objection process (36 CFR 219.50).




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   The Responsible Official should be transparent with the public and governmental entities when
   making administrative changes to “other plan content” by reaching out to the public early. When
   considering public and governmental participation, the Responsible Official should consider the
   importance of the need to change the plan and conduct appropriate outreach that is
   commensurate with the change to be made and the level of public and governmental interest.
   Public involvement may be minimal for correction of clerical errors.

   21.51 - Making Administrative Changes to the Monitoring Program

   Changes to existing plan monitoring programs are made by administrative change, unless the
   change is made as a part of a plan revision or a plan amendment.

   The Responsible Official shall provide opportunities for public and governmental participation
   when considering changes to the monitoring program.

           1. Any change to the monitoring program may be made only after notice to the public of
           the intended change and consideration of public comment (36 CFR 219.16(c)(6)).

           2. The public comment period for a proposed change to the monitoring program should
           be at least 30 days.

   21.6 - Plan Development, Revision, or Amendments Started Under Previous
   Planning Rule

                Plan development, plan amendments, or plan revisions initiated before
                this part. For plan development, plan amendments, or plan revisions
                that were initiated before May 9, 2012, the responsible official may
                complete and approve the plan, plan amendment, or plan revision in
                conformance with the provisions of the prior planning regulation,
                including its transition provisions (36 CFR part 219, published at 36
                CFR parts 200 to 299, revised as of July 1, 2010), or may conform the
                plan, plan amendment, or plan revision to the requirements of this
                part. If the responsible official chooses to complete an ongoing
                planning process under the provisions of the prior planning
                regulation, but chooses to allow for an objection rather than an
                administrative appeal, the objection process in subpart B of this part
                shall apply. When the responsible official chooses to conform an
                ongoing planning process to this part, public notice must be made (§
                219.16(a)(5)). An objection process may be chosen only if the public is
                provided the opportunity to comment on a proposed plan, plan
                amendment, or plan revision, and associated environmental analysis.
                (36 CFR 219.17((b)(3)).




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   The Responsible Official may choose to conform an ongoing planning process (started before
   May 9, 2012) to the 2012 Planning Rule, if it is feasible and appropriate to do so (see 36 CFR
   219.17(b)(3)).

   To conform to the 2012 Planning Rule, the Responsible Official should evaluate the ongoing
   planning process to determine the extent to which it meets the requirements of the new rule and
   adjust the ongoing process to meet any requirements if necessary. If the Responsible Official
   decides to adjust the planning process, the Responsible Official then shall issue a formal public
   notification in the Federal Register and newspaper of record to announce and describe how the
   plan revision or plan amendment process will be conformed to meet the provisions of the 2012
   Planning Rule. For ongoing plan revisions that conform to the 2012 Planning Rule the
   Responsible Official may change from the Regional Forester to the Forest Supervisor upon
   formal public notification.

   21.7 - Project or Activity Decisions Concurrent with Plan Decisions

   The Responsible Official may find that the NEPA process for a project or activity may be more
   efficiently conducted together with a plan revision or plan amendment process. The relationship
   of the project NEPA process and the planning process is as follows:

           1. Project or activity decisions may be made at the same time as the decision to approve
           a land management plan or amendment, but such project and activity decisions do not,
           thereby, become plan components, or any other part of a plan.

           2. A project or activity decision must be supported by NEPA analysis appropriate for
           that project and distinct from the NEPA analysis for a plan or plan amendment.

           3. Environmental analysis for projects and activities may be included in the same
           document as the plan development environmental analysis. If the analysis for the project
           or activity is contained in the same documentation as the plan environmental analysis, the
           distinction between the two separate analyses must be clear, with the project analysis set
           out in a separate section.

           4. The project or activity decision may be included in the plan decision document or in a
           separate decision document. If the project or activity decision is included in the same
           document as the plan decision, the distinction between the two decisions must be clear,
           with the project decision set out in a separate section of the decision document.

           5. The administrative review for the project or activity must be the appropriate procedure
           for the project or activity decision (36 CFR part 218), not the objection process of 36
           CFR 219 Subpart B.




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                a. If a plan amendment is approved to apply to a specific project only, the
                administrative review opportunity for the amendment must be that which is provided
                for the project decision (36 CFR 219.15 or part 218).

                b. If a plan amendment is to be issued at the same time as the project decision, and
                the amendment applies to future projects as well, the objection process of 36 CFR
                219 Subpart B applies to the amendment (that is, there are two separate administrative
                review opportunities, one to challenge the project and another to challenge the
                amendment). See FSH 1909.12, chapter 50, section 51.1 for additional guidance.

           6. Examples of project decisions are the following:

                a. Authorization of a specific land management project or activity.

                b. Designation of roads, trails, and areas for motor vehicle use under 36 CFR 212.50.

                c. An Order issued following 36 CFR part 261 prohibiting or constraining the
                public’s use of an area. See section 21.8 of this Handbook for guidance regarding
                plans and prohibitions of public uses.

   21.8 - Public Use Prohibitions

   Any constraint on the public’s use of National Forest System lands, not otherwise imposed by
   law or regulation, requires the Responsible Official to issue an order under 36 CFR part 261,
   Subpart B. An order may close an area or restrict the type or timing of a use or uses in an area.
   An example of such an order is “The following act is prohibited on [name] National Forest:
   possessing or using a bicycle except on forest roads open to highway legal vehicles, trails
   designated for bicycle use, developed recreation areas, and trailheads (36 CFR 261.55(c)).”

   A plan is direction for the Forest Service, not the public; therefore, the plan alone cannot prohibit
   public uses such as biking, boating, camping, fishing, hiking, horseback riding, hunting, or
   picnicking. See exhibit 01 for a demonstration of how designation of land not suitable for a
   public use affects land management.




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                                                    21.8 - Exhibit 01

   Example of how suitability of lands for a particular use affects on-the-ground management


         •     A plan may identify an area as not suitable for equestrian riding.
         •     The plan has no immediate effect on the public. People may still ride horses in this
               area.
         •     Because of the plan, the Forest Service may not issue authorizations for equestrian
               events, or approve equestrian trail construction or maintenance.
         •     An appropriate Responsible Official may issue a closure order (following
               appropriate NEPA analysis) to prohibit the activity for which the area is not suited,
               but is not required to do so. A closure order can be issued concurrent with the plan
               decision document, or separately, at the discretion of the Responsible Official.
         •     A closure order does govern the public’s conduct, and therefore an Agency law
               enforcement official may issue a citation to people who ride in the area, for violating
               the order.


   Nothing precludes an authorized officer from issuing an order at any time it is necessary to do so.
   In the context of planning, there are two options for dealing with public uses that are preventing
   attainment of the desired conditions for the plan area or portion of the plan area:

             1. Consecutive plan and project decision making. The Responsible Official may identify
             lands in which the use is occurring as not suitable for such use and establish an objective
             in the plan to have such uses controlled in a specified time. After plan approval, the
             Responsible Official may propose a closure, analyze the effects of the proposal and issue
             a project decision to issue an order prohibiting the use. The Responsible Official is not
             required to propose and issue a closure order, and public uses may continue despite their
             occurring on lands not suitable for them, so long as a closure order is not in effect. The
             plan components would, however, bar the Forest Service from authorizing such uses, for
             example, when they would be conducted as an event requiring a special use
             authorization.

             2. Concurrent plan and project decision making. During the plan development process,
             the Responsible Official may identify lands in which the use is occurring as not suitable
             for such use, and establish an objective in the plan to have such uses controlled in a
             specified time. At the same time, the Responsible Official may also propose the closure
             of an area and analyze the proposal separately from the Plan environmental impact
             statement. The Responsible Official would include in the plan decision document or a
             separate decision a site-specific decision authorizing closure of the area, and the




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           Responsible Official would issue a closure order at the same time. See section 21.7 of
           this Handbook for further guidance regarding concurrent decisions, and FSH 1909.12,
           chapter 50, section 51.1 for additional guidance regarding the application of plan and
           project objection process.

   22 - REQUIREMENTS FOR INTEGRATED PLAN CONTENT

   The land management plan must include plan components and other plan content (36 CFR 219.7;
   see FSH 1909.12, zero code for definitions). Plan components should provide a strategic and
   practical framework for managing the plan area. Plan components should be applicable to the
   resources and issues of the plan area, and should reflect the unit’s distinctive roles and
   contributions (36 CFR 219.7(f)(1)(ii)). The Responsible Official shall integrate plan components
   so the plan is internally consistent for the plan area. As a whole, the set of plan components
   must provide for social, economic, and ecological sustainability and multiple uses. The Planning
   Rule requires plan components for integrated resource management as follows:

                § 219.1 Purpose and Applicability. . . .
                ***
                (b) ^ and management plans guide sustainable, integrated resource
                management of the resources with the plan area . . . .

                § 219.2 Levels of planning and responsible officials. . . .
                ***
                (b) National Forest System unit planning. (1) . . . . A land
                management plan provides a framework for integrated resource
                management and for guiding project and activity decisionmaking on a
                national forest, grassland, prairie, or other administrative unit.

                § 219.5 Planning framework.
                (a) ^The intent of this framework is to create a responsive planning
                process that informs integrated resource management ......

                § 219.10 Multiple Use. . . .

                ***(a) Integrated resource management for multiple use. The plan
                must include plan components, including standards or guidelines, for
                integrated resource management to provide for ecosystem services
                and multiple uses in the plan area. (36 CFR 219.10(a)).

   The Planning Rule defines “integrated resource management” as “[m]ultiple use management
   that recognizes the interdependence of ecological resources and is based on the need for
   integrated consideration of ecological, social, and economic factors” (36 CFR 219.19).



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   The rule sets out requirements for plan components in four sections: 219.8 (Sustainability),
   219.9 (Diversity of Plant and Animal Communities), 219.10 (Multiple Use) and 219.11 (Timber
   Requirements Based on the NFMA). While the Rule sets out these requirements in separate
   sections, the plan should not be organized with a similar structure. Rather, plan components
   must meet these requirements in an integrated manner.

   The set of plan components should integrate social, economic, cultural, and ecological
   considerations. For example, the desired condition for a sustainable landscape must be
   developed in the context of the desired multiple uses for the landscape. When providing for
   desired multiple uses for an area, the plan must at the same time ensure that the uses will be
   managed sustainably, while providing for ecological sustainability.

   A plan is not an assemblage of program plans that have unique plan components for every
   resource. While the set of plan components must fulfill all the requirements of 36 CFR 219.8
   through 219.11, there need not be a one-to-one correlation of one plan component to each
   requirement listed in those sections. What is essential is that as a whole, the combined plan
   components meet the requirements of the Rule for ecological integrity, diversity of plant and
   animal communities, multiple-use management, ecologically sustainable production of goods
   and services, and they contribute to economic and social sustainability. All of these
   requirements go hand in hand.

   The term “integration” means that the plan components work together, but does not mean that all
   uses must be provided for on all lands. From place to place within a plan, a plan will often
   provide for some uses but not others. The Multiple-Use Sustained-Yield Act makes that
   principle clear by explaining that “multiple use” means management to make “judicious use of
   the land for some or all” of the renewable resources thereon, with some land “used for less than
   all of the resources” (16 USC 531).

   The integration of plan components means that all plan components work together toward
   achieving or maintaining desired conditions. The plan components are internally consistent.
   One plan component must not directly conflict with another plan component or prevent its
   accomplishment. Not only must unit-wide plan components fit together, but also unit-wide and
   area-specific plan components must fit together. Fitting unit-wide and area-specific plan
   components together may require qualification to eliminate conflicts in direction. For example, a
   standard for a wildland-urban interface area requires that vegetation management projects leave
   no standing dead trees or downed woody debris; the Forestwide standard requires all vegetation
   management projects leave a certain minimum level of dead trees or down woody debris, but
   also states the qualification, “except within the wildland-urban interface area.”

   For more information, examples, lessons learned, and technical guidance for monitoring and
   evaluating contributions to ecological, social, and economic sustainability visit the Technical
   Information for Planning Site (TIPS) at htip://www.fs.fed.us/TlPS.




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   22.1 - Plan Components

                (e) Plan components. Plan components guide future project and
                activity decisionmaking. The plan must indicate whether specific plan
                components apply to the entire plan area, to specific management
                areas or geographic areas, or to other areas as identified in the plan.
                (36 CFR 219.7(e)).

   This section and sections 22.11 through 22.16 of this Handbook give guidance for developing the
   required plan components for every plan. The following plan components are required (36 CFR
   219.7): desired conditions, objectives, standards, guidelines, and suitability of lands. Goals may
   be included as an optional plan component.

           1. Objectives, desired conditions, standards, and guidelines must be written clearly and
           concisely in a way that allows for monitoring to test their effectiveness and verify
           assumptions on which they are based.

           2. Plan components:

                a. Must be written so that they are in accord with Agency authorities, and the
                inherent capability of the plan area.

                b. Are written clearly and with clarity of purpose and without ambiguity so that a
                project's consistency with applicable plan components can be easily determined. (For
                definition of consistency, see 36 CFR 219.15).

                c. Must have clear geographic applicability (that is, the entire plan area, a specific
                management or geographic area, or land of specific character; see sec. 22.2 of this
                Handbook).

                d. Guide the development of future projects and activities, and are not commitments
                to act or final decisions approving projects and activities.

                e. Must be informed by the assessment, monitoring, public and governmental
                participation, and the best available scientific information. (For more information on
                best available science, see FSH 1909.12, zero code, sec. 07).

                f. May be used to carry out laws, regulations, or policies, but should not merely
                repeat existing direction from laws, regulations, or directives. (References to other
                sources are preferred.)

                g. Guide and constrain Forest Service personnel; not the public.

                h. May not interfere with statutory or valid existing rights.




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                i. Should not simply repeat Agency policies applicable to all National Forest System
                units.

                j. Can be stated to apply only at certain seasons or only at specific ecological
                conditions. See exhibit 01 for simple examples of desired conditions, objectives,
                standards, and guidelines.

   See the Plain Language website at htip://www.plainlanguage.gov for guidance on how to write
   clearly and concisely.

   Plan components should not include explanatory narrative; see section 22.4 of this Handbook for
   direction on how to include explanatory narrative as “other plan content.”




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                                                     22.1 - Exhibit 01
          Example of Plan Components for a Management Area (Oak-grasslands example)
   Desired Condition for Management Area XX:
   Generally, natural environments characterize this management area and users have the opportunity to experience a
   moderate degree of independence, closeness to nature, solitude, and remoteness, but with motorized opportunities on
   forest roads and some trails. Satisfactory recreational experience is provided for forest visitors. This area
   contributes to economic sustainability by providing areas for birders who frequently use quality outfitter guides for
   birding tours.
   Oak-grasslands dominate watersheds in this management area (see Appendix maps). On upper slopes and ridges
   across this area, grasslands (less than 10 percent tree canopy closure) and open oak woodlands (10-60 percent tree
   canopy closure) are interspersed in variable mixtures. In general, tree density increases as one moves down slope,
   but densities are variable and transitions gradual. Snag and den tree density averages three stems per acre on a
   watershed basis (10-digit hydrologic unit code (HUC)). Native grasses and forbs dominate understories.
   Most mid and lower slopes have open oak forests (60-80 percent tree canopy closure), with understories containing
   oak regeneration in sufficient numbers to provide for sustaining oak on these sites over time. Multi-layered mixed
   hardwood mesophytic and riparian forests occur on lower slopes, where, because of topography and moisture,
   understory fires burn at low intensities. In riparian areas, vegetative filter strips have at least 80 percent total ground
   cover comprised of grasses, or forbs. In riparian areas, flooding is the primary disturbance factor.
   In grasslands and open oak woodlands of this management area, diverse grass and grass-forb understories provide
   diverse and abundant herbage, seeds, and insects. Open canopies and a periodic fire frequency of x-y years create
   this understory condition. This understory condition also supports a diverse assemblage of wildlife. Rare species
   that are adapted to open forests and grasslands are present and distributed in numbers that will provide for self­
   sustaining populations. These include Henslow’s sparrow, whip-poor-will, southern prairie aster, barbed
   rattlesnake-root, buffalo clover, and prairie parsley. Small mammals, such as deer mice (Peromyscus species), voles
   (Microtus species), and rabbits (Sylvilagus species) are abundant, supporting increased populations of predators,
   such as raptors, foxes, and bobcats.
   Objectives for Management Area XX:
   - To have an average of X snags per acre within Y years of plan revision approval.
   - To add 5 thousand acres of Henslow’s sparrow habitat to the current XX acres by 2020.
   - To have X rehabilitated high-impact dispersed camping areas within Y years of plan revision approval.
   - To have by 2025 at least 80 percent of forest visitors who respond to Forestwide annual visitor satisfaction survey
   report their recreational experiences rated as "satisfactory."
   Standards for Management Area XX:
   - Timber harvest must not occur in riparian buffers except to maintain or restore the riparian ecosystem. Riparian
   buffers are at least 100 feet on either side of the tops of perennial stream banks. Riparian buffers along intermittent
   streams must be 50 to 75 feet or more, measured from bankfull stage.
   Guidelines for Management Area XX:
   - On sustained slopes greater than 35 percent, heavy equipment should not be used for mechanical site preparation
   treatments to reduce erosion from soil disturbance.
   -Artificial regeneration should use native plant material (FSM 2070, glossary) in restoration activities to provide
   suitable habitat for native species of butterflies, birds, and other wildlife.
   -Trail construction should not occur in riparian buffers, except for designated stream crossings, to prevent soil
   erosion and sediment deposition in waterways.
   Suitability of lands: This management area is suitable for motorized recreation on designated roads and trails.




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   22.11 - Desired Conditions

                Desired conditions. A desired condition is a description of specific
                social, economic, and/or ecological characteristics of the plan area, or
                a portion of the plan area, toward which management of the land and
                resources should be directed. Desired conditions must be described in
                terms that are specific enough to allow progress toward their
                achievement to be determined, but do not include completion dates.
                (36 CFR 219.7(e)(1)(i)).

   Desired conditions describe the aspirations or visions of what the plan area (or portions thereof)
   should look like in the future and drive the development of the other plan components. Desired
   conditions essentially set forth the desired landscape of the future and the other plan components
   give guidance on how to get there. Desired conditions should be developed with the context of
   the plan area’s distinctive roles and contributions within the broader landscape in mind (sec.
   22.32 of this Handbook). A plan’s set of desired conditions must be internally consistent so they
   are feasible and attainable, and they must be written clearly so that they can be understood by the
   public as well as the Agency. The set of desired conditions must reflect the capability of the plan
   area and the fiscal capability of the Agency. The set of desired conditions for plan revision must
   cover ALL the requirements for a plan set out at 36 CFR 219.8 through 219.11—to provide for
   sustainable ecosystems with ecological integrity, in the context of multiple-use management.
   The set of desired conditions should integrate the ecological, economic, social, and cultural
   desired conditions. The format function of desired conditions is addressed in this section.
   Sections 23 through 24.44 of this Handbook set forth guidance for the resource requirements for
   plan components.

   Desired conditions, as key plan components, are fundamental to determining monitoring
   strategies and requirements. Desired conditions should define the geographic scale, where
   applicable, used to measure change associated with them. Responsible Officials should include
   sufficiently detailed descriptions of desired conditions so they are useful to determine the
   purpose and need for many projects such as restoration projects and activities. Other plan
   content may identify, if applicable, how desired conditions may differ from existing conditions.

   When designing desired conditions, the Responsible Official should take into account the
   condition of the land adjacent to the plan area and the larger surrounding landscape. Consider
   the desires by adjacent agencies, landowners, interested and affected individuals, or communities
   for the plan area. Because desired conditions affect current and future generations, they should
   be developed as part of the public outreach and collaborative process of planning.

   Desired conditions have essential characteristics:

           1. Desired conditions have cultural, ecological, economic, and social characteristics.
           The set of desired conditions are sustainable and:




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                a. Describe what is desired for ecosystem integrity; air, soil, and water quality;
                riparian areas; social and economic sustainability; ecosystem diversity; additional
                species-specific plan components if needed; and multiple uses (required topics are
                listed in section 23, exhibit 01 of this Handbook);

                b. Are attainable through integrated resource management for multiple uses
                (§ 219.10(a)); and

                c. Contribute to social and economic sustainability (§ 219.8(b)); including:

                (1) Social relationships, traditions, culture, and activities that connect people to the
                plan area where they recreate, hunt, visit, or work for their livelihood.

                (2) The capability of society to produce and consume goods and services, including
                jobs, market benefits, and nonmarket benefits derived from the plan area.

           2. Desired conditions have functional characteristics; they:

                a. Must be written with enough detail so the condition of on-the-ground achievement
                is clear and progress toward their achievement can be measured or evaluated;

                b. May be the same as an existing condition, so efforts to manage for the desired
                condition would focus on maintaining that condition;

                c. Must be achievable even if the time for success exceeds the plan period;

                d. Must not direct taking action or prohibit taking action, or indicate specific tools
                (for example, prescribed fire and thinning) to be used for its attainment or
                maintenance;

                e. Should be expressed in a way that helps managers determine the uses that are
                suitable and the types of management actions that may be proposed during the
                planning period to move toward or maintain those conditions;

                f. May be stated in comparative terms such as “more,” or “less,” or “increased,” or
                “decreased,” but only if the baseline is clearly stated;

                g. May be stated in terms of a range of clearly defined conditions; and

                h. May be supplemented by a photograph or illustration.

   22.12 - Land Management Plan Objectives




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                Objectives. An objective is a concise, measurable, and time-specific
                statement of a desired rate of progress toward a desired condition or
                conditions. Objectives should be based on reasonably foreseeable
                budgets. (36 CFR 219.9(e)(1)(ii)).

   Plan objectives:

           1. Must be outcomes designed to make progress toward attaining desired conditions;

           2. Help set the basis for priority areas or activities, with a timing expectation that near­
           term objectives would be completed first, depending on funding;

           3. Must be clearly stated in measurable terms with specific and reasonable timeframes;
           (Timeframe can be identified by either an end date (“by 2020”) or by a period of time
           from an identified start point (within 5 years of plan approval.”);

           4. Should be expressed in terms of outcomes, not actions; and

           5. Must be attainable within the fiscal capability of the unit, determined through a trend
           analysis of the recent past budget obligations for the unit (3 to 5 years); (Other plan
           content (such as potential management approaches, sec. 22.4 of this Handbook) may
           identify how the Responsible Official would respond to enhanced resources or other
           efficiencies that would facilitate attaining desired conditions (36 CFR 219.1(g)).

   22.13 - Standards

                Standards. A standard is a mandatory constraint on project and
                activity decisionmaking, established to help achieve or maintain the
                desired condition or conditions, to avoid or mitigate undesirable
                effects, or to meet applicable legal requirements.
                (36 CFR 219.7(e)(1) (iii)).

   There are several ways to constraint projects and activities: standards, guidelines, and other
   sources of constraints. A standard differs from a guideline in that a standard is a strict constraint,
   allowing no variation, whereas a guideline allows variation if the result would be equally
   effective. Examples of other sources of constraints on the design of projects and activities
   include congressional direction, oil and gas leasing stipulations, regulations, timber sale contract
   clauses, and special use authorization standard clauses. In addition, the Responsible Official
   may develop project-specific constraints for a project.

   Standards are used when the requirement is absolute such as to ensure projects will not prevent
   achievement of a desired condition, or to ensure compliance with laws such as the timber
   requirements of sections 6(g)(3)(E) and (F) of the NFMA to protect aesthetics, fish, recreation,
   soil, watershed, and wildlife (16 U.S.C. 1604(g)(3)(E) and (F)), or to protect threatened or




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   endangered species under the Endangered Species Act of 1973 as amended (16 U.S.C. 1531­
   1544). For some species, standards are used to maintain habitat connectivity. For example,
   standards are used as part of the aquatic conservation strategies for the Northwest Forest Plan
   amendments and the Sierra Nevada Framework amendments. Standards can be used to limit
   disturbances from projects and activities to animal dens, perennial streams, and wildlife habitat.
   Standards can also be used to protect resources by restricting authorization of specific uses in
   appropriate circumstances. Such uses might include firewood gathering, grazing, motor vehicle
   use, road construction, timber harvest, removal of sand and gravel, sanitary waste facilities,
   storage of fuel, and surface occupancy in riparian areas.

   Standards:

           1. Place design or operational constraints on projects and activities, or prohibit the Forest
           Service from authorizing certain types of projects or activities to help achieve or maintain
           desired conditions, to avoid undesirable effects, or to meet applicable legal requirements
           (see required topics for standards or guidelines in sec. 23, ex. 01 of this Handbook).

           2. Are stated in a precise manner, and with mandatory or prohibitive wording, such as
           “must,” “shall,” “must not,” “may not,” “shall not,” or XX is not allowed to be
           authorized.”

           3. Are written clearly and without ambiguity so that consistency of a project or activity
           with a standard can be easily determined. (For definition of consistency, see 36 CFR
           219.15).

           4. Should not direct or compel processes such as analysis, assessment, consultation,
           planning, inventory, or monitoring. (Such processes that could be used can be part of
           other plan content such as management approaches, see sec. 22.4 of this Handbook)

           5. Must not restate other plan components.

           6. May be used to provide limitations or direction on whether or how a specific tool is
           appropriate.

           7. Must not mandate conditions beyond those affected by a project. Any guidance meant
           to apply more broadly, such as to maintain a certain level of snag density throughout a
           watershed should be written in the form of desired conditions or objectives.

           8. May impose alternative constraints, when appropriate. An alternative constraint may
           be particularly useful in situations where conditions do not currently exist in some project
           areas. For example, “Vegetation management activities must retain an average of four
           snags per acre on forested acres of the project area, unless this average does not exist. In
           such case, make up the difference from the largest live trees in the project area.”




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   22.14 - Guidelines

                Guidelines. A guideline is a constraint on project and activity
                decisionmaking that allows for departure from its terms, so long as
                the purpose of the guideline is met. (§ 219.15(d)(3)). Guidelines are
                established to help achieve or maintain a desired condition or
                conditions, to avoid or mitigate undesirable effects, or to meet
                applicable legal requirements. (36 CFR 219.7(e)(1)(iv)).

   Guidelines serve the same purpose as standards but they differ from standards in that they
   provide flexibility in defining compliance, while standards are absolute constraints.

   Guidelines:

           1. Place design or operational constraints on projects and activities to help achieve or
           maintain desired conditions, to avoid undesirable effects, or to meet applicable legal
           requirements (see required topics for standards or guidelines in sec. 23, ex. 01 of this
           Handbook).

           2. Are not absolute, but allow for departure from their terms so long as the underlying
           purposes are met. They use the words “should” and “should not.”

           3. Should clearly describe the circumstances and manner in which the guidelines apply
           so that other options may be carried out if they meet the purposes of the guidelines.

           4. Should not direct or compel processes such as analysis, assessment, consultation,
           inventory, planning, or monitoring.

           5. Must not restate other plan components.

           6. May be used to provide limitations or direction on whether or how a specific tool is
           appropriate.

           7. May not impose conditions beyond those affected by a project. Any guidance meant
           to apply more broadly should be written in the form of desired conditions or objectives.

           8. May impose alternative guidance, when appropriate. An alternative guideline may be
           particularly useful in situations where conditions do not currently exist in some project
           areas. For example, “Pipelines, gas lines, or electric lines (transmitting less than 34.5
           kV) should be buried at a minimum depth of 3 feet to protect from damage and freezing.
           Exceptions may be made if site conditions warrant, such as bedrock requiring blasting.”




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   22.15 - Suitability of Lands

                (v) Suitability o^f lands. Specific lands within a plan area will be
                identified as suitable for various multiple uses or activities based on
                the desired conditions applicable to those lands. The plan will also
                identify lands within the plan area as not suitable for uses that are not
                compatible with desired conditions for those lands. The suitability of
                lands need not be identified for every use or activity. Suitability
                identifications may be made after consideration of historic uses and of
                issues that have arisen in the planning process. Every plan must
                identify those lands that are not suitable for timber production
                (§ 219.11). (36 CFR 219.7(e)(1)(v)).

   National Forest System lands are generally suitable for a variety of uses consistent with the
   purposes for which they are administered (outdoor recreation, grazing, timber, watershed, and
   wildlife and fisheries). As discussed in the beginning of section 22 of this Handbook, the set of
   plan components including the suitability of lands in the plan area should integrate social,
   economic, cultural, and ecological considerations. The identification of suitability of lands is not
   required for every resource or activity. If suitability of lands is identified for a resource or
   activity, such identification does not need to be made for every acre of the plan area. For some
   resources, identifying the suitability of use or activity in a particular area may be more
   appropriately made at the project or activity level with site-specific analysis, stakeholder
   participation, and proposed design criteria.

   Identifying suitability helps determine if future projects and activities are consistent with desired
   conditions. The identification of suitability or nonsuitability of lands is based on the desired
   condition for those lands and the inherent capability of the land to support the use.

   Identifying which uses to focus on when identifying lands as “suitable “ or not for the uses may
   arise from issues raised in public participation. When beginning to identify specific lands as
   suitable for various uses, the Interdisciplinary Team should consider what they learned from
   existing uses, monitoring, project planning, and resource plans including fire management plans,
   travel management plans, watershed plans, and other resource plans.

   The Responsible Official should document and make available to the public the rationale for
   identifying the suitability of lands and the information sources, tools, standards, technical
   guidance documents, and databases used in the identification.

   Responsible officials should not identify suitability of lands for any resource, such as certain
   minerals, if an entity other than the U.S. Department of Agriculture (USDA) has sole authority
   over the resource. Section 23.22i of this Handbook gives guidance for plan components and
   mineral resources.




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   The effect of identifying lands as suitable for a use is notably different from identifying lands as
   not suitable for a use. The difference is as follows:

           1. Lands identified as suitable for certain uses or activities. A plan’s identification of
           certain lands as suitable for a use is not a commitment to allow such use but only an
           indication that the use might be appropriate. A specific use or activity may be approved
           or may be disapproved in an area identified as suitable for such types of use. For
           instance, a plan may identify a management area as suitable for utility corridors;
           however, that suitability determination does not imply that specific application for
           pipeline construction would be approved.

           2. Lands specified as not suitable for uses or activities. If a plan identifies certain lands
           as not suitable for a use, then that use or activity may not be authorized. Public uses for
           which a special use authorization is not required, such as biking, boating, camping,
           hiking, or hunting, will not be affected by such a designation in the plan; such uses can
           only be restricted by an action such as a closure order (sec. 21.8 of this Handbook). See
           chapter 60 of this Handbook for identification of lands not suitable for timber production.

           A plan may not identify a use or activity as being suitable in the plan area or relevant part
           of the plan area, and should identify the area as not suitable for that use or activity, if any
           of the following conditions apply:

                a. A law, regulation, Executive Order, or Forest Service directive prohibits the use;

                b. The use would result in substantial and permanent impairment of the productivity
                of the land or renewable resources; or

                c. The use is not compatible with the desired conditions and objectives for the plan
                area, or relevant portion thereof.

   Plans may include suitability or nonsuitability statements for uses such as: administrative or
   commercial communication sites, commercial harvest of nontimber forest products, cross­
   country over-snow vehicle use, helicopter skiing, mechanized travel, motorized travel,
   nonmechanized travel, nonmotorized travel, range structures, recreational trails, research
   activities, tethering and grazing of recreational stock, utility corridors, and others.

   Plans should not include any suitability or nonsuitability statements for the use of management
   tools such as prescribed fire, clearcutting, or use of chemicals. A guideline or standard may be
   used to provide limitations or direction on whether or how use of a specific tool is appropriate.

   There are many approaches for identifying suitable or not suitable lands for uses, including:
   geographical (variety of mapping techniques); narrative descriptions of types of physical,
   ecological, or economic conditions; photos showing types of conditions; and tying specific uses
   to suitability tables of management areas. An example of a narrative description of identifying



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   not suitable lands is “Timber production is not suitable on soil types B-2 and C-5 as defined in
   the Forest Soils Handbook.” If maps are used to show where plan components apply,
   substantive changes to such maps require a plan amendment.

   22.16 - Goals

                Optional plan component: goals. A plan may include goals as plan
                components. Goals are broad statements of intent, other than desired
                conditions, usually related to process or interaction with the public.
                Goals are expressed in broad, general terms, but do not include
                completion dates. (36 CFR 219.7(e)(2)).

   The Responsible Official may choose to include goals as optional plan components. Goals may
   be used to organize plan components similar to the Forest Service Strategic Plan. Goals may be
   appropriate to describe a state between current conditions and desired conditions but without
   specific amounts of indicators (acres, percentages, frequencies). Goals may also be appropriate
   to describe overall desired conditions of the plan area that are also dependent on conditions
   beyond the plan area or Forest Service authority. Goals for resource conditions may be
   appropriate if scientific information is not adequate to provide sufficient specificity to establish
   desired condition. However, using goals in lieu of desired conditions should be avoided.

   Goals instead of objectives may be appropriate if the Responsible Official is not sure a concise,
   measurable, and time-specific statement of a desired rate of progress is within the control of the
   unit; however, using goals in lieu of objectives should be avoided. Examples are:

           1. If the outcome is the result of a partnership between the Forest Service and other land
           owners within the broader landscape.

           2. If the outcome is uncertain, because it could be beyond the fiscal capability of the unit.

   22.2 - Where Plan Components Apply

   The public, governmental entities and Forest Service employees need to know where plan
   components apply. The plan must indicate which plan components apply unit-wide, which apply
   to specific parcels of land, and which apply to land of specific character). Plans use management
   areas or geographic areas to apply plan components to specific mapped parcels of land. Some
   plan components apply to land of specific character (for example riparian areas, roads, springs,
   streams, and wetlands) and this is explained in the wording of the plan component itself.

   A plan can have complicated land allocation schemes. Some plans may include static areas (for
   example, old forest emphasis areas), overlapping areas (for example, wildland-urban interface
   may overlap with old forest emphasis areas), and dynamic areas that may change over time (for
   example, spotted owl protected activity centers). If a plan has overlapping areas and direction
   that overlaps, the plan must clearly explain which direction has priority.



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   A plan applies only to National Forest System land and, therefore, no longer applies after land
   has been conveyed to others. With respect to land that is acquired through land exchange or
   other means, the forest-wide plan components apply to that land automatically. Additionally, the
   plan components for the management or geographic area within which the land lies in whole or
   in large part will apply, unless the plan is amended to add plan components specific to that land.

   22.21 - Identification of Management Areas and Geographic Areas

                (d) Management areas or geographic areas. Every plan must have
                management areas or geographic areas or both. The plan may
                identify designated or recommended designated areas as management
                areas or geographic areas. (36 CFR 219.7(d)).

   The terms “management area” and “geographic area” may be used to describe how plan
   components apply to specific parcels of National Forest System land, with locations shown on
   maps. The definitions of geographic area and management area are defined at 36 CFR 219.19.
   Geographic areas are based on place, while management areas are based on purpose.

           1. Management areas. The typical management area (MA) map represents the
           management emphasis on landscape basis. Management area maps often show lands
           with integrated packages of compatible resource direction. For example, a map of a plan
           area’s management areas might be labeled as follows: MA 1, for all the lands in the plan
           area emphasizing developed recreational use; MA 2, for all the lands in the plan area that
           are suitable for timber production; MA 3, for all the lands in the plan area providing for
           off-highway vehicle trails; MA 4, for all the lands in the unit that are Wilderness; MA 5,
           for all the lands in the unit areas emphasizing primitive backcountry recreational
           experiences.

           2. Geographic areas. The typical geographic area map represents large areas that have
           desired conditions with a range of possible resource management emphases. Rather than
           a management emphasis map, a geographic area map tends to focus on a place (Red Rock
           Canyon, Mount Whitney, or perhaps a specific watershed).

   A geographic approach is based on the idea that the plan serves as a long-range vision for an
   area. However, the boundaries for different suitable uses within a geographic area may be
   identified by using multiple overlays of maps. For example, overlays of maps could identify
   how suitability for nonmotorized use, winter motorized use, and timber production differs across
   one geographic area.

   A combination of geographic area and management area approaches may be useful. Above all,
   the approach must fit the plan area, be clear about the use of geographic areas, management
   areas, and where plan components apply.




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   Management areas and geographic areas may overlap. Management areas may overlap with
   other management areas if specified plan components are not conflicting. Not every acre of the
   plan area needs to be assigned to a management area or geographic area. Management areas or
   geographic areas may be established for designated areas, including designated roadless areas.

   Plan guidance in a management area or geographic area (MA or GA) could differ from the
   forest-wide guidance in the following ways:

           1. The MA or GA guidance can constrain an activity where the unit-wide guidance does
           not (for example unit-wide direction may say nothing about leaving snags, but MA-GA
           direction requires leaving X snags per acre);

           2. The MA or GA guidance can constrain an activity to a greater degree than the unit­
           wide direction does (for example, unit-wide guidance is to leave an average of X snags
           per acre, but in MA 1 the average of X + 3 snags per acre is to be retained); or

           3. The MA or GA would be in conflict with the unit-wide direction except that the unit­
           wide direction allows for the discrepancy (for example, forestwide guidance is for a
           minimum of X snags per acre, “except where a MA or GA plan component provides
           otherwise, ” and the MA or GA plan component for a wildland-urban interface area is that
           NO snags are to be retained).

   The names of designated areas (see sec. 24, ex. 01 of this Handbook) should not be used as a
   “management area” or “geographic area” name unless the area has been specifically designated.

   The following names are reserved for Forest Service designated areas when using the process of
   FSM 2372-Areas Designated Administratively, or unless the Responsible Official is designating
   or recommending the area as an administratively designated area using the process of FSM 2372
   as part of the plan decision:

           1. Botanical Area.

           2. Geological Area.

           3. Historical Area.

           4. Paleontological Area.

           5. Recreational Area.

           6. Scenic Area.

           7. Zoological Area.

   Designated areas are discussed in section 24 of this Handbook.



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   22.3 - Other Required Content in the Plan

   In addition to requiring that a plan have components, the Planning Rule requires that a plan have
   “other required content” (36 CFR 219.7(f)(1)). Sections 22.31 through 22.34 of this Handbook
   discuss priority watersheds, distinctive roles and contributions of the plan area, plan monitoring
   program, and proposed and possible actions in that order.

   22.31 - Priority Watersheds

   The Planning Rule requires land management plans to:

                (i) Identify watershed(s) that are a priority for maintenance or
                restoration; (36 CFR 219.7(f)(1)).

   Identification of priority watersheds is done to focus effort on the integrated restoration of
   watershed conditions in these areas.

   The Responsible Official should identify an appropriate number of watersheds in the plan for
   maintenance or improvement that corresponds to reasonable and achievable plan objectives for a
   5-year period and within current budget levels. Priority watersheds in the plan are the
   watersheds where plan objectives for restoration would concentrate on maintaining or improving
   watershed condition.

   The Forest Service national Watershed Condition Framework (WCF) must be used in all plan
   revisions for identifying priority watersheds unless the Responsible Official coordinates with the
   Washington Office, Director, Watershed, Fish, Wildlife, Air & Rare Plants staff, provides
   written justification, and obtains concurrence from the Regional Forester for using an alternate
   approach.

   Under the Watershed Condition Framework, the task of identifying priority watersheds is left to
   the discretion of Responsible Officials within the broad framework of national direction, regional
   emphasis, land management plan direction, resource values, restoration costs, local issues and
   needs, and opportunities for watershed maintenance and restoration.

   The identification of priority watersheds for the plan will use an Interdisciplinary Team process,
   where the Responsible Official approves the priority watersheds. The Responsible Official
   should reach out to local, State, Tribal, other Federal agencies, and interest groups when
   identifying priority watersheds. The identification of priority watersheds is also based on the
   following:

           1. Agency watershed restoration policies and priorities that have been established at
           other scales, including national and regional scale restoration strategies.




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           2. The importance of water and watershed resources (ecological, social, and economic
           resource value), the urgency of management action to address conditions and threats, and
           the ability of management actions to maintain or improve conditions or address threats.

           3. Alignment of watershed objectives with other Forest Service strategic objectives and
           priorities.

           4. Alignment of watershed objectives with the strategies and priorities of other Federal
           and State agencies, Tribes, community and collaborative efforts, nongovernmental
           conservation organizations, and public desires.

           5. Considering watersheds that have important ecological values, such as those with
           designations of Outstanding Natural Resource waters, Class A/Blue Ribbon fisheries,
           Class I Air sheds, or biodiversity hotspots.

           6. Considering impaired ecosystems, such as those with Clean Water Act 303(d) listed
           waters, threatened or endangered species, poor air quality, invasive species, or degraded
           vegetation conditions, and those where improvement or restoration activities are
           necessary to meet regulatory requirements or meet desired condition objectives.

   The identification of priority watersheds is intended to be helpful to Forest Service managers as
   they schedule work after plan approval, especially in circumstances of limited budgets and
   resources.

   The Interdisciplinary Team should develop plan components to address conditions in priority
   watersheds.

   Changes as to which watersheds in the plan are “priority” are made by administrative change
   (sec. 21.5 of this Handbook).

   The Watershed Condition Framework publication is available at
   http://www.fs.fed.us/publications/watershed/. Watershed Condition Framework priority
   watersheds are mapped online at the USDA Forest Service Watershed Condition and
   Prioritization Interactive map at http://apps.fs.usda.gov/WCFmapviewer/ .

   22.32 - Distinctive Roles and Contributions of the Plan Area

   The Planning Rule requires land management plans to:

                (ii) Describe the plan area’s distinctive roles and !             5
                the broader landscape; (36 CFR 219.7(f)(1)).




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   The Planning Rule (36 CFR 219.2(b)) explains the types of things the Interdisciplinary Team
   may consider when describing the plan area’s distinctive roles and contributions within the
   broader landscape:

                . . . A plan reflects the unit’s expected distinctive roles and
                contributions to the local area, region, and Nation, and the roles for
                which the plan area is best suited, considering the Agency’s mission,
                the unit’s unique capabilities, and the resources and management of
                other lands in the vicinity. . . .

   The plan area's distinctive roles and contributions within the broader landscape can provide focus
   or context and can aid in developing plan components. Well-described distinctive roles and
   contributions can also help provide an all-lands perspective and a framework for potential
   collaborative restoration efforts.

   A plan area may have multiple roles and contributions within the broader landscape. In
   describing the plan area’s distinctive roles and contributions within the broader landscape, the
   Responsible Official should consider the many potential roles of the plan area.

   Some roles may not be distinctive but could still be important. For example, all forested land in
   an area may be part of the upstream supply of water to a downstream community, making a
   unit’s contribution to the quality and availability of that water important but not distinctive. The
   Responsible Official should note those roles and contributions that are most relevant to the unit’s
   land and resource management. This description is important because it provides a foundation
   for desired conditions and objectives. Desired conditions and objectives should address all­
   important roles.

   The Interdisciplinary Team should describe the distinctive roles and contribution of the plan area
   within the broader landscape early in the planning phase. The team should consider information
   evaluated during the assessment phase as a starting point for describing the distinctive roles and
   contributions. The Interdisciplinary Team should develop an understanding of the ecological,
   social, and economic context that surrounds the plan area. For example, does the plan area
   represent a large or a small percentage of the land ownership in a county or other jurisdiction;
   what is the level of diversity of the local economy; and what habitat conditions can be provided
   on surrounding or intermingled private or State land? The roles and contributions of the plan
   area should then be placed within this context, to provide a gauge of the relative importance of
   each potential role.

   When writing the description of the plan area’s distinctive roles and contribution within the
   broader landscape, the Interdisciplinary Team should consider the following:

           1. Whether the plan area’s distinctive roles and contributions within the broader
           landscape:




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                a. Are distinctive attributes of the plan area, or distinctive benefits (uses, values,
                products, and services) provided by the plan area to the broader landscape;

                b. Are important and relevant at the local, regional, and/or national level; and

                c. Contribute toward social, economic, and ecological sustainability.

           2. Descriptions of a plan area’s distinctive roles and contributions may reflect the:

                a. Ecological role of the plan area in the broader landscape;

                b. Economic benefits of uses, products, and services provided by the plan area;

                c. Resources and management of other lands in the broader landscape in terms of
                social, cultural, economic, and ecological conditions; and

                d. The role of the plan area in providing the renewable resources of the Multiple-use
                Sustained-Yield Act of 1960 (MUSYA) of outdoor recreation, range, timber,
                watershed, and wildlife and fish; and

                e. The role of the plan area of providing sustained yield of the several products and
                services obtained therefrom (MUSYA) including ecosystem services.

                f. The role of the plan area as related to other planning efforts such as Community
                Wildfire Protection Plans and regional or national plans and strategies.

           3. Examples of distinctive roles and contributions of a plan area within the broader
           landscape could include:

                a. A downhill skiing designation.

                b. Recharge areas for water supplies for large communities.

                c. A major source of supply for local timber industry.

                d. A primary conservation area for grizzly bear.

                e. A designated area with extraordinary scenic views for high volume backpacking.

                f. An outstanding opportunity for hiking on a national scenic trail.

                g. Extraordinary scenery contributing to quality of life and opportunities to improve
                physical and mental health.




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                h. The location of a specific river, protected under the Wild and Scenic Rivers Act,
                nationally known for white water rafting.

           4. Comments from the public and governmental entities may be received from various
           perspectives including:

                a. Engagement of communities, individuals, Indian Tribes, and others early in the
                participation process, to define existing and desired roles and contributions of the
                plan area;

                b. Outreach to engage youth, minority, and low-income populations (FSH 1909.12,
                ch. 40, sec. 43.3);

                c. Collaborative processes to achieve understanding lifestyles, values, attitudes,
                beliefs, and other conditions, relevant to the plan area;

                d. Consideration of the areas and populations to which plan area contributions apply
                at a local, regional, and national scale, as appropriate;

                e. Consideration of the context of local, Tribal, regional, and national perspectives;

                f. Consideration of the context to the Agency’s mission and strategic plan goals; and

                g. Consideration of current and projected program outputs and ecosystem services.

   22.33 - Plan Monitoring Program

   A land management plan must contain a plan monitoring program (36 CFR 219.12). See FSH
   1909.12, chapter 30 for guidance for developing a plan monitoring program.

   22.34 - Proposed and Possible Actions

   The Planning Rule requires land management plans to:

                (iv) Contain information reflecting proposed and possible actions that
                may occur on the plan area during the life of the plan, including: the
                planned timber sale program; timber harvesting levels; and the
                proportion of probable methods of forest vegetation management
                practices expected to be used (16 U.S.C. 1604(e)(2) and (f)(2)). Such
                information is not a commitment to take any action and is not a
                “proposal” as defined by the Council on Environmental Quality
                regulations for implementing NEPA (40 CFR 1508.23, 42 U.S.C.
                4322(2)(C)). (36 CFR 219.7(f)(1)).




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   The land management plan must include a list of types of possible projects for the next 3 to 5
   years to move toward the desired conditions and objectives. The possible actions may be
   displayed in an appendix as a brief summary of the types of possible projects expected.

   The plan’s discussion of possible actions must be explicit that the types of actions described do
   not commit the Agency to perform or permit those actions, but that they are provided as possible
   actions that would likely be consistent with plan components, particularly the desired conditions
   and objectives.

   The possible actions listed should include exhibits of the possible timber sale program, timber­
   harvesting levels, and the proportion of probable methods of forest vegetation management
   practices expected to be used, if applicable; see examples of such exhibits in FSH 1909.12,
   chapter 60. The identification of possible actions should include an estimate of timber
   harvesting level, but should not include speculation about the specific amount, frequency,
   location, magnitude, or numbers of actions during the plan period.

   Do not place a “to do” list of projects and expected dates in the plan. If management approaches
   are included as optional content in the plan (sec. 22.4 of this Handbook); they may be used to
   inform future proposed and possible actions.

   22.4 - Optional Content in the Plan

   Optional content in the plan is discussed at 36 CFR 219.7(f)(2):

                (2) Optional content in the plan. A plan may include additional
                content, such as potential management approaches or strategies and
                partnership opportunities or coordination activities.

   Plans may include optional content, such as existing conditions, explanatory narrative, general
   management principles, management approaches, management challenges, performance history,
   performance risks, or referenced material. This optional content must not be labeled or worded
   in a way that suggests it is a plan component. In addition, optional content must not include, or
   appear to include, a “to do” list of tasks or actions.

   For example, a plan could include optional explanatory narrative on performance history to show
   the public how planned outcomes are related to recent trends, while also reflecting movement
   toward the desired condition. A discussion of performance risks could give the public a realistic
   expectation regarding the plan area’s ability to achieve the objectives. Optional content in the
   plan could facilitate transparency and give the public and governmental entities a clear
   understanding of the plan and how outcomes would likely be delivered. Optional content in the
   plan may also describe partnership opportunities that support the achievement of desired
   conditions and objectives.




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   If used, management approaches would describe the principal strategies and program priorities
   the Responsible Official intends to employ to carry out projects and activities developed under
   the plan. The management approaches can convey a sense of priority and focus among
   objectives and the likely management emphasis. Management approaches should relate to
   desired conditions and may indicate the future course or direction of change, recognizing budget
   trends, program demands and accomplishments. Management approaches may discuss potential
   processes such as analysis, assessment, inventory, project planning, or monitoring. Use care not
   to create unrealistic expectations regarding the delivery of programs.

   Land management plans are not the only vehicle for providing information for subsequent
   projects and activities to help achieve the desired conditions. Land management plans may
   reference other sources of information in “other plan content” such as standard road and trail
   construction clauses, special use authorization clauses, memoranda of understanding between the
   Forest Service and other agencies, Congressional direction, or best management practice
   guidebooks.

   Optional plan content can be changed through administrative changes.

   23 -RESOURCE REQUIREMENTS FOR INTEGRATED PLAN COMPONENTS

   A plan provides vision, strategy, and constraints to guide integrated resource management of the
   plan area. This section provides a framework for developing the plan components that together
   provide for ecological sustainability and contribute to social and economic sustainability in the
   plan area as well as the broader landscape. Plan components must be within the inherent
   capability of the plan area, Forest Service authority, and the fiscal capability of the unit (36 CFR
   219.1(g)).

                § 219.8 Sustainability.
                a) Ecological sustainability. (1) Ecosystem Integrity. The plan must
                include plan components, including standards or guidelines, to
                maintain or restore the ecological integrity of terrestrial and aquatic
                ecosystems and watersheds in the plan area, including plan
                components to maintain or restore structure, function, composition,
                and connectivity, taking into account: ......
                ***
                The plan must provide for social, economic, and ecological
                sustainability within Forest Service authority and consistent with the
                inherent capability of the plan area, as follows: ......
                ***




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                (b ) Social and economic sustainability. The plan must include plan
                components, including standards or guidelines, to guide the plan
                area’s contribution to social and economic sustainability, . . .
                * * * § 219.9 Diversity of plant and animal communities. This section
                adopts a complementary ecosystem and species-specific approach to
                maintaining the diversity of plant and animal communities and the
                persistence of native species in the plan area. Compliance with the
                ecosystem requirements of paragraph (a) is intended to provide the
                ecological conditions to both maintain the diversity of plant and
                animal communities and support the persistence of most native
                species in the plan area. Compliance with the requirements of
                paragraph (b) is intended to provide for additional ecological
                conditions not otherwise provided by compliance with paragraph (a)
                for individual species as set forth in paragraph (b). The plan must
                provide for the diversity of plant and animal communities, within
                Forest Service authority and consistent with the inherent capability of
                the plan area.
                * * * § 219.10 Multiple use.
                While meeting the requirements of §§ 219.8 and 219.9, the plan must
                provide for ecosystem services and multiple uses, including outdoor
                recreation, range, timber, watershed, wildlife, and fish, within Forest
                Service authority and the inherent capability of the plan area . . . .

   While the guidance in the sections that follow is stated in terms of “plan components for
   diversity” and for “ecological integrity” and for “multiple use,” individual plan components need
   not be so narrow. The set of desired conditions for a plan area, or portion of the area, in
   particular provides an integrated description of an area managed sustainably for ecological
   integrity, multiple use, and for the production of goods and services. (See sec. 22 of this
   Handbook—introductory text—for additional discussion of integrated plan components.)

   The requirements for plan components are set out in this section, topic by topic. While this
   directive sets out each requirement separately, the set of plan components should integrate them.
   For new plans or plan revision, the Rule requires the plan to include plan components, including
   standards or guidelines for many topics at 36 CFR 219.8 through 219.1l. The topics include air
   quality; contribution to social and economic sustainability; diversity of ecosystems; ecological
   integrity; integrated resource management; soils and soil productivity; timber harvest; water
   quality; and water resources.

   A separate plan section, or even a unique plan component, is not required for each topic. Rather,
   the plan components should be integrated in any manner that ensures that the plan, as a whole,
   meets each of the Rule’s requirements. One plan component can address more than one
   requirement; for example, a standard that limits soil disturbance during timber harvesting



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   operations would respond to the Rule’s requirements that timber harvest not irreversibly damage
   soil and be carried out consistent with the protection of soil, as well as the Rule requirements
   regarding the maintenance or restoration of ecological integrity, riparian areas and water quality.

   See exhibit 01 for a list of all the Rule requirements for plan components, including standards or
   guidelines. Note the set of desired conditions should cover all topics listed in exhibit 01, except
   for where the topic or resource does not occur within the plan area.




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     The topics for which plan components, including standards or guidelines, are required

    •   Ecological integrity of terrestrial and aquatic ecosystems, and watersheds in the plan area
        (36 CFR 219.8(a) and 219.9(a))
    •   Air quality; soils and soil productivity, including guidance to reduce soil erosion and
        sedimentation; and water quality (36 CFR 219.8(a)(2))
    •   Ecological integrity of riparian areas (36 CFR 219.8(a)(3))
    •   Contribution to social and economic sustainability (36 CFR 219.8(b))
    •   Diversity of ecosystems and habitat types (36 CFR 219.9(a)(2))
    •   [species-specific] ecological conditions in the plan area [for species at risk, when coarse
        filter does not required protections for such species] (36 CFR 219.9(b)(1)) and
        219.9(b)(2)(ii))
    •   Integrated resource management to provide for ecosystem services and multiple uses
        (36 CFR 219.10(a)))
    •   Sustainable recreation; including recreation settings, opportunities, and access; and scenic
        character (36 CFR 219.10(b)(i))
    •   Protection of cultural and historic resources (36 CFR 219.10(b)(ii))
    •   Management of areas of tribal importance (36 CFR 219.10(b)(iii))
    •   Protection of congressionally designated wilderness areas as well as management of areas
        recommended for wilderness designation . . . . (36 CFR 219.10(b)(iv))
    •   Protection of designated wild and scenic rivers as well as management of rivers found
        eligible or determined suitable. . . . (36 CFR 219.10(b)(v))
    •   Appropriate management of other designated areas or recommended designated areas . . .
        (36 CFR 219. 219.10(b)(vi))
    •   No timber harvest for the purposes of timber production on lands not suited
        (36 CFR 219. 219.11(d)(1))
    •   Soil, slope, or other watershed conditions would not be irreversibly damaged
        (36 CFR 219.11(d)(2))
    •   Protection of soil, watershed, fish, wildlife, recreation, and aesthetic resources
        (36 CFR 219.11(d)(3))
    •   Limit[s on] the maximize size for openings (must be standards; cannot be guidelines)
        (36 CFR 219.11(d)(4))
    •   Timber harvest only when in compliance with the resource protections (36 CFR
        219.11(d)(5))
    •   [Timber removal] on a sustained yield basis (36 CFR 219.11(d)(6))
    •   [Regeneration only of] stands that generally have reached the culmination of mean
        annual increment of growth (36 CFR 219.11(d)(7))




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   Section 23.1 of this Handbook, “Ecological Sustainability and Diversity of Plant and Animal
   Communities,” provides guidance for developing plan components related to ecological
   sustainability, ecosystem integrity and conditions that meet the needs of at-risk species within the
   plan area.

   Section 23.2 of this Handbook, “Social and Economic Sustainability and Multiple Uses,”
   provides guidance for developing plan components to guide the plan area’s contribution to social
   and economic sustainability (such as employment, income, community wellbeing, and culture).

   Developing plan components is an iterative process. For example, emerging plan components
   may be adjusted to ensure that management for multiple use will do so in a way that provides for
   sustainable ecological conditions, and vice-versa.

   While a plan cannot guarantee sustainability, plan components are more likely provide for
   sustainability if they reflect the broader social, economic, and ecological context in which the
   plan applies. In addition, plan components must be within Forest Service authority, the inherent
   capability of the plan area, and the fiscal capability of the unit (36 CFR 219.1(g)).

   23.1 - Ecological Sustainability and Diversity of Plant and Animal Communities

   To develop the land management plan consistent with maintaining ecological sustainability, the
   plan must include plan components, including standards or guidelines, designed to maintain,
   restore, or promote the ecological integrity of terrestrial, riparian, and aquatic ecosystems;
   maintain the diversity of plant and animal communities; and support the persistence of native
   species within the plan area, subject to the extent of Forest Service authority and the inherent
   capability of the plan area.

   This section (sec. 23.1 of this Handbook) gives direction for developing plan components for
   ecological sustainability and diversity of plant and animal communities. It consists of three
   subsections.

   The first two subsections, “Plan Components for Ecosystem Integrity and Ecosystem Diversity”
   (sec. 23.11-23.11d of this Handbook) and “Plan Components for Air, Soil, and Water” (sec.
   23.12-23.12c of this Handbook), provide direction for design of plan components for the
   ecosystem and watershed level within the plan area.

   The third subsection, “Additional Species-Specific Plan Components” (sec. 23.13-23.13c of this
   Handbook), gives direction for the design of plan components when those developed for the
   ecosystem and watershed level under sections 23.11 and 23.12 of this Handbook would not
   provide for the ecological conditions necessary to meet the requirements of 36 CFR 219.9(b).

   The plan development process for ecological sustainability and diversity of plant and animal
   communities should primarily focus on the ecosystem and watershed level plan components,
   especially those that support ecological conditions for at-risk species.



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   When developing integrated plan components the Interdisciplinary Team should consider the
   following:

           1. Major vegetation types and their successional stages, patch sizes, spatial arrangement,
           and connectivity;

           2. Dominant ecological processes and disturbance regimes for the plan area;

           3. Ecosystems and unique habitat types including those that are rare or at risk;

           4. Stressors, such as changes in human impacts within the plan area, disruptors of a key
           ecosystem characteristic by catastrophic fire, effects of a changing climate, invasive
           species, or water obstructions;

           5. Soil resources and soil productivity;

           6. Geologic resources and hazards;

           7. Air resources;

           8. Water quality and quantity, stream and other natural water flows, stream and lake
           morphology, wetlands, riparian areas, floodplains, and other groundwater-dependent
           ecosystems;

           9. Management strategies that mitigate the effects of stressors, restores ecological
           integrity, or adaptation strategies to reduce vulnerability; and

           10. Access, recreational settings, and scenic character.

           11. Maintenance or restoration of key ecosystem characteristics identified in the
           assessment including those that are rare or at risk (FSH 1909.12, ch. 10, secs. 12.14c and
           12.55) in the plan area.

           12. Range of ecological conditions established within the limits of natural landforms,
           vegetation, and disturbance processes that existed before extensive human alteration
           (FSH 1909.12, ch. 10, sec. 12.14a).

           13. Variation in physical and biological conditions exhibited by ecosystems because of
           system drivers, stressors, climatic fluctuations, and disturbance regimes, including those
           that are beyond the control of the Agency (FSH 1909.12, ch. 10, sec. 12.3).

           14. The concept that the environmental conditions that sustained species and other
           ecosystem components in the past are likely to sustain them (at least over the short term)
           in the future (Weins et al. 2012; and sec. 23.11a of this Handbook).




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   23.11 - Plan Components for Ecosystem Integrity and Diversity

   The Agency’s vision is for ecosystems in the plan area to have ecological integrity and adaptive
   capacity. (See FSH 1909.12, zero code, sec. 05 for definition of ecological integrity and
   adaptive capacity). Ecosystems have integrity when their composition, structure, function, and
   connectivity are operating normally over multiple spatial and temporal scales. However, not
   every desired condition or acre has to meet the definition of ecological integrity, because some
   specific areas may not have the capability or because another concern such as public safety is
   more important in a specific area.

   In light of possible changes in species composition under the effects of climate change and with
   a focus on restoration, the Agency designs plan components to provide ecological conditions to
   sustain functional ecosystems based on a future viewpoint. Functional ecosystems are those that
   sustain critical ecological functions over time to provide ecosystem services.

   Functional restoration may be necessary to restore the abiotic and biotic processes in degraded
   ecosystems. Functional restoration focuses on the underlying processes that may be degraded,
   regardless of the structural condition of the ecosystem. As such, a functionally restored
   ecosystem may have different structure and composition than the past reference condition.

           1. The Responsible Official should coordinate with Research and Development to
           develop plan components to adapt to the effects of climate change.

           2. The Responsible Official should direct the Interdisciplinary Team to design plan
           components that are within Forest Service authority, the inherent capability of the plan
           area, and the fiscal capability of the unit (36 CFR 219.1(g)):

                a. Provide ecological conditions to restore, establish, and maintain functioning
                ecosystems on National Forest System lands that can sustainably support multiple
                uses and provide a broad range of goods and services.

                b. Restore, establish, and maintain functioning ecosystems that will have greater
                adaptive capacity to withstand stressors and recover from disturbances, especially
                changing and uncertain environmental conditions and extreme weather events.

                c. Provide ecological conditions to sustain ecosystems that maintain the diversity of
                plant and animal communities and the persistence of native species in the plan area
                (36 CFR 219.9).

                d. Take into account the effects of a changing climate (36 CFR 219.8(a)(1)(iv)).

                e. Provide for ecological integrity, ecosystem services, and multiple uses within the
                plan area in an integrated manner (36 CFR 219.10).




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   23.11a - Natural Range of Variation

   An understanding of the natural range of variation related to key ecosystem characteristics
   provides context and insights to the design of plan components. Agency intent is to promote
   ecosystem integrity in the plan area. However, it may not be possible or appropriate to strive for
   returning key characteristics to past conditions throughout the plan area.

   Understanding the natural range of variation is fundamental in strategic thinking and planning,
   even if restoration to historical conditions is not the management goal or possible on parts of the
   plan area. Understanding the natural range of variation of an ecosystem provides an
   understanding of how ecosystems are dynamic and change over time. The natural range of
   variation is useful for understanding each specific ecosystem, for understanding its existing
   ecological conditions, and for understanding its likely future character, based on projections of
   climate regimes. The natural range of variation is a guide to understanding how to restore a
   resilient ecosystem with structural and functional properties that will enable it to persist into the
   future.

   The goal of understanding natural range of variation is to help design plan components to
   maintain or restore the integrity of the diversity of terrestrial, riparian, and aquatic ecosystems
   and habitat types throughout the plan area provide an ecosystem (coarse-filter) approach to
   maintaining the persistence of native species.

   When developing plan components, the Interdisciplinary Team shall consider the role of the
   natural range of variation as follows:

           1. In general, where appropriate, the Interdisciplinary Team should design plan
           components aimed at maintaining or restoring the natural range of variation of specific
           key ecosystem characteristics needed to promote ecosystem integrity in the plan area.

           2. For specific areas within an ecosystem, the Responsible Official may determine that it
           is not appropriate, practical, possible, or desirable to contribute to restoring conditions to
           the natural range of variation. Natural range of variation includes a wide range of
           characteristics, some more common than other characteristics. To achieve social,
           economic, cultural, or ecological objectives it may be desirable to manage for uncommon
           conditions in specific areas in the plan area. For an ecosystem to withstand or recover
           from disturbance events caused under unique circumstances, it may be necessary to
           manage for characteristics that were rare or never occurred in the past. The following are
           examples of situations where it is NOT appropriate, practical, possible, or desirable to
           design plan components to restore past conditions for specific areas within an ecosystem:




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                a. The system is so degraded that restoration is not possible.

                b. The ability to restore the desired ecological conditions or key ecosystem
                characteristics is beyond the authority of the Forest Service, the fiscal capability of
                the unit, or the inherent capability of the plan area.

                c. The system is no longer capable of sustaining key ecosystem characteristics
                identified as common in the past based upon likely future environmental conditions.

                d. Conditions that rarely or never occurred in the past, but that can be managed for in
                the future, will better contribute to long-term ecosystem sustainability and adaption to
                the effects of a changing climate.

                e. Conditions that rarely or never occurred in the past, but that can be managed for in
                the future, will better address public health and safety concerns.

                f. Conditions common in the past are directly opposed to integrated desired
                conditions (desired conditions that represents a balance of social, economic, cultural
                and ecological needs).

           3. If past conditions relative to the natural range of variation are not appropriate,
           practical, possible, or desirable approaches:

                a. The Interdisciplinary Team should design plan components based on a general
                scientific and ecological understanding of the conditions that would sustain key
                ecosystem characteristics and sustain at-risk species using factors such as:
                representativeness, redundancy, habitat associations of particular species, disturbance
                dynamics, or observed conditions in reference areas. (FSH 1909.12, ch. 10, sec.
                12.14b); and

                b. The Responsible Official should briefly explain in the plan decision document the
                rationale for NOT basing the design of the plan components on those conditions that
                were common in the past relative to the natural range of variation.

   23.11b - Ecosystem Integrity

   Plans must contain plan components, including standards or guidelines, that maintain or restore
   the composition, structure, ecological processes, and connectivity of plan area ecosystems in a
   manner that promotes their ecological integrity (36 CFR 219.8(a) and 219.9(a)(1)). Ecological
   integrity is defined in the Rule at 36 CFR 219.19 and at FSH 1909.12, zero code, section 05.




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                219.8 Sustainability
                (a) Ecological sustainability. (1) Ecosystem Integrity. The plan must
                include plan components, including standards or guidelines, to
                maintain or restore the ecological integrity of terrestrial and aquatic
                ecosystems and watersheds in the plan area, including plan
                components to maintain or restore structure, function, composition,
                and connectivity, taking into account:
                (i) Interdependence of terrestrial and aquatic ecosystems in the plan
                area.
                (ii) Contributions of the plan area to ecological conditions within the
                broader landscape influenced by the plan area.
                (iii) Conditions in the broader landscape that may influence the
                sustainability of resources and ecosystems within the plan area.
                (iv) System drivers, including dominant ecological processes,
                disturbance regimes, and stressors, such as natural succession,
                wildland fire, invasive species, and climate change; and the ability of
                terrestrial and aquatic ecosystems on the plan area to adapt to
                change.)
                (v) Wildland fire and opportunities to restore fire adapted ecosystems.
                (vi) Opportunities for landscape scale restoration.
                ***

                § 219.9 Diversity of plant and animal communities.
                 . . . (a) Ecosystem plan components. (1) Ecosystem integrity. As
                required by § 219.8(a), the plan must include plan components,
                including standards or guidelines, to maintain or restore the
                ecological integrity of terrestrial and aquatic ecosystems and
                watersheds in the plan area, including plan components to maintain
                or restore their structure, function, composition, and connectivity.

   The Interdisciplinary Team shall take into account the following items, set out in the Rule at 36
   CFR 219.8(a)(1)(i) -(iv) and (vi) when developing plan components:

           1. Interdependence of terrestrial and aquatic ecosystems in the plan area. The
           Interdisciplinary Team should develop plan components in an integrated manner
           reflecting the interaction and interdependence of terrestrial, aquatic, and riparian
           ecosystems in the plan area.



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           2. Contributions of the plan area to ecological conditions within the broader landscape
           influenced by the plan area. When developing plan components the Interdisciplinary
           Team should consider:

                a. Ecological conditions within the broader landscape and how those conditions may
                be influenced by resources or management within the plan area (FSH 1909.12, ch. 10,
                sec. 12.14c, paragraph 3).

                b. Ecological connectivity at multiple temporal and spatial scales that would provide
                landscape linkages facilitating the exchange of resources and the movements of
                species across the broader landscape (FSH 1909.12, ch. 10, sec. 12.14c, paragraph 1).

                c. Ecological conditions, habitats, or key ecosystem characteristics in the plan area
                that are unique, under-represented, or rare across the broader landscape
                (FSH 1909.12, ch. 10, sec. 12.14c, paragraph 3).

                d. Opportunities to maintain or restore ecological conditions for pollinators and
                improve pollinator health.

           3. Conditions in the broader landscape that may influence the sustainability of resources
           and ecosystems within the plan area. When developing plan components the
           Interdisciplinary Team should consider the ecological conditions in the broader landscape
           that may influence the sustainability of the plan area and should consider the following:

                a. Existing conditions of the broader landscape outside National Forest System
                boundaries that may influence the plan area’s ability to maintain or restore ecological
                integrity of plan area ecosystems. Such conditions may include habitat
                fragmentation, land use patterns, resource management, or urbanization
                (FSH 1909.12, ch. 10, sec. 12.14c, paragraph 3).

                b. Facilitating or mimicking dominant ecological processes and system drivers of the
                broader landscape, especially those related to fire-adapted ecosystems (FSH 1909.12,
                ch. 10, sec. 12.3).

                c. Collaborating with other land managers across the broader landscape when
                developing an all-lands approach to planning for ecological resources in a manner
                that promotes the ecological integrity of terrestrial, riparian, and aquatic ecosystems
                in the plan area (FSH 1909.12, ch. 40).

           4. System drivers, including dominant ecological processes, disturbance regimes, and
           stressors. When developing plan components, the Interdisciplinary Team should consider
           dominant ecological processes, disturbance regimes, and stressors (FSH 1909.12, ch. 10,
           sec. 12.3), and should:




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                a. Consider plan components designed to facilitate ecosystem adaptation to the
                effects of stressors.

                b. Consider developing plan components designed to limit the ability of stressors to
                impact ecosystem integrity. In doing so, consider:

                (1) Providing protection from stressors for areas of high ecosystem integrity, or areas
                of social, cultural, or economic importance.

                (2) Mitigating stressors associated with forest and rangeland management, such as
                equipment impacts on soils and water, or movement of invasive species via vehicles
                and foot travel.

                (3) Mitigating, if feasible, the effects of widespread environmental stressors such as
                air pollution and influence of changing climate.

                (4) Coordinating with Agency staff from Research and Development to develop plan
                components to adapt to the effects of climate change.

           5. Opportunities for landscape scale restoration. When developing plan components
           regarding opportunities for landscape-scale restoration of ecological integrity the ID team
           should consider the following:

                a. Multiple spatial and temporal scales. The arrangement of ecological conditions,
                key ecosystem characteristics, and management goals at multiple spatial and temporal
                scales are important.

                (1) The ecological role of the plan area within the broader landscape, including
                capability and condition of terrestrial, aquatic, and riparian systems.

                (2) Complementary restoration goals of other land managers adjacent to or within the
                relevant ecosystems of the plan area, if available.

                (3) Opportunities to compensate for degraded conditions in the broader landscape.

                (4) The broad-scale context of scarcity and abundance, and Agency ability to restore
                and maintain desired features or conditions that are scarce in the broader landscape
                (FSH 1909.12, ch. 10, sec. 12.14c, paragraph 3).

                (5) Opportunities to align desired ecological conditions with landscape-scale
                ecological units (such as the land-type association level of the National Hierarchical
                Framework of Ecological Units (FSM 2060.3)), if feasible, to simplify analysis and
                management by reducing the variability of ecological classifications across units of
                the National Forest System.




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                (6) Opportunities for partnerships to support restoring ecological conditions at the
                appropriate geographic scale.

                b. At-risk species. The Interdisciplinary Team should consider the key ecosystem
                characteristics, ecosystems, and ecological conditions necessary to sustain the at-risk
                species.

                c. Landscape patterns that promote long-term ecological integrity and ecosystem
                diversity. The ID team should consider plan components for landscape patterns that
                promote long-term ecological integrity and ecosystem diversity. Landscape pattern is
                defined as the arrangement, connectivity, composition, size, and relative abundance
                of ecosystem patches that occur within an area of land at a given time. Patches can be
                characterized by vegetation type, seral stage, habitat type, or other features relevant to
                a forest or rangeland management question. Examples of ways to provide plan
                components for such patterns include:

                (1) Designing ecosystem (coarse-filter) connectivity based on landscape patterns of
                forests, grasslands, rangelands, streams, and wetlands that were created under
                ecological processes and landscape disturbance regimes that occurred before
                extensive human alteration.

                (2) Designing spatial configuration of desired ecological conditions relative to the
                natural range of variation conditions, including the scale, frequency, and intensity of
                system drivers of ecosystem change over time (or other ecological reference model if
                the natural range of variation is not an appropriate approach) (FSH 1909.12, ch. 10,
                sec. 12.14a; Weins et al. 2012).

                (3) Maintaining a representative range of successional states for all ecosystems and
                in patch configurations similar to those that occurred under historical conditions, at a
                scale resilient to natural disturbances.

                (4) Designing for ecosystem integrity based on a general scientific and ecological
                understanding of the conditions that would sustain key ecosystem characteristics and
                at-risk species using factors such as representativeness, redundancy, habitat
                associations of particular species, or other factors (FSH 1909.12, ch. 10, sec. 12.14b;
                and sec. 23 of this Handbook).

                (5) Maintaining the integrity of scarce or unique smaller areas through plan
                components for desired conditions and standards or guidelines to constrain the levels
                of disturbance for areas around them.




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   23.11c - Opportunities to Restore Fire-adapted Ecosystems

   When developing plan components for ecological integrity, the Interdisciplinary Team should
   consider and integrate together plan components related to wildland fire, fuels management, and
   restoration of fire-adapted ecosystems (36 CFR 219.8(a)(1)(v)). The development of such plan
   components should be based on the need to change the plan, using information such as the
   National Cohesive Wildland Fire Management Strategy, community assessment and mitigation
   plans, fire’s historic role in the plan area, local community wildfire protection plans, local risk
   assessments, trends in fire behavior, and wildland-urban interface (WUI) areas identified in the
   assessment phase (FSH 1909.12, ch. 10, sec. 12.3), or from information brought forward during
   the public and governmental participation process. Plan components for fire or fuels
   management should include the following:

           1. Desired Conditions. Desired conditions should define and identify fire’s role in the
           ecosystem. It may also be appropriate to identify desired conditions for fuel conditions,
           fire severity, fire frequency, and so on. These desired conditions should be integrated
           with the other desired conditions for air, soil, threatened and endangered species,
           vegetation, water, and so on. In addition, the following topics should be considered when
           developing desired conditions—current management strategies, hazardous fuels,
           prevention, public and firefighter safety, smoke management, values to be protected from
           or enhanced by wildland fire, and wildland-urban interface.

           2. Objectives. If fuels conditions are an issue in wildland-urban interface areas, the plan
           should include a plan objective that sets forth a projection of the number of fuel treatment
           acres meeting an integrated desired vegetative and fuel condition in a specific time to
           move toward (or maintain) the desired condition.

           3. Standards or guidelines. The plan may include standards or guidelines related to basic
           smoke management practices, non-fire fuels treatments, post-fire rehabilitation,
           prescribed fire treatments, and wildland fire responses. A guideline or standard may
           provide guidance on when or how a specific tool is appropriate.

   23.11d - Ecosystem Diversity

   The Planning Rule requirements for ecosystem diversity from 36 CFR 219.9(a)(2) are:

                The plan must include plan components, including standards or
                guidelines, to maintain or restore the diversity of ecosystems and
                habitat types throughout the plan area. In doing so, the plan must
                include plan components to maintain or restore:
                (i) Key characteristics associated with terrestrial and aquatic
                ecosystem types;




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                (ii) Rare aquatic and terrestrial plant and animal communities; and
                (iii) The diversity of native tree species similar to that existing in the
                plan area.

   To develop the land management plan consistent with maintaining ecosystem diversity, the plan
   must include plan components, including standards or guidelines, designed to maintain, restore,
   or promote ecosystem diversity and habitat types.

   The diversity of terrestrial, riparian, and aquatic ecosystems and habitats is fundamental to
   providing ecological conditions that support the abundance, distribution, and long-term
   persistence of native species and diversity of plant and animal communities. In addition,
   diversity of ecosystems and habitat types within the unit is an important aspect of the coarse-
   filter approach. The terms ecosystem diversity and habitat type are defined in FSH 1909.12, zero
   code, section 05. Terrestrial, riparian, and aquatic ecosystems to be addressed in the planning
   process are identified in the need to change the plan based on the assessment phase or identified
   based on information brought forward during the public and governmental participation process.
   See sections 23.1-23.12c of this Handbook for direction about plan components related to
   maintaining or restoring terrestrial, riparian, and aquatic ecosystems.

   When developing plan components for maintaining and restoring the diversity of ecosystems and
   habitat types, the Interdisciplinary Team should consider the following:

           1. The spatial extent and distribution of ecosystems and habitat types and spatial
           relationships to the natural range of variation (or other reference conditions if the use of
           natural range of variation is inappropriate).

           2. The importance of ecosystems and habitats type to providing ecological conditions
           that contribute to the recovery of threatened and endangered species, conserve proposed
           and candidate species, and maintain viable populations of species of conservation
           concern (sec. 23.13 of this Handbook).

           3. How plan components under consideration for large-scale ecosystems (like longleaf
           pine forests) would maintain or restore rare or unique embedded communities (like
           hillside bogs and longleaf savannahs) (FSH 1909.12, ch. 10, sec. 12.14c).

           4. How plan components under consideration for ecosystems would contribute to
           maintaining the persistence of native tree species within the plan area.

           5. How plan components for key characteristics of the ecosystem and habitat types
           contribute to the broader biodiversity of ecosystems across the plan area.




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   23.11e - Riparian Areas

   The rule requirements for riparian areas from 36 CFR 219.8(a)(3) are:
               (i)The plan must include plan components, including standards or
              guidelines, to maintain or restore the ecological integrity of riparian
              areas in the plan area, including plan components to maintain or
              restore structure, function, composition, and connectivity, taking into
              account:
                (A) Water temperature and chemical composition;
                (B) Blockages (uncharacteristic and characteristic) of water courses;
                (C) Deposits of sediment;

                (D) Aquatic and terrestrial habitats;
                (E) Ecological connectivity;
                (F) Restoration needs; and
                (G) Floodplain values and risk of flood loss.
                (ii) Plans must establish width(s) for riparian management zones
                around all lakes, perennial and intermittent streams, and open water
                wetlands, within which the plan components required by paragraph
                (a)(3)(i) of this section will apply, giving special attention to land and
                vegetation for approximately 100 feet from the edges of all perennial
                streams and lakes.
                (A) Riparian management zone width(s) may vary based on ecological
                or geomorphic factors or type of water body; and will apply unless
                replaced by a site-specific delineation of the riparian area.
                (B) Plan components must ensure that no management practices
                causing detrimental changes in water temperature or chemical
                composition, blockages of water courses, or deposits of sediment that
                seriously and adversely affect water conditions or fish habitat shall be
                permitted within the riparian management zones or the site-specific
                delineated riparian areas.

   To maintain the ecological integrity of riparian areas, the plan must include plan components,
   including standards or guidelines, designed to maintain, restore, or promote riparian areas. This
   provision does not prohibit projects that may have short-term adverse effects to water conditions
   and fish habitat, but that will maintain or restore structure, function, composition, and
   connectivity of riparian areas over the long term.



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   Riparian areas are important elements of watersheds that provide critical transition zones linking
   terrestrial and aquatic ecosystems. Restoration of riparian areas may be accomplished through
   passive management or may require active management particularly in areas where natural
   disturbances such as fire or flooding have been prevented from occurring.

   The terms ephemeral stream, intermittent stream, perennial stream, riparian area, and riparian
   management zone are defined in FSH 1909.12, zero code, section 05.

   The National Core Best Management Practices (BMP) Technical Guide (USDA Forest Service
   2012a) refers to riparian management zones as aquatic management zones. The technical guide
   discusses designation of the riparian management zone under the national core best management
   practice “Plan-3 Aquatic Management Zone Planning.” The Agency uses the technical guide to
   carry out the requirements for the national best management practices for water quality (FSM
   2526). As discussed in section 23.12c of this Handbook, plan components must ensure
   implementation of the best management practices.

   Sections 23.1-23.12c of this Handbook give direction on plan components related to maintaining
   or restoring the ecological integrity of all ecosystems including riparian ecosystems (riparian
   areas).

   The plan must establish widths for riparian management zones for all lakes, perennial and
   intermittent streams, and open water wetlands (36 CFR 219.8(a)(3)(ii)) so employees know
   where the plan components for ecological integrity of riparian areas apply.

   Riparian management zones must include the riparian area.

           1. When establishing riparian management zones, the Interdisciplinary Team should
           consider:

                a. Available information on the location and extent of surface waterbodies, springs,
                wetlands, vegetation, soils, geomorphology, topography, and other relevant
                information.

                b. Soil and vegetation indicators of riparian areas that include regionally distinctive
                riparian soils and vegetation, or the soil potential to support regionally distinctive
                vegetation.

                c. Fluvial geomorphic indicators of riparian areas such as break in slope or evidence
                of fluvial deposition.




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                d. The 100-year recurrence interval flood stage. The water surface elevation
                corresponding to the 100-year recurrence interval flood may be preferable to some
                standard distance from the stream channel (for example, a 100-foot buffer) because a
                set distance may overestimate actual riparian widths along small streams and
                underestimate the extent of riparian vegetation along larger rivers.

                e. Existing site-specific riparian area delineations, if available (FSH 1909.12, ch. 10,
                section 12.14d).

                f. The effects of climate change on stream flows that may affect the size of riparian
                management zones.

           2. When establishing widths for riparian management zones as require by the Rule, and
           in areas where available information on the distribution of riparian dependent resources
           within the plan area is too limited to determine appropriate riparian management zone
           dimensions, the Interdisciplinary Team should consider the following when establishing
           widths:

                a. Establishing a default distance from the edge of all lakes, perennial streams,
                intermittent streams, and open water wetlands, such as the ordinary high water mark
                or bankfull flow, for the riparian management zone.

                b. Giving special attention to the first 100 feet from the edges of all perennial
                streams, lakes, and other bodies of permanent surface water containing aquatic flora
                and fauna or supporting substantial riparian vegetation. In other words, plan
                components for riparian management zones should be developed to maintain,
                improve, or restore the condition of the land around and next to waterbodies in the
                context of the environment in which they are located, recognizing their unique values
                and importance to watersheds while providing for multiple uses on National Forest
                System lands.

                c. Giving attention to dry washes or channels with minimal or no riparian vegetation
                that support riparian vegetation downstream due to subsurface flow through the
                stream channel or adjacent alluvial sediments.

           3. When developing plan components for ecological integrity of riparian areas, the
           Interdisciplinary Team should:

                a. Design plan components that constrain projects and activities to comply with
                requirements of the Planning Rule not to cause detrimental changes to water
                resources that “seriously and adversely affect water conditions or fish habitat”




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                (36 CFR 219.8(a)(3)(ii)(B)). This provision does not prohibit projects that may have
                short-term adverse effects to water conditions and fish habitat, but that will maintain
                or restore structure, function, composition, and connectivity of riparian areas over the
                long term.

                b. Consider designing plan components for restoring processes that support desirable
                riparian integrity including allowing roots of plants access to groundwater.

                c. Consider designing plan components that provide for passive management or
                active management. An example of passive management is restoring elements of
                flow regimes, such as environmental flows and levels, by restricting a destructive
                activity. Examples of active management include recontouring roads or mechanically
                removing structures or vegetation. Active management may be appropriate in areas if
                past management has prevented natural disturbances (such as fire or flooding), or if
                past projects and activities have altered riparian functions (such as where roads are
                located within riparian areas).

   For guidance on delineating site-specific riparian areas associated with streams and rivers, see
   the guidelines in the National Riparian Vegetation Monitoring Technical Guide (Forest Service
   2012b) or other Agency supported guidance. For guidance on delineating site-specific riparian
   areas for non-fluvial or palustrine areas (associated with wetlands, lakes and other standing
   bodies of water), see the U.S. Army Corps of Engineers wetland delineation manuals for the
   region of interest, available at http://el.erdc.usace.army.mil/wetlands/wipubs.html .

   23.12 - Plan Components for Air, Soil, and Water

   The rule requirements for air, soil and water from 36 CFR 219.8(a)(2) are:

                The plan must include plan components, including standards or
                guidelines, to maintain or restore:
                (i) Air quality.
                (ii) Soils and soil productivity, including guidance to reduce soil
                erosion and sedimentation.
                (iii) Water quality.
                (iv) Water resources in the plan area, including lakes, streams, and
                wetlands; ground water; public water supplies; sole source aquifers;
                source water protection areas; and other sources of drinking water
                (including guidance to prevent or mitigate detrimental changes in
                quantity, quality, and availability).




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   Plan components, including standards or guidelines, designed to maintain or restore these
   ecosystem elements provide the basis for maintaining or restoring the ecological integrity of the
   plan area. In addition to the resources listed in 36 CFR 219.8(a)(2), clean air, clean and
   abundant water supplies, geologic resources, and riparian areas should be considered when
   developing plan components.

   When developing plan components for maintaining air quality, soil productivity, water quality,
   and water resources within the plan area, the Interdisciplinary Team should consider:

           1. The range of ecological conditions established within the limits of the natural
           landforms, vegetation, and disturbance processes that existed before extensive human
           alteration.

           2. The variation in physical and biological conditions exhibited by ecosystems because
           of climatic fluctuations and disturbance regimes.

           3. The concept that the environmental conditions that sustained ecosystem components
           in the past are likely to sustain them, at least over the short term, in the future.

           4. The potential influences of threats and stressors that are within and beyond the
           influence of management actions on the plan area that are likely to affect ecological
           conditions on the plan area during the life of the proposed plan (15 years).

   23.12a - Air Quality

   The rule requirements for air quality are listed in 36 CFR 219.8(a)(2)(i). The development of
   plan components, including standards or guidelines, for air quality should be based on a need to
   change the plan identified from the assessment (FSH 1909.12, ch. 10, sec. 12.21) or from
   information brought forward during the public and governmental participation process.

   To address air quality issues when developing, amending, or revising a plan, the Interdisciplinary
   Team should consider:

           1. Visibility. As appropriate, consider develop plan components for visibility in
           class I areas commensurate with goals from relevant State, Federal, and Tribal
           implementation plans.

           2. Emissions. As appropriate, develop plan components for emissions from management
           activities such as permitted mining or oil and gas operations.

           3. Air Pollution Deposition and Exposure of Biophysical Resources. Where critical
           loads of air pollution to water, soils, flora, or fauna have been exceeded (see assessment,
           FSH 1909.12, ch. 10, sec. 12.21), develop plan components to help protect or restore key
           ecosystem characteristics of relevant resources within the plan area. The key




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           characteristics may include aquatic chemistry, soil chemistry, soil productivity, and
           biogeochemical cycling. The plan components may include desired conditions and
           objectives for target loads of air pollution deposition and target levels of air pollution
           exposure.

           4. Smoke Management. If objectives for prescribed fire are set forth in the plan,
           consider developing plan components for smoke management. Consider relevant State,
           Federal, or Tribal smoke management program requirements when developing plan
           components for smoke management. For additional information on smoke management,
           see Basic Smoke Management Practices. USDA Natural Resources Conservation
           Service and Forest Service Technical Note (2011) at
           http://www. airquality. nrcs. usda.gov/Internet/FSE_DOCVMENTS/steiprdb1046311.pcf.

   23.12b - Soils and Soil Productivity

   The rule requirements for soils and soil productivity are listed in 36 CFR 219.8(a)(2)(ii). The
   development of plan components for soils and soil productivity, including standards or
   guidelines, should be based on the need to change the plan identified from the assessment
   (FSH 1909.12, ch. 10, sec. 12.22) or information brought forward during the public and
   governmental participation process.

           1. In addition to considering information identified in the assessment, the
           Interdisciplinary Team may consider existing recommendations in Forest Service
           national best management practices guidance documents (USDA Forest Service 2012a).
           Additional information is found in FSM 2551.3.

           2. When designing plan components for soils and soil productivity to sustain the
           productive capability of the land, its ecological resources, and watershed functions, the
           Interdisciplinary Team should consider whether it would be appropriate for plan
           components to give direction regarding :

                a. Restoring degraded areas.

                b. Maintaining the ecological integrity and functions of soils by managing vegetation
                communities and the type, degree, and amount of disturbance to soils. (See FSM
                2550.5 and FSM 2551.5 for definition of soil function).

                c. Maintaining biological properties of soils, such as an appropriate level of organic
                matter to sustain biological cycling.

                d. Maintaining organic matter inputs and avoiding losses, to help maintain or
                increase net soil carbon storage.




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                e. Mitigating impacts for those soils that have been identified as vulnerable to
                stressors.

                f. Mitigating potential impacts of changing climate, such as changes in occurrence of
                extreme storm events (in other words, do potential impacts affect appropriate uses of
                soils?).

                g. Limiting potential impacts on soil physical properties, for example, compaction,
                rutting, puddling, displacement of the soil surface, and erosion.

                h. Limiting potential effects on soil chemical properties, such as potential for nutrient
                depletion, acidification or both.

   23.12c - Water Quality and Water Resources

   The Planning Rule requires the plan to have plan components, including standards or guidelines,
   to maintain or restore:
              (iii) Water quality.
                (iv) Water resources in the plan area, including lakes, streams, and
                wetlands; ground water; public water supplies; sole source aquifers;
                source water protection areas; and other sources of drinking water
                (including guidance to prevent or mitigate detrimental changes in
                quantity, quality, and availability). (36 CFR 219.8(a)(2)(iii) and (iv)).

   The rule requires the establishment of BMPs in the Forest Service Directive System 36 CFR
   219.8(a)(4).

                (4) Best management practices for water quality. The Chief shall
                establish requirements for national best management practices for
                water quality in the Forest Service Directive System. Plan
                components must ensure implementation of these practices.

   The development of plan components, including standards or guidelines, designed to maintain or
   restore water resources in the plan area, including lakes, streams, wetlands, and groundwater,
   should be based on a need to change the plan identified from the assessment (FSH 1909.12,
   ch. 10, secs. 12.23 and 13.34) or on information brought forward during the public and
   governmental participation process.

   The Interdisciplinary Team should consider surface and subsurface water quality and public
   water supplies associated with the plan area watersheds. The Team should also coordinate with
   State, local and tribal water managers, water users, and others about appropriate resource
   protection, consistent with applicable law.




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   The Interdisciplinary Team should develop desired conditions for water quality and quantity in
   the plan area and consider developing plan components to:

           1. Maintain or restore the water quality, quantity, timing, and distribution necessary to
           sustain ecosystems and downstream ecosystem services into the future by:

                a. Including guidance designed to prevent or mitigate detrimental changes in
                quantity, quality, and availability, including temperature changes and inputs of
                sediment and other pollutants.

                b. Ensuring implementation of the national best management practices (BMPs)
                program for water quality (FSM 2532; USDA Forest Service 2012).

                c. Quantifying the water necessary to maintain and restore terrestrial, riparian, and
                aquatic ecosystems and associated dependent species, including aquatic species and
                groundwater-dependent ecosystems in the plan area, when appropriate and practical.

                d. Specifying the appropriate environmental flows and water levels, when
                appropriate and practical.

           2. Support the restoration of designated impaired waters within or adjacent to National
           Forest System lands with primary or secondary impairments that have the potential to be
           influenced by Forest Service forest and rangeland management activities in the plan area.

           3. Maintain or restore the integrity of public water supplies, sole source aquifers, source
           water protection areas, and other sources of drinking water in the plan area.

           4. Maintain or restore the integrity of lakes, streams, wetlands, and groundwater in the
           plan area.

           5. Address the concerns identified for priority watersheds (sec. 22.31 of this Handbook).

   23.13 -Species-specific Plan Components for At-risk Species

   Plan components developed for ecosystem integrity and ecosystem diversity (sec. 23.11 of this
   Handbook) are expected to provide for ecological conditions necessary to maintain the
   persistence or contribute to the recovery of native species within the plan area, including at-risk
   species identified in assessment.

   At-risk species for planning are federally recognized threatened, endangered, proposed, and
   candidate species; and species of conservation concern. The term “ecological conditions” is
   defined in FSH 1909.12, zero code, section 05. Ecological conditions include habitat and the
   effects of human uses (for example, recreation, grazing, and mining).




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   The Planning Rule, at 36 CFR 219.9(b)(1), requires the Responsible Official to determine
   whether plan components, including standards or guidelines, to maintain or restore ecosystem
   integrity and ecosystem diversity provide sufficient ecological conditions for at-risk species, or if
   plan components specifically directed toward providing specific conditions required by such
   species must be developed:


                (b) Additional, species-specific plan components. (1) The responsible
                official shall determine whether or not the plan components required
                by paragraph (a) of this section provide the ecological conditions
                necessary to: contribute to the recovery of federally listed threatened
                and endangered species, conserve proposed and candidate species,
                and maintain a viable population of each species of conservation
                concern within the plan area. If the responsible official determines
                that the plan components required in paragraph (a) are insufficient to
                provide such ecological conditions, then additional, species-specific
                plan components, including standards or guidelines, must be included
                in the plan to provide such ecological conditions in the plan area.

   To make the determination required by 36 CFR 219.9(b)(1), the Responsible Official should
   evaluate if emerging plan components that would provide for ecosystem integrity and ecosystem
   diversity (coarse-filter approach) would also provide the ecological conditions necessary to meet
   the Rule’s requirements for all the at-risk species in the plan area. If the evaluation indicates
   such plan components would not provide sufficient conditions required by the Rule for one or
   more at-risk species, the Responsible Official shall develop additional, species-specific plan
   components, including standards or guidelines, for each of those species (fine-filter approach).

   Examples of such plan components include a standard for protecting red-cockaded woodpecker
   nest cavity trees during prescribed burning activities, an objective to establish a food storage
   order designed to minimize grizzly bear/human conflicts occupied grizzly bear habitat, or a
   standard for size and placement of culverts on cutthroat trout streams.

   The Responsible Official should design an evaluation process for the emerging set of plan
   components for each at-risk species to determine the degree to which the set of emerging plan
   components meet the requirements of the Planning Rule for at-risk species. The Responsible
   Official should take into account the need to change the plan based on the status for each at-risk
   species (as outlined in FSH 1909.12, ch.10, sec. 12.55).

   Plan components that provide for ecological conditions for ecosystem integrity and ecosystem
   diversity (sec. 23.11 of this Handbook) are the primary context for the evaluation of at-risk
   species. For most species, the only practical quantitative evaluation of their required ecological
   conditions is an assessment of habitat conditions (ecological conditions). Plan components
   developed for multiple uses may contribute to, or detract from, ecological conditions needed for




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   at-risk species. For example, on some forests or grasslands, a portion of the plan area may have
   a desired condition for undeveloped remote recreation. Such a desired condition should be taken
   into account when evaluating the ecological conditions for at-risk species, because it may
   mitigate some stressors, contribute to ecological conditions, or provide refugia.

           1. Process for evaluating emerging plan components. Evaluating the emerging plan
           components and their likely contribution to meeting requirements for at-risk species is an
           iterative process as the plan is being developed, amended, or revised. The process
           includes:

                a. Developing emerging plan components that provide for ecosystem integrity and
                ecosystem diversity.

                b. Evaluating whether those emerging plan components would sustain the ecological
                conditions that the Rule requires for at-risk species.

                c. Refining emerging plan components that do not adequately handle species risk
                factors from the evaluation of status of at-risk species (FSH 1909.12, ch. 10, sec.
                12.55) or do not sustain the ecological conditions that support at-risk species by:

                (1) Making adjustments to the emerging plan components for ecosystem integrity
                and ecosystem diversity necessary to sustain the ecological conditions that support at-
                risk species;

                (2) Adding additional species-specific plan components necessary to sustain the
                ecological conditions required by the Rule for at-risk species; or

                (3) Combining paragraphs (1) and (2).

                d. Repeating the steps of paragraphs 1b and 1c if other social, economic, or
                ecological considerations are added that alter plan components in a way that would
                affect an at-risk species.

           2. Considerations when evaluating the potential emerging plan components. When
           evaluating whether emerging plan components that provide for ecosystem integrity and
           diversity would adequately provide conditions for at-risk species, the Interdisciplinary
           Team should consider the following:

                a. Relevant information derived from the status of at-risk species (FSH 1909.12,
                ch. 10, sec. 12.55), as well as limiting factors, threats, and stressors to each at-risk
                species.

                b. The key habitat relationships of the species, by:




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                (1) Evaluating the connection between habitat conditions and population
                consequences.

                (2) Using general ecological principles when there is a lack of knowledge of
                relationships between species, populations, and habitats.

                (3) Using existing spatially explicit habitat models, demographic models, or other
                relevant models.

                (4) Using qualitative methods such as expert opinion or simple habitat assessments in
                the absence of adequate information or models.

                (5) Framing the evaluation in the context of risk and uncertainty, no matter what
                evaluation method is used.

                c. Conducting the evaluations of the emerging plan components at the scale in which
                biological populations of the species operate. Analysis at the scale of distinct
                population segments or evolutionary significant units may be appropriate.

                d. Effects, influences, and contributions from other land ownerships and actions
                outside of the plan area in addition to those within the plan area.

   23.13a - Threatened and Endangered Species

   The development of or changes to plan components to provide for ecological conditions for
   threatened and endangered species should be based on a need to change the plan identified from
   the assessment of the ecological conditions necessary to contribute to their recovery and
   maintaining or restoring critical habitats (FSH 1909.12, ch. 10, sec. 12.55), or from information
   brought forward during the public and governmental participation process.

   When designing plan components (ecosystem and species-specific) to provide for ecological
   conditions that contribute to the recovery of threatened and endangered species that occur within
   the plan area, the Interdisciplinary Team should:

           1. Consider conservation measures and actions identified in the recovery plan for each
           threatened and endangered species.

           2. Consider limiting factors (for example, naturally small and isolated populations,
           climate change) and key threats to each threatened and endangered species.

           3. Engage with the U.S. Fish and Wildlife Service and National Marine Fisheries Service
           (NMFS), as appropriate, in the evaluation of existing conditions for threatened and
           endangered species and in the development of plan components that contribute to their
           recovery.




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           4. Work beyond the plan area boundary to collaborate and cooperate with U.S. Fish and
           Wildlife Service, National Marine Fisheries Service, States, Tribes, other partners,
           landowners, and land managers to support an all-lands approach to species recovery.

           5. Support the reintroduction of listed species into historical habitat on National Forest
           System lands where appropriate, consistent with recovery plan objectives.

           6. Engage with the U.S. Fish and Wildlife Service or National Marine Fisheries Service,
           as appropriate, in the evaluation of any effects to aquatic threatened and endangered
           species downstream of the plan area that could be affected by actions within the plan
           area.

   23.13 b - Proposed and Candidate Species

   Development of plan components for proposed and candidate species should be based on the
   ecological conditions necessary to conserve proposed and candidate species that were identified
   in the assessment phase or information brought forward during the public and governmental
   participation process and maintain or restore their habitats in the plan area to contribute to
   preventing them from being federally listed (FSH 1909.12, ch. 10, sec. 12.55).

   When developing plan components (ecosystem and species-specific) to conserve proposed and
   candidate species, the Interdisciplinary Team should:

           1. Consider conservation measures identified in existing conservation strategies and
           agreements relevant to proposed and candidate species in the plan area.

           2. Consider limiting factors and key threats to species identified in proposed rules from
           U.S. Fish and Wildlife Service or National Marine Fisheries Service for listing or
           candidate species assessments.

           3. Engage with U.S. Fish and Wildlife Service and National Marine Fisheries Service in
           the evaluation of existing conditions for proposed and candidate species and in the
           development of plan components designed to conserve these species.

           4. Work beyond the plan area boundary to collaborate and cooperate with U.S. Fish and
           Wildlife Service, National Marine Fisheries Service, States, Tribes, other partners,
           landowners, and land managers to support an all-lands approach to conserve proposed
           and candidate species.

   23.13 c - Species of Conservation Concern

   Species of conservation concern are defined in the Planning Rule (36 CFR 219.9(c)) and in
   FSH 1909.12, zero code, section 05. The rule requirements for species-specific plan components
   for species of conservation concern are:




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                (2) If the responsible official determines that it is beyond the authority
                of the Forest Service or not within the inherent capability of the plan
                area to maintain or restore the ecological conditions to maintain a
                viable population of a species of conservation concern in the plan
                area, then the responsible official shall:

                (i) Document the basis for that determination (§ 219.14(a)); and
                (ii) Include plan components, including standards or guidelines, to
                maintain or restore ecological conditions within the plan area to
                contribute to maintaining a viable population of the species within its
                range. In providing such plan components, the responsible official
                shall coordinate to the extent practicable with other Federal, State,
                Tribal, and private land managers having management authority over
                lands relevant to that population. (36 CFR 219.9(b)(2)).

   See section 21.22a of this Handbook for guidance on selecting species of conservation concern.

   The Rule requires, as a general matter, that the plan have plan components to provide ecological
   conditions necessary to maintain a viable population of each species of conservation concern in
   the plan area. The ecological conditions may be those provided for through a coarse filter
   approach or through a fine filter (species-specific) approach. The Rule also provides that when
   the Forest Service’s authority or the inherent capability of the plan area is insufficient to provide
   ecological conditions to maintain a viable population of species of conservation concern in the
   plan area, the Agency’s obligation becomes one of contributing to maintaining a viable
   population of the species of conservation concern in its range.

   When evaluating whether plan components (ecosystem and species-specific) would provide for
   the ecological conditions to maintain a viable population of each species of conservation concern
   in the plan area, the Interdisciplinary Team shall determine whether the plan components would
   provide the ecological conditions necessary to maintain or restore a viable population of a
   species of conservation concern in the planning area (36 CFR 219.9(b)(1)).

   Five aspects of the evaluation process are explained in the following paragraphs: (1) viable
   population, (2) three possible outcomes of evaluating plan components, (3) examples of
   circumstances not within the authority of the Forest Service, (4) examples of circumstances not
   within the inherent capability of the plan area, and (5) duties of the Responsible Official when
   maintenance of a viable population of species of conservation concern within the plan area is
   beyond the authority of the Forest Service or not within the inherent capability of the plan area.

           1. Viable population. The Planning Rule defines viable population as follows:




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                Viable population. A population of a species that continues to persist
                over the long term with sufficient distribution to be resilient and
                adaptable to stressors and likely future environments.
                (36 CFR 219.19)

           The following principles must be kept in mind when developing plan components to
           provide for ecological conditions necessary to maintain a viable population of species of
           conservation concern in the plan area:

                a. The rule only requires ecological conditions to maintain a viable population.

                b. The meaning of the word “population” for planning purposes is explained in the
                preamble to the proposed rule: “it is the Department's expectation that for the
                purposes of this subpart, the individuals of a species of conservation concern that
                exist in the plan area will be considered to be members of one population of that
                species.” (77 FR 21217, April 9, 2012). In some situations, individuals or groups of
                individuals in the plan area may be known to be or highly suspected to be
                reproductively isolated and separate from the rest of the individuals. These
                individuals or groups may need to be considered when considering “sufficient
                distribution” as described in paragraph 1d of this section.

                c. The words “persist over the long-term” means the species continues to exist in the
                plan area over a sufficiently long period that encompasses multiple generations of the
                species, the time interval between major disturbance events, the time interval to
                develop all successional stages of major habitat types, or the time interval needed for
                the overall ecosystem to respond to management. Understand that confidence in the
                evaluations of persistence decreases rapidly as the timeframe of projections increases
                and that the Responsible Official will change plan components using plan
                amendments and plan revisions when the Responsible Official decides plan
                components need to be changed because of changed conditions.

                d. Whether there is “sufficient distribution” of a species should be considered in the
                context of the species’ natural history and historical distribution and on the potential
                distribution of the habitat within the plan area. Recognize that habitat and population
                distribution are dynamic over time. Sufficient distribution also implies a distribution
                that permits individuals to interact within the plan area within the constraints of the
                species’ natural history. Sufficient distribution implies that ecological conditions are
                provided to support redundancy in numbers such that losing one or some without
                replacement will still support a viable population. It should not be expected that
                management of National Forest System lands would provide broadly or evenly




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                distributed habitat throughout a plan area for all species. Furthermore, as long as
                there is enough habitat in the plan area to maintain a viable population, there is no
                requirement that habitat to maintain all known individuals or the maximum possible
                number of individuals of a species must be available in the plan area.

                e. The word “resilient” suggests that when disturbance events or stressors result in
                the local disappearance of individuals or extirpation from an area, recolonization of
                suitable habitat may occur in the future to facilitate long-term persistence in the plan
                area.

                f. The word “adaptable” means that the species is able to adjust to new conditions.
                Ecological conditions to support the species are distributed in a way that the species
                may be represented in a variety of locally adapted ecotypes for increased likelihood
                of persistence in unknown future environments.

                g. Species distribution should also be provided for by the requirement that plan
                components must maintain or restore the diversity of ecosystems and habitat types
                throughout the plan area (36 CFR 219.9(a)(2), and by the requirement to maintain or
                restore connectivity (36 CFR 219.9(a)(1)).

           2. Three possible outcomes of evaluating plan components. There are a variety of
           methods for conducting this evaluation, such as expert opinion, expert panels, Bayesian-
           belief models, habitat suitability models, and so on. The evaluation of the ecosystem and
           species-specific plan components may result in three outcomes:

                a. The emerging plan components, when carried out, would provide the necessary
                ecological conditions to maintain a viable population of the species of conservation
                concern in the plan area.

                b. Adjustments to emerging ecosystem plan components, additional species-specific
                plan components, or both, when carried out, would provide the necessary ecological
                conditions to maintain a viable population of the species of conservation concern in
                the plan area.

                c. Due to circumstances that are neither within the authority of the Forest Service nor
                consistent within the inherent capability of the land, the plan area is unable to provide
                the ecological conditions necessary to maintain a viable population of a particular
                species of conservation concern within the plan area. When this occurs, the
                Responsible Official shall document the basis for this determination in the planning
                record.




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           3. Examples of circumstances not within the authority of the Forest Service. The
           following are species-specific examples of when ecological conditions necessary for the
           long-term persistence of a species are outside the National Forest System lands and,
           therefore, outside Forest Service control for providing ecological conditions to maintain
           viable populations of each species of conservation concern within a plan area:

                a. Forest clearing in South America. These South American forests provide
                important wintering areas for many Neotropical birds that nest in North America.
                The clearing of these forests for agricultural purposes adversely affects the wintering
                habitat and ecological conditions necessary for the continued survival of viable
                populations of the Cerulean warbler. Thus, impacts to habitat outside the National
                Forest System may adversely affect populations of species that migrate to and from a
                National Forest.

                b. Hydropower and flood control facilities in the Pacific Northwest and recreational
                and commercial fish harvest practices. These facilities and practices are primary
                downstream threats to anadromous fish populations whose spawning beds may occur
                on stream reaches within National Forests. These facilities and practices occur
                outside of National Forest System lands and are outside of Forest Service control, but
                nonetheless may adversely affect anadromous fish populations found on National
                Forest System lands.

                c. Land use patterns on private lands intermixed with or adjacent to National Forest
                System lands. The continuing agricultural uses and urbanization that is occurring east
                of the Rocky Mountains is causing habitat fragmentation, which reduces available
                habitat and ecological conditions necessary for the viability of swift fox populations.
                Therefore, a reduction in viable populations of this species can occur as a result of
                land use development and patterns outside of National Forest System lands.

                d. Domestic sheep grazing on private lands intermixed with or adjacent to National
                Forest System lands in the west. The contact of bighorn sheep with domestic sheep
                can transmit diseases to bighorn sheep and can cause die-offs of the affected bighorn
                sheep herds. Therefore, a reduction in viable populations of bighorn sheep can occur
                because of land use outside National Forest System lands.

           4. Examples of circumstances not within the inherent capability of the plan area. The
           inherent capability of the land is defined in FSH 1909.12, zero code, section 05.
           Examples of circumstances that are not within the inherent capability of the plan area to
           provide the ecological conditions needed to maintain or restore a viable population of a
           species within the plan area include:




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                a. A species that is inherently rare because its individuals naturally occur at low
                numbers and are wide-ranging. For example, the wolverine occurs at relatively low
                densities in the northern Rocky Mountains and the number of breeding individuals in
                a single National Forest may be presumably too small to be considered a viable
                population.

                b. A plan area that lacks sufficient ecological capacity to produce the habitat or
                ecological conditions necessary to maintain a viable population. An example is the
                Kisatchie National Forest, which has very limited amounts of land capable of
                producing the broad bottomland hardwood and cypress swamp habitat necessary to
                maintain a viable population of swallow-tailed kite. This National Forest is only
                capable of providing habitat for some individuals of this species.

                c. Current and projected changes in climate that may affect a National Forest or
                grassland’s ability to maintain or even contribute to the ecological conditions
                necessary to maintain viable populations of some species. An example is the
                warming trends at higher elevations in the West, which are altering the capability of
                some National Forests in California and other areas of the West to provide ecological
                conditions needed to maintain viable populations of American pika.

                d. Where water quality conditions in Appalachian Mountain streams that provide
                habitat for eastern brook trout have been altered through acid deposition. The acid
                deposition is due to past and current acid rain, rendering many streams unsuitable for
                brook trout and compromising the ability of some Appalachian National Forests to
                provide the ecological conditions needed to maintain viable populations of this
                species.

           5. Duties of the Responsible Official. If the Responsible Official determines it is beyond
           the authority of the Forest Service or not within the inherent capability of the plan area to
           maintain or restore the ecological conditions to maintain a viable population of a species
           of conservation concern in the plan area, then the Responsible Official shall:

                a. Document the basis for the determination.

                b. Include plan components, including standards or guidelines, to maintain or restore
                ecological conditions within the plan area to contribute to maintaining a viable
                population of the species within its range. For additional guidance see the principles
                about viable populations at paragraph 1 of this section.

                c. Coordinate, to the extent practicable, with Federal, State, Tribal, and private land
                managers relevant to the species population. In doing so, consider:

                (1) The range of the species beyond the plan area, and the ecological role of the plan
                area to contribute to a viable population across the broader landscape.



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                (2) Working towards an all-lands approach to species conservation with other land
                managers across the range of the species, including efforts to mitigate threats or
                stressors and to provide ecological conditions that would support the species.

   23.2 - Social and Economic Sustainability and Multiple Use

   In the definition of sustainability, the Planning Rule defines social and economic sustainability as
   follows:
               . . . “social sustainability” refers to the capability of society to support
               the network of relationships, traditions, culture, and activities that
               connect people to the land and to one another and support vibrant
               communities.
                 . . . “economic sustainability” refers to the capability of society to
                produce and consume or otherwise benefit from goods and services
                including contributions to jobs and market and nonmarket benefits. . .
                (36 CFR 219.19).

   Plans are required to have plan components to guide the plan area’s contribution to social and
   economic sustainability (36 CFR 219.8(b)) and for integrated resource management to provide
   for ecosystem services and multiple uses in the plan area (36 CFR 219.10(a). Plan components
   must be integrated to meet these requirements as well as requirements for ecological
   sustainability and species diversity as described in sections 22 and 23 of this Handbook. Under
   the Planning Rule, ecological, social, and economic systems are recognized as interdependent,
   without one being a priority over the other. These plan components apply to the plan area and
   are within the authority of the Forest Service, the inherent capability of the land, and the fiscal
   capability of the planning unit.

   23.21 -Contributions of the Plan Area to Social and Economic Sustainability

   Plans must include plan components that guide the plan area’s contribution to social and
   economic sustainability to provide people and communities with a range of social, cultural, and
   economic benefits for present and future generations. Desired conditions should include a
   description of the plan area’s contribution to social, economic, and cultural conditions. The
   general Planning Rule requirements for social and economic sustainability are as follows:

                § 219.8 Sustainability.
                The plan must provide for social, economic, and ecological
                sustainability within Forest Service authority and consistent with the
                inherent capability of the plan area, as follows:
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                (b) Social and economic sustainability. The plan must include plan
                components, including standards or guidelines, to guide the plan
                area’s contribution to social and economic sustainability, taking into
                account:
                (1) Social, cultural, and economic conditions relevant to the area
                influenced by the plan;
                (2) Sustainable recreation; including recreation settings,
                opportunities, and access; and scenic character;
                (3) Multiple uses that contribute to local, regional, and national
                economies in a sustainable manner;
                (4) Ecosystem services;
                (5) Cultural and historic resources and uses; and
                (6) Opportunities to connect people with nature. (36 CFR 219.8)

   In addition, the 36 CFR 219.10, Multiple Use, requires that when developing plan components,
   the Responsible Official shall consider the following:

                (7) Reasonably foreseeable risks to ecological, social, and economic
                sustainability. (36 CFR 219.10 (a)).

   The Planning Rule sections on social and economic sustainability (36 CFR 219.8(b) and multiple
   uses (36 CFR 219.10) cover some of the same topics. Sections within section 23.2 of this
   Handbook present each of these topics once—covering the pertinent requirements from both
   §219.8(b) and §219.10 of the Planning Rule. The entirety of section 23.2 of this Handbook
   describes how plans contribute to social and economic sustainability.

   FSH 1909.12, chapter 20, sections 13.0, 13.1 and 13.2 describe the framework of how
   management of the plan area contributes to social, economic, and cultural conditions in the plan
   area, in the area(s) of influence and the broader landscape. The provision of multiple uses,
   ecosystem services, infrastructure, and Forest Service presence in the community are the types of
   contributions most likely to affect these social, economic, and cultural conditions. The
   assessment identifies these contributions of the plan area and the risks that may affect the ability
   of the plan to sustain the contributions.

   Sections 23.21a and 23.21b of this Handbook give further general guidance on multiple uses and
   ecosystem services.




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   Specific guidance on developing plan components for infrastructure is contained in section 23.23
   of this Handbook in the sections on sustainable recreation, scenery, renewable energy and
   infrastructure, roads, and transportation.

   Agency operations are normally developed to support the plan and contribute directly and
   indirectly to the Forest Service presence in the community. The plan should not contain plan
   components that direct how Agency operations are conducted. The operations of the Forest
   Service administrative unit support the achievement of the desired conditions, goals, and
   objectives of the plan consistent with standards, guidelines, and suitability plan components.
   The Interdisciplinary Team evaluates the social, cultural, and economic impact of Agency
   operations and the Forest Service presence as part of the environmental analysis and briefly
   described in section 23.22 of this Handbook.

   The plan components should be designed to guide sustainable contributions to social, cultural,
   and economic conditions while recognizing the reasonably foreseeable risks and uncertainties
   affecting the plan area.

   The desired conditions of the plan should describe the desired social, economic, and cultural
   conditions in the plan area and the major contributions the plan area makes to social, cultural,
   and economic conditions outside of the plan area. Plan objectives can describe intended
   outcomes related to these contributions intended for accomplishment by a certain time.
   Suitability, standards, and guidelines should clarify how and where certain kinds of uses, projects
   and activities may or may not occur for reasons such as maintaining or restoring ecological
   sustainability and species diversity, or avoiding conflicts among uses. The distinctive roles and
   contributions of the plan area can highlight major unique contributions of the plan area to social
   and economic sustainability.

   The Interdisciplinary Team should consider the following kinds of questions in developing plan
   components related to social and economic sustainability:

           1. What is needed or desired for contributions from the plan area to contribute to social,
           cultural, and economic conditions?

           2. Will the plan area (under the management of the plan) be able to sustain these
           contributions?

           3. How will the plan components influence the contributions of the plan area to social
           and economic sustainability?

           4. How will the plan affect social, economic, and cultural conditions in the plan area and
           area(s) of influence and the broader landscape? Will the plan adversely affect or benefit
           minority or low income populations?




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           5. Will the plan be able to sustain the plan area’s contributions to social, cultural, and
           economic conditions under the reasonably foreseeable risks and uncertainties affecting
           the plan area, the area of influence and the broader landscape?

           6. Are the plan components related to social and economic sustainability well integrated
           with the plan components that provide for ecological sustainability, including those that
           provide for ecosystem integrity and species diversity?

   23.21a - Multiple Uses

   Plan components that provide for multiple uses are one of the primary contributions to social and
   economic sustainability of the plan in the broader landscape. The Rule’s general requirements
   for integrated resource management of multiple uses area at 36 CFR 219.10:

                § 219.10 Multiple use.
                While meeting the requirements of §§ 219.8 and 219.9, the plan must
                provide for ecosystem services and multiple uses, including outdoor
                recreation, range, timber, watershed, wildlife, and fish, within Forest
                Service authority and the inherent capability of the plan area as
                follows:
                (a) Integrated resource managementfor multiple use. The plan must
                include plan components, including standards or guidelines, for
                integrated resource management to provide for ecosystem services
                and multiple uses in the plan area. When developing plan
                components for integrated resource management, to the extent
                relevant to the plan area and the public participation process and the
                requirements of §§ 219.7, 219.8, 219.9, and 219.11, the responsible
                official shall consider
                (1) Aesthetic values, air quality, cultural and heritage resources,
                ecosystem services, fish and wildlife species, forage, geologic features,
                grazing and rangelands, habitat and habitat connectivity, recreation
                settings and opportunities, riparian areas, scenery, soil, surface and
                subsurface water quality, timber, trails, vegetation, viewsheds,
                wilderness, and other relevant resources and uses. [Specific topics are
                detailed at 36 CFR 219.10(a)(2)-(1C) and described in subsequent
                sections].
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                (b) Requirements for plan components for a new plan or plan
                revision. (1) The plan must include plan components, including
                standards or guidelines, to provide for [Specific topics are detailed at
                36 CFR 219.10(b)(1)(i)-(vi) and described in subsequent sections].

   This section of the Rule first requires, at paragraph (a), that a plan must include plan
   components, including standards or guidelines, for integrated resource management to provide
   for ecosystem services and multiple use. The rule does not specify how a plan shall do this, but
   it lists specific topics that that the Responsible Official shall consider in developing plan
   components (36 CFR 219.10 (a)(1)-(10).

   The Planning Rule at 36 CFR 219.10(b) requires, that a plan must include plan components to
   provide for specific resources and uses (36 CFR 219.10(b)(1)(i)-(vi)). Plan components to meet
   these requirements are expected to be integrated and a unique plan component is not required for
   each topic in 36 CFR 219.10(b) as described in sections 22 and 23 of this chapter. The following
   sections of this Handbook give direction to meet these specific requirements: sections 23.21a,
   23.23a, 23.23g, 23.23h, 24.2, 24.41, and section 24.42.

   23.21 b - Ecosystem Services

   The Planning Rule (§ 219.10, § 219.10(a)(1), § 219.8(b)(3) requires that a plan include plan
   components including standards or guidelines, for integrated resource management to provide for
   ecosystem services and multiple use.

   The Interdisciplinary Team should review the assessment for key ecosystem services provided
   by the plan area along with information about the ability of the plan area to provide these key
   ecosystem services FSH 1909.12, ch. 10, sec. 13.12). This information provides a framework to
   evaluate how potential plan components are likely to provide for and affect key ecosystem
   services.

   Key ecosystem services may include services that are described elsewhere in section 23.2 of this
   Handbook. These include provisioning services such as air, water, energy, fiber, and minerals;
   regulating services such as soil stabilization; and cultural services such as cultural heritage
   values, and recreational experiences.

   A plan may identify key ecosystem services that are provided by the plan area but that are not
   covered in this chapter: for example, provisioning services such as food, and regulating services
   such as flood control. In such a case the plan should have plan components that provide for
   those services. When developing plan components to provide for key ecosystem services, the
   Interdisciplinary Team should consider how those services contribute to social, cultural, and
   economic conditions.




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           The plan should describe the desired conditions for the key ecosystem services in the plan
           area. Within the plan area, desired conditions may describe different desired sets of
           ecosystem services from different management or geographic areas. When developing
           plan objectives, the Interdisciplinary Team should consider the linkage between the key
           ecosystem services and how plan objectives would contribute to the intended
           achievement of the level, quality, or delivery of the key ecosystem services. A plan does
           not need to have a specific plan component for each key ecosystem service, but there
           should be a linkage between each of the key ecosystem services and the plan
           components.

   23.22 - Social, Cultural, and Economic Conditions Influenced by the Plan

           When developing plan components, including standards or guidelines, the
           Interdisciplinary Team shall take into account the social, cultural, and economic
           conditions relevant to the plan’s area(s) of influence and the broader landscape (36 CFR
           219.8(b)(1)).

           1. When developing plan components, the Interdisciplinary Team should:

                a. Review the assessment, along with information from public and governmental
                participation, for information about social, cultural, and economic conditions and
                their relationship to the contributions of the plan area. (FSH 1909.12, ch. 10,
                sec.13.23). These social and economic considerations, along with ecological
                considerations, are often interrelated.

                b. Consider the following when developing plan components for social, cultural, and
                economic conditions:

                (1) Opportunities for the plan area to contribute to social conditions including the
                health, safety, education, social wellbeing, and quality of life of people and
                communities affected by the plan area. Opportunities can provide for service or civic
                engagement, and other activities that connect people to the land and to one another.

                (2) Opportunities for the plan area to contribute to cultural conditions such as
                traditions, history, art, and traditional resource uses. These can include traditional
                uses such as gathering of plants, fish, or wildlife for subsistence; sacred sites;
                ranching; or means of accessing the plan area such as on horseback, motor vehicles,
                or airstrips.

                (3) Opportunities for the plan area to contribute to economic conditions such
                individual employment, small businesses, personal income, Federal receipts shared
                with local governments, and the provision of economically significant benefits,
                products, and services, including those with both market and nonmarket value.




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                (4) Ways to reduce or eliminate adverse impacts to any environmental justice
                communities identified during the assessment or public participation process.

           2. The plan should include a description of the desired social, cultural, and economic
           conditions in the plan area. The description could include:

                a. How people use the plan area and the type of social environment that the plan area
                can provide.

                b. Cultural aspects of the plan area including its relationship to specific communities,
                role in sustaining cultures and use of particular places for cultural events.

                c. Economic conditions in terms of the types of work opportunities and resource use
                desired in the plan area.

           3. The plan desired conditions should also contain a description of the contributions of
           the plan area to the social, cultural, and economic conditions in the area(s) of influence
           and beyond in the broader landscape. This can include contributions such as the
           following examples:

                a. Recreational and educational opportunities that are designed to provide a wide
                range of recreational and learning opportunities for communities of interest, schools,
                and individuals.

                b. Management of cultural resources or interpretation of these resources to foster
                certain educational or cultural activities.

                c. Use of resources or infrastructure such as recreation, grazing, timber, or water and
                energy transmission corridors or roads that help to sustain businesses and
                employment opportunities.

                Note that desired conditions should not describe desired social, economic, or cultural
                conditions outside the plan area because these are not within Forest Service authority,
                but they should describe contributions the plan area can make to these conditions.

           4. The Interdisciplinary Team should analyze the potential impact of the plan
           components on social, cultural, and economic conditions as part of the environmental
           analysis for any plan revision or any plan amendment. The environmental analysis
           document also analyzes environmental effects on minority populations, low-income
           populations, or Indian tribes, including human health, social, and economic effects. This
           analysis should include an evaluation of the sustainability of the contributions of the plan
           area. Agency guidance for performing such social and economic evaluations in an
           environmental analysis is contained in FSH 1909.17.




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   23.23 - Considerations for Multiple Uses, Ecosystem Services, and Infrastructure

   Sections 23.23a through 23.23n of this Handbook give additional guidance related to
   contributions of the plan area covered in the multiple use section (36 CFR 219.10), and the
   sustainability section (36 CFR 219.8(b)).

   23.23 a - Sustainable Recreation Resources and Opportunities to Connect People
   with Nature

   The Planning Rule (§ 219.10(a)) requires that a plan include plan components including
   standards or guidelines for integrated resource management to provide for ecosystem services
   and multiple use [including outdoor recreation]; and plan components including standards or
   guidelines to provide for:

           Sustainable recreation; including recreation settings, opportunities, and access; and
           scenic character. Recreation opportunities may include non-motorized, motorized,
           developed, and dispersed recreation on land, water, and in the air. (36 CFR 219.10
           (b)(1)(i)).

   The Planning Rule also requires that the development of plan components must take into account
   outdoor recreation that contributes to local, regional, and national economies in a sustainable
   manner (§ 219.8(b)(3)) and sustainable recreation; including recreation settings, opportunities
   and access; and scenic character (§ 219.8(b)(2)). In the development of plan components the
   Responsible Official shall consider recreation settings and opportunities, trails (§ 219.10(a)(1))
   and appropriate placement and sustainable management of recreational facilities
    (§ 219.10(a)(3)). Introductions to sections 22 and 23 of this Handbook give guidance on how to
   integrate plan components to meet these requirements.

   The Planning Rule provides definitions for sustainable recreation, recreation setting, and
   recreation opportunity (see 36 CFR 219.19 or FSH 1909.12, zero code, section 05). Guidance
   pertaining to scenic character is described in section 23.23f of this Handbook.

           1. When developing plan components:

                a. The Interdisciplinary Team should review information from the assessment, the
                need for change, and distinctive roles and contributions related to recreational
                settings, opportunities, and access in the plan area. Also, consider information about
                public preferences or demand for recreational opportunities in the broader landscape
                and the plan area and the compatibility of recreational uses. The review should
                include consideration of information provided by the public regarding recreation
                opportunities and activities that may be outside the Recreation Opportunity Spectrum
                or the National Visitor Use Monitoring system. The information provides a starting
                point for integrating recreation settings, opportunities, and access with other resource
                values, multiple uses, ecosystems services, and designated areas.



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                b. The Interdisciplinary Team should consider how sustainable recreation is related
                to achievement of the plan area’s ecological sustainability and contribution to social
                and economic sustainability. The Interdisciplinary Team should consider the
                compatibility of different recreational uses in specific areas within the plan area. In
                addition, the Interdisciplinary Team should consider how the recreational uses will
                influence ecological conditions.

                c. The Interdisciplinary team should develop plan components that are within the
                authority of the Forest Service, inherent capability of the land and the fiscal capability
                of the unit (36 CFR 219.1(g)). Consideration of fiscal capability should recognize
                contributions of partnerships.

   Exhibit 01 describes how sustainable recreation contributes and is related to achieving each
   aspect of sustainability, and provides examples of how plan components could be developed to
   address this. For additional information, see FSM 2310.




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                                                               23.23a - Exhibit 01

                                              Recreation’s Contribution to Sustainability

     Type of Sustainability           Role of Sustainable Recreation            Examples of Plan Component Development
     Ecological sustainability        The health and resiliency of a unit’s     Desired motorized recreation opportunity spectrum (ROS)
     refers to the capability of      natural resources are critical to the     classes are located on landscapes where the topography,
     ecosystems to maintain           sustained delivery of nature-based        geology, soils, can support motorized use and the associated
     ecological integrity (36         recreation settings and opportunities.    roads and motorized trails. Although the designation of
     CFR 219.19).                     As such, the delineation of desired       specific travel routes is not a land management plan decision,
                                      recreation settings and opportunities     ROS provides the framework where specific recreational
                                      must be compatible with the               opportunities, activities and expected experiences are
                                      landscape’s ability to support the        integrated to ensure compatibility with the landscape’s natural
                                      associated types of activities, use       and cultural resource values.
                                      levels, access, and infrastructure.       In addition to identifying desired ROS classes, plan
                                                                                components may limit the authorization of recreation activities
                                                                                that have been identified as a stressor to the ecological system.
                                                                                Plan components can also be designed that will lead to
                                                                                subsequent actions to limit or place constraints on recreation
                                                                                activities identified as a stressor. Examples of recreation as a
                                                                                stressor include dispersed camping in riparian areas,
                                                                                snowmobiling elk winter range, or recreation in bear country.
                                                                                See section 21.8, exhibit 01 of this Handbook for a discussion
                                                                                of public use prohibitions.




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                                                       23.23a - Exhibit 01--Continued

 Type of Sustainability                         Relationship to Sustainable Recreation        Example of Plan Component Development
 Social sustainability refers to the            Recreation is an important means for          Plan components can provide for a range of
 capability of society to support the           people to connect with nature; pursue         recreation settings, opportunities, and
 network of relationships,                      adventure; socialize; and/or realize          places, or to accomplish management goals
                                                personal goals of self-discovery, stress
 traditions, culture, and activities                                                          such as visitor safety or minimizing
                                                relief, or self-reliance. Social benefits
 that connect people to the land and            include improving the quality of life for     conflicts between various uses. Other plan
 to one another, and support vibrant            individuals and communities and the many      content specific to sustainable recreation
 communities. (36 CFR291.19)                    health benefits associated with engaging in   may describe management approaches for:
                                                outdoor activities                            social engagement through the integration
                                                                                              of community and regional recreation
                                                                                              programs; greater connection of the plan
                                                                                              area to local communities, youth and
                                                                                              underserved populations; responding to the
                                                                                              needs of visitors; creating connections
                                                                                              between people and nature; promoting
                                                                                              long-term physical and mental health; and
                                                                                              instilling a culture of stewardship and
                                                                                              appreciation.




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                                                       23.23a - Exhibit 01--Continued

 Type of Sustainability               Relationship to Sustainable Recreation     Example of Plan Component Development
 Economic sustainability              Recreation and tourism is often an         Plan components may identify certain types of
 refers to the capability of          important component of local and           recreation opportunities for specific areas within the
 society to produce and               regional economies. Outfitter-guides,      plan area. This can include management areas for
 consume or otherwise                 ski areas, or other recreation special     winter sports complexes, equestrian use, or
 benefit from goods and               uses contribute to both creating jobs      interpretative sites and campgrounds. It can also
                                                                                 include identifying areas as suitable for certain types
 services including                   and providing a stream of revenue to
                                                                                 of dispersed recreation activities such as equestrian
 contributions to jobs and            regional and/or local markets.             use, mountain biking or river rafting. Plan
 market and nonmarket                                                            components may identify general changes to the
 benefits (36 CFR 219.19).                                                       desired recreation infrastructure such as
                                                                                 campgrounds and trails (see sec. 23.23l of this
                                                                                 Handbook) that bridge gaps between desired
                                                                                 recreational outcomes and available resources. Other
                                                                                 plan components and other plan content can be
                                                                                 developed to highlight, maintain, or enhance certain
                                                                                 recreation settings or opportunities that support
                                                                                 economic contributions from recreation in the plan
                                                                                 area, the area of influence and the broader landscape.




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                d. The Interdisciplinary Team uses the recreation opportunity spectrum to define
                recreation settings and categorize them into the six distinct classes as the structure to
                describe recreational settings. At the forest scale, sustainable recreation is derived
                through the integrated planning process and emerges as the resultant set of desired
                recreation opportunity spectrum classes. Each setting provides opportunities to
                engage in activities (motorized, nonmotorized, developed, or dispersed on land,
                water, and in the air) that result in different experiences and outcomes.

                (1) The Interdisciplinary Team may create desired recreation opportunity spectrum
                subclasses. For example, the subclass “roaded modified” was first defined in the
                Pacific Northwest to distinguish those settings significantly altered by past timber
                harvest from other roaded natural settings. The Interdisciplinary Team may also
                create desired recreation opportunity spectrum classes to reflect seasonal variations.
                Desired winter recreation opportunity spectrum classes can be developed to depict
                changes in the location, mix and distribution of setting attributes, access, and
                associated opportunities (both motorized and nonmotorized). In doing so, distinct
                seasonal changes in the recreation settings and opportunities can be integrated with
                other seasonally relevant multiple uses, resource values and management objectives,
                such as protecting crucial winter range, providing access to key winter destinations,
                or limiting access to avalanche prone areas.

                (2) The interdisciplinary team is encouraged to use new approaches for managing
                recreation within the plan area. The interdisciplinary team should be proactive in
                developing a coherent system of sustainable and socially compatible recreation
                opportunities.

           2. The plan must include plan components, including standards or guidelines, to provide
           for sustainable recreation integrated with other plan components as described in 23.21a.
           To meet this requirement the plan:

                a. Must include desired conditions for sustainable recreation using mapped desired
                recreation opportunity spectrum classes. This mapping may be based on management
                areas, geographic areas, designated areas, independent overlay mapping, or any
                combination of these approaches. Desired recreation opportunity spectrum classes
                may be different from existing classes. The set of desired recreation opportunity
                spectrum classes is the result of an integrated planning process in which recreation
                contributes to social, economic, and ecological sustainability. Desired recreation
                settings and opportunities may complement surrounding land uses and may vary by
                season.

                b. May include additional plan components to supplement and complement achieving
                desired recreation opportunity spectrum classes. Consider desired conditions and
                related plan components associated with other multiple uses, ecosystem services, and




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                ecological sustainability. These plan components should be designed within the
                overall structure of the land management plan to ensure full integration of sustainable
                recreation.

                c. May include objectives where existing recreation opportunity spectrum settings for
                an area differ from the desired recreation opportunity spectrum for that area.
                Examples of such objectives are: an objective that roads be obliterated within a
                certain time period on lands with a desired condition of nonmotorized recreation
                opportunity spectrum classes; or an objective to create motorized connections
                between communities and adjacent forest settings within a certain time period on
                lands on which the desired condition includes a motorized use recreation opportunity
                spectrum class. Objectives may also be designed for activities to alter the condition
                of recreation areas, dispersed sites, infrastructure including trails, or services to
                achieve sustainable desired conditions for recreation in the plan area.

                d. Should include suitability determinations for motorized recreation including over
                the snow vehicles consistent with the desired recreation opportunity spectrum class.
                This suitability of areas may change by season. Travel management decisions are
                separate, project-level decisions that determine the specific areas and routes for
                motorized recreation consistent with areas identified in the plan as suitable for
                motorized recreation use. The specific areas and routes open to motorized recreation
                are the result of this staged planning process (sec. 23.23l of this Handbook).
                Resulting opportunities for motorized recreation including over-the-snow vehicles
                must be consistent with Executive Order 11644. Suitability or other plan components
                cannot prohibit public recreational use without additional process (sec. 21.8 of this
                Handbook).

                e. May include suitability of lands for various types of mechanized, and
                nonmotorized recreation opportunities that are appropriate within each of the desired
                recreation opportunity spectrum settings.

                f. May include suitability determinations for types of recreational facilities, access,
                infrastructure, and special uses that are appropriate within each of the desired
                recreation opportunity spectrum settings.

                g. Should include specific standards or guidelines where restrictions are needed to
                ensure the achievement or movement toward the desired recreation opportunity
                spectrum classes. Standards or guidelines can also apply to specific desired
                recreation opportunity spectrum settings, specific recreation opportunities, trails,
                developed recreation, interpretive and educational opportunities, dispersed recreation,
                special uses, or other recreation activities.




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                h. May also include discrete plan components for specific recreation opportunity
                spectrum classes, identified management areas, geographic areas, designated areas, or
                other identified places within the plan area. Examples of specific areas that may need
                additional plan components can include landscapes that exhibit unique geological
                formations, water features, or scenic qualities; contain cultural features or landscapes
                that are significant to an area’s heritage and identity; or possess unique recreation
                destinations, activities, or services that are important to the area’s tourism industry.

   The Planning Rule requires that the development of plan components must take into account
   opportunities to connect people with nature (§ 219.8(b)(6) and (§219.10(a)(10)).

   The Interdisciplinary Team should evaluate information from the assessment, the need for
   change, and distinctive roles and contributions as a starting point to determine how the plan can
   provide opportunities to connect people with nature. Plan components such as those that provide
   recreational opportunities are one important way to accomplish connecting people with nature.

   The plan could include management approaches or other plan content that describe ways to
   better connect youth or underserved populations to recreation opportunities, to provide quality
   information to a diverse set of visitors to understand where to go for the recreation experience
   they are seeking, to address visitor safety through education and management actions, to enhance
   visitors’ understanding of their natural and cultural environments, and to provide opportunities
   for people to develop a sense of stewardship and appreciation of the plan area. Environmental
   study areas or visitor centers may be identified specifically to provide educational opportunities
   for local schools or the public.

   23.23b - Fish, Wildlife, and Plants

   The Planning Rule (§ 219.10(a)) requires that a plan include plan components including
   standards or guidelines, for integrated resource management to provide for ecosystem services
   and multiple use [including wildlife and fish].

   When developing plan components, the Responsible Official shall take into account plants,
   wildlife and fish, and related uses, that contribute to local, regional, and national economies in a
   sustainable manner (§ 219.8(b)(3)) and consider fish and wildlife species and habitat and habitat
   connectivity (§ 219.10 (a)(1)). Other required considerations in the development of plan
   components include:

                Habitat conditions, subject to the requirements of §219.9, for wildlife,
                fish and plants commonly enjoyed and used by the public; for
                hunting, fishing, trapping, gathering, observing, subsistence and other
                activities (in collaboration with federally recognized Tribes, Alaska
                Native Corporations, other Federal agencies and State and local
                governments). (§ 219.10(a)(5)).




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   When developing plan components:

           1. The Interdisciplinary Team should identify the contribution of fish, wildlife, plant
           species, and related uses, to economic and social sustainability. The assessment provides
           information on the species of fish, wildlife, and plants that are commonly used or enjoyed
           by the public, the conditions and trends associated with these species, and the
           contribution of the use and enjoyment of these species to social and economic
           sustainability (see FSH 1909.12, ch. 10, sec. 13.35). Plan components related to
           ecological sustainability (section 23.1 of this Handbook) and species diversity (section
           23.13 of this Handbook) also contribute to social and economic sustainability. In
           addition to this contribution, the Interdisciplinary Team should examine if other plan
           components can further improve the conditions of fish, wildlife, and plants that are
           commonly used or enjoyed by the public.

           2. The Responsible Official should work with relevant governmental entities, including
           federally recognized Tribes, Alaska Native Corporations, other Federal agencies, and
           State and local governments and the public to design plan components for habitat
           conditions and sustainable recreation opportunities that provide for the use and
           enjoyment of fish, wildlife, and plants. Plan components for ecological sustainability,
           habitat connectivity, species diversity (see sec 23.1 and 23.13 of this Handbook on
           species at risk), and recreation may also contribute to the use and enjoyment of fish,
           wildlife, and plants.

   The Responsible Official may provide for public use and enjoyment of fish, wildlife, and plant
   species with desired conditions that describe the ecological conditions for the species desired by
   the public and how the public can enjoy these species. Desired conditions may highlight
   different species or different ways to enjoy the species for specific land areas of the plan area.
   Other plan components would be designed to support achieving this desired condition.

   23.23c - Watersheds and Water Resources

   The Planning Rule (§ 219.10(a)) requires that a plan include plan components including
   standards or guidelines, for integrated resource management to provide for ecosystem services
   and multiple use [including watershed].

   When developing plan components, the Responsible Official shall take into account watersheds
   that contribute to local, regional, and national economies in a sustainable manner (§ 219.8(b)(3))
   and consider surface and subsurface water quality (§ 219.10(a)(1)). Other required
   considerations in the development of plan components include public water supplies and
   associated water quality (§219.10(a)(9)).

   Water and watershed management may also play a role in providing for other uses, such as
   water-based recreation or energy. The assessment provides available information about the
   contributions of watersheds and water resources to the public, the conditions and trends related



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   to water use, and the contribution of water use to social and economic sustainability (FSH
   1909.12, ch.10, secs.12.23 and 13.34). When developing plan components, the Interdisciplinary
   Team should consider the contribution of water and watersheds within the plan area to economic
   and social sustainability.

   Guidance associated with ecological sustainability with respect to watershed, surface and
   subsurface water quality, and public water supplies and associated water quality is contained in
   36 CFR 219.8 and section 23.12c of this Handbook. Plan components that support ecological
   sustainability will likely also support the social and economic sustainability contributions of
   water and watersheds within the plan area. The Responsible Official should consider whether
   additional plan components are necessary to support the values of water and watersheds, other
   multiple uses related to water and watersheds, water quality and public drinking water supplies
   and the contribution of water and watersheds to social and economic sustainability.

   23.23d - Rangelands, Forage, and Grazing

   The Planning Rule (§ 219.10(a)) requires that a plan include plan components including
   standards or guidelines, for integrated resource management to provide for ecosystem services
   and multiple use [including range].

   When developing plan components, the Responsible Official shall take into account range that
   contributes to local, regional, and national economies in a sustainable manner (§ 219.8(b)(3)) and
   consider forage, grazing, and rangelands ((§ 219.10 (a)(1).

   To the extent practicable for a land management plan, the Responsible Official should coordinate
   with State fish and game agencies to balance State population objectives for game species with
   plan components related to domestic livestock grazing.

           1. When developing components, the Interdisciplinary Team should:

                a. Review the assessment for information about conditions and trends of rangelands,
                transitory range, and other grazing lands, sustainability of the ecological conditions
                that support grazing of livestock, the impacts of grazing on ecological integrity and
                species diversity, and the contribution of livestock grazing to sustainability (FSH
                1909.12, ch. 10, sec. 13.32). The assessment may also have information linking the
                contributions of grazing in the plan area to social, cultural, and economic conditions
                of communities in the area of influence and the broader landscape.

                b. Consider the conditions, trends, and stressors, that affect the ability of the plan
                area to sustain native ungulates, other species, and domestic livestock that depend on
                the forage produced in the plan area, consistent with meeting requirements for
                ecological integrity and species diversity described in section 23.1 of this Handbook.




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                c. Recognize important contributions grazing in the plan area may provide to sustain
                native people and communities dependent on such grazing opportunities. Public
                engagement strategies should include the participation of native stock raising
                communities where applicable, in the development of plan components affecting
                grazing of livestock.

                d. Consider current range management (FSM 2200) of existing allotments in the
                development of plan components that apply to the allotments within the plan area.

                e. Recognize potential adverse interactions between domestic livestock and native
                species and provide appropriate plan components to avoid or mitigate these risks.

                f. Consider wild horse-burro territories present in the plan area and management for
                wild horses and burros in the development of plan components that apply to these
                territories (sec. 24 of this Handbook).

           2. The plan must include plan components, including standards or guidelines, to provide
           for integrated resource management to provide for ecosystem services and multiple use
           integrated with other plan components as described in 23.21a. To meet this requirement
           the plan may include:

                a. Desired conditions for rangelands, transitory range, and other grazing lands that
                describe the type, level, and general location of grazing anticipated in the plan area
                while considering the sustainability of this contribution to the social, cultural, and
                economic conditions affecting communities in the area(s) of influence and the
                broader landscape.

                b. Objectives that identify expected progress for indicators of rangeland health or
                other intended achievements such as acres or number of range improvements and
                accommodations for native species.

                c. Suitability determinations to indicate management areas or other areas where
                livestock grazing or wild horse and burro management is or is not suitable, depending
                on physical and ecological considerations and the desired conditions for the areas.

                d. Standards or guidelines, such as seasonal closures or restrictions based on forage
                condition, to maintain the ecological sustainability and the sustainability of forage for
                grazing.

                e. Other plan content to describe the approach to range management to provide for
                rangeland health, restoration, and grazing opportunities for domestic livestock.




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   Design plan components to accommodate the range of site-specific needs of individual areas,
   species, allotments, and plant communities. Allotment management plans for livestock, and
   territory management plans for wild horse and burro populations provide specific operational
   guidance and are the most appropriate planning level to carry out management tools such as
   minimum stubble height, multiple-year mean utilization, or streambank alteration limitations.

   The appropriate management level for wild horse and burro populations is established in the
   territory management plan. When a plan is developed, amended, or revised, allotment
   management plans and wild horse and burro territory plans should be evaluated for consistency
   with the new plan, as required by 36 CFR 219.15(a)).

   23.23e - Timber and Vegetation

   The Planning Rule (§ 219.10(a)) requires that a plan include plan components including
   standards or guidelines, for integrated resource management to provide for ecosystem services
   and multiple use [including timber].

   When developing plan components, the Responsible Official shall take into account timber that
   contributes to local, regional, and national economies in a sustainable manner (§ 219.8(b)(3)) and
   consider vegetation (§ 219.10 (a)(1)).

   Management of forest vegetation for ecological sustainability, species diversity, and social and
   economic sustainability is a major focus of planning.

           1. When developing plan components, the Interdisciplinary Team should:

                a. Review the assessment for information about the current condition of forests,
                potential contributions of timber harvest and other wood product activity, to social,
                economic, and ecological sustainability (FSH 1909.12, ch. 10, sec. 13.33). Timber
                harvest may also be a stressor to ecosystems and an influence on species diversity that
                needs to be considered consistent with guidance in section 23.1 of this Handbook.

                b. Evaluate ecological processes and stressors with and without active timber harvest.
                This step is often a central part of the planning process. This evaluation may be
                supported with GIS information and analysis models that explore different harvest
                methods and schedules that lead to different desired mixes of plant communities and
                seral stages. This evaluation may include timber harvests that result in timber sold
                that can contribute to mills or other businesses in support of local economies.
                Different desired conditions for vegetation and different approaches in terms of land
                area available for harvest, harvest methods, and harvest schedules may be examined
                in the planning process.




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                c. Identify the role of timber harvest within the plan area to maintain and restore
                desired vegetation conditions for ecological sustainability and species diversity along
                with the contribution of timber and other wood products and services to economic
                and social sustainability. This role can include how timber harvest can contribute to
                creating the desired fire regime condition class or other vegetative conditions (sec.
                23.11c of this Handbook). Specific guidance for complying with the Planning Rule
                requirements that are based on the NFMA timber provisions are described in FSH
                1909.12, ch. 60.

           2. The plan must include plan components, including standards or guidelines, integrated
           with other plan components to provide for integrated resource management to provide for
           ecosystem services and multiple use integrated with other plan components as described
           in 23.21a. To meet this requirement the plan may include:

                a. Desired conditions that describe the mix of specific vegetation conditions such as
                plant communities, seral stages or fire regime condition class. Desired conditions can
                also describe the desired nature of timber management.

                b. Objectives that describe intended achievement of certain desired vegetative
                conditions such as seral stages where timber harvest is a way to achieve the objective.
                Objectives may also identify planned timber harvest activity by acres of vegetation
                management projects, projected wood sale quantity, or projected timber sale quantity
                (see FSH 1909.12, ch. 60, secs. 64.62 and 65.1). Consider including timber
                management objectives to maintain, improve, or restore wildlife habitat for species
                that are commonly hunted or otherwise enjoyed by the public. Objectives may also
                include timber harvest to restore conditions in the near term for lands where
                continued timber harvest or production is not compatible with desired conditions.

                c. Suitability, standards, and guidelines as needed so that timber harvest activities are
                compatible with desired conditions and objectives for other resources including
                ecological integrity and species diversity. Chapter 60 includes specific guidance on
                suitability of lands for timber production and required plan components related to
                timber.

                d. Other plan content that discusses the general management approach intended for
                timber management or partnership strategies to improve markets for plan area timber.
                Chapter 60 includes specific guidance on required display of the timber program.

   23.23f - Scenery, Aesthetic Values, Viewsheds, and Geologic Features

   The Planning Rule requires that the plan must include plan components, including standards or
   guidelines, to provide for scenic character (§ 219.10(b)(1)(i)).




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   When developing plan components, the Responsible Official shall take into account scenic
   character (§ 219.8(b)(2)) and consider aesthetic values, geologic features, scenery, and
   viewsheds (§ 219.10 (a)(1)).

   The scenery management system (SMS) is the framework for developing plan components
   related to scenic character, unless an exception is established per FSM 1921.03. This framework
   for scenery management is described in Landscape Aesthetics - A Handbook for Scenery
   Management (Agriculture Handbook 701). Note that the term “scenic character” replaces the
   term “landscape character” as defined in Chapter I of this Handbook. In addition to this
   Handbook, FSM 2380 contains additional information on the Scenery Management System.

   Viewsheds are specific elements to be considered when developing plan components within the
   scenery management system, because they describe areas seen from certain view locations such
   as roads, trails, or campgrounds. Constituent information (such as public preferences) is used to
   identify desired attributes of scenic character, critical viewsheds, and concern levels of the plan
   area in the context of the surrounding lands. The review of assessment information should
   include consideration of other information provided by the public regarding scenery that is not
   covered in the Scenery Management System. The assessment information, along with ecological
   considerations, should result in scenery-related plan components that compliment a visual
   transition from local communities, that is compatible with desired recreation settings and
   opportunities, and reflect healthy, resilient landscapes.

           1. When developing plan components, the Interdisciplinary Team should:

                a. Review information from the assessment that includes the evaluation of existing,
                trending, and potential scenic character of the plan area and relevant stressors
                affecting scenery. Information identified in the assessment, the need for change, and
                the unit’s distinctive roles and contributions provide a starting point for integrating
                scenery with ecological integrity, species diversity, multiple uses, ecosystem services,
                and designated areas. The scenic character of the plan area, or a portion of the plan
                area, may be identified as unique or distinct when viewed within a broader landscape.

                b. Consider including in the plan components the concepts of scenic integrity,
                stability, and sustainability at multiple scales (for example, unit-wide, by geographic
                area, by management area, by recreation opportunity spectrum setting, by corridor, by
                viewshed, by geologic or historic feature, or by place association).

                c. Consider developing plan components for aesthetics in the design, construction,
                and maintenance of infrastructure, facilities or other specific projects or activities that
                may be proposed under the plan. The Built Environment Guide (“The Built
                Environment Image Guide for the National Forests and Grasslands” United States




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                Department of Agriculture, Forest Service, FS-210, September 2001) can be used or
                referenced to develop applicable plan components that create, maintain, or enhance
                constructed features and infrastructure to blend with the cultural and biophysical
                setting.

                d. Integrate maintaining or restoring scenic character with the plan components of
                other resources, multiple uses and ecosystem services so that they function
                collectively in achieving ecological, social and economic sustainability.

           2. The plan must include plan components including standards or guidelines to provide
           for scenic character integrated with other plan components as described in 23.21a. To
           meet this requirement the plan:

                a. Must include a description of desired scenic character based on the scenery
                management system, unless an exception is established pursuant to FSM 1921.03.
                Desired scenic character may be different from existing or potential scenic character
                identified in the assessment. Depending on the biophysical and cultural attributes of
                the plan area’s landscape, there may be multiple desired scenic character descriptions
                associated with specific areas.

                (1) Desired conditions describing scenic character should include scenic integrity
                objectives that describe the degree to which desired attributes of the scenic character
                are to remain. Scenic integrity objectives should be assigned throughout the plan
                area. (Note that scenery integrity objectives are not the same as plan component
                “objectives” under the Planning Rule).

                (2) Desired conditions may also describe scenic stability, sustainability, and other
                measures used in scenery management system. Desired conditions may include
                maps, graphics, photographs, or visual simulations that give a visual representation of
                desired scenic character and associated scenic integrity objectives.

                b. Should contain standards or guidelines as needed to avoid or mitigate undesirable
                effects incompatible with desired scenery conditions. Standards or guidelines can
                also apply to specific scenic integrity objectives, management areas, geographic
                areas, designated areas or other identified special areas or places. Standards and
                guidelines can be applied at multiple scales to specific management activities such as
                timber harvest, utility corridors, trail construction, facility development, or road
                construction.

   Unique geologic features must also be considered in the planning process. These features are
   often unique scenic attractions and would likely be recognized in the scenery management
   system. In some situations, plan components may be developed to either protect or interpret
   geologic features within a management, geographic or designated area or for a landscape or
   place.



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   23.23g - Cultural and Historic Resources

   The Planning Rule requires that the plan must include plan components, including standards or
   guidelines, for protection of cultural and historic resources (§ 219.10(b)(1)(ii)).

   When developing plan components, the Responsible Official shall take into account cultural and
   historic resources and uses (§ 219.8(b)(5)) and consider cultural and heritage resources (§ 219.10
   (a)(1)).

           1. When developing plan components:

                a. The Interdisciplinary Team should review information from the assessment about
                the cultural and historical context of the plan area, the cultural and historical
                resources and uses present in the plan area, the condition and trends affecting these
                resources, and how these resources help sustain specific cultural communities and
                contribute to social and economic sustainability (FSH 1909.12, ch. 10, sec. 13.8). A
                cultural resource overview or a Heritage Program Plan may also have useful
                information. The Forest Service also uses the term “cultural resources and heritage
                assets” to describe cultural and heritage resources. See section 21.3 of this Handbook
                for more detail on priority heritage assets.

                b. The Interdisciplinary Team shall develop appropriate plan components for the
                protection of cultural and historic resources while considering the following:

                (1) What plan components are needed to protect currently identified historic
                properties, identified but unevaluated cultural resources, and the cultural resources
                that may be discovered and evaluated during project planning. These plan
                components may apply unit-wide. See FSH 2309.12, chapter 30 for more detail on
                the evaluation of cultural and historic resources and uses.

                (2) Whether unique plan components are needed for situations where cultural or
                historical resources and uses may be of specially recognized value. Priority Heritage
                Assets are an example of cultural or historic resources that may be of such recognized
                value.

                (3) Whether plan components that provide for scenic character is in accord with the
                requirements of the National Historic Preservation Act (NHPA) (Title 16, United
                States Code, section 470 et seq.), where historic properties derive their integrity from
                their setting (scenery and viewshed). See section 23.23f of this Handbook for
                information about the Scenery Management System that describes scenic character in
                the land management plan.




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                c. The Responsible Official shall consult with appropriate entities according to
                section 106 of the NHPA (16 U.S.C. 470) or programmatic agreements established
                under the NHPA. The consultation may include consultation with State Historic
                Preservation Officers, Tribal Historic Preservation Officer(s), federally recognized
                Indian Tribes and Alaska Native Corporations, and the Advisory Council on Historic
                Preservation. FSM 2361.2 contains detailed direction for section 106 of the NHPA.

           2. The plan must include plan components including standards or guidelines for
           protection of cultural and historic resources integrated with other plan components as
           described in 23.21a. To meet this requirement the plan may include:

                a. Desired conditions describing the cultural or historic resources in the plan area.
                For interpretive areas, priority heritage assets, or cultural landscapes, a special set of
                desired conditions may be appropriate for the protection, management, and use of the
                resource.

                b. Standards or guidelines appropriate for the protection, management, and use of
                historic properties and cultural resources, as well as appropriate treatment for known
                but unevaluated cultural resources, or undiscovered cultural resources. Standards or
                guidelines may distinguish between these situations. Standards or guidelines may be
                designed specifically for projects and activities to avoid unintentional damage or
                destruction to cultural resources. Use of federally recognized best management
                practices may greatly assist with developing plan components for managing cultural
                resources or heritage assets that overlap with lands managed by other Federal
                agencies.

                c. Management, geographic, or designated areas (sec. 22.2 and 24 of this Handbook)
                with unique plan components, depending on the primary value of the resource
                (cultural, traditional, scientific, interpretative, or continued use). A geographic area
                may be used to identify a cultural landscape. In other situations, especially those of
                active cultural use, traditional cultural properties or sacred sites (sec 23.23h of this
                Handbook), the Responsible Official shall not disclose (if restricted by 25 U.S.C.
                3056), or may choose to not to disclose, any locational information in the plan to
                maintain confidentiality of the sites. Confer with the Office of the General Counsel
                about disclosure about whether to disclose or withhold information about cultural and
                historic locations in the planning process.

                d. Other plan content to describe a management approach for evaluating sites for
                listing on the National Register of Historic Places. Other plan content may also
                identify unique cultural and historic resources, cultural landscapes, national heritage
                areas, national monuments, national historic trails, national historic landmarks or




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                historical areas, or unique cultural or historic management or geographic areas as part
                of the plan’s distinctive role and contribution. See section 24 of this Handbook for
                further discussion of national monuments, national historic trails, national historic
                landmarks, or historical areas that are designated areas.

   23.23h - Areas of Tribal Importance

   The Planning Rule requires that the plan must include plan components, including standards or
   guidelines, for management of areas of tribal importance (§ 219.10(b)(1)(iii)).

           1. When developing plan components:

                a. The Interdisciplinary Team should review the assessment for information about
                areas of tribal importance, existing tribal rights, and the conditions and trends of these
                areas of tribal importance (FSH 1909.12, ch. 10, sec. 13.7).

                b. The Responsible Official shall recognize the areas of tribal importance during
                tribal consultation and develop appropriate plan components for management of these
                areas. Areas of tribal importance may not always be recognized as cultural resources,
                as described in section 23.23g of this Handbook. In cases where these tribally
                important areas are the same as, or may overlap with, cultural resources, guidance in
                section 23.23g of this Handbook also applies.

                c. The Responsible Official shall consult with federally-recognized Indian Tribes and
                Alaska Native Corporations on the development of plan components for management
                of areas of tribal importance (see FSH 1909.12, ch. 40, sec. 44).

                d. The Responsible Official shall develop plan components to manage lands
                containing Indian sacred sites in accordance with Executive Order 13007 of May 24,
                1996. Provisions for the specific protection, management, or use of these areas are
                developed in consultation and collaboration with Indian Tribes or Alaska Native
                Corporations and the Responsible Official.

                e. Some Indian Tribes or Alaska Native Corporations may not want areas of tribal
                importance identified. The Responsible Official shall not disclose (if restricted by 25
                U.S.C. 3056) or may choose to not to disclose, any locational information in the plan
                to maintain confidentiality of the areas of tribal importance. Sacred sites identified by
                federally recognized Indian Tribes or Alaska Native Corporations during consultation
                with the Responsible Official can be treated as confidential by the Agency consistent
                with 25 U.S.C. 3056 and Executive Order 13007.




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           2. The plan must include plan components including standards or guidelines for
           management of areas of tribal importance integrated with other plan components as
           described in 23.21a. To meet this requirement the plan may include:

                a. Desired conditions that clearly recognize Indian Tribe and Alaska Native
                Corporations’ concerns associated with areas of tribal importance and access to these
                areas even if the locations of the areas are not identified. These desired conditions
                may include providing for traditional uses of the plan area by Indian Tribes and
                Alaska Native Corporations.

                b. Standards, guidelines, or suitable uses to place limits or conditions on projects or
                activities that may adversely affect areas of tribal importance.

                c. Other plan content to describe an ongoing collaborative strategy with specific
                Indian Tribes or Alaska Native Corporations as partners in the accomplishment of the
                objectives.

   23.23i - Mineral and Nonrenewable Energy Resources

   The Planning Rule requires that in the development of plan components, including standards or
   guidelines, the Responsible Official shall consider renewable and nonrenewable energy and
   mineral resources (§ 219.10(a)(2)). Section 23.23k of this Handbook discusses renewable
   energy resources.

   In consideration of these resources, the Responsible Official must be aware of the various
   authorities that govern the Agency’s mineral and nonrenewable energy management and
   determine what decisions will be made in the plan, concurrently with the plan, or that may occur
   subsequent to the plan decision. Applicable law and Federal regulations that define Agency
   jurisdiction over mineral and nonrenewable energy management include:

           Coal resource management (43 CFR part 3420),

           Geothermal resource leasing (43 CFR part 3201),

           Solid leasable minerals other than coal and oil shale (43 CFR 3501.17),

           Oil shale (43 CFR 3900.5),

           Tar sands (43 CFR 3140),

           Locatable minerals (36 CFR part 228, subpart A),




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           Disposal of mineral materials (36 CFR part 228, subpart C), and

           Oil and gas (36 CFR part 228, subpart E, section 228.102(c) and 43 CFR 3100)

   Depending on the specific mineral and applicable laws and regulations, the Forest Service may
   identify lands in the Federal estate that may or may not be suitable or available for mineral and
   nonrenewable energy development. The Forest Service manages surface use for the exploration
   and development of minerals and nonrenewable energy resources on National Forest System
   lands. In the land management plan, plan components applicable to mineral and nonrenewable
   energy development must be within Forest Service authority consistent with applicable laws and
   regulations, including the requirements of the Planning Rule.

   Responsible Officials should evaluate the impacts of past, current, and potential mineral
   development and activity in the plan area and the relationship between the plan components and
   these impacts in the future; recognizing that current practices can avoid some impacts associated
   with past development. The plan should identify the existing or potential contributions and
   impacts of mineral and nonrenewable energy activity expected to occur within the plan area,
   even if the activity is outside of Agency authority.

   In developing an integrated set of plan components, the Responsible Official should include plan
   components to guide the development of mineral and nonrenewable resources where applicable
   in the plan area and where the Responsible Official has the authority to do so as part of the land
   management planning process. The Responsible Official should also consider whether separate
   decisions regarding the Federal mineral estate would be appropriate or necessary for effective
   land management. Such decisions include those that can be made concurrently as part of the
   plan development, revision, or amendment or those recommended for a later time. Include the
   rationale for such decisions in the plan decision document.

           1. When developing plan components for nonrenewable energy and mineral resources:
           The Interdisciplinary Team should review the assessment (FSH 1909.12, ch. 10 sec. 13.5)
           for information about the current level, potential, and trends in, mineral and
           nonrenewable energy activity in the plan area.

           2. Plan components related to nonrenewable energy and mineral resources must be in
           accord with Agency jurisdiction, applicable law, and Federal regulations. The extent of
           Forest Service authority and responsibility for management of the Federal mineral estate
           varies depending on the mineral resource involved. Specific authorities applicable to
           nonrenewable energy or mineral resources that are relevant to the plan area should be
           reviewed prior to developing any applicable plan components.

           3. Plan components must recognize valid existing or statutory rights, such as reserved,
           outstanding or private mineral rights (sec. 23.23m of this Handbook) or the reasonable
           right of access to lands open to mineral entry under the general mining laws (30 U.S.C.
           22 et seq.).



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           4. Plan components related to nonrenewable energy and mineral resources must be
           consistent with the requirements of the Planning Rule, including those for sustainability
           (§ 219.8), diversity of plant and animal communities (§ 219.9), and multiple use
           (§ 219.10). When developing plan components the Interdisciplinary Team should
           consider the following:

                a. Whether plan components to guide nonrenewable or mineral resource development
                are necessary to achieve other desired conditions or objectives related to
                sustainability, diversity of plant and animal communities, and multiple use.

                b. The Forest Service has sole discretion over the management of mineral materials
                or saleable minerals as described 36 CFR part 228, subpart C. The Forest Service
                also has sole discretion over making lands available for oil and gas leasing, subject to
                valid existing rights as described in 30 U.S.C. 226(h).

                c. For plan areas where lands were identified in the plan assessment to have coal
                development potential, the land use planning requirements of 43 CFR 3420.1-4
                (b)(1)-(4) must be followed. The plan must identify areas that are acceptable for
                further consideration for coal leasing according to procedures at 43 CFR 3420.1-4(e),
                which include reviewing the identified lands to assess where there are areas
                unsuitable for all or certain stipulated methods of mining per the criteria contained in
                43 CFR 3461. The plan must also contain an estimate of the amount of coal
                recoverable by either surface or underground methods or both (43 CFR 3420.1-4(d)).

                d. For plan areas with oil and gas resources, the availability of lands for leasing may
                be determined in conjunction with the planning process (36 CFR 228, Subpart E,
                228.102).

                The Forest Service decision regarding which lands are available for oil and gas
                leasing is supported through preparation of a leasing availability analysis. A leasing
                analysis may be for all or portions of a plan area. The difference in scope, proposed
                action, and level of detail between a planning effort and a leasing analysis must be
                made clear should a single NEPA analysis document be used to support both the plan
                and oil and gas leasing availability decisions.

                For National Forest System plan areas for which oil and gas leasing availability
                decisions have already been made, the Responsible Official shall review those
                availability decisions to determine if the previous decision is consistent with the plan
                components of the newly amended or revised land management plan. If the leasing
                availability decision is not consistent with the plan, it must be made consistent with
                the land management plan (36 CFR 219.15) or the plan decision document must
                expressly allow the availability decision to proceed unchanged (36 CFR 219.15(a);
                and sec. 21.41 of this Handbook).




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                The Forest Service may not authorize a BLM leasing decision that is inconsistent
                with the land management plan decision, and the BLM may not issue any lease on
                National Forest System lands without the authorization of the Forest Service.

                e. For plan areas that expect substantial new mineral or nonrenewable energy
                development, a projection of potential activity or a reasonably foreseeable
                development scenario in the case of oil and gas development may be needed not only
                to estimate the contributions of the mineral resource, but also the influence of this
                development on other resources. Such a projection or development scenario should
                be done with the BLM and is part of the environmental impact analysis.

           4. The plan may include:

                a. Desired conditions that identify mineral uses likely to occur in the long term, along
                with the desired context for their operation. Desired conditions may describe surface
                resources and, as appropriate, subsurface resources such as groundwater and caves
                that may be affected by development of mineral resources.

                b. Objectives to maintain or restore the condition of surface and subsurface
                resources.

                c. Suitability, standards, or guidelines to identify measures, within appropriate legal
                authorities of the Forest Service, to minimize or avoid impacts on surface or
                subsurface resources or to protect purposes for which lands were acquired. Plan
                components for aspects of mineral development within Forest Service authority must
                be in accord with other plan components, including those for ecological
                sustainability.

                d. Other plan content to briefly describe the general management principles,
                management challenges, and management approaches to ongoing mineral operations
                and likely future development. Development of mineral resources may be a
                distinctive role and contribution of the plan area within the broader landscape.

   The environmental analysis document evaluates the potential impact of the plan decision
   regarding mineral and nonrenewable energy developments on the social, economic, cultural, and
   ecological conditions.

   23.23 j - Geologic Hazards

   The assessment contains information identifying geologic hazards such as landslides, flooding or
   snow avalanches that may be a risk to the public or to the resources of the plan area. Based on
   this information the Responsible Official should consider whether the set of plan components




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   adequately recognizes these hazards and provides for appropriate mitigations. If not, the
   Responsible Official should direct the Interdisciplinary Team to add plan components to address
   these geologic hazards.

   The desired conditions of the plan can describe certain geologically hazardous areas to be
   avoided or mitigated. There may be plan objectives to modify infrastructure or manage certain
   lands to reduce risks associated with these areas. Suitability, standards, or guidelines may
   prescribe certain restrictions on uses, projects, or activities in or near these geologically
   hazardous areas.

   23.23 k - Renewable Energy

   The Planning Rule requires that in the development of plan components, including standards or
   guidelines, the Responsible Official shall consider renewable energy resources (§219.10(a)(2))
   and appropriate placement and sustainable management of infrastructure such as utility corridors
   (§219.10(aX3)).

   National forests and grasslands are capable of producing energy through a variety of methods.
   Many energy sources such as wind, solar, biomass, and hydroelectric can be considered
   renewable as these forms are capable of producing energy without depleting the source of the
   energy. The extraction of fossil fuels (oil, natural gas, and coal) and geothermal energy is
   described in section 23.23i of this Handbook on leasable minerals. Energy developed on or off
   National Forest System lands often requires infrastructure to transfer electric power or fossil
   fuels through transmission corridors between producers and consumers.

           1. When developing plan components:

                a. The Interdisciplinary Team should review the assessment for information about
                the current and future potential energy developments their potential contributions and
                impacts in and around the plan area (FSH 1909.12, ch. 10, sec. 13.5).

                b. The Interdisciplinary Team should consider existing facilities and potential for
                generation and transmission of energy from or across National Forest System lands.

                c. The Responsible Official should engage with other Federal agencies, such as the
                FERC, BLM, USACE, or State or local government agencies that may have
                jurisdiction of certain types of energy facilities in the plan area. The BLM is the lead
                Federal agency for permitting interagency pipelines. Additional laws and regulations
                may apply to these types of energy developments. Appropriate engagement with
                these agencies and interests and recognition of applicable laws and regulations must
                be part of the planning process.




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                d. The Interdisciplinary Team should consider how and whether the land
                management plan may provide for renewable energy, such as solar, wind, biomass
                and hydroelectric energy sites. The team should evaluate lands that are most suitable
                for these uses and avoid lands that are sensitive, legally restricted from such
                development or committed to other uses where such energy development would not
                be desirable. The evaluation of lands should consider how and whether the plan area
                can contribute to providing renewable energy while simultaneously providing for
                other desired conditions and objectives of the plan area. The Interdisciplinary Team
                should develop appropriate plan components that establish this framework for future
                renewable energy development, while avoiding or mitigating related adverse impacts.

           2. The plan may include:

                a. Desired conditions that identify long-term energy developments, uses of resources
                such as biomass for energy, or transmission corridors and the desired context for their
                operation.

                b. Objectives that identify measureable outcomes or intended achievements related to
                energy resource management, such as improving the condition of infrastructure
                developments, providing a supply of material for energy generation such as fuelwood,
                biomass or mitigation outcomes related to energy developments, such as modification
                of fish passage at dams.

                c. Suitable use areas or areas not suitable for certain types of energy developments or
                resource use in accordance with the appropriate legal authorities and land capability.

                d. Standards or guidelines to identify restrictions on certain practices related to the
                use, development, or transmission of energy within the plan area, within appropriate
                legal authorities of the Forest Service.

                e. Provision of energy or transmission of energy across the plan area as a distinct role
                and contribution of the plan area.

   The environmental analysis document evaluates the potential impact of the plan’s decision
   regarding energy developments on the social, economic, cultural, and ecological conditions
   within and near the plan area.

   23.231 - Infrastructure, Roads and Trails

   The Planning Rule requires that the development of plan components must consider trails
   (§ 219.10 (a)(1)) and appropriate placement and sustainable management of infrastructure, such
   as recreational facilities and transportation and utility corridors (§ 219.10 (a)(3)).




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   Infrastructure includes road systems, trail systems, recreational facilities, administrative
   facilities, airstrips, and other facilities needed in and near the plan area. The central
   consideration in land management planning for infrastructure is that the integrated desired
   conditions and other plan components set a framework for the sustainable management of the
   plan area’s infrastructure and mitigation of adverse impacts.

   Most design related to infrastructure occurs at the project or site level with a specificity that is
   not appropriate for a land management plan. For example, the design and construction, or
   reconstruction, of an individual trail segment is a project-specific decision, as is the siting and
   design of a recreational facility. Travel management analysis is a separate process outside of
   land management planning to determine which roads are to be maintained for public use
   consistent with the land management plan.

           1. When developing plan components, the Interdisciplinary Team should:

                a. Review the assessment for information about the current infrastructure
                (FSH 1909.12, ch. 10, sec. 13.6). Based on information from the assessment and
                subsequent public involvement, the Interdisciplinary Team can determine how well
                the current infrastructure supports or contributes to social, economic, or ecological
                sustainability and what plan components are needed to deal with infrastructure.

                b. Develop plan components to reflect the extent of infrastructure that is needed to
                achieve the desired conditions and objectives of the plan. The plan should provide
                for a realistic desired infrastructure that is sustainable and can be managed in accord
                with other plan components including those for ecological sustainability.

                c. These plan components must be within the fiscal capability of the planning unit
                and its partners, consistent with the authority of the Forest Service, and the inherent
                capability of the plan area.

           2. Related to roads, the plan:

                a. Should include desired condition for the road system based on the desired uses for
                the plan area and management or geographic areas. The desired condition should
                identify the road system that provides primary access to and within the plan area and
                describe the general desired use and condition of other roads. This may vary
                depending on the management area, geographic area, or other areas within the plan
                area. Desired recreational settings and opportunities (sec. 23.23a of this Handbook)
                related to the public’s recreational use and need for roads are important factors
                influencing the use and sustainability of roads. Other uses such as grazing, timber




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                harvest, mineral and energy development, and administrative uses also determine
                needs for the road system. The plan’s desired condition should describe a basic
                framework for an appropriately sized and sustainable transportation system that can
                meet these needs. The desired condition may also describe the desired road density
                for different management areas, geographic areas or other areas in the plan area.

                b. May include other plan components for the road system based on the desired
                conditions:

                (1) Objectives such as decommissioning roads in areas where existing roads are no
                longer desired or improving roads in areas where the road system needs
                improvement, such as replacing culverts or stabilizing certain types of roads.

                (2) Suitability determinations to identify what types of roads are suitable or not
                suitable for certain management areas and geographic areas.

                (3) Standards or guidelines for road management that may restrict road management
                activities, such as road construction, in certain situations, for example, to protect
                riparian zones or sensitive scenic areas.

           3. Related to recreational trails, the plan:

                a. Should include desired conditions for recreational trails. The desired condition of
                the recreational settings and opportunities should lead to plan components aligned
                with the desired recreational settings and opportunities of the plan (sec. 23.23a of this
                Handbook). The desired condition(s) for trails may include an overall design of the
                trail system that enhances compatible uses and manages user conflicts for the plan
                area. The desired condition may describe nationally designated trails (sec. 24.43 of
                this Handbook) and distribution and types of trails for various uses such as hiking,
                off-road vehicles, mountain bikes, equestrian use, or winter uses such as skiing or
                snowmobiling.

                b. May include objectives to identify intended outcomes or achievements for trail
                construction or maintenance, such as trail construction or reconstruction to avoid user
                conflicts on trails or impacts to important environmental areas such as rattlesnake
                dens.

                c. May identify the types of trails and recreational use that are suitable or not suitable
                in a management or geographic area; these should be aligned with the desired
                recreational settings and opportunities (sec. 23.23a of this Handbook). While the plan
                does not determine the use for each specific trail, it does establish desired conditions
                and other plan components that indicate what types of trails are appropriate within
                different parts of the plan area.




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           4. The plan may include the following related to other types of infrastructure such as
           trails for nonrecreational use, facilities for recreational visitors, airstrips, and utility
           corridors.

                a. Desired condition for other infrastructure appropriate for the plan area, or specific
                management or geographic areas.

                b. Objectives to indicate intended progress toward achieving the desired conditions.

                c. Suitability components to identify the kinds of infrastructure that are suitable in
                certain areas, and

                d. Standards or guidelines related to infrastructure development or management.

   Other resource plans specifically designed for management of infrastructure, such as travel
   management plans, must be consistent with the plan components of the land management plan
   (36 CFR 219.15(e)). The Responsible Official shall review any existing travel management
   plans to determine if the previous decision is consistent with the plan components of the newly
   amended or revised land management plan. If the travel management plan is not consistent with
   the plan, it must be made consistent with the land management plan (36 CFR 219.15) or the plan
   decision document must expressly allow the travel management decision to proceed unchanged
   (sec. 21.41 of this Handbook).

   The environmental analysis document evaluates the potential impact of the plan’s decision
   regarding infrastructure on the social, economic, cultural, and ecologic conditions within and
   near the plan area.

   23.23m - Land Status, Ownership, Use, Access and Linkage of Open Space with
   Other Ownerships

   The Planning Rule requires that the development of plan components must consider habitat and
   habitat connectivity (§ 219.10 (a)(1)) and:

                 (4 ) Opportunities to coordinate with neighboring landowners to link open
                 spaces and take into account joint management objectives where feasible and
                 appropriate.
                 ***
                 (6 ) Land status and ownership, use and access patterns, relevant to the plan
                 area. (§ 219.10 (a))

           1. When developing plan components, the Interdisciplinary Team should:




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                a. Review the assessment for information about National Forest System land
                ownership, status, use, and access within and near the plan area (FSH 1909.12, ch. 10,
                sec. 13.9).

                b. Recognize and actively consider the nature of land status, ownership, and access
                within the plan area and surrounding the plan area. In particular, the resource and
                management influences related to land status, ownership, and use must be considered
                in the planning process. For example, consider such issues as: the potential impacts
                of fragmentation to habitats in areas of mixed ownership, how off forest development
                pressures may influence the plan area, and access to and through the planning area for
                public uses and forest management. An additional important concern is the
                consideration of opportunities to create connectivity of habitat and open space across
                these ownerships.

                c. Review and consider the plans, planning efforts, and land use policies of other
                jurisdictional neighboring ownerships as described in FSH 1909.12, chapter 40,
                section 44.1 of this Handbook. Consider also the plans of any private landowners that
                are relevant to the plan area and that are made available to the Responsible Official.

                d. Consider opportunities for collaboration with neighboring ownerships and other
                Federal agencies, State, local, and tribal governments to support a landscape approach
                for sustainable management in which the plan area plays a role.

                e. Consider the following:

                (1) Indian treaty and other reserved rights on the plan area;

                (2) Valid existing rights associated with other ownerships within and adjacent to the
                plan area;

                (3) The status and ownership of Federal lands, including where the Federal
                government owns the surface and another party owns reserved, outstanding, or other
                private mineral rights within the plan area;

                (4) Changing ownership, uses, or fragmentation either underway or planned near the
                plan area and how these may affect the plan area’s resources;

                (5) Access points and areas accessed by the public for recreation, trail connectivity,
                and other uses of the plan area;

                (6) Open space commitments of adjacent landowners where connectivity with the
                plan area connects or could connect open space across boundaries;




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                (7) Risks to either the plan area or to adjacent ownerships along plan area
                boundaries; and

                (8) Coordination with U.S. Border Patrol on issues relating to national security along
                any international border of the United States.

           2. The plan may include:

                a. The desired nature of the land patterns, uses, and access of the plan area including
                unique desired conditions for specific areas based on their land status or adjacency to
                other ownerships.

                b. Objectives to identify intended outcomes for improving land status or multiple
                land ownership patterns, connecting open space, improving access issues or
                conditions along the plan area boundary such as treatments in the wildland-urban
                interface.

                c. Suitability of lands for uses and standards or guidelines to restrict projects or
                activities in consideration of land ownership, status, and other influences that cross
                ownership boundaries.

                d. Management or geographic areas where a specific set of plan components may be
                used to deal with important influences that cross ownership boundaries. Examples
                include wildland-urban interface areas or open space connections.

                e. Other plan content to describe management approaches to work with multiple
                governments and ownerships to accomplish common goals or objectives. This could
                include a description of partnerships and coordination designed to achieve more
                sustainable land management approaches within the broader landscape. Other plan
                content could describe how the Responsible Official may work to establish
                collaborative agreements for joint objectives with other ownerships or jurisdictions.

   The environmental analysis document examines the impacts of the plan decision on the lands
   adjacent and near the plan area.

   23.23n - Other Considerations for Multiple Uses

   The Planning Rule requires that the plan contain other plan components for integrated resource
   management to provide for multiple use as necessary (§ 219.10(b)) and that the development of
   plan components consider air quality, riparian areas, soil, and other relevant resources and uses.
   ((§ 219.10 (a)(1). It is not necessary to consider issues beyond the current space-time
   continuum. Other required considerations in the development of plan components include:




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                (7) Reasonably foreseeable risks to ecological, social, and economic
                sustainability.
                (8) System drivers, including dominant ecological processes,
                disturbance regimes, and stressors, such as natural succession,
                wildland fire, invasive species and climate change; and the ability of
                the terrestrial and aquatic ecosystems on the plan area to adapt to
                change [§ 219.8] (§ 219.10 (a)).
   Exhibit 01 lists where each of these topics is covered in an earlier section of this chapter as
   follows:

                                                  23.22q - Exhibit 01

                             Topics covered in an earlier section of this chapter

             Topic                                                       Section
             Air quality                                                 Section 23.12a
             Riparian areas                                              Section 23.11c
             Soil                                                        Section 23.12b
             Reasonably foreseeable risks to ecological                  Section 23.1-23.13c
             sustainability
             System drivers, disturbance regimes and stressors           Section 23.1-23.11d
             Climate change and the ability of aquatic and               Section 23.1-23.13c
             terrestrial ecosystems to adapt to change


   24 - DESIGNATED AREAS

   A designated area is defined at 36 CFR 219.19 as:

                An area or feature identified and managed to maintain its unique
                special character or purpose. Some categories of designated areas may
                be designated only by statute and some categories may be established
                administratively in the land management planning process or by
                other administrative processes of the Federal executive branch.
                Examples of statutorily designated areas are national heritage areas,
                national recreational areas, national scenic trails, wild and scenic
                rivers, wilderness areas, and wilderness study areas. Examples of
                administratively designated areas are experimental forests, research
                natural areas, scenic byways, botanical areas, and significant caves.




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   Land management plan decisions may include recommendations to establish additional or
   modify existing designated areas. Some designated areas may be formally designated or
   established concurrently with a plan decision, while others may not. The term “designated area”
   refers to categories of area or feature established by, or pursuant to, statute, regulation, or policy.
   Once established the designation continues until a subsequent decision by the appropriate
   authority removes the designation. Changes in actual designations do not occur as part the plan
   decision.

   Exhibit 01 lists some types of designated areas that the Responsible Official may consider
   recommending for designation, the designating authority for each type of designated area, and
   the location of existing guidance for their designation.

   The list in exhibit 01 is not comprehensive. Some plan areas may have unique designations
   created by special legislation or other administrative action in addition to the types identified in
   this section. If a land area does not qualify as a designated area or has not been designated, but
   needs specific guidance, the Responsible Official may identify the area as a management area or
   as a geographic area to apply specific plan components in the land management plan.




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                                                     24 - Exhibit 01

               Designated Areas - Designating Official and Guidance Cross-Reference

                                                                             Additional Guidance
     Designated Areas                      Designation Authority
                                                                             Location
     Statutorily Designated Areas
                                                                             http://www.nps.gov/history/
     National Heritage Area                Congressional act designates.
                                                                             heritageareas/
                                           Presidential Executive order or
     National Monument                                                       FSM 2371
                                           Congressional act designates.
     National Recreation Area              Congressional act designates.     FSM 2371
     National Scenic Area                  Congressional act designates.     FSM 2371
     National Scenic
                                           Congressional act designates.     FSM 2353.4
     and Historic Trails
                                                                             FSM 1924 & FSM 2354
     Wild and Scenic River                 Congressional act designates.
                                                                             FSH 1909.12
     Wilderness, or                                                          FSM 1923 & 2320
                                           Congressional act designates.
     Wilderness Study Areas                                                  FSH 1909.12
                                  Congressional act established
     Highway Systems,             process.
                                                                             23 CFR part 470
     Interstate and National      Secretary of the Department of
                                  Transportation approves.
     Administratively Designated Areas
                                  Responsible official
     Botanical Area, Geological recommends.
     Area, Historical Area,       Regional forester may designate
                                                                             36 CFR 294.1
     Paleontological Area,        areas less than 100,000 acres.
                                                                             FSM 2372
     Recreational Area, Scenic    Secretary of Agriculture
     Area, or Zoological Area     designates areas of 100,000
                                  acres or larger.
                                  Director of Fish and Wildlife
     Designated Critical Habitat                                             Endangered Species Act
                                  Service
                                                                             36 CFR Part 294--Special
     Inventoried Roadless                                                    Areas Subpart B, Subpart C,
                                            Secretary of Agriculture
     Areas/Roadless Areas                                                    and
                                                                             Subpart D,
                                           Responsible official
     Experimental Forest or                recommends with concurrence
                                                                             FSM 4062
     Range                                 of station director
                                           Chief designates.




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                                Responsible official
     National Historic Landmark recommends.                               FSM 2373
     National Natural Landmark Secretary of the Interior                  36 CFR 751, FSM 2364.4
                                designates.
                                Responsible official
                                recommends.
     Research Natural Area      Regional forester designates,             FSM 4063
                                with concurrence of station
                                directors.
                                Responsible official
     Scenic Byway - Forest
                                recommends.                               None
     Service
                                Chief designates.
                                Responsible official
                                recommends.                               23 CFR part 162 program
     Scenic Byway - National
                                Federal Highway Administration            guides.
                                designates.
     Significant Caves                                                    36 CFR part 290
     Wild Horse and Burro
                                Forest Service Chief                      FSM 2260
     Territories




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           1. The intent behind identifying designated areas in plans and recommending additional
           areas for designation is to:

                a. Assure that plans identify established designated areas and provide plan
                components appropriate for the designated area; and

                b. Recommend areas where doing so would help to carry out the distinctive role and
                contributions of the plan area in the broader landscape or contribute to achieving
                desired conditions for the plan area. Recommendations for designated areas are
                limited to areas that meet the distinctive qualifications for designation that varies by
                category or types listed in 24, exhibit 01.

   24.1 - Identifying Existing and Recommending New Designated Areas in the Plan

   The 2012 Planning Rule requires the Responsible Official to identify existing designated areas
   and determine whether to recommend any additional areas:

                (2) In developing a proposed new plan or proposed plan revision, the
                responsible official shall:
                ***

                (vii) Identify existing designated areas other than the areas identified
                in paragraphs (c)(2)(v) and (c)(2)(vi) of this section, and determine
                whether to recommend any additional areas for designation. If the
                responsible official has the delegated authority to designate a new
                area or modify an existing area, then the responsible official may
                designate such area when approving the plan, plan amendment, or
                plan revision. (36 CFR 219.7(c)).

           1. The Responsible Official shall identify the following in the land management plan:

                a. Designated areas that have been previously designated by statute or through a
                separate administrative process.

                b. Areas that the Responsible Official is recommending for designation using
                appropriate procedures for either statutory or administrative designation.

           2. All designated areas that have been statutorily designated or recommended to be
           statutorily designated must be shown on a map in the plan, unless it is necessary not to do
           so, to protect resources in the designated area. Mapping may show the designated area as
           a management area, geographic area or as part of a separate overlay specifically to show
           location of designated areas. Other administratively designated areas must also be
           identified in the plan on a map or using a narrative.




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           3. The Responsible Official shall identify any recommendations for additional
           designated areas and the rationale for the recommended designations in the plan decision
           document.

           4. Regional Foresters may designate areas within their authority using appropriate
           procedures concurrently with the approval of a plan amendment or plan revision. The
           Responsible Official should work with the Regional Forester when considering and
           evaluating areas to recommend for designation that are within the authority of the
           Regional Forester to designate.

           5. If the Responsible Official intents to have an administrative designation of an area
           approved together with the plan decision under the appropriate authority, the authorizing
           official shall identify the area to be designated, the rationale for the designation, and any
           supporting documentation for the designation in the plan decision document. See section
           24, exhibit 01 of this Handbook for information on authorities and guidance for
           documenting the designation of an area. See section 21.7 of this Handbook for guidance
           on doing a concurrent decision with a plan decision. See section 21.42 of this Handbook
           for guidance on plan decisions.

           6. The Chief shall be notified if the plan development, plan amendment, or plan revision
           makes preliminary recommendations that ultimately require Congressional action. The
           Responsible Official, through the Regional Forester, shall notify the Chief by letter of
           tentative preliminary administrative recommendations. Examples of preliminary
           recommendations for Congressional action include additions to or deletions from the
           National Wilderness Preservation System, National Scenic and Historic Trails, National
           Recreation Areas; and studies or changes to the National Wild and Scenic River System.

   24.2 - Plan Components for Designated Areas and Areas Recommended for
   Designation

   The Planning Rule requires that the plan must include plan components, including standards or
   guidelines, for:

                (vi) Appropriate management of other designated areas or
                recommended designated areas in the plan area, including research
                natural areas. (36 CFR 219.10(b)(1)).

   Sections 22 and 23 of this Handbook give guidance on how to integrate plan components to meet
   this requirement.

           1. When developing plan components:




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                a. The Interdisciplinary Team should review the assessment for information about
                existing designated areas in the plan area, a general evaluation of the potential need
                and opportunity for additional designated areas, and the contribution of designated
                areas to social, economic, and ecological sustainability (FSH 1909.12, ch. 10,
                sec. 14). Each type of designated area has its own purposes and authorities
                (sec. 24.1 of this Handbook).

                b. The Responsible Official shall include plan components that will provide for
                appropriate management of designated areas based on the applicable authorities and
                the specific purposes for which each area was designated or recommended for
                designation. Uses and management activities are allowed in designated areas to the
                extent that these uses are in harmony with the purpose for which the area was
                designated. For recommended designated areas, the uses and activities allowed
                should be compatible with the basis of the recommendation.

                c. The Responsible Official shall provide for plan components for designated areas
                that do not interfere with the exercise of valid existing rights.

                d. The Interdisciplinary Team should consider how designated areas contribute to
                other desired conditions or objectives for ecological, economic, or social
                sustainability.

                e. The Responsible Official should coordinate with other Responsible Officials to
                develop plan components that are compatible across multiple plan areas when a
                designated area is located across multiple land management plan areas.

           2. The plan must include plan components including standards or guidelines for
           management of other designated areas and areas recommended for designation integrated
           with other plan components as described in 23.21a. To meet this requirement the plan
           may include:

                a. Desired conditions for the designated areas and its contribution to social,
                economic, or ecological sustainability. Desired conditions may be developed for
                specific designated areas.

                b. Standards, guidelines, or suitability to place limits or conditions on projects or
                activities that may adversely affect the purposes of designated areas.

                c. Recognition of certain designated areas as part of a plan area’s distinctive roles
                and contributions.

   To organize plan components applicable to designated areas, the Interdisciplinary Team may
   identify designated areas with management areas, geographic areas, designated area overlays, or
   other means. Management areas or geographic areas may include designated areas, but need not



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   do so, because some designations may not need unique plan components. Other designations
   may have plan-specific components applied without the concept of a unique management area or
   geographic area by including the designated area within a management area(s), geographic
   area(s), or a combination thereof, where the plan components are compatible with the
   designation. Unit-wide direction may include plan components that apply to the designated area
   as identified in a mapped overlay or to other locational characteristics associated with the
   designated area.

   Where multiple designated areas (existing or recommended) overlap in same land area, the plan
   must provide compatible direction to meet the needs of all of the designations. This is often
   done with wording to state that the designated area with the most restrictive plan components
   must be followed in the management of the land area.

   24.3 - Designated Area Plans

   Planning for designated areas may be met through the land management plan, unless the
   authorities for the designation require a separate plan. Specific plans for designated areas must
   be consistent with the plan components (36 CFR 219.15(e)). The designated area authorities
   may require specific plans (such as wild and scenic river plans or national scenic and historic
   trail plans) for a designated area with additional requirements than those of the Planning Rule.
   Any parts of a designated area plan that meet the requirements for land management plan
   components must be included in the land management plan. The entire area plan does not need
   to be included in the land management plan. The land management plans must also be
   compatible with these designated area plans or either the land management plan or the
   designated area plan must be amended to achieve this compatibility.

   24.4 - Specific Types of Designated Areas in Land Management Plans

   The following sections provide guidance for recognizing and providing plan components for
   specific types of designated areas. The general guidance provided in sections 24.1, 24.2, and
   24.3 of this Handbook also applies to these designated areas. This general guidance should be
   consulted for any type of designated area that is not further specifically described in sections
   24.4 through 24.44 of this Handbook.

   24.41 - Wilderness

   The Planning Rule requires that the plan must include plan components, including standards or
   guidelines for:

           (iv) Protection of congressionally designated wilderness areas as well as
           management of areas recommended for wilderness designation to protect and
           maintain the ecological and social characteristics that provide the basis for their
           suitability for wilderness designation.
           (36 CFR 219.10(b)(1).)



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   Sections 22 and 23 of this Handbook give guidance on how to integrate plan components to meet
   this requirement.

   Plans that include designated wilderness areas must have plan components that provide for
   wilderness management in accordance with the requirements of the Wilderness Act of 1964
   (16 U.S.C. 1131-1136, 78 Stat 890), and the law that established the particular wilderness area
   and any other applicable laws.

   When a plan area includes an area or areas for which the Responsible Official makes a
   preliminary administrative recommendation for wilderness designation, the plan must include
   plan components that protect the ecological and social characteristics that provide the basis for
   the suitability of the area for wilderness designation until Congress acts on the recommendation.
   FSH 1909.12, chapter 70 gives guidance for inventory and evaluation of lands that may be
   suitable for wilderness and, from those lands, to identify areas, if any, for which the Responsible
   Official recommends that the land be designated wilderness.

           1. The Interdisciplinary Team should review the assessment for information about
           existing wilderness areas and wilderness study areas in the plan area, a general evaluation
           of the potential need and opportunity for additional wilderness areas, and the contribution
           of wilderness to social, economic, and ecological sustainability (FSH 1909.12, ch.10,
           sec. 14).

           2. When developing plan components for designated wilderness areas within the plan
           area, the Responsible Official should consider:

                a. Measures to protect and enhance the wilderness characteristics of the area.

                b. Management on adjoining lands that are within the NFS or in other Federal, Tribal
                or State ownership, especially when the adjoining land s are also designated
                wilderness areas. If the adjoining lands are part of the same designated wilderness
                area, the Responsible Officials should coordinate with the Responsible Official(s) of
                the adjacent administrative unit(s) to ensure compatible management of the
                wilderness area in both plan areas.

                c. Guidance in FSM 2320 regarding management of wilderness areas.

           3. When developing plan components for recommended wilderness areas, the
           Responsible Official shall follow the guidance for developing plan components for
           recommended wilderness areas as contained in FSH 1909.12, chapter 70, section 74.1.
           This guidance is repeated here as follows:

                When developing plan components for recommended wilderness
                areas, the responsible official has discretion to implement a range of
                management options. All plan components applicable to a



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                recommended area must protect and maintain the social and
                ecological characteristics that provide the basis for wilderness
                recommendation. In addition, the plan may include one or more plan
                components for a recommended wilderness area that:
                1. Enhance the ecological and social characteristics that provide the
                basis for wilderness designations;
                2. Continue existing uses, only if such uses do not prevent the
                protection and maintenance of the social and ecological characteristics
                that provide the basis for wilderness designation;

                3. Alter existing uses, subject to valid existing rights; or
                4. Eliminate existing uses, except those uses subject to valid existing
                rights.
                The responsible official should strive to maintain consistency with the
                provisions of 16 U.S.C. 1133(d) and the content of FSM 1923.03(3) in
                developing plan components for the management of recommended
                wilderness areas.

           4. The plan must clearly identify and map existing wilderness, wilderness study areas,
           and recommended wilderness areas within the plan area. The plan may identify each
           area, or type of area, as a management area or geographic area, with plan components
           applicable to each.

           5. The Responsible Official shall identify any recommendations for wilderness in the
           decision document for the plan as described in FSH 1909.12, chapter 70, section 71.4.

           6. The plan must include plan components including standards or guidelines for the
           protection of congressionally designated wilderness areas as well as management of areas
           recommended for wilderness integrated with other plan components as described in
           23.21a. To meet this requirement, the plan may include the following types of plan
           components:

                a. Desired conditions that describe the desired wilderness character for existing,
                recommended, or wilderness study areas from an ecological or social perspective.

                b. Standards or guidelines appropriate for placing limits or conditions on projects or
                activities that may adversely affect the wilderness character of existing wilderness,
                wilderness study, or recommended wilderness areas. Certain uses may be identified
                as suitable or not suitable for these areas. Existing wilderness areas have been




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                withdrawn from and are not suitable for timber production (see FSH 1909.12, Chapter
                60, sec. 61.11). Recommended wilderness areas, or wilderness study areas are not
                suitable for timber production as such production is not compatible with the desired
                condition for these areas (see FSH 1909.12, Chapter 60, sec. 61.2).

                c. The contributions of wilderness as part of the plan area’s distinctive role and
                contribution.

   Designated wilderness areas may also have management plans for specific wilderness areas.
   These management plans must be consistent with the land management plan (36 CFR 219.15(e))
   or one of the two plans must be amended to achieve this consistency. Only plan components
   contained in the wilderness plan need to be included in the land management plan. The entire
   wilderness area plan does not need to be included in the land management plan.

   24.42 - Wild and Scenic Rivers

   The Planning Rule requires that the plan must include plan components, including standards or
   guidelines for:

                (v) Protection of designated wild and scenic rivers as well as
                management of rivers found eligible or determined suitable for the
                National Wild and Scenic River system to protect the values that
                provide the basis for their suitability for inclusion in the system.
                36 CFR 219.10(b)(1).

   Plans that include designated wild and scenic rivers must have plan components that provide for
   management in accordance with the requirements of the National Wild and Scenic Rivers Act of
   1968 (16 U.S.C. 1281-1287), and the law that established the particular river and any other
   applicable laws.

   FSH 1909.12 chapter 80 details a river-specific study process to be followed to determine
   eligibility, potential classification (wild, scenic, or recreational), and suitability of river segments
   for inclusion in the National Wild and Scenic River System. FSH 1909.12, chapter 80 also
   contains guidance about plan components for rivers identified as eligible or suitable rivers for
   inclusion in the National Wild and Scenic Rivers system.

   Eligible river segments may be evaluated for their suitability for inclusion in the Wild and Scenic
   River System during the plan revision process. However, suitability evaluation of eligible river
   segments may be deferred for a separate evaluation outside the plan revision process.

           1. When developing plan components for designated, suitable, or eligible wild and scenic
           rivers:




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                a. The Interdisciplinary Team should review the assessment for information about
                existing wild and scenic river segments including their classification into wild, scenic,
                or recreational segments (FSH 1909.12, ch. 10, sec. 14) and the eligible and suitable
                rivers identified in the river study process described in FSH 1909.12, chapter 80. The
                assessment also provides a general evaluation of the potential need and opportunity
                for additional wild and scenic river segments and the contribution of wild and scenic
                rivers to social, economic, and ecological sustainability.

                b. The Interdisciplinary Team shall develop plan components that provide for
                management of existing designated wild and scenic rivers in accordance with
                requirements of the National Wild and Scenic Rivers Act.

                c. Plans with river segments found to eligible or suitable for designation must have
                plan components that protect the outstandingly remarkable values that provide the
                basis for their inclusion in the National Wild and Scenic River system. FSH 1909.12,
                chapter 80, section 84.3 describes interim protection measures for protecting eligible
                and suitable rivers. FSH 1909.12, chapter 80, section 84.4 describes how to provide
                plan components for these interim measures.

                d. The Interdisciplinary Team shall provide plan components for wild and scenic
                river segments that do not interfere with the exercise of valid existing rights.

                e. The Responsible Official should coordinate with the Responsible Officials of
                adjacent administrative units to ensure compatible management of any wild and
                scenic river that passes through connected land management plan areas.

                f. The Interdisciplinary Team should consider:

                (1) Measures to protect and enhance the free flow, water quality, and outstandingly
                remarkable values of the rivers (see FSM 2354 for more information on wild and
                scenic river management); and

                (2) Management on adjoining lands within the river corridor.

           2. The plan must clearly identify designated, suitable, and eligible river segments within
           the plan area. To organize plan components applicable to existing, suitable, or eligible
           wild and scenic rivers, the Responsible Official may identify one or more management or
           geographic areas for wild and scenic rivers or use other means to indicate where plan
           components apply.

           3. The plan must include plan components including standards or guidelines for the
           protection of designated wild and scenic rivers and management of eligible and suitable
           rivers integrated with other plan components as described in 23.21a. To meet this
           requirement, the plan may include:



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                a. Desired conditions that describe the conditions expected for wild and scenic river
                segments and their surrounding corridors. These desired conditions should be based
                on the type of river segment (wild, scenic, or recreational). Desired conditions can
                vary for different river segments, depending upon each segment’s classification and
                outstandingly remarkable values.

                b. Standards, guidelines, or suitability to place limits or conditions on projects or
                activities to ensure that adverse effects on the outstandingly remarkable values of an
                eligible or suitable wild and scenic river segment are avoided (See FSH 1909.12, ch.
                80, sec. 84.3 d). Standards or guidelines may also protect the intended wild, scenic,
                or recreational character of a designated river segment. Designated wild river
                segments have been withdrawn from and are not suitable for timber production (see
                FSH 1909.12, ch. 60, sec. 61.11). Eligible and suitable wild river segments are not
                suitable for timber production as such production is not compatible with maintaining
                the option for future designation as wild river segment (see FSH 1909.12, ch. 60, sec.
                61.2).

                c. The wild and scenic river segments may be part of the distinctive role and
                contribution of the plan area. Other plan content may describe the Responsible
                Official’s management approach to completing suitability studies of an eligible river
                or completing wild and scenic river management plans for designated rivers.

           4. The Responsible Official shall describe the status and any recommendations for wild
           and scenic rivers in the decision document as described in FSH 1909.12, chapter 80.

   Designated wild and scenic rivers must also have comprehensive river management plans
   (CRMPs). The plan must be compatible with the CRMP or the plan or CRMP must be amended
   to achieve this compatibility. Only plan components contained in a CRMP need to be included
   in the land management plan. The entire CRMP does not need to be included in the land
   management plan.

   24.43 - National Scenic and Historic Trails

           1. When developing plan components for national scenic and historic trails:

                a. The Interdisciplinary Team should review the assessment for relevant information
                about existing national scenic and historic trails in the plan area, including established
                rights-of-way pursuant to 16 U.S.C 1246(a)(2) and direction contained in
                comprehensive plans (CPs) pursuant to 16 U.S.C. 1244(e) or 1244(f). For existing or
                study national scenic and historic trails that do not have such information published,
                assessments identify and evaluate other information pertinent to the location and
                management of national scenic and historic trails.




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